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                                         No. 25-3727

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT



GAVIN NEWSOM, in /925 cyj%ia/64/046291 as Governor cf!/96 5m/6 CfCa/WZZQ; STATE OF
                                CALIFORNIA,
                                                   P/QZmZ-APPe//ees,


                                             V.


   DONALD J. TRUMP, in /925 cyj9eia/ eezpaeigf as President of t/ae United States; P E T E
        HEGSETH, 272 I92; @j9eia/ eap0e2gf as Seeretag cf!/ae Desert/feefzt cfDI12se;
                            DEPARTMENT OF DEFENSE,
                                                   Dej%ndw2zs-Appe//anis.




                   On Appeal from the United States District Court
                       for the Northern District of California


           EMERGENCY MOTION UNDER CIRCUIT RULE 27-3
                  FOR STAY PENDING APPEAL

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                                 INTRODU CTI ON

      The district court has entered an unprecedented order enjoining the President

from deploying National Guardsmen to protect federal officers from ongoing violent

protests and attacks, and to protect federal property from further damage. That order

is an extraordinary intrusion on the President's constitutional authority as

Commander in Chief to call forth the National Guard as necessary to protect federal

officials, as well as his statutory authority under 10 U.S.C. § 12406 to mobilize state

National Guards into federal service. This Court should immediately stay the order

pending appeal.

      The President is specifically authorized by statute to deploy the National Guard

when "there is a rebellion or danger of a rebellion against the authority of the

Government of the United States" or "the President is unable with the regular forces

to execute the laws of the United States." 10 U.S.C. § 12406(2)-(3). Both prongs

apply here: the violent actions taken by large numbers of protestors, whom local law-

enforcement officials have been unable effectively to control, constitute a rebellion

against federal authority, and have impeded the ability of Immigration Customs and

Enforcement (ICE) and other federal officials to enforce federal law. The President

accordingly mobilized the National Guard "to temporarily protect ICE and other

United States Government personnel who are performing Federal functions,

including the enforcement of Federal law, and to protect Federal property, at
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locations where protests against these functions are occurring or are likely to occur

based on current threat assessments and planned operations."

      The district court concluded that the statutory conditions were not satisfied.

But that sort of second-guessing of the Commander in Chiefs military judgments is a

gross violation of the separation of powers. Nearly 200 years ago, the Supreme Court

made clear that these judgment calls are for the President to make-not a Governor,

and certainly not a federal court. See Martin W. Mort, 25 U.S. 19 (12 Wheat.) 19 (1827) .

In any case, even if reviewable, the President had more than ample grounds to

determine that the riots rose to the level of a "danger" of rebellion, and that state and

local law enforcement were "unable" to sufllciendy protect federal personnel and

property.

      The district court also found that the President's memorandum was not issued

"through" the Governor of California within the meaning of 10 U.S.C. § 12406, but

that too was mistaken. The President's memorandum directed the Secretary of

Defense to effectuate the federalization of National Guard troops, and the Secretary

issued memoranda to the Adjutant General of the California National Guard, who

acts for the Governor for these purposes, to transfer authority over the Guard from

the state to the federal government. Nothing in the statute requires the Governor's

consent to mobilization-a legal theory that would have empowered the Governor of

Arkansas to block President Eisenhower from deploying the National Guard to

desegregate Arkansas' public school. In any event, any failure to issue an order

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"through" the Governor-who indisputably had contemporaneous notice of the

order, and no legal authority to block it-would not support this extraordinary

injunction entered by the district court.

      The district court's order improperly impinges on the Commander in Chiefs

supervision of military operations, countermands a military directive to officers in the

Held, and puts federal officers (and others) in harm's way. The balancing of harms

thus weighs strongly in favor of interim relief pending appeal and/or rnandarnus, and

this Court should also grant an immediate administrative stay pending consideration

of this motion. Defendants-appellants respectfully request that this Court act on the

motion no later than 9:00 pm PST today, June 12, 2025, to permit the Solicitor

General to seek immediate relief in the Supreme Court, if necessary, before the

expiration of the temporary stay issued by the district court at noon tomorrow, June

13.

                                     STATEMENT

       A.     Legal Background
      1. The Constitution authorizes Congress both to raise and support a national

Army and to organize "the Militia." See U.S. Const. art. I, § 8 (granting Congress the

power to "can]ll] forth the Militia to execute the Laws of the Union, suppress

Insurrections and repel Invasions"). Exercising that authority, Congress has "created

the National Guard of the United States, a federal organization comprised of state

national guard units and their members." Pegbir/9 W. Dej)4rz'we12z' cfDejQ 496 U.S. 334,


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338 (1990) (quotation and citation omitted). The National Guard is composed of

both the State National Guard, under the command of the several States, and the

National Guard of the United States, a federal entity under the federal chain of

command, see 10 U.S.C. § 10101.

       "Since 1933 all persons who have enlisted in a State National Guard unit have

simultaneously enlisted in the National Guard of the United States." P64926/9, 496 U.S.

at 345. Once ordered into federal service, "members of the National Guard ... lose

their status as members of the state militia during their period of active duty," id. at

347, become federal soldiers, 10 U.S.C. § 10106, and serve under the President as

Commander in Chief, see U.S. Const., art. II, § 2, cl. 1.

       2. Congress has granted the President several authorities under which he may

call forth the National Guard, including 10 U.S.C. § 12406, the statutory authority

under which the President acted here.

       Section 12406'5 historic lineage dates to the First Militia Act of 1792, which

was used by George Washington to respond to the Whiskey Rebellion. See Cong.

Research Serv., T/96 Posse Cowi!4zm /ld and Related Il/Iaz'z'ers: T/96 Use cf!/96 Mi/itag to

Exewzfe Civilian Law, R42659, at 8 (Nov. 6, 2018). Today, in its entirety, Section 12406

provides:

       W/henever-

       (1) the United States, or any of the Coinrnonwealths or possessions, is
       invaded or is in danger of invasion by a foreign nation,



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      (2) there is a rebellion or danger of a rebellion against the authority of
      the Government of the United States, or

      (3) the President is unable with the regular forces to execute the laws of
      the United States,

      the President may call into Federal service members and units of the
      National Guard of any State in such numbers as he considers necessary
      to repel the invasion, suppress the rebellion, or execute those laws.
      Orders for these purposes shall be issued through the governors of the
      States or, in the case of the District of Columbia, through the
      commanding general of the National Guard of the District of Columbia.

      B.     Factual Background

      1. On Friday, June 6, 2025, officers from ICE Enforcement and Removal

Operations (ERO) conducted federally authorized immigration enforcement

operations in Los Angeles, California. See Decl. of Ernesto Santacruz Jr., A238 1] 7.1

A group of protestors gathered and tried to prevent ICE officials from operating by

throwing objects at ICE vehicles. Id. Several individuals were arrested and brought to

ERO's federal facility in downtown Los Angeles. Id.

      Around 5:00 pm that evening, a crowd began to gadder at the ERO facility.

Santacruz Decl., A238 1] 9. The crowd quickly turned violent, and the protests spread

across downtown, threatening several Federal facilities and other public buildings. M.

W 9, 10. Protestors threw "botdes, concrete chunks, and other objects" at Federal

Protective Service officers attempting to prevent the mob from breaching federal

property. Id. ii 11. The officers were "pinned down in a defensive position by



      1 Citations to "A" are to the addendum accompanying this motion.

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protesters and severely outnumbered," while rioters attempted "to use large rolling

commercial dumpsters as a battering ram" to violendy "break open the garage gate

and break into the federal building." Id.

       Officers feared for their safety. Santacruz Decl., A238 1] 13. ICE and

Homeland Security Investigations officers responded to support the Federal

Protective Service officers under siege, and attempted to use non-lethal force to

disperse the crowd. Id. The federal officers managed to prevent a breach of the

facility, but it took Los Angeles Police Department (LAPD) officers nearly an hour

and a half to arrive and assist the federal officers in pushing the crowd back from the

parking garage gate. M Meanwhile, the protests turned extremely violent, news

reports show demonstrators using chairs, dumpsters, and other weapons. Id. 1] 14.

Once on scene, LAPD declared an "unlawful assembly" and ordered protesters to

disperse, but many protestors instead began attacking LAPD officers, and the scene

was not cleared for several hours, leaving extensive damage to multiple federal

buildings. Id. W 16, 17.

      That night, President Trump spoke with Governor Newsom, informing the

Governor of the dangers to federal personnel and property and directing him to take

action to stop the violence.2 The next day, die violence only intensified. On Saturday


       2Ernrna Colton 8: John Roberts, Twwgb Brings Receipts He C4//6d Newscwf /M924
LA Riots as Can/rfzia Gov C/ai/vis T/Qere LWasn'z' Even 4 Voirwfai/, Fox News (June 10,
2025 4:15pm EDT), https://perma.cc/Z25U-GDSX, see 4/s0 Governor Gavin
                                                                         Contiwfed on faextpage.



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morning, large crowds congregated around a Homeland Security Investigations office

in the Los Angeles area as officers prepared for another enforcement operation.

Santacruz Decl., A238 1] 18. The crowd blocked traffic and began to attack ERC) and

Customs and Border Patrol (CBP) officers, causing hours of non-stop fighting

between federal officials and protesters. Id. 1]20. The crowd surrounded an ERO

officer's vehicle, shaking and pounding on the car and purnlneling it with stones. Id.

Protestors boxed in federal officers, launching mortar-style fireworks with multiple

explosions at them and throwing objects of all nature, shattering the wrist of a CBP

officer. Id. The perimeter fence of the federal building was breached, and several

vehicles were damaged. Id. 1121.

       Protests continued in the following days. Santacruz Decl., A238 1]24.

Protesters blocked the 101 Freeway. Id. 1]25. Protesters set dumpsters on Hre and

launched commercial-grade fireworks at federal officers. Id. 1126. Federal and state

buildings have been damaged, and the federal building security checkpoint has been in

ruins. Id. W 26-27. Officers have been injured. Id. 1127. And the federal complex in

downtown Los Angeles, which has been closed due to the unrest, id. 1] 29, has been

severely damaged and vandalized, id. W 26-27.

       2. In response to the violence, the President signed a memorandum on June 7

calling into federal service at least 2,000 members of the California National Guard to


Newsom, LWaz'e/9: Governor Newscwe Diseezsses 'Done/ei Trewejs It/less" in Los Angeles (June
9, 2025), https://perma.cc/6W95-ZDZQ.

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protect federal personnel and property. Memorandum from President Donald J.

Trump to the Sec'y of Def., Attorney Gen., and Sec'y of Homeland Sec, Deéartwen! of

Xevwig/for Z/96 Proz'en'iw2 of DqDa1¢/went of Howe/and Xewzrigf Fwzniofzs, (June 7, 2025), A250-

51 (Presidential Memo). The President found that "[n]umerous incidents of violence

and disorder have recency occurred and threaten to continue" in response to ICE and

other government officials' enforcement of federal law. Presidential Memo, A250.

"In addition, violent protests threaten the security of and significant damage to

Federal immigration detention facilities and other Federal property." Id. The

President determined that protests and acts of violence that "directly inhibit the

execution of the laws ... constitute a form of rebellion against the authority of the

Government of the United States." Id. "In light of these incidents and credible

threats of continued violence," the President invoked Section 12406 to mobilize the

National Guard "to temporarily protect ICE and other United States Government

personnel who are performing Federal functions, including the enforcement of

Federal law, and to protect Federal property[.]" Id. The President directed the

Secretary of Defense "to coordinate with the Governors of the States and the

National Guard Bureau in identifying and ordering into Federal service the

appropriate members and units of the National Guard under this authority." Id. The

Secretary was also authorized to deploy members of the regular Armed Forces "to

augment and support the protection of Federal functions and property." A251.




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       The Secretary of Defense subsequent directed the California Adjutant

General to effectuate the call into federal service of the National Guard. See

Memorandum from the Sec'y of Def. to Adjutant Gen. of the Cal. Nat'l Guard,

Ca//iug Zl/[makers cf!/96 Ca/ania National Guard into Federal Sewiae (June 7, 2025), A249-

51. The Secretary subsequent requested additional federalized National Guards,

Memorandum from the Sec'y of Def. to the Adjutant Gen. of the Cal. Nat'l Guard,

Calling Addilioual II/[eiahers cf!/96 Cal 2riiia Nalioual Guard iulo Federal Sewiie (June 9,

2025), A253-56, and also ordered the mobilization of 700 active-duty marines. See

Decl. of Paul S. Eck, A189 1] 18.

       Since those calls to federal action, National Guardsmen have been "protecting

federal personnel performing official functions as well as property at designated

locations through security patrols, observation posts, and outer cordon security

perimeter of buildings." See Decl. of Major Gen. Niave F. Knell, A259 117. This

includes National Guardsmen providing protection activities at several federal sites

throughout the Los Angeles area, as well as to federal agents conducting their duties,

including ICE agents enforcing federal immigration laws.

       C.      Prior Proceedings

       1. Plaintiffs, the State of California and Governor Gavin Newsome, filed suit

alleging that the defendants' actions were Hz/tra virus under the Constitution and 10

U.S.C. § 12406, violated the Tenth Amendment, and were arbitrary and capricious

under the Administrative Procedure Act. AS -22. Plaintiffs then moved f or a

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temporary restraining order enjoining the Department of Defense from deploying

federal troops in aid of federal agents carrying out their duties to enforce federal law

in the Held. A201.

       2. The district court held a hearing on the motion on June 12, 2025 and

granted the motion that same day. The district court issued an order enjoining

defendants "from deploying members of the California National Guard in Los

Angeles," and directing defendants "to return control of the California National

Guard to Governor Newsom." A295. Defendants appealed

                                      ARGUMENT

       The government is enticed to a stay because it is likely to succeed on the

merits, it will suffer irreparable harm absent a stay, and the balance of the equities and

public interest favor a stay. See inken W. Holder, 556 U.S. 418, 426 (2009).

       A.       This Court has appellate jurisdiction.

      This Court has appellate jurisdiction under 28 U.S.C. § 1292(a) Lil, "[W]here an

order has the 'practical effect' of granting or denying an injunction, it should be

treated as such for purposes of appellate jurisdiction." Abba# W. Pure, 585 U.S. 579,

594 (2018). Here, "several factors counsel in favor of construing the District Court's

order as an appealable preliminary injunction." DepanWzent of Edzw4z'i012 W. C4/rnia, 145

S. Ct. 966, 968 (2025) (per curia). The court issued a comprehensive, 36-page order,



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           The district court stayed its order until noon on June 13, 2025. A295.

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"an adversary hearing has been held, and the court's basis for issuing the order is

strongly challenged." East 301 Xamiwg Covenant W. To/mp, 932 F.3d 742, 762 (9th Cir.

2018) (cleaned up). The order also threatens to infect irreparable harm by exposing

federal property and officials once again to a grave threat of lawless mob violence, and

lawful federal immigration enforcement efforts again to the likelihood of active

interference and obstruction," thus warranting immediate review. Ahhoft, 585 U.S. at

594-595.

       In the alternative, this Court may exercise rnandarnus jurisdiction to review the

district court's extraordinary order. See Imperial Mm., Ina W. Aero Air, D26., 360 F.3d 989,

993 (9th Cir. 2004). The order imposes irreparable harm by impinging on the ability

of the President and the Secretary of Defense to utilize the National Guard to protect

federal officials enforcing federal law from harm or interference, leaving the federal

government with "no other adequate means to attain the relief." C/aeney W. U.§. Dist.

Cowtfor DC, 542 U.S. 367, 380 (2004) (quotation marks omitted). And mandamus is

"appropriate under the circumstances" because the district court has claimed authority

to superintend the Executive Branch's control over the military. M. at 381.

       B.     The federal government is likely to prevail on the merits.

       1. The Constitution obligates the President to "take Care that the Laws be

faithfully executed." U.S. Const. art. II, § 3. The President is also the Commander in

Chief of the Armed Forces including "the la/Iilitia of the several States, when called

into the actual Service of the United States[.]" Id. § 2, cl. 1. The President has

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inherent constitutional authority to use federal troops, including federalized National

Guard members, to protect the federal government, its functions, and its property.

See DO re N648/6, 135 U.S. 1, 65 (1890); DO re Dabs, 158 U.S. 564 (1895).


       Congress also has explicit authorized the President to "call into Federal

service" members of the National Guard "[w]henever," inter 4/ia, "there is a rebellion

or danger of a rebellion against the authority of the Government of the United States"

or "the President is unable with the regular forces to execute the laws of the United

States." 10 U.S.C. 8 124042>-(3).

       The President properly invoked those authorities when he federalized

California National Guard members in response to the dangerous and uncontrolled

security environment in Los Angeles. "[I]ncidents of violence and disorder" were

occurring "in response to the enforcement of Federal law by [ICE] and other United

States Government personnel ... performing Federal functions and supporting the

faithful execution of Federal immigration laws." Presidential Memo, A250. Those

incidents "threaten[ed] the security of and significant damage to Federal immigration

detention facilities and other Federal property." Id. The President concluded that the

protests and acts of violence-to the extent they "directly inhibit[ed] the execution of

the laws"-constituted "a form of rebellion against the authority of the Government

of the United States." Id. And he federalized National Guard members "to

temporarily protect ICE and odder United States Government personnel who are

performing Federal functions, including the enforcement of Federal law, and to

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protect Federal property, at locations where protests against these functions are

occurring or are likely to occur." Id.

      2. The district court rejected the President's substantive determination under

Section 12406, concluding that the protests do not rise to the level of "rebellion" and

that the federal government has not been "unable" to execute its laws.

      The term "rebellion" however, is not limited to "an organized attempt to

change the government or leader of a country," as plaintiffs claimed in district court.

See A39. Congress enacted Section 12406's predecessor in response to the Whiskey

Rebe1]ion-a protest against the government's taxes, not an effort to change the

country's leader. Even California's cited definition of "rebellion" includes "[o]pen

resistance or opposition to an authority or tradition" and "[d]isobedience of a legal

command or summons." Reba//ion, Black's Law Dictionary (12th ed. 2024). That is

precisely what occurred here-protests and acts of violence "constitute a form of

rebellion against the authority of the Government of the United States" to the extent

they "directly inhibit the execution of the laws." Presidential Memo, A250.

      The basis for the President's conclusions regarding the violence in Los Angeles

cannot reasonably be questioned. Plaintiffs' own declarant described protesters

"engage[d] in dangerous behavior such as throwing rocks and other objects, including

a Molotov Cocktail at deputies damaging vehicles, burning a vehicle, looting a gas

station, and vandalizing property." Decl. of Brian Qlmstead, A183-84 ii 9. Plaintiffs'

exhibits depicted images of burning or burnt cars, see, Ag., A97, A143, A152, A171,


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A173, of demonstrators "blocking traffic on [a] busy thoroughfare," A172, and of a

"massive crowd" pushing to a wall barrier, A170. One article documented a crowd of

demonstrators "mow[ing] through the city despite the area-wide dispersal order, again

lighting fireworks and throwing projectiles at police vehicles driving by." A171.

      The record also plainly supports the President's determination that he was

"unable with the regular forces to execute the laws of the United States," 10 U.S.C.

§ 12406(3). The Santacruz declaration details the substantial threats that federal law

enforcement personnel experienced as they attempted to enforce       Z. e., "execute"-

federal immigration laws. See A239-245. Plaintiffs' submissions show the same. One

article describes how demonstrators "blocked entrances and exits to [a Federal

Building in downtown Los Angeles]" and "attempted to physically stop ICE

vehicles." A104. Another reports that "ICE requested assistance from LAPD

multiple times over the course of Friday night" but that it "took LAPD 55 minutes to

respond." A173.

      The district court was incorrect in suggesting that ICE's limited success in

arresting some individuals means that Section 12406(3) cannot apply. That argument

ignores the fact that ICE would have been able to carry out additional federal

enforcement activities absent violent protests. It also ignores that federal personnel

were physically injured while effectuating the arrests they were able to make in these

perilous circumstances. Section 124068) cannot plausibly be read to mean that so

long as some amount of execution of the laws remains possible, the statute cannot be

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invoked, regardless of how much execution of the laws remains thwarted or how

much personal danger federal personnel face during operations.

       Finally, to the extent plaintiffs challenge the President's assessment of the

magnitude of the threat or the number of National Guard members it was appropriate

to deploy, those are not subjects for judicial second-guessing. Decisions related to the

control and deployment of militias are firmly entrusted to the political branches. See

U.S. Const. art. I, § 8, cl. 15 (granting Congress the "Power ... To provide for calling

forth the Militia to execute the Laws of the Union, suppress Insurrections and repel

Invasions" (ellipsis in original), U.S. Const. art. H, § 2, cl. 1 ("The President shall be

Commander in Chief ... of the Militia of the several States, when called into the

actual Service of the United States."). The statute at issue-Section 12406-a150

specifies that the President may call into service members of the National Guard "in

such numbers as he considers necessary" to quell the rebellion or execute the laws. 10

U.S.C. § 12406. When, as here, a statute "commits decisionmaking to the discretion

of the President, judicial review of the President's decision is not available." D4/ion W.

Spwter, 511 U.S. 462, 477 (1994), see 4/s0 Martin V. Mon; 25 U.S. 19 (12 Wheat.) 19

(1827) holding that a challenge to the legality of the President's decision to call out

the militia under a similar statute was beyond judicial scrutiny). The deployment

decision here also implicates immigration and national-security matters into which

courts will intrude only with the greatest reluctance. See Mat/9619; V. D24 426 U.S. 67,




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81 (1976) (immigration g E/-5/Qifa P/ww9. Indus. Co. W. United States, 607 F.3d 836, 842

(D.C. Cir. 2010) (en bane) (national security).

       3. The district court similarly erred in concluding that the President failed to

comply with Section 12406'5 procedures. Section 12406 specifies that the President's

orders calling National Guard members into service "shall be issued through the

governors of the States." 10 U.S.C. § 12406. That procedural mechanism reflects the

dual control of the Guard and ensures that responsibility for the soldiers is clearly

transferred from state to federal control. See m/pm pp. 3-4.

       The President and the Secretary of Defense satisfied this procedural

requirement. The President spoke with Governor Newsome about the situation in Los

Angeles on June 6. See capra n.2. The next day, the President signed the memorandum

federalizing National Guardsmen. See Presidential Memo, A250-51 The Secretary of

Defense then sent a memorandum to Ca]ifornia's Adjutant General, a state cabinet-

level official who is required under California law to perform "duties consistent with

the regulations and customs of the United States Army, United States Air Force, and

the United States Navyl,]" including "issu[ing1 all orders in Z/96 724/we cf!/96 Governor."

Cal. Mil. & Vet. Code § 163 (emphasis added). The memorandum bore the label

"THROUGH: THE GOVERNOR QF CALIFQRNIA." A249; see 4/so A253 (second

memorandum bearing same label). Contrary to the district court's conclusion, the

transmission of the order through the official who issues orders on behalf of

Governor was sufficient to satisfy Section 12406's requirement.

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      Nothing in the statute supports plaintiffs' contention that the Governor needed

to issue the mobilization order himself. Section 12406 states that orders are issued

"through," not "by," governors. 10 U.S.C. § 12406. There is a fundamental

difference between orders being issued "by" a person (making them the

decisionrnaker) and orders being issued "through" that person (providing notice of

and making them a conduit for a decision already made). The latter structure better

aligns with the purpose of the procedural requirement-to effectuate the handover of

command and control of the National Guard members from the state military

commander to the federal military commander, thereby avoiding command confusion

during an emergency.

      Plaintiffs are likewise incorrect to suggest that the President needed to obtain

the Governor's consent prior to federalizing National Guard members. When

Congress wants to require gubernatorial consent in National Guard matters, it says so

explicitly. See, sag., 10 U.S.C. § 12301(d) (members "may not be ordered to active duty

   without the raven! of the governor or other appropriate authority of the State

concerned" (emphasis added)). Nor was the President required to consult with the

Governor about the prudence and specifics of the order. When a commander issues

an order "through" a subordinate, that is not an invitation for the subordinate to

debate whether the order should have been issued in the first place. And in any event,

the President did discuss the federalization with Governor Newsom. See capra n.2.




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       4. The President's order is also consistent with the Tenth Amendment and the

Posse Comitatus Act. The President federalized National Guard members for the

express purpose of "temporarily protect[ing] ICE and odder United States

Government personnel who are performing Federal functions, including the

enforcement of Federal law, and to protect Federal property, at locations where

protests against these functions are occurring or are likely to occur." Presidential

Memo, A250. He did not authorize the National Guard members to prevent future

protests or to exercise "police power." Accordingly, federalized California National

Guard members have been protecting federal personnel, property, and functions at

designated locations by providing security patrols, observation posts, and outer

cordon security perimeter of buildings. A259-60 W 6-8.

       Plaintiffs' Tenth Amendment and Posse Comitatus Act arguments thus fail.

The President indisputably has the authority to call forth the militia to protect federal

property, personnel, and prerogatives. See wpwz p. 11. The federal government does

not invade areas of state sovereignty simply because it exercises its authority in a

manner that impacts a state's police power. See HoNe/ W. Viigginin 84372156 Mining 89°

R66/4/marion I1552, 452 U.S. 264, 291 (1981).


       It is similarly well established that when the President lawfully federalizes

National Guard members pursuant to statutory authority designed to authorize the

use of the militia to restore order, the Posse Comitatus Act does not apply. Although

the Act generally prohibits the use "of the Army, the Navy, the Marine Corps, the Air

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Force, or the Space Force as a posse comitatus or otherwise to execute the laws," that

prohibition does not apply in "cases and under circumstances expressly authorized by

the Constitution or Act of Congress." 18 U.S.C. § 1385. The Insurrection Act, which

was not invoked here, is one such exception. See Presieierefs Power to Use Feeierez/ Troops

to Xappress Resistauae to El 2r6e/fzeuf   Federal Cow! Orders-Liz'z'/6 R05/é, /la/éausas, 41 OP.

Att'y Gen. 313 (Nov. 7, 1957). So too is the similarly worded Section 12406, which

the President invoked in issuing the challenged memorandum. The National Guard

may lawfully be used to suppress invasions and rebellions, and to protect the

execution of the laws where regular forces have failed to do so, without engaging in

activities the Posse Comitatus Act would otherwise prohibit.

       The President's constitutional authority to protect federal personnel and

property is likewise unaffected by the Posse Comitatus Act. The Act "does not

impair the President's inherent authority to use troops for the protection of federal

property and federal functions." \5(/illiarn Rehnquist, Azzflyorigf to Use Troops to Prevent

D2z'e{7%ren6e Wir/9 Federal E/vip/cy/ees @ M949 Deffzonsfrafions and Conseqzzenf Iffzpairfffefzt of


G o verfwfefzt FWZMZUMJ, 1 OP. O.L.C. Supp. 343, 343 (1971). Nor does it "prevent the


use of troops to protect the functioning of the government by assuring the availability

of federal employees to carry out their assigned duties." M., see DO re N643/6, 135 U.S. at

65, DO re Dabs, 158 U.S. at 582.




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      C.     The other stay factors strongly favor the government.

      1. The district court's injunction imposes significant harms on the federal

government and the public at large. It exposes federal employees to violence at the

hands of rioting mobs in Los Angeles and interferes with those employees' ability to

enforce federal law. As noted, National Guard members were deployed following

mob violence directed at federal officers and property, in which protestors threw

botdes, concrete chunks, and other objects at federal protective service officers

attempting to prevent a mob from breaching federal property, attacked federal

officers preparing for an immigration enforcement operation with rocks and

explosives and fought them for hours, trapped a federal enforcement officer in her

vehicle, which a mob pounded, shook, and violendy pummeled with stones, injured

numerous federal officers and agents by throwing projectiles, set multiple vehicles on

tire, and caused extensive damage to federal property. See so/pra pp. 5-7. And it

reaches even beyond the injunction sought by the plaintiffs, by enjoining National

Guard members from protecting federal properties from damage. The federal

government clearly has a compelling interest in preventing these extraordinary acts of

violence causing both personal injury and property damage-which local law-

enforcement and federal officials were unsuccessful in preventing. See Index

Newspapers LLC y. U.5. Mars/94/5 Sew., 977 F.3d 817, 838 (9th Cir. 2020).




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       The government also suffers irreparable harm when its federal immigration

officials are prevented from safely and successfully enforcing the law by mobs of

protestors.

       On the other side of the ledger, plaintiffs have not established irreparable injury

warranting extraordinary relief. Plaintiffs complain that the mobilization order was

not issued by the Governor or following consultation with him. But the federal

government's overriding interest in protecting national security far outweighs

plaintiffs' interest in vindicating asserted procedural rights. That follows directly from

Winter W. Naifzral Resolves Dej%v2se Cow vi/, Ina, 555 U.S. 7, 24 (2008), where the

plaintiffs claimed that the Navy failed to conduct studies before deploying an

antisubinarine force, but the Court held that the plaintiffs' interests were "plainly

outweigh[ed]" by the harm to the government in "jeopardiz [ing] the safety of the

fleet." Id. at 26.

       Plaintiffs also claim there is a "very high risk of substantial civil unrest" due to

the "deployment of the military in a large, civilian population center." A46. That

theory of injury is inherency suspect, as it presumes that the widespread violence

occurring prior to the President's memorandum was caused by immigration

enforcement, but that going forward, it will be caused instead by the National Guard's

protection of federal employees in their enforcement of federal law. Nor does that

theory make sense given plaintiffs' concession that their desired injunction need not

bar the National Guard from "protecting federal immigration detention facilities and

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other federal buildings" or "defending federal officials or employees from threatened

physical harm at such buildings or real property." A201

       2. Even if some form of injunctive relief had been warranted, it should have

been "tailored to redress the plaintiffs particular injury." Gil/ W. LW/9zlg1®rd, 585 U.S. 48,

73 (2018). As explained, plaintiffs' proposed injunction restricted only how National

Guard members could be deployed, limiting them to protecting federal property, and

federal personnel on such property, but not federal personnel outside federal

property. The district court, however, issued a broader injunction directing

defendants "to return control of the California National Guard to Governor

Newsom" and enjoining defendants from deploying National Guard members in Los

Angeles. A295.

       Beyond those flaws, plaintiffs' claimed harm is from the deployment of the

National Guard to protect federal officers enforcing federal immigration law in Los

Angeles during the ongoing crisis, but the district court granted an injunction that

bars the Secretary of Defense and the Department of Defense "from deploying

members of the California National Guard in Los Angeles," A295, with no limitation

to the identity of the federal agency they are assisting or the nature of agency

operations. At a minimum, the injunction should be stayed insofar as it applies to

National Guard protection of federal agencies enforcing laws other than the

immigration laws.




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                                 CONCLUSION

      The Court should stay the district court's order pending appeal, and should

grant an immediate administrative stay pending consideration of the motion.

                                              Respectfully submitted,

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June 2025




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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d) (2) (A) and Local Rules 27-1(d) and 32-3 because it contains 5,392

words. This brief also complies with the typeface and type-style requirements of

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for Microsoft 365 in Garamond 14-point font, a proportionally spaced typeface.




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                                              ANNA O. MOHAN
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                   ADDENDUM
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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




GAVIN NEWSOM, IN HIS OFFICIAL
CAPACITY AS GOVERNOR OF THE STATE OF
CALIFORNIA; STATE OF CALIFORNIA,                no.
                                    Plaintiffs, COMPLAINT FOR DECLARATORY
                                                AND INJUNCTIVE RELIEF
              v.
                                                Date:
                                                Time:
DONALD TRUMP, IN HIS OFFICIAL                   Courtroom:
CAPACITY AS PRESIDENT OF THE UNITED             Judge:
STATES; PETE HEGSETH, IN HIS OFFICIAL           Trial Date:
CAPACITY AS SECRETARY OF THE                    Action Filed:
DEPARTMENT OF DEFENSE; U.S.
DEPARTMENT OF DEFENSE,

                                 Defendants .




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                                        INTRODUCTION
       1. The Governor of the State of California and the State of California bring this action to
protect the State against the illegal actions of the President, Secretary of Defense, and Department

of Defense to deploy members of the California National Guard, without lawful authority, and in

violation of the Constitution.
       2.   One of the cornerstones of our Nation and our democracy is that our people are

governed by civil, not military, rule. The Founders enshrined these principles in our

Constitution- that a government should be accountable to its people, guided by the rule of law,
and one of civil authority, not military rule.
       3.   President Trump has repeatedly invoked emergency powers to exceed the bounds of

lawful executive authority. On Saturday, June 7, he used a protest that local authorities had under

control to make another unprecedented power grab, this time at the cost of the sovereignty of the

State of California and in disregard of the authority and role of the Governor as commander-in-

chief of the State's National Guard.

       4.   The vehicle the President has sought to invoke for this unprecedented usurpation of

state authority and resources is a statute, 10 U.S.C. § 12406, that has been invoked on its own

only once before and for highly unusual circumstances not presented here. Invoking this statute,

the President issued a Memorandum on June 7, 2025 (Trump Memo), "call[ing] into Federal

service members and units of the National Guard." Secretary of Defense Hegseth, in turn, issued
a Memorandum (DOD Order) that same day to the Adjutant General of California, ordering 2,000

California National Guard members into federal service. And on June 9, 2025, Secretary Hegseth

issued another Memorandum (June 9 DOD Order) ordering an additional 2,000 California

National Guard members into federal service.

       5.   These orders were issued despite the text of section 12406, which, among other

things, requires that when the President calls members of a State National Guard into federal
                                                                                                   79
service pursuant to that statute, those orders "shall be issued through the governors of the States.

10 U.S.C. § 12406. Instead, Secretary Hegseth unlawfully bypassed the Governor of California,

issuing an order that by statute must go through him.


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        6.   As a result, the National Guard has been deployed to Los Angeles. And now, on top

of the National Guard, Defendants are reportedly also deploying Marines to the area.

        7.   The President's federalization and deployment of the National Guard for reasons not

authorized by law and without input from or consent of the Governor contravenes core statutory

and constitutional restrictions. Use of the regular armed forces is similarly unlawful here.

        8.   The Constitution reserves to the States power over their respective state militias-

now the National Guard- unless the State requests or consents to federal control. Only under the
most exigent of circumstances can the President, over the objections of a State, call the National

Guard into federal service. The balance the Framers struck between the State's power to control
its own militia and the very narrow circumstances in which the federal government may take

command and control of the militia serves as a vital check against federal overreach. Section

12406 does not provide the authority Defendants have claimed and cannot be the vehicle for their

actions ,

        9.   The Constitution grants the States-not the federal Executive-the authority to
conduct ordinary law enforcement activities and to determine how their own state laws should be

enforced.

        10. Reflecting the Founders' distrust of military rule, the U.S. Constitution and the laws
of our Nation strictly limit the domestic use of the military, including the federalized National

Guard. The Posse Comitatus Act codifies these strict rules, prohibiting the military from engaging
in civil law enforcement unless explicitly authorized by law. The authority to use the military
domestically for civil law enforcement is reserved for dire, narrow circumstances, none of which

is present here. Defendants have overstepped the bounds of law and are intent on going as far as

they can to use the military in unprecedented, unlawful ways.
        11. It appears that the Trump Administration intends to treat section 12406 as a
mechanism to evade these time-honored constitutional limits. But the statute provides no such

authority. This Court should reject the unlawful attempt by Defendants to wrest away the State's

control of its own National Guard for improper and unjustified ends .




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                                  JURISDICTION AND VENUE
        12. The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1346, and 2201(a).

        13. Venue is proper in this judicial district under 28 U.S.C. § 1391(e) because the

California Attorney General and the State of California have offices at 455 Golden Gate Avenue,

San Francisco, California and at 1515 Clay Street, Oakland, California, and therefore reside in

this district, and no real property is involved in this action. This is a civil action in which

Defendants are agencies of the United States or officers of such an agency.

        14. Assignment to the San Francisco Division of this District is proper pursuant to Civil
Local Rule 3-2(c)-(d) and 3-5(b) because Plaintiffs maintain offices in the District of San
Francisco.

                                              PARTIES
        15. Plaintiff Gavin Newsom is the Governor of the State of California. In his capacity as
Governor, Governor Newsom is the Commander-in-Chief of the California National Guard. Cal.

Const., art. V, § 7.

        16. Attorney General Rob Bonita is the chief law officer of the State of California and

head of the California Department of Justice. He has the authority to file civil actions to protect

California's rights and interests and the resources of this State. Cal. Const., art. V, § 13, Cal.

Gov 't Code §§ 12510-11, 12600-12, see Pierce v. Superior Court, 1 Cal. 2d 759, 761-62 (1934)

(The Attorney General "has the power to file any civil action or proceeding directly involving the

rights and interests of the state ... and the protection of public rights and interests.").

        17. Defendant Donald Trump is the President of the United States. In his official capacity

as such, he issued a Memorandum on June 7, 2025, directing the federalization of the National

Guard. He is the Commander-in-Chief of the United States' armed forces, including the National

Guard when under federal control. He is sued in his official capacity.

        18. Defendant Peter Hegseth is the Secretary of Defense and head of the Department of

Defense. On June 7 and June 9, 2025, Secretary Hegseth issued Memoranda ordering California

National Guard members into federal service. He is sued in his official capacity.




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        19. Defendant U.S. Department of Defense (DOD) is a department of the executive

branch of the United States government, responsible for coordinating the activities of the United

States' armed forces, including the National Guard when under federal control.

        20. Defendant U.S. Department of Defense and Defendant Hegseth shall collectively be
                                     79
referred to as the "DOD Defendants.

                                               FACTS

A.      Immigration Raids Give Rise to Protests
        21. On Friday, June 6, 2025, Immigration and Customs Enforcement (ICE) officers

carried out enforcement actions at multiple locations within Los Angeles County and the City of
Los Angeles. According to news reports that rely on statements from the Department of

Homeland Security, ICE officers were executing search warrants at various locations, including

outside Ambiance Apparel, a clothing wholesaler. ICE reportedly also carried out enforcement

activities that included detentions and arrests at a doughnut shop in the Fashion District of

downtown Los Angeles and two Home Depot stores in the Westlake District in Los Angeles.
        22. Prior to the ICE operations, federal officials did not provide the leadership of the Los

Angeles Sheriff"s Department (LASD) or Los Angeles Police Department (LAPD) with any

notice as to the planned operations or otherwise attempt to coordinate activities to protect the

safety of the public.

        23. During the course of these operations, ICE and its agents reportedly took actions that
inflamed tensions and provoked protest. On information and belief, agents engaged in military-

style operations while conducting these detentions and arrests that sparked panic in the

community. For example, in some instances, ICE agents were reportedly observed sealing off

entire streets around targeted buildings and using unmarked armored vehicles equipped with
paramilitary gear.

        24. In all, the Department of Homeland Security reported that its enforcement activities

on Friday, June 6, resulted in the arrest of approximately 44 individuals and 70-80 people

detained in total.




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       25. That same day, members of the public gathered in protest at the Edward R. Roybal

Federal Building and U.S. Courthouse. This building, located at 255 E. Temple St., Los Angeles,

CA 90012, includes a detention facility known as "B-l8." On information and belief,
protestors gathered at this location based on reports that individuals who were detained during
the ICE operations were being held there. Protesters also gathered at other locations where ICE

operations were reportedly happening, including in the City of Paramount, a city in Los Angeles

County.

       26. While not unified in their views or tactics, most protesters seem to have gathered to

express their opposition to the manner in which the Trump Administration has executed its
immigration agenda and to express solidarity with and concern for the individuals and families

most directly impacted by the enforcement actions taking place in their community.

       27. During the protests, Service Employees International Union California leader David

Huerta was injured in the midst of interactions with federal agents. He was arrested, treated at a

nearby hospital, and then detained. Federal authorities have alleged that Mr. Huerta was

obstructing federal agents' access to a worksite where they were executing a warrant, while in

contrast, Union representatives have reported that Mr. Huerta was detained while exercising his

First Amendment right to observe and document law enforcement activity. The arrest of Mr.

Huerta, who remains detained as of the date of filing, led to further upset in the community.

       28. Protests continued on June 7, and June 8, 2025 .
       29. Most of those involved in protesting have been exercising their rights under the First

Amendment in a peaceful, non-violent, and legally compliant manner. There have no doubt been

exceptions. News reports have shown some individuals in the midst of these protests breaking the

law and acting violently, for example by throwing objects at law enforcement officers and

damaging property, including by setting fires. State and local law enforcement agencies have

responded to such actions, and Governor Newsom and other state and local officials have

unequivocally condemned such conduct and called for the prosecution of such law breaking.

       30. At no point in the past three days has there been a rebellion or an insurrection. Nor

have these protests risen to the level of protests or riots that Los Angeles and other major cities


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have seen at points in the past, including in recent years. The protests and unrest of the past three

days pale in comparison to a host of examples, including the time when the National Guard was

last federalized for riot control - in 1992, at the then-Govemor's request, during the "Rodney

King riots." That unrest involved thousands of people across Los Angeles County, resulting in

multiple shootouts, over sixty deaths, thousands of people injured, and more than 12,000 arrests.

B.      Local Authorities Quickly Respond and Are Able to Control and Manage Conditions
        31. Both the Los Angeles Police Department (LAPD) and Los Angeles Sheriff

Department (LASD) have substantial training and experience responding to protests and large-

scale riots. The last instance in which it was determined there was need or want for the
intervention of federal authorities occurred in 1992, in the above-described circumstances that

stand in sharp contrast to the events that commenced on June 6.

        32. LAPD and LASD have been responding promptly, professionally, and effectively to
the events unfolding in the City and County. Officers from both Departments have been on the

ground, actively enforcing the law, issuing and enforcing orders to disperse, and protecting public

safety and property as well as federal personnel.

        33. In the afternoon of June 6, 2025, some time after protesters had gathered near the

Roybal Federal Building and its "B-18" detention facility, federal agents sent a request to LAPD
for assistance. Within an hour, assistance from LAPD arrived on the scene and began

coordinating their officers to address the situation with the protesters.
        34. LAPD would have responded sooner had federal officials coordinated with LAPD

prior to engaging in the enforcement actions. Federal officials did not, and as a result LAPD was

unable to proactively plan for the potential incidents, for example by pre-positioning resources,

and it was not positioned to immediately deploy appropriate staffing and equipment.

        35. Around 7:50 p.m., LAPD declared an unlawful assembly in the area of the protest

site, at the intersection of Alameda and Temple Streets, and it issued an order for the protesters to

disperse or be arrested.

        36. By approximately 8:00 pm., the crowd started to disperse, with LAPD officers
blocking their path back to the B-18 detention center.


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        37. A few hours later, LAPD received a report that another crowd had gathered outside of
a parking lot in Chinatown. The group dispersed as federal agents established a perimeter.

        38. ICE immigration enforcement activity continued the next day, Saturday, June 7.

        39. Protests continued in the City of Los Angeles that were by all accounts peaceful.

        40. The LAPD issued a statement that night that "demonstrations across the City of Los

Angeles remained peaceful," and commended those who exercised their First Amendment rights

responsibly.

        41. Earlier in the day, outside the City, but within the County of Los Angeles, there were

other protests. At approximately 10: 15 a.m., personnel from LASD responded to the 6400 Block
of Paramount Boulevard in Paramount, CA, following reports of a large crowd gathering in the

area and obstructing traffic.

        42. Upon arrival, LASD deputies observed the presence of federal law enforcement

officers and a significant number of individuals gathering to protest. Federal officials did not give
LASD any forewarning of any of the planned operations in that area, or otherwise attempt to

coordinate activities.
        43. LASD positioned its officers around the intersection of Alondra Boulevard and
Atlantic Avenue, and deployed less-lethal weapons.
        44. At approximately 4:00 p.m., LASD declared an unlawful assembly and instructed
individuals to leave the area or be arrested. Officers shot tear gas canisters into the crowd and
protesters retreated.

        45. By 7:00 p.m., approximately 100 protesters had gathered on the other side of the 710
Freeway near Atlantic Avenue and Alondra Boulevard.
        46. At about 9:30 p.m. a line of LASD deputies and vehicles began moving toward the
crowd, forcing them back, and by midnight, most of demonstrators began to leave.

        47. LASD's standard practice is to call in assistance from other local agencies, such as
sheriff" s departments from neighboring counties, and then for direct aid from state agencies when

LASD determines that it cannot handle a situation. These two steps would be done before a




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request for federal assistance would be made. But LASD did not need and did not request the

assistance of other agencies to gain control of the protests.

         48. Governor Newsom has also taken steps to ensure that the State itself is actively

providing support, in close coordination with the City and County, and there are no unmet needs

from local law enforcement. Local law enforcement agencies have not requested any assistance,

but if they were to do so, the State is more than prepared to meet any needs that may arise. As an

example, on June 6 and June 7, the State deployed additional California Highway Patrol

personnel to maintain safety and order on Los Angeles highways.

         49. ICE continues to carry out immigration enforcement, including in Los Angeles

County.

c.       Without Consent or Even Official Notice to the Governor, the President Federalizes
         the National Guard
         50. Early on Saturday, June 7, Border Czar Tom Homan stated "Mayor [Karen] Bass

should be thanking us. She says they are going to mobilize-guess what? We are already
mobilizing. We are going to bring the National Guard in tonight."

         5 l. Over the course of the day, the Department of Defense (DOD) did not communicate

directly with the Governor's Office regarding any planned activation and deployment of
California National Guard members .

         52. At no time prior to issuing the memorandum to federalize the California National
Guard troops did the DOD seek approval from Governor Newsom to utilize California's National

Guard to protect federal agents and federal property, or otherwise notify or seek concurrence from

the Governor or his office regarding the planned mobilization of the National Guard.

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       53. At 5: 13 p.m. on June 7, the Governor communicated unequivocally and publicly on

social media that he disapproved of the federal government's plans, which were unnecessary

because "there is currently no unmet need," and which would be counterproductive because it

would "only escalate tensions" and "erode public trust":


            Governor Gavin Newsome       g                                                CO
            @CAgovernor

    The federal government is moving to take over the California National
    Guard and deploy 2,000 soldiers. That move is purposefully
    inflammatory and will only escalate tensions.

    LA authorities are able to access law enforcement assistance at a
    moment's notice. We are in close coordination with the city and county,
    and there is currently no unmet need.

    The Guard has been admirably serving LA throughout recovery.

    This is the wrong mission and will erode public trust.

    5:13 PM - Jun 7, 2025 - 7.4M Views

       54. On the evening of June 7, President Trump issued a memorandum entitled

"Department of Defense Security for the Protection of Department of Homeland Security

Functions" (the Trump Memo). The Trump Memo does not identify the Los Angeles protests, the

State, or any specific geographic region by name, but instead refers to "[n]umerous incidents of

violence and disorder" that "have recently occurred and threaten to continue in response" to ICE

enforcement of federal immigration laws and to threats to the security of federal immigration

detention facilities and other federal property. The Trump Memo also states that "[t]o the extent

that protests or acts of violence directly inhibit the execution of the laws, they constitute a form of

rebellion against the authority of the Government of the United States."

       55. The Trump Memo states: "In light of these incidents and credible threats of continued

violence, by the authority vested in me as President by the Constitution and the laws of the United



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States of America, I hereby call into Federal service members and units of the National Guard

under 10 U.S.C. 12406 to temporarily protect ICE and other United States Government personnel

who are performing Federal functions, including the enforcement of Federal law, and to protect

Federal property, at locations where protests against these functions are occurring or are likely to

occur based on current threat assessments and planned operations."

       56. The Trump Memo further directs the Secretary of Defense "to coordinate with the

Governors of the States and the National Guard Bureau in identifying and ordering into Federal

service the appropriate members and units of the National Guard under this authority." The

Trump Memo specifies that the members and units called into federal services "shall be at least
2,000 National Guard personnel and the duration of duty shall be for 60 days or at the discretion

of the Secretary of Defense." Finally, the Trump Memo authorizes personnel to "perform those

military protective activities that the Secretary of Defense determines are reasonably necessary to

ensure the protection and safety of Federal personnel and property."

       57. The provision cited by President Trump for his authority to take this step-section
12406-states that:

               Whenever-

               (1) the United States, or any of the Commonwealths or possessions, is invaded or

               is in danger of invasion by a foreign nation,

               (2) there is a rebellion or danger of a rebellion against the authority of the
               Government of the United States, or

               (3) the President is unable with the regular forces to execute the laws of the United

               States,

               The President may call into Federal service members and units of the National

               Guard of any State in such numbers as he considers necessary to repel the

               invasion, suppress the rebellion, or execute those laws. Orders for these purposes

               shall be issued through the governors of the States or, in the case of the District of

               Columbia, through the commanding general of the National Guard of the District

               of Columbia.


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10 U.S.C. § 12406.

       58. This is only the second time in our nation's history that a President has relied on the
exclusive authority of this provision to federalize the National Guard. The first was President

Richard Nixon when he called upon the National Guard to deliver the mail during the 1970 Postal

Service Strike. This is also the first time since 1965-when President Johnson sent troops to
Alabama to protect civil rights demonstrators, under different federal authority-that a president
has activated a State's National Guard without a request from the State's Governor.

       59. Later in evening of June 7, Secretary Hegseth sent a memorandum (the "DOD

Order") to the Adjutant General of California, who leads the California National Guard but also
holds a federal commission as a reserve of the United States Army. Secretary Hegseth attached

the Trump Memo and called into federal service 2,000 members of the California National Guard

for a period of 60 days.

       60. The Adjutant General subsequently shared the DOD Order with the Governor's

Office, however, at no time did the Governor or his Office provide consent to the mobilization or

issue orders through the Governor mobilizing the Guard members .

       61. Shortly thereafter on the same evening, the Adjutant General relinquished command
of the 79th Infantry Brigade Combat Team to General Gregory M. Guillot, commander of U.S.

Northern Command (USNORTHCOM). Since that time, all orders issued to this unit have come

from USNORTHCOM.
       62. The service members of the 79th Infantry Brigade Combat Team come from across

California. Many members are based in San Diego, but other members have individual residences
throughout the State, and the 79th has subordinate units based in various parts of the state,

including Richmond, California.
       63. When the 300 deployed California National Guard troops and armored vehicles began

arriving in Los Angeles on Sunday mouing, the city was quiet. The local police and sheriff"s
departments had addressed any disturbances up to that point.
       64. On June 8, the Governor's Office sent a letter to Secretary Hegseth objecting to the
federalization and deployment of California National Guard troops to Los Angeles and requesting


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that DOD rescind its order. The letter also reiterated that local law enforcement is more than

capable of responding to the situation in Los Angeles and had taken robust action to protect

federal facilities and maintain order.

       65. On June 9, 2025, Secretary Hegseth issued a second memorandum (June 9 DOD

Order) ordering the federalization of 2,000 additional California National Guard members. Once

again, this order was not issued through the Governor and did not provide any opportunity for the

Governor to review or consent.

       66. While the face of the Defendants' orders purport to direct the deployment of the

federalized National Guard members to protect federal property and federal personnel carrying
out their functions, these directives are phrased in an ambiguous manner and suggest potential

misuse of the federalized National Guard. It is unclear what actions Secretary Hegseth will deem

as "reasonably necessary to ensure the protection and safety of Federal personnel and property."

Among other concerns, the lengthy duration of the deployment (60 days) and location (not just

where protests are occurring, but where they are "likely" to occur) indicate that the National

Guard may be compelled to accompany immigration enforcement on its missions in any location
with potentially dissenting residents.
       67. Defendants have already made clear their intention to expand the use of these
National Guard members to effectuate interior civil immigration enforcement activities normally

conducted by civil immigration law enforcement officers. For example, on the evening of June 8,
President Trump issued a statement on social media purporting to direct DOD and other federal

agencies to "take all action necessary to liberate Los Angeles from the Migrant Invasion[.]" And

he informed the media: "We're going to have troops everywhere."

       68. Already, fear and terror are spreading in communities across California as a result of
Defendants' actions. And, as predicted by Governor Newsom and other state and local leaders,

the deployment of the National Guard seems to have only heightened tensions with protesters and

residents in Los Angeles.




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D.      Defendants' Mobilization of California's National Guard Members Usurps the
        Authority of the Governor and Harms the State of California
        69. Defendants' actions unlawfully activating 4,000 California National Guard members

into federal service directly infringes on Governor Newsom's proper role of Commander-in-Chief
of the California National Guard. Cal. Const. art. V, § 7, U.S. Const. art. I, §§ 8, cls. 15-16,

amend. X. Except when the State's militia has been lawfully called into federal service, the
Governor maintains command and control of the militia.
        70. As Commander-in-Chief, the Governor of California calls members of the California
National Guard into active duty to serve the needs of California. The California National Guard is

vital for various State functions including emergency and natural disaster response and drug
interdiction. The California National Guard acts to protect people and property in many ways, and

the State relies on the National Guard to be ready to intervene in emergent situations to help

protect Californians. As a general matter, it is the Governor, in conjunction with local law

enforcement, who is best situated to determine the resources needed in times of emergency.

        71. By unlawfully diverting 4,000 service members from their state responsibilities for at
least 60 days, Defendants' action impairs the Governor's ability as Commander-in-Chief of the
California National Guard to call upon the State's National Guard for emergencies and to carry

out other critical functions .
        72. The California National Guard, composed of the California Army National Guard and
the California Air National Guard, has approximately 18,733 service members, with 12,212

available for deployment. Most of the California National Guard members serve as reserve forces,

meaning that their role in the California National Guard is part-time, and they are generally

employed in civilian roles separate from their work as service members. Many of these service

members receive specialized training to perform specific duties, and all play a critical role in

protecting the State.

        73. As a recent example of the National Guard's important work, in January 2025, the

Guard was called upon to assist in fighting one of the most destructive fires in the State's history

in Los Angeles County. Between January 7, 2025, when the fires started, and January 11, 2025,




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Governor Newsom activated 2,500 service members to support firefighting efforts. Many of the

National Guard members were dispatched the same day as the fire began. In addition to

firefighting support, the National Guard's provision of resources was critical to assisting local

authorities and ensuring the safety of the surrounding community, firefighting brigades, and

pilots ,

           74. This deployment comes when California is in the midst of peak wildfire season for
both Northern and Southern California and may need to rely on their crucial support, as the State

did during the Los Angeles fires earlier this year.

           75. When the State faces simultaneous emergencies, the National Guard's resources can
be stretched thin. For example, in 2020, the California National Guard was required to respond to

COVID-19, multiple wildfires at once, and civil unrest, significantly burdening the National
Guard's military policing resources and making it difficult to fulfill emergent needs across the

State. Such overlapping emergencies cannot be predicted.

           76. All 4,000 of the federally deployed National Guard members are now unavailable if a
natural disaster or other state-emergency erupts. These National Guard members, coming from

the 79th Infantry Brigade Combat Team, include a large number of guard members who serve in

Taskforce Rattlesnake, the State's specialized fire combat unit. These service members have

specialized training in wildland fire mitigation and prevention and direct fire suppression, and
would be highly difficult for the State to replace.
           77. The 79th Infantry Brigade also contains Counterdrug Taskforce members that

specialize in providing support to stop the trafficking of fentanyl at the U.S.-Mexico Border.

           78. Because these National Guard members have been federalized for 60 days-
unlawfully, as detailed below-the State of California is deprived of resources to protect itself
and its citizens, and of critical responders in the event of a State emergency.




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                                               CLAIMS

                                  FIRST CAUSE OF ACTION
                                          Ultra Vires
                                        (All Defendants)

       79. Plaintiffs reallege and incorporate by reference the foregoing allegations as fully set

forth herein.

       80. Neither the President nor an agency can take any action that exceeds the scope of

their constitutional or statutory authority.

       81. Federal courts possess the power in equity to grant injunctive relief "with respect to
violations of federal law by federal officials." Armstrong v. Exceptional Child Ctr., Inc., 575 U.S.

320, 326-27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief against

federal officials who act "beyond the] limitations" imposed by federal statute. Larson v.
Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

       82. Section 12406 requires that orders pursuant to that section be "issued through the

governors of the States or, in the case of the District of Columbia, through the commanding

general of the National Guard of the District of Columbia." 10 U.S.C. § 12406.

       83. Section 12406 originated as part of the Militia Act of 1903. Publ. L. No. 57-33, 32

Stat. 775 (1903). The original section did not include this provision, but the statute was

subsequently amended to include the requirement that orders be issued through the governor.
Militia Act of 1908, ch. 204, 35 Stat. 399 (1908).

       84. "'A statute should be construed so that effect is given to all its provisions, so that no

part will be inoperative or superfluous, void or insignificant.'" Hibbs v. Winn, 542 U.S. 88, 101

(2004) (quoting Singer, Statutes and Statutory Construction § 46.06, pp. 181-186 (rev. 6th ed.

2000)). "'[A] significant change in language is presumed to entail a change in meaning' even
when legislative history is silent as to Congress's intent." In re Saldana, 122 F.4th 333, 341 (9th

Cir. 2024) (quoting Antonin Scalia & Bryan A. Gamer, Reading Law: The Interpretation of Legal

Texts 256-60 (2012)).




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       85. As discussed supra, Defendants did not notify Governor Newsom of the orders or
attempt to obtain his consent. Nor did they issue their orders through the Governor as the statute

directs. This circumvention deprived the Governor of the opportunity that compliance with the

terms of the statute would have afforded him-at a minimum, consultation with the President or
other federal officials not only as to whether the California National Guard should be called into

federal service at all, but if so, which service members and in what number should be called, and

for what purposes and what period of time.
       86. President Trump's Memo purporting to call into federal service members of the
California National Guard under 10 U.S.C. § 12406 without issuing this order through Governor
Newsom is contrary to law and outside of the authority granted to the President under that statute.

       87. Secretary Hegseth's orders purporting to federalize 4,000 members of the California
National Guard without issuing these orders through Governor Newsom are contrary to law and

outside of Secretary Hegseth's authority.
       88. Defendants' actions are ultra wires for reasons beyond their failure to follow the
procedural requirements of section 12406. Conditions in California did not fall under any of the

situations set forth in section 12406 that would allow its invocation at the time it was invoked, nor

do they now, nor is it reasonable to expect them to for the next 60 days. The statute authorizes the

federalization of the National Guard to (1) repel invasion of the United States by a foreign nation,

(2) suppress a rebellion or danger of rebellion against the authority of the Government of the
United States, or (3) execute federal laws when the President is unable to do so with the regular

forces. 10 U.S.C. § l2406(l)-(3).
       89. The Trump Memo does not (and cannot) assert that California is being invaded or is

in danger of invasion by a foreign power. Nor has the Trump Administration identified a

"rebellion," which is generally understood to connote "an organized attempt to change the

government or leader of a country, [usually] through violence," something much beyond mere

protest or sporadic acts of disobedience and violence. Rebellion, Black 's Law Dictionary (12th
ed. 2024). The Trump Memo asserts that "[t]o the extent that protests or acts of violence directly

inhibit the execution of the laws, they constitute a form of rebellion against the authority of the


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Government of the United States," but primarily peaceful protests with some acts of violence or

civil disobedience do not rise to the level of a rebellion. Indeed, nothing about the scale of the

protests or acts of violence set these events apart from other recent periods of significant social

unrest.

          90. Defendants have also not shown that any of the protests have rendered the President

"unable with the regular forces to execute the laws of the United States." 10 U.S.C. § 12406(3).

Indeed, Governor Newsom and Mayor Karen Bass both reported on June 7, 2025, that they had

sufficient resources to respond to any potential unrest or threats to safety or property. A June 8

letter from the Office of Governor Newsom to Secretary Hegseth notes that as "demonstrated by
the robust law enforcement response yesterday evening to protect federal facilities, local law

enforcement resources are sufficient to maintain order." And on both June 6 and 7, ICE officials

were able to act on warrants and make arrests.

          91. Violation of the Posse Comitatus Act is imminent, if not already underway.
          92. Accordingly, Plaintiffs are entitled to a declaration that any action taken pursuant to

the June 7, 2025 Presidential Memorandum is invalid, and an injunction prohibiting DOD

Defendants from implementing the Memorandum.

                             SECOND CAUSE OF ACTION
          Tenth Amendment of the U.S. Constitution; Article I, §8, cls. 15-16; Title 32
                                     (All Defendants)

          93. Plaintiffs reallege and incorporate by reference the foregoing allegations as fully set
forth herein.

          94. The Tenth Amendment provides that "[t]he powers not delegated to the United States

by the Constitution, nor prohibited by it to the States, are reserved to the States respectively, or to

the people."

          95. The President's unlawful order calling up "at least 2,000 National Guard personnel"
infringes on Governor Newsom's role as Commander-in-Chief of the California National Guard
and violates the State's sovereign right to control and have available its National Guard in the

absence of a lawful invocation of federal power.



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       96. Under our system of federalism, policing and crime control remain one of the most

basic rights reserved to the states. "Indeed, we can think of no better example of the police power,

which the Founders denied the National Government and reposed in the States, than the

suppression of violent crime and vindication of its victims." United States v. Morrison, 529 U.S.

598, 618 (2000). "[T]he power to establish the ordinary regulations of police has been left with

the individual States, and cannot be assumed by the national government." Patterson v. State of

Kentucky, 97 U.S. 501, 503 (1878).

       97. Local control of law enforcement is also essential to the protection of liberty and

government accountability. "Because the police power is controlled by 50 different States instead
of one national sovereign, the facets of governing that touch on citizens' daily lives are normally
administered by smaller governments closer to the governed. The Framers thus ensured that

powers which "in the ordinary course of affairs, concern the lives, liberties, and properties of the

people" were held by governments more local and more accountable than a distant federal

bureaucracy. The Federalist No. 45, at 293 (J. Madison)." Nat'I Fed 'n of lndep. Bus. v. Sebelius,

567 U.S. 519, 536 (2012).

       98. Deploying over 4,000 federalized military forces to quell a protest or prevent future
protests despite the lack of evidence that local law enforcement was incapable of asserting control

and ensuring public safety during such protests represents the exact type of intrusion on State

Power that is at the heart of the Tenth Amendment. State officials in conjunction with local
officials, such as the Los Angeles Police Department and the Los Angeles Sheriffs Department
are in the best position to determine what resources are necessary to preserve public safety amid

protest activity, and to intervene to enforce public safety and criminal laws when warranted.

       99. Further, here the federal government is not merely intruding on the province of the
State, but doing so by taking command of the State's own resources, the California National

Guard, which remains under State control unless properly federalized. Proper federalization has

not happened here.
        l00.Because the January 7, 2025 Presidential Memoranda and resulting DOD Order and

June 9 DOD Order purport to federalize the National Guard for an unconstitutional and illegal


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purpose, Plaintiffs respectfully ask the Court to find that the Orders are void, and that the

National Guard should be transferred back to the rightful command and control of the State of

California through Governor Newsom.

        101 .Plaintiffs are also entitled to a declaration that any action taken pursuant to the June 7,

2025 Presidential Memorandum is invalid, and an injunction prohibiting DOD Defendants from
implementing the Memorandum.

                                 THIRD CAUSE OF ACTION
                         Violation of the Administrative Procedure Act
                                   (Against DOD Defendants)

       102.Plaintiffs reallege and incorporate by reference the foregoing allegations as fully set

forth herein.
        l03.Under the Administrative Procedure Act, a court must "hold unlawful and set aside

agency action" that is "arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law," that is "contrary to constitutional right [or] power," or that is "in excess

of statutory jurisdiction, authority, or limitations, or short of statutory right." 5 U.S.C.
§ 706(2)(A)-(C)~
        l04.An agency may not take any action that exceeds the scope of its constitutional or
statutory authority.
        l05.The DOD Defendants lack authority to federalize members of the California National
Guard without issuing such orders through Governor Newsom, who has not consented to their

actions or been afforded the opportunity to consult on any deployment. Such agency actions are

unauthorized, unprecedented, and not entitled to deference by this Court.

        l06.Accordingly, Plaintiffs are entitled to a declaration that Secretary Hegseth's June 7
and June 9 Orders are invalid, and an injunction prohibiting DOD Defendants from implementing

the June 7, 2025 Presidential Memorandum.




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                                   PRAYER FOR RELIEF

       107.Wherefore, Plaintiffs request that the Court enter a judgment against Defendants and
award the following relief:
           a. A declaration that the June 7, 2025 Presidential Memorandum calling into Federal
              service members and units of the National Guard under 10 U.S.C. § 12406 and

               Secretary Hegseth's June 7 and June 9 Orders (and any future orders) calling the
               California National Guard into service under the stated authority of the President's
               use of 10 U.S.C. § 12406 are unauthorized by and contrary to the laws of the

               United States,
           b. Injunctive relief prohibiting the DOD Defendants from federalizing and deploying
               the California National Guard and military without meeting the requirements of 10

               U.S.C. § 12406, which include that issuance shall be "through the Governor" and

               only for the reasons set forth in 10 U.S.C. § 12406 (1-3) and not to conduct

               domestic law enforcement activities,

           c. Award the State of California its costs and reasonable attorneys' fees, and

           d. Such additional relief as the court deems proper and the interests ofjustice may

               require.




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Dated: June 9, 2025                           Respectfully submitted,

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                                              * Admission Pending




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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




GAVIN NEWSOM, IN HIS OFFICIAL                   no. 3:25-cv-04870-CRB
CAPACITY AS GOVERNOR OF THE STATE OF
CALIFORNIA; STATE OF CALIFORNIA,                PLAINTIFFS' EX PARTE MOTION FOR
                                                A TEMPORARY RESTRAINING
                                    Plaintiffs, ORDER

              v.                                Date:
                                                Time:
                                                Courtroom:
DONALD TRUMP, IN HIS OFFICIAL                   Judge:       Charles R. Breyer
CAPACITY AS PRESIDENT OF THE UNITED             Trial Date:
STATES; PETE HEGSETH, IN HIS OFFICIAL           Action Filed: 6/9/2025
CAPACITY AS SECRETARY OF THE
DEPARTMENT OF DEFENSE; U.S.
DEPARTMENT OF DEFENSE,

                                 Defendants .




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   PLAINTIFFS' EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

         PLEASE TAKE NOTICE that Plaintiffs GAVIN NEWSOM, in his official capacity as

Governor of the State of California and the STATE OF CALIFORNIA (collectively, Plaintiffs)

hereby move the Court pursuant to Federal Rule of Civil Procedure 65 for a temporary restraining

order (TRO) and order to show cause why a preliminary injunction should not issue against

Defendants PETE HEGSETH, in his official capacity as Secretary of the Department of Defense,

and the United States Department of Defense (collectively, DOD Defendants), and their officers,

agents, servants, employees, and any other persons who are in active concert or participation with

them.
         Plaintiffs respectfully move the Court to enter a temporary restraining order and

preliminary injunction prohibiting DOD Defendants from taking any of the actions described in
Plaintiffs' contemporaneously-filed Proposed Order and Order to Show Cause.
         This motion is based on this Ex Parte Motion, the Complaint for Declaratory and

Injunctive Relief (Doc. 1), the accompanying Memorandum of Points and Authorities, the

accompanying proposed Temporary Restraining Order, the accompanying supporting

declarations, as well as the papers, evidence, and records on file in this action, and any other

written or oral evidence or argument presented at or before the time this motion is heard by the

Court.
         As set forth in the accompanying Memorandum of Points and Authorities, a TRO is
necessary by 1:00 p.m. on June 10, 2025, to prevent immediate and irreparable harm to Plaintiffs.

Absent immediate injunctive relief, Defendants' use of the military and the federalized National

Guard to patrol communities or otherwise engage in general law enforcement activities creates

imminent harm to State Sovereignty, deprives the State of vital resources, escalates tensions and

promotes (rather than quells) civil unrest. Accordingly, the Plaintiffs seek a TRO and preliminary

injunction to preserve the status quo.

         Plaintiffs respectfully request leave to file excess pages pursuant to the Court's standing

order. Good cause exists for leave, this case present complex and novel issues related to the

proper use of the military for domestic law enforcement and comes to the Court on an emergency


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basis.
         Notice of this Ex Parte Motion has been and will be provided to Defendants as set forth in

the accompanying Certificate Regarding Notice to Defendants of Ex Parte Motion. Defendants

stated in response: "Defendants oppose any ex parte proceedings in this matter and request no less

than 24 hours from the time that Plaintiffs file their motion for a temporary restraining order to

file a response brief Should the Court desire to rule on the temporary restraining order in the
absence of Defendants' written response, Defendants seek to be heard at a hearing and are

available at any time."

Dated: June 10, 2025                                   Respectfully submitted,

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                     MEMORANDUM OF POINTS AND AUTHORITIES
                                        INTRODUCTION
      In the United States, the police-and not the military-enforce the law. This bedrock
principle flows from the Founding, finds expression in Acts of Congress, and lives at the core of

our civil society. Ours is a Nation of laws, enforced through even-handed justice, and not ruled by

military decree. But Defendants, including President Trump and Secretary of Defense Hegseth

have sought to bring military personnel and a "warrior culture" to the streets of cities and towns

where Americans work, go to school, and raise their families. Now, they have turned their sights

on California with devastating consequences, setting a roadmap to follow across the country.
      Through a June 7 Presidential Memorandum and subsequent implementing orders,

Defendants have seized control of 4,000 members of the California National Guard over the

express objection of California's Governor and deployed them to Los Angeles, the largest county

and second largest city in the country. Unsatisfied with this excessive and unnecessary show of

force, Defendants have sent another 700 active-duty Marines into Los Angeles.
      All of this was unlawful. The President purported to federalize the California National

Guard under 10 U.S.C. § 12406, which authorizes him to call the Guard into federal service in

only very narrow circumstances, none of which is present. To put it bluntly, there is no invasion

or rebellion in Los Angeles, there is civil unrest that is no different from episodes that regularly

occur in communities throughout the country, and that is capable of being contained by state and

local authorities working together. And nothing is stopping the President from enforcing the laws

through use of ordinary, civilian mechanisms available to federal officers. True enough, many

Californians-and many Angelenos-oppose the Administration's immigration enforcement
policies. They have expressed that view through largely peaceful protest. In the isolated instances

of more significant disturbance, Los Angeles-area law enforcement has quickly and

professionally responded, with support from the California Highway Patrol and with additional

resources available through the State's well-established law enforcement mutual aid system.

What is more, even in circumstances where the statutory predicates are present, Section 12406




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requires orders to federalize the National Guard to be "issued through the governors of the

States," and here the Governor never issued such an order or gave consent.

      The Marine Corps' deployment for law enforcement purposes is likewise unlawful. For

more than a century, the Posse Comitatus Act has expressly prohibited the use of the active duty

armed forces and federalized national guard for civilian law enforcement. And the President and

Secretary Hegseth have made clear-publicly and privately-that the Marines are not in Los
Angeles to stand outside a federal building.

      Instead, as established in the attached declarations, Defendants intend to use unlawfully

federalized National Guard troops and Marines to accompany federal immigration enforcement
officers on raids throughout Los Angeles. They will work in active concert with law enforcement,

in support of a law enforcement mission, and will physically interact with or detain civilians.
These unlawful deployments have already proven to be a deeply inflammatory and unnecessary

provocation, anathema to our laws limiting the use federal forces for law enforcement, rather than

a means of restoring calm. Federal antagonization, through the presence of soldiers in the streets,

has already caused real and irreparable damage to the City of Los Angeles, the people who live

there, and the State of California. They must be stopped, immediately.

      To preserve the peace, Plaintiffs respectfully urge the Court to grant the circumscribed

emergency relief requested through this motion for a temporary restraining order, which will

prevent the use of federalized National Guard and active duty Marines for law enforcement
purposes on the streets of a civilian city. This motion does not seek to prevent any of those forces

from protecting the safety of federal buildings or other real property owned or leased by the

federal government, or federal personnel on such property. It instead seeks narrow relief tailored

to avoid irreparable harm to our communities and the rule of law that is likely to result if

Defendants are allowed to proceed with their plans to use Marines and federalized National

Guard to enforce immigration laws and other civil laws on the streets of our cities.




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                                    STATEMENT OF FACTS
I.    FEDERAL IMMIGRATION ENFORCEMENT ACTIONS In Los ANGELES

      On Friday, June 6, 2025, Immigration and Customs Enforcement (ICE) officers carried out

enforcement actions at multiple locations within Los Angeles County and the City of Los

Angeles. Declaration of Brian Olmstead ("Olmstead Dec.")116. ICE officers were executing

search warrants at various locations around Los Angeles. Declaration of Nicholas Espiritu

("Espiritu Dec."), Ex. F. ICE reportedly also carried out enforcement activities that included

detentions and arrests at a doughnut shop in Los Angeles and several Home Depot parking lots in

the Westlake District in Los Angeles. Id.

      During the course of these operations in places where members of immigrant communities

work and go about daily business, ICE and its agents reportedly took actions that inflamed

tensions and provoked protest. Agents engaged in military-style operations while conducting

these detentions and arrests that sparked panic in the community. See id. at l (Los Angeles Mayor

Karen Bass stating "the [ICE] activity was meant to 'sow terror' in the nation's second-largest
city"). For example, in some instances, ICE agents were reportedly observed conducting

"military-style" operations. Espiritu Dec., Ex. G. In all, the Department of Homeland Security

reported that its enforcement activities on Friday, June 6, resulted in the arrest of approximately

44 individuals and 70-80 people detained. Espiritu Dec., EX. H. (noting 44 individuals were

detained), Espiritu Dec, Ex. G (noting that "between 70 and 80 people had been detained").

      That same day, members of the public gathered at the Edward R. Roybal Federal Building

and U.S. Courthouse in Los Angeles to protest the escalation in force and scope of immigration

enforcement activities. Espiritu Dec., Ex. I. Protestors gathered at this location based on reports

that individuals who were detained during the ICE operations were being held there. Id. Protesters

also gathered at other locations where ICE operations were reportedly happening, including in the

cities of Paramount and Compton. Olmstead Dec. 117.

      The Los Angeles protests continued into Saturday June 7, and Sunday, June 8, 2025 .

Olmstead Dec. W 6-14. While some protestors began to engage in unlawful behavior, the

majority did not, and state and local law enforcement agencies contained the situation. See id.



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W 9, 10. Governor Newsom and other state and local officials have unequivocally condemned all
violence and other conduct that damages or threatens people and property. See, et. , Espiritu

Dec., Ex. Q (statement from Governor Newsom on June 7, 2025: "Never use violence. Speak out

peacefully"), Espiritu Dec., EX. N at 6 (statement from LAPD Chief Jim McDonnell on June 9,

2025: "There is no tolerance for criminal activity under the guise of protest"), Espiritu Dec., EX.

L (Mayor Karen Bass (@MayorofLA) posted on X, on June, 7, 2025 at 6:06 pm: "Everyone has

the right to peacefully protest, but let me be clear: violence and destruction are unacceptable, and

those responsible will be held accountable").

II.    LOCAL AUTHORITIES RESPOND AND MANAGE CONDITIONS.

       Consistent with their extensive training and experience responding to both large-scale

peaceful protests and civil disturbances, the Los Angeles Police Department (LAPD) and Los

Angeles Sherriff Department (LASD) responded promptly and effectively to the events in Los

Angeles. Olmstead Dec. W 6-9, 11-12, 14. For instance, LAPD responded to protests at Los

Angeles' Metropolitan Detention Center and LASD responded to protests in the cities of

Paramount and Compton. Id. 11116-7, 9-10, 12. And even though both LAPD and LASD are able

to request aid from nearby California law enforcement agencies under the state's Mutual Aid

System during civil disturbances, id. W 2-5, neither needed to take even that step at first. Id. W 6-

11. That is because the unlawful aspects of the disturbances were not different in scale or kind

than that which occurs periodically throughout the country and is eventually brought under

control by civilian authorities.

III.   THE PRESIDENT, WITHOUT THE GOVERNOR'S CONSENT, FEDERALIZES 4,000
       CALIFORNIA NATIONAL GUARD TROOPS AND MOBILIZES ADDITIONAL U.S.
       MARINES.

       That evening, the President issued a memorandum ("June 7 Trump Memo"), which,

without naming any particular locale, declared that "[n]umerous incidents of violence and

disorder" had "recently occurred and threaten to continue in response" to enforcement of federal

immigration laws. Espiritu Dec., Ex. E. Asserting "credible threats of continued violence," the

June 7 Trump Memo purported to "call into Federal service members and units of the National

Guard under 10 U.S.C. 12406" to "temporarily protect" federal government personnel and federal


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property. Id. The June 7 Trump Memo then directed the Secretary of Defense "to coordinate with

the Governors of the States and the National Guard Bureau in identifying and ordering into

Federal service the appropriate members and units of the National Guard under this authority"

which "shall," regardless, "be at least 2,000 National Guard personnel and the duration of duty

shall be for 60 days or at the discretion of the Secretary of Defense." Id. It further instructed the

Secretary of Defense to take measures "reasonably necessary to ensure the protection and safety

of Federal personnel and property" where protests were occurring or "likely" to occur. Id.
      At no time prior to issuing the June 7 Trump Memo to federalize the California National

Guard did DOD notify or seek approval from Governor Newsom to utilize or "mobilize"
California's National Guard. Espiritu Dec., Ex. K at 2 (June 8, 2025 letter from the Governor's

office to the U.S. Secretary of Defense, informing the Secretary that "the Department of Defense

did not transmit this directive to the Office of the Governor, nor was it approved or ordered by the

Governor of California").

      Later in the evening of June 7, Secretary Hegseth sent an order ("First DOD Order") to the

Adjutant General of California, who serves in dual roles as the leader of the California National

Guard and as a reserve of the U.S. Army. Espiritu Dec., Ex. O. The First DOD Order attached the

June 7 Trump Memo and called into federal service 2,000 members of the California National

Guard for a period of 60 days. Id. Neither the Governor nor his office ever consented to the

mobilization of the National Guard nor were presented with an opportunity to provide input on
the mobilization, the Governor only learned of the First DOD Order from the Adjutant General

after it was received from DOD. See Espiritu Dec., Ex. K at 1-2 (June 8, 2025 letter from the

Governor's office to the U.S. Secretary of Defense noting that the Adjutant General of California,

but not the Governor of California, received the First DOD Order). Nevertheless, the Adjutant

General relinquished command of the 79th Infantry Brigade Combat Team to General Guillot,

commander of U.S. Northern Command, which has issued all orders to the National Guard Unit

since that time. See Espiritu Dec., Ex. J (June 8, 2025 Press Release from USNORTHCOM

noting its command over California National Guard units deployed in the greater Los Angeles

area). Commenting on the situation on June 8, the President stated over media channels that DOD


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and other federal agencies must "take all action necessary to liberate Los Angeles from the

Migrant Invasion" and that "[w]e're going to have troops everywhere." Espiritu Dec., Ex. M.

      On June 9, 2024 at 3:24 p.m., Secretary Hegseth posted on X that "approximately 700

active-duty U.S. Marines from Camp Pendleton are being deployed to Los Angeles to restore

order" and "to defend federal law enforcement officers." Declaration of Paul S. Eck ("Eck. Dec.")

1118. The same day, Secretary Hegseth issued a second memorandum ("Second DOD Order," and

collectively with the First DOD Order, the "DOD Orders") ordering the federalization of 2,000

additional California National Guard members, again without providing any opportunity for

Governor Newsom to review or consent to that mobilization. Espiritu Dec., Ex. S at l (June 10,
2025 letter from the Governor's office to the U.S. Secretary of Defense noting that "[T]he

Governor of California was given no opportunity to provide or withhold his consent, nor, at a

minimum, to consult with the President or [the Secretary of Defense] as to which service

members and in what number should be called, and for what purposes and what period of time.").

Iv.   CURRENT STATUS OF PROTESTS AND NATIONAL GUARD DEPLOYMENT.
      Only about 325 California National Guard troops and armored vehicles were initially

deployed, with the remaining 1700 under federal command but not deployed. When the

California National Guard troops first arrived in Los Angeles on the morning of June 8, the city

was quiet. See Espiritu Dec., Ex. R ("The situation appeared calm to start on Sunday, with CBS

News Los Angeles reporters at the scene reporting no signs of conflict until about 3 p.m., when a
large group of demonstrators marched from the steps of L.A. City Hall to the federal building,

where the detention center is located."). Protests remain largely peaceful and civilian law

enforcement has ably responded to isolated disturbances. Id. Accordingly, Governor Newsom's

office sent a letter to Secretary Hegseth objecting to the federalization and deployment of

California National Guard troops to Los Angeles and requesting that DOD rescind the First DOD

Order. Espiritu Dec., Ex. K.

      Instead, the State became aware on June 9, 2025 that mobilized federalized California

National Guard units would be providing support for counter-immigration operations and not

only at federal buildings. Eck Dec. 1119. Specifically, these activities-scheduled to begin today,


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June 10, 2025-will include "holding a secure perimeter in communities around areas where

immigration enforcement activities would take place, and securing routes over public streets

where immigration enforcement officers would travel." Id.

                                       LEGAL STANDARD
       The purpose of interim injunctive relief is "not to conclusively determine the rights of the

parties," but instead to balance the equities as litigation moves forward." Trump v. Int'l Refugee

Assistance Project, 582 U.S. 571, 579, 137 S.Ct. 2080 (2017). The standard for a temporary

restraining order is generally the same as for a preliminary injunction. Stuhlbarg Int'l Sales Co. v.
John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). "A plaintiff seeking a preliminary

injunction must establish that he [or she] is likely to succeed on the merits, that he [or she] is

likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities
tips in his [or her] favor, and that an injunction is in the public interest." Winter v. Nat. Res. Def

Council, Inc., 555 U.S. 7, 20 (2008). In the Ninth Circuit, a plaintiff may also obtain a

preliminary injunction under a "sliding scale" approach by raising "serious questions" going to

the merits of plaintiff" s claims and showing that the balance of hardships tips "sharply" in

plaintiffs favor. A Woman 's Friend Pregnancy Res. Clinic v. 8ecerra, 901 F.3d 1166, 1167 (9th

Cir. 2018), see also E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 668 (9th Cir. 2021).

When the government is a party, the last two Winter factors (the equities and public interest)

merge. E. 8ay Sanctuary Covenant, 993 F.3d at 668 (citing inken v. Holder, 556 U.S. 418, 435
(2009)).

                                            ARGUMENT

I.    PLAINTIFFS ARE LIKELY To SUCCEED ON THE MERITS, AND AT A MINIMUM,
      PLAINTIFFS PRESENT SERIOUS QUESTIONS GOING To THE MERITS

      A.    The Section 12406 Federalization Orders are Unlawful

      Both the Constitution and federal law strictly limit the domestic use of the National Guard.

Article I, § 8, Cls. 15-16 ("the Militia Clauses") of the Constitution give Congress the power "to

provide for calling forth the militia to execute the laws of the union, suppress insurrections, and

repel invasions," as well as the power "to provide for organizing, arming, and disciplining, the


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militia, and for governing [the militia when] employed in the Service of the United States."

However, Congress has delegated its power to deploy the National Guard domestically to the

President in certain specific circumstances, set forth in statute. One of these instances is 10 U.S.C.

§ 12406, which provides that:

            Whenever-

                   (1) the United States, or any of the Commonwealths or possessions, is invaded
            or is in danger of invasion by a foreign nation,

                 (2) there is a rebellion or danger of a rebellion against the authority of the
            Government of the United States, or

                 (3) the President is unable with the regular forces to execute the laws of the
            United States,

            the President may call into Federal service members and units of the National Guard
            of any State in such numbers as he considers necessary to repel the invasion, suppress
            the rebellion, or execute those laws. Orders for these purposes shall be issued through
            the governors of the States or, in the case of the District of Columbia, through the
            commanding general of the National Guard of the District of Columbia.
10 U.S.C. § 12406. The President's June 7 memorandum that purports to federalize California's

National Guard relies on Section 12406 for its authority.

       Section 12406 means what it says: it is applicable only when both the requisite conditions

exist and the federalization order is "issued through the" Governor. See Octane Fitness, LLC v.

ICON Health & Fitness, Inc., 572 U.S. 545, 553 (2014) ("As in all contested questions of
statutory interpretation, "[o]ur analysis begins and ends with the text."), see also City of Los

Angeles v. Barr, 941 F.3d 931, 940 (9th Cir. 2019) ("We give Congress's words their ordinary

and everyday meaning, and may consult dictionary definitions to ensure a plain interpretation.").

If either condition is not satisfied, the President may not use this statute to call members of the

National Guard into federal service. Here, neither condition was met at the time the California

National Guard was purportedly federalized and, as a consequence, Plaintiffs have a high

likelihood of prevailing on their claims.




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            1.    There were no conditions in California that would allow invocation of
                  Section 12406.

       The Trump Memo does not (and cannot) assert that California is being invaded or is in

danger of invasion by a foreign power, so that ground in inapposite. 10 U.S.C. § 12406(1). There

is also plainly no "rebellion" under 10 U.S.C. § 12406(2). "Rebellion" means "an organized
attempt to change the government or leader of a country, [usually] through violence," something

far beyond anything that has occurred or is likely to occur in Los Angeles. Rebellion, Black 's Law

Dictionary (l2th ed. 2024). The Trump Memo asserts that "[t]o the extent that protests or acts of

violence directly inhibit the execution of the laws, they constitute a form of rebellion against the
authority of the Government of the United States," but simply saying so doesn't make it true.

Primarily peaceful protests that include some level of civil disturbance do not rise to the level of a

rebellion. Indeed, nothing about the scale of the protests or acts of violence set these events apart

from other recent periods of significant social unrest.

       On June 7 and June 8, members of the public gathered to protest immigration enforcement

activities in their communities, to express their opposition to the manner in which the Trump

Administration has executed its immigration agenda, and to stand in solidarity with the

individuals and families most directly impacted by the actions. Most protesters have exercised

their First Amendment rights in a peaceful, non-violent, and legally compliant manner. While
incidents of unrest and violence have been reported, those incidents are the exception. And when

protests have crossed the line from peaceful to destructive or violent, Governor Newsom and

other state and local officials have unequivocally condemned that conduct and called for

prosecution. And state and local law enforcement agencies have quickly and effectively

responded to these limited incidents, including by making dozens of arrests. Indeed, Los Angeles

Police Department (LAPD) and Los Angeles Sheriff Department (LASD) have substantial

training and experience responding to protests and riots on even larger scales than what Los

Angeles has experienced in recent days.
       These resources and training have proved sufficient to address the issue. Governor

Newsom and Mayor Karen Bass both reported on June 7, 2025, that they had sufficient resources



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to respond to any potential unrest or threats to safety or property. In a June 8 letter to Secretary

Hegseth, Governor Newsom's Office affirmed that the "robust law enforcement response [] to

protect federal facilities" demonstrated "local law enforcement resources are sufficient to

maintain order." At no time have these serious but limited incidents of violence, let alone the

peaceful protests, overwhelmed local law enforcement or come close to an event that could be

considered "an organized attempt to change the government or leader of a country." Indeed, these

protests have not even risen to the level of protests or riots that Los Angeles and other major

cities have seen in recent years-and dealt with entirely without federalization of National Guard
troops.

          Finally, Defendants have not shown that any of the protests have rendered the President

"unable with the regular forces to execute the laws of the United States." 10 U.S.C. § 12406(3).

According to news reports that rely on statements from the Department of Homeland Security, on

Friday, June 6, 2025 and Saturday, June 7, 2025, Immigration and Customs Enforcement (ICE)

officers carried out enforcement actions at multiple locations within Los Angeles County and the

City of Los Angeles. In all, the Department of Homeland Security reported that its enforcement

activities on Friday, June 6, resulted in the arrest of approximately 44 individuals and 70-80

people detained in total. This ability to carry out enforcement activities with regular Department

of Homeland Security officers does not amount to an inability to execute federal laws. See 10

U.S.C. § 12406(3). And it is a far cry from the only other time in our nation's history that a
President has relied on the exclusive authority of Section 12406 to federalize the National Guard.

There, President Richard Nixon called upon the National Guard to deliver the mail during the

1970 Postal Service Strike, which involved over 210,000 postal workers and over 670 locations

throughout the country, virtually crippling the distribution of mail in the country. Here, DHS

officials were able to engage in enforcement activities, and continue to be able to do so

throughout the country including in Los Angeles.

              2.    The Governor did not issue the federalization order.
          Section 12406 requires that orders pursuant to that section be "issued through the

governors of the States." 10 U.S.C. § 12406. The Governor did not do so, and that is an


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independent, free-standing reason for the Court to conclude that the federalization orders are

unlawful.

        Section 12406 originated as part of the Militia Act of 1903. Publ. L. No. 57-33, 32 Stat.

775 (1903). The original section did not include this provision, but the statute was subsequently

amended to include the requirement that orders be issued through the governor. Militia Act of

1908, ch. 204, 35 Stat. 399 (1908). "'A statute should be construed so that effect is given to all its

provisions, so that no part will be inoperative or superfluous, void or insignificant."' Hibbs v.

Winn, 542 U.S. 88, 101 (2004) (quoting Singer, STATUTES AND STATUTORY CONSTRUCTION §
46.06, pp. 181-86 (rev. 6th ed. 2000)). "'[A] significant change in language is presumed to entail
a change in meaning' even when legislative history is silent as to Congress's intent." In re
Saldana, 122 F.4th 333, 341 (9th Cir. 2024) (quoting Antonin Scalia & Bryan A. Gamer,
READING LAW: THE INTERPRETATION or LEGAL TEXTS 256-60 (2012)). Here, Congress chose to

include language that affirmatively required orders under § 12406 be issued by the Governor,

who is in the best position to understand the public safety and other needs of the communities in

that state. Any order not issued in compliance with that requirements is unlawful.

       As discussed supra, the DOD Defendants did not issue their orders through the Governor

as the statute directs. This violates both the letter of the law and its spirit by depriving the

Governor of the opportunity to consult with the President or other federal officials. Given the

chance, the Governor could have discussed with the President not only whether the California
National Guard should be called into federal service at all, but if so, which and how many service

members should be called, and for what purposes and time period.

        Defendants' failure to issue the orders through Governor Newsom, as required by

§ 12406, renders the orders ultra wires to the statute.

      B.    The Orders are a substantial intrusion into the State of California's police
            powers.

        Under our system of federalism, policing and crime control remain one of the most basic

rights reserved to the states. United States v. Morrison, 529 U.S. 598, 618 (2000) ("Indeed, we

can think of no better example of the police power, which the Founders denied the National


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Government and reposed in the States, than the suppression of violent crime and vindication of its

victims"), Patterson v. State of Kentucky, 97 U.S. 501, 503 (1878) ("[T]he power to establish the

ordinary regulations of police has been left with the individual States, and cannot be assumed by

the national government"). Deploying over 4,000 federalized military personnel absent proper

invocation Section 12406 to quell a protest or prevent future protests despite the lack of evidence

that local law enforcement was incapable of asserting control and ensuring public safety during

such protests represents the exact type of intrusion on State Power that is at the heart of the Tenth

Amendment. For this reason, Plaintiffs are substantially likely to prevail on their Tenth

Amendment claim as well.

      c.    The Military's Threatened Law Enforcement Activities Will Violate the
            Posse Comitatus Act
            1.    The federalized National Guard and the Marines Corps are subject
                  to the Posse Comitatus Act
       "Posse comitatus (literally 'power of the county) was defined at common law [for those]

upon whom a sheriff could call for assistance in preventing any type of civil disorder." United
States v. Dreyer, 804 F.3d 1266, 1272 (9th Cir. 2015) (citations omitted). The general prohibition

against the use of the military in civilian law enforcement activities have been codified under the
Posse Comitatus Act ("PCA") since 1878. Id. (citing Act of June 18, 1878, ch. 263, 20 Stat. 152

(1878)). The current version, codified under 18 U.S.C. § 1385, forbids the willful use of "any part

of the Army or the Air Force as a posse comitatus or otherwise to execute the laws." United
States v. Chan, 210 F.3d 990, 993 (9th Cir. 2000). The prohibition has been extended to include

the Marine Corps. Id., cited in Dreyer, 804 F.3d at 1272, United States v. Rios-Montano, 438 F.
Supp. 3d 1149, 1151 (S.D. Cal. 2020) (citing Laird v. Tatum, 408 U.S. 1, 15 (1972)).
       Further, the Secretary of Defense, pursuant to 10 U.S.C. § 375, issued regulations that

prohibited the use of military personnel "as a posse comitatus or otherwise to execute the laws."

32 C.F.R. § 213.10(a)(3) (1982), cited in Dreyer, 804 F.3d at 1272-73. The prohibited actions
include search or seizure, arrest, stop and frisk, or "surveillance of pursuit of individuals." Id. The

Department of Defense issued a near-identical policy in 1986, explicitly applicable to the Marine




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Corps. Id. at 1273. Although the regulations were removed in 1993, substantively similar

regulations were reissued in 2013. See 32 C.F.R. § 182.6(a)(1)(iii) (2013).

       The restrictions apply equally to National Guard members in Federal Service. See Chan,

210 F.3d at 993 (recognizing the naval policies exempt National Guard members "when not" in

Federal Service), cited in Dreyer, 804 F.3d at 1273, see also Clark v. United States, 322 F.3d

1358, 1357 (Fed. Cir. 2003) (holding National Guard members can only be used for civilian law

enforcement when they are not in federal service). Section 12406 is not a statutory exception to

the Posse Comitatus Act. See, eg., 10 U.S.C. § 12405, Department of Defense Instruction,

Defense Support of Civilian Law Enforcement Agencies 3025.21, Enclosure 3 111.b.(5) (Feb. 27,
2013) (Incorporating Change 1, Effective Feb. 8, 2019) (regulations implementing Posse

Comitatus Act), Center for Law and Military Operations, Domestic Operational Law: 2024

Handbook for Legal Personnel 96-97 (2024) (listing, without inclusion of 10 U.S.C. § 12406, the

statutes and authorities that allow for direct DOD participation in civil law enforcement in

defined circumstances).

       Restricting the military and National Guard - the modem-day militia - from enforcing
civilian law domestically, has been an essential principle since this Nation's founding and should
undergird its application here. The Founding Fathers supported militias but feared "that

professional soldiers would imperil the promises of a free government." Abbott v. Biden, 70 F.4th

817, 840 (5th Cir. 2023) (citing Aldiil R. Amar, THE BILL oF RIGHTS: CREATION AND

RECONSTRUCTION 53-56 (1998)) (addressing National Guard in Title 32 status). Tyrants,

including from within the federal government, could eliminate a militia "simply by taking away

the people's arms, enabling a select militia or standing army to suppress political opponents."

District of Columbia v. Heller, 554 U.S. 570, 598 (2008) (citations omitted) (emphasis added).

The Anti-Federalists feared that the United States might "cow the militia, destroy it, or convert it

into a tool of oppression." Abbott, 70 F.4th at 840. Most poignantly, John Marshall noted at

Virginia's ratification debate, "[u]nited we are strong, divided we fall. Will you prevent the
general government from drawing the militia of one state to another, when the consequence

would be, that every state must depend on itself`?" 3 Debates in the Several State Conventions on


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the Adoption of the Federal Constitution 425 (Jonathan Elliot ed., 1836)) at 420 (emphasis

added).

       While the PCA does not create a private civil cause of action for damages, Black Lives

Matter D. C. v. Trump, 544 F. Supp. 3d 15, 40 (D.D.C. 2021), aff'd sub nom. Buchanan v. Barr,

71 F. 4th 1003 (D.C. Cir. 2023), a plaintiff may nonetheless present an ultra wires claim where

there is a showing an agency "has disregarded a specific and unambiguous statutory directive, or

when the agency has violated some specific command of a statute," id. at 41 .

          In Black Lives Matter D. C. , the plaintiffs alleged members of the District of Columbia

National Guard contributed to "unprovoked violence" as they were clearing peaceful protesters
from Lafayette Park in June 2020. 544 F. Supp. 3d 26-27. Among their arguments was an ultra

wires claim that the D.C. National Guard violated the PCA. See id. at 41. Plaintiffs claimed the

National Guard unit from D.C. was inherently a federal entity and should have been considered
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perpetually in federal service, "such that the Posse Comitatus Act would apply to it at all times.

Id. The Government argued, and the court agreed, that the PCA only applies to members of the

D.C. National Guard "when they have been ordered to active duty pursuant to Title 10." Id.

(citing Mueller v. City of Joliet, 943 F.3d 834, 837 (7th Cir. 2019)).

       By contrast, there is no dispute that the National Guard members in the present matter

have purportedly been ordered to active duty pursuant to Title 10. An ultra wires claim is therefore

viable upon a showing that National Guard members - or other active-duty military - have
"disregarded" a specific and unambiguous directive of the PCA or "violated some specific

command" of the PCA. Id. at 41 .

              2.    There is a substantial likelihood that the National Guard and
                    Marines will engage in activities that "amount to direct active
                    involvement in the execution of the laws"
       The evidence strongly indicates that the federalized National Guard and active duty

Marines deployed in Los Angeles will engage in quintessential law enforcement activity in
violation of the PCA. The State became aware on June 9, 2025 that mobilized federalized

California National Guard united would be providing support for counter-immigration operations

and not only at federal buildings. Eck Dec. 1119. Specifically, these activities-scheduled to begin


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today, June 10, 2025-will include "holding a secure perimeter in communities around areas

where immigration enforcement activities would take place, and securing routes over public

streets where immigration enforcement officers would travel." Id. Indeed, the military, including

National Guard members, have already been deployed with federal law enforcement agents

conducting law enforcement activity. On June 8, National Guard members arrived to work with

the LAPD and LASD. Olmstead Dec. 11 II. The National Guard members were there to respond

to protestors, but it was not clear what role they were to play or what equipment or training

necessary they had. Id. National Guard members were also present at the Metropolitan Detention

Center on June 8. Id. at 1] 12.
        The apparent mission of the troops at issue here is very different from the types of indirect

support that Congress contemplates federal military assets may provide to state and local

agencies. 10 U.S.C. § 248(b), for example, provides a list of supportive activities the active
military can provide to other agencies, including maintenance and repair, transportation, training

facilities, counterdrug and counter-transnational organized crime training, and surveillance

support. See 10 U.S.C. § 284(b), United States v. Hernandez-Garcia, 44 F.4th 1157, 1163-64 (9th

Cir. 2022), Calzfornia v. Trump, 963 F.3d 926, 946 (9th Cir. 2020). The military may also share

information and equipment with civilian law enforcement officials in certain instances. See 10
U.S.C. §§ 271, 272, cited in United States v. Hartley, 796 F.2d 112, 114 (5th Cir. 1986).
Relatedly, military personnel may use civilian equipment to "monitor[ ] and communicate[ ] the
movement of air and sea traffic." 10 U.S.C. §§ 271, 272, 274(a), (b). Courts have previously

confirmed that such activities do not constitute direct military involvement that would be violate

the PCA. United States v. Red Feather, 392 F. Supp. 916, 925 (D.S.D. 1975), see also United
States v. McArthur, 419 F. Supp. 186, 194 (D.N.D.1975), aff'd sub nom., United States v. Casper,

541 F.2d 1275 (8th Cir. 1976).
        But here, the evidence indicates that Defendants plan to use soldiers to directly support

law enforcement activity-immigration enforcement raids by ICE. See Eck Dec. 1119. By
ordering Marines and National Guard soldiers to accompany ICE on immigration enforcement

raids in the community and engaging in supportive activities such as cordoning off populated


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areas, Defendants will create a substantial likelihood that the military will physically confront,
detain, or search civilians whom they perceive are posing a security threat, thereby actively

executing civil laws. Accompanying law enforcement officers will place soldiers in situations that

have already resulted in tense interactions with civilians. For example, on June 7, federal officers

pushed protesters away from the Metropolitan Detention Center. Olmstead Dec. 119. The crowd at

the Metropolitan Detention Center doubled in size on June 8 and included protestors apparently

angry that the National Guard had been federalized. Id. 1112. The National Guard's presence

"seemed to only inflame the protestors further." Id.

        These activities are strong evidence that the federalized National Guard and active duty
Marines in Los Angeles will engage in law enforcement activity in direct violation of the PCA.
Plaintiffs have therefore demonstrated-at a minimum-substantial questions going to the merits
of their ultra wires claim on this basis as well. See Compl., ECF No. l at 6, 91 .

II.   THERE IS A GRAVE RISK OF IMMINENT, IRREPARABLE HARM

        Plaintiffs will suffer irreparable injury in the absence of an injunction. Winter, 555 US at
20. Defendants' conduct need not be the exclusive cause of Plaintiffs' injury. MR. v. Dreyfus,
697 F3d 706, 728-729 (9th Cir. 2015). Nor must the alleged harm be certain to occur before a

court can grant a preliminary injunction. Michigan v. United States Army Corps of Engineers 667
F3d 765, 788 (7th Cir. 201 l). Plaintiffs show a "sufficient causal connection" between

Defendants' conduct and Plaintiffs' injury that can only be addressed by an immediate injunction.
City and County of San Francisco v. U.S. Citizenship and Immigration Services, 408 F.Supp.3d

1057, 1121 (ND. Cal. 2019) (citing, Nat'l Wildlife Fed'n v. Nat'l Marine Fisheries Serv., 886
F.3d 803, 819 (9th Cir. 2018), Perfect 10, Inc. v. Google, Inc. 653 F.3d 976, 745 (9th Cir. 2015)).
        Plaintiffs are likely to suffer several types of irreparable harm in the absence of temporary

relief, but one stands out among the rest: the very high risk of substantial civil unrest as a direct

result of Defendants' inflammatory and confrontational deployment of the military in a large,
civilian population center. Indeed, the presence of soldiers on the streets of Los Angeles,

including their actual or perceived support and aid in the execution of ICE duties, has already

created significant civil unrest and is likely to result in increased civil unrest in the future. This


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week, the presence of National Guard soldiers deployed to Los Angeles became the focus of

protests and led to civil unrest, requiring intervention by state and local law enforcement to

protect the National Guard soldiers. In the absence of immediate injunctive relief, there is a real

risk of significant and widespread civil disturbance.

       Put simply, soldiers patrolling the streets of Los Angeles have not made anyone safer,

indeed, the opposite is true. Defendants' confrontational decision to deploy the military in a

civilian city serves only to spread fear and heighten tensions in Los Angeles. If anything, the

presence of the military threatens to further de-stabilize the community and escalate a situation

that calls for cool heads and steady hands. See Olmstead Dec. 1112 ("The presence of the National
Guard seemed to only inflame the protesters further."). What is more, federalization of the

National Guard and the deployment of active duty Marines aims to solve a problem that does not

exist: since Fiscal Year 2024, ICE operated in the Los Angeles Area of Responsibility, making

4,741 arrests, and has continued to operate unimpeded, arresting approximately 44 individuals

and detaining 70-80 people in total since Friday, June 6. Espiritu Dec., Exs. B, G.

      Moreover, Defendants' unlawful federalization of 4,000 California National Guard

members, over the repeated objections of Governor Newsom, diverts necessary state resources.

See Eck Dec. 1132 (noting the California Military Department has "has identified and committed

4,600 service members to achieve state specific missions, which is 38% of the available

strength"), id. 1133 ("In 2025, there have already been 3,332 services members activated for
89,061 duty days, indicating the state will need every available service member to meet the

State's operational needs."). Most members of the California National Guard serve in a reserve

capacity, meaning they work in civilian roles when not serving as part-time militia forces, often in
specialized positions. Eck Dec. W 21, 37. As one pertinent example, 2,500 California National

Guard members were activated in response to some of the most destructive fires in Los Angeles

County that occurred in early January 2025. Eck Dec. W 35-36. Likewise, the federalized force

includes elements of the 79th Infantry Brigade Combat Team that serve in Taskforce Rattlesnake,

the State's specialized fire combat unit. Eck Dec. W 14, 39-40. The 79th Infantry Brigade

Combat Team also includes Counterdrug Taskforce members that specialize in providing support


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to stop the trafficking of fentanyl at the U.S.-Mexico Border. Id. W 15, 42-43. Members of the

California National Guard also serve key roles in a variety of functions, from defending the state

from Cyber threats to conducting emergency traffic control. Id. W 44-46. In short, Defendants'

federalization of the California National Guard jeopardizes vital resources on which the State

depends to protect itself from emergencies, including the 79th Infantry Brigade Combat Team's

specialized fire suppression and drug interdiction teams. Id. W 47-50.

      In short, Defendants' unlawful federalization of a significant subset of the California
National Guard for 60 days at the expense of state resources jeopardizes the safety and welfare of

the state's citizens on two fronts: first, it removes these servicemembers from their vital roles
combating drug trafficking in California's border zones and fighting wildfires and second, their
deployment risks inflaming an unstable and dangerous situation of Defendants' own making,
putting property and countless lives at unnecessary risk. See id. W 13-16.

III. THE PUBLIC INTEREST AND BALANCE OF EQUITIES TIP SIIARPLY IN FAVOR OF A
      TRO

       Lastly, a preliminary injunction is appropriate where: (1) the balance of equities tips in

favor of the applicants, and (2) an injunction is in the public interest. Winter, 555. U.S. at 20.

When the federal government is a party, these last two factors merge. inken, 556 U.S. at 435,
Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014). When evaluating the

balance of hardships, "a court must consider the impact granting or denying a motion for a
preliminary injunction will have on the respective enterprises." Int'I Jensen, Inc. v. Metrosound
U.S.A., Inc., 4 F.3d 819, 827 (9th Cir. 1993). Among other things, "by establishing a likelihood of

success on the merits," a plaintiff "establish[es] that both the public interest and the balance of the

equities favor a preliminary injunction." Ariz. Dream Act. Coal. v. Brewer, 757 F.3d 1053, 1069
(9th Cir. 2014). The purpose of such interim equitable relief is not to conclusively determine the

rights of the parties but to balance the equities as the litigation moves forward. Trump v. Int'l

Refugee Assistance Project, 582 U.S. at 580. Moreover, the federal government "cannot suffer

harm from an injunction that merely ends an unlawful practice or reads a statute as required to

avoid constitutional concerns." R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015)


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(quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)).

       Here, the balance of equities tips sharply in Plaintiffs' favor. Plaintiffs seek to preserve (in
part) the status quo by temporarily enjoining Defendants from ordering or deploying the active-

duty members of the military and federalized National Guard soldiers to patrol communities or

otherwise engage in general law enforcement activities beyond the immediate vicinity of federal
buildings or other federal real property. As outlined above, Defendants' use of the military and

the federalized National Guard deprives the State of vital resources, escalates tensions and

promotes (rather than quells) civil unrest. By contrast, the public interest is served if the Court

enjoins Defendants from further militarizing California's communities to allow State and local
law enforcement to fulfill their duties to enforce State law. Moreover, a preliminary injunction

will not harm Defendants: the Department of Homeland Security can continue to enforce
immigration law and the DOD Defendants will merely be ordered to comply with the PCA and

statutes governing the federalization of the National Guard.

                                          CONCLUSION

      For all the foregoing reasons, Plaintiffs respectfully urge the Court to help the State keep

the peace in Los Angeles and enter a temporary restraining order that prevents federal troops from

enforcing the laws in a civilian city.




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Dated: June 10, 2025                      Respectfully submitted,
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                          IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




GAVIN NEWSOM, IN HIS OFFICIAL
CAPACITY AS GOVERNOR OF THE STATE OF
CALIFORNIA; STATE OF CALIFORNIA,                NO. 3:25-cv-04870-CRB
                                    Plaintiffs , DECLARATION OF NICHOLAS
                                                 ESPIRITU IN SUPPORT OF
              v.                                 PLAINTIFFS' EX PARTE MOTION FOR
                                                 A TEMPORARY RESTRAINING
                                                ORDER
DONALD TRUMP, IN Hls OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED             Judge:        Hon. Charles R. Breyer
STATES; PETE HEGSETH, IN HIS QFFICIAL           Trial Date: None Set
CAPACITY AS SECRETARY OF THE                    Action Filed: June 9, 2025
DEPARTMENT 0F DEFENSE; U.S.
DEPARTMENT OF DEFENSE,

                                 Defendants .




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      I, Nicholas Espiritu, declare under penalty of perjury that the following is true and correct:

          l.   I am an attorney licensed to practice law in the State of California, admitted to the

bar of this Court, and a Deputy Attorney General in the Office of the Attorney General, California

Department of Justice. The Attorney General is counsel to Plaintiffs Governor Gavin Newsom

and the State of California. I make this declaration in support of Plaintiffs' motion for a

temporary restraining order.
          2.   I am over the age of 18 and have personal knowledge of all the facts stated herein,

except to those matters stated upon information and belief, as to those matters, believe them to
be true. If called as a witness, I could and would testify competently to the matters set forth
below .

          3.   Attached hereto as Exhibit A is a true and correct copy of the Service Employees

International Union's ("SEIU") June 9, 2025 Press Release following the release of David Huerta,

entitled STATEMENT: SEIU President April Verrett on David Huerta 's Release from Federal

Custody and available on SEIU's official website at https://www.seiu.org/2025/06/statementseiu-

president-april-verrett-on-david-huertas-release-from-federal-custody.
          4.   Attached hereto as Exhibit B is a true and correct copy of is a true and correct

copy of U.S. Immigration and Customs Enforcement's ("ICE") Enforcement and Removal

Operation Statistics, available on ICE's official website at https://www.ice.gov/statistics, last

accessed on June 10, 2025.
          5.   Attached hereto as Exhibit C is a true and correct copy of an October 2, 2024

article written by Joseph Nunn and published by the Brennan Center for Justice, entitled Limiting

the Military's Role in Law Enforcement, and available on the Brennan Center for Justice's official

website at https://www.brennancenter.org/our-work/policy-solutions/limiting-militarys-role-law-

enforcement.

          6.   Attached hereto as Exhibit D is a true and correct copy of a June 6, 2025 article

published by ABC 7 News Les Angeles, entitled Crowds clash with federal agents after dozens

detained in ICE raids across LA, and available on ABC 7 News's official website at




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https://abc7.com/post/multiple-people-detained-ice-homeland-security-agents-conduct-2-

separate-investigations-la/16678559/.
        7.     Attached hereto as Exhibit E is a true and correct copy of the June 7, 2025
Memorandum from President Trump to the Secretary of Defense, Attorney General, and

Secretary of Homeland Security, regarding "Department of Defense Security for the Protection of
Department of Homeland Security Functions."

        8.     Attached hereto as Exhibit F is a true and correct copy of a June 7, 2025 article

written by Damian Dovarganes and Olga R. Rodriguez and published by the Associated Press,

entitled Federal authorities arrest dozens for immigration violations across Los Angeles, and
available on the Associated Press's official website at https://apnews.com/article/immigration-

raids-1os-angeles-f8c4160e32be0ff77c5d4bf0ccef98cc.

        9.     Attached hereto as Exhibit G is a true and correct copy of a June 7, 2025 article

published by A1 Jazeera, entitled ICE launches 'military-style' raids in Los Angeles: What we

know, and available on Al Jazeera's official website at

https://www.aljazeera.cem/news/2025/6/7/ice-launches-military-style-raids-in-l0s-angeles-what-
we-know.

        10.    Attached hereto as Exhibit H is a true and correct copy of a June 7, 2025 article

written by Melanie Mason and published by Politico, entitled Newsome blasts deployment of

National Guard to LA as 'purposefully inflammatory', and available on Politico's official website
at https://www.politico.com/news/2025/06/07/newsom-national-guard-los-angeles-00393526.

        II.    Attached hereto as Exhibit I is a true and correct copy of a June 6, 2025 article

published by Fox II Los Angeles News, entitled LA immigrant families reportedly detained by

 ICE at routine check-ins sparks human rights concerns, and available on Fox II News's official

website at https://www.foxla.com/news/ice-la-immigration-routine-check-ins-human-rights-

concerns   »




        12.    Attached hereto as Exhibit .I is a true and correct copy of a June 8, 2025 Press

Release from U.S. Northern Command (USNORTHCOM), entitled USNORTHCOM statement

 regarding protection offederol property and personnel in the Los Angeles Area, and available on


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USNORTHCOM's official website at https://www.northcom.mi1/Newsroom/Press-

Releases/Article/4209228/usnorthcom-statement-regarding-protection-08federal-property-and
personnel-in/.

       13.       Attached hereto as Exhibit K is a true and correct copy of a June 8, 2025 letter

sent from the California Office of the Governor to Secretary of Defense Pete Hegseth, regarding

Federalization of the California National Guard, via e-mail delivery .
       14.       Attached hereto as Exhibit L is a true and correct copy of a June 7, 2025 post on

the social media website X by Mayor of Les Angeles Karen Bass, available on X's website at
https://x.com/MayorOfLA/status/19315 18214414172656?.
       15.       Attached hereto as Exhibit M is a true and correct copy of a June 8, 2025 article
written by Tyler Pager and published by the New York Times, entitled Trump Jumps at the
Cnancefor a Confrontation in California Over Immigration, and available on the New York
Times's official website at https://www.nytimes.com/2025/06/08/us/politics/trump-california-
immigration .html.

       16 .      Attached hereto as Exhibit N is a true and correct copy of ongoing news coverage
last updated on June 9, 2025 at 10:33 p.m. PT and published by NBC News, entitled 700 Marines

will deploy as immigration protests continue, and available on NBC News's official website at

https://www.politico.com/news/2025/06/07/newsom-national-guard-los-angeles-00393526
       17.       Attached hereto as Exhibit O is a true and correct copy of the June 7, 2025
Memorandum for Adjutant General of the California National Guard Through: The Governor of

California, with the subject line "Calling Members of the California National Guard into Federal
        as
Service.

       18.       Attached hereto as Exhibit P is a true and correct copy of a June 9, 2025

Memorandum fer Adjutant General of the California National Guard Through: The Governor of

California, with the subject line "Calling Additional Members of the California National Guard
into Federal Service."

       19.       Attached hereto as Exhibit Q is a true and correct copy of a June 7, 2025 press

release from California Governor Gavin Newsom, entitled Governor Gavin Newsom on speaking


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out peacefully, and available on the Governor's official website at

https://www.gov.ca.gov/2025/06/07/governor-gavin-newsom-on-speaking-out-peacefully/.

        20.    Attached hereto as Exhibit R is a true and correct copy of a June 9, 2025 article

written by Austin Turner, Dean Fioresi, and Camile Montoya-Galvez and published by CBS

KCAL News, entitled Los Angeles immigration enforcement operations set to continue after

weekend of protests, National Guard deployment, and available on CBS News's official website

at https://www.cbsnews.com/losangeles/news/national-guard-troops-los-angeles-i1n1nigration-

protests/.
        21.    Attached hereto as Exhibit S is a true and correct copy of a June 10, 2025 letter
sent from the California Office of the Governor to Secretary of Defense Pete Hegseth, regarding

Federalization of the California National Guard, via e-mail delivery.
        22.    Pursuant to N.D. Cal. L.R. 65-1 and Fed. R. Civ. P. 65, counsel from my office

emailed notice of the instant application to counsel for the Defendants, the United States

Department of Justice at Garry.Hartlieb2@usdoj.g0v, Eric.Hamilton@usdoj.gov,

Alex.Haas @usdoj.gov, Christopher.Edelman@usdoj.gov, and Ben.Kurland@usd0j.g0v. The

United States Department of Justice stated to CHI' office "Defendants oppose any ex parte

proceedings in this matter and request no less than 24 hours from the time that Plaintiffs file their

motion fer a temporary restraining order to file a response brief. Should the Court desire to rule

on the temporary restraining order in the absence of Defendants' written response, Defendants
seek to be heard at a hearing and are available at any time."



      I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Executed on June 10, 2025, at Oakland, California.
                                                    /s/ Nicholas Espiritu

                                                    Nicholas Espiritu




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                               EXHIBIT I




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                                                                                           Watch Live




LA immigrant families reportedly detained by ICE a
routine check-ins sparks human rights concerns
By FOX 11 Digital Team I Published June 6,2025 8:48am PDT I Immigration I FOX 11 I




  LA ICE raids conducted at multiple locations, community speaks out

  Several protests were held Friday in response to immigration raids at various
  locations in Los Angeles.



  The Brief

  .   Immigrant families, including children, are reportedly being detained by ICE at the Los
      Angeles federal building during routine check-ins.

  .   Advocates and a U.S. Representative describe conditions as inhumane, with
      overcrowding, lack of food and water, and families held overnight.

  .   No official statement from ICE or DHS on these specific detentions is currently availabl
      but investigations are being demanded.


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LOSANGELES -Alarming reports from the Edward R. Roybal Federal Building i
downtown Los Angeles indicate that immigrant families, including asylum seeks
and children, are being detained by Immigration and Customs Enforcement (IC
during what were previously considered routine check-ins.


This concerning shift in practice has sparked immediate human rights concern<
and demands for an investigation from prominent officials and advocacy group
who describe conditions for those held as inhumane.


Inhumane conditions reported at federal building
What we know: Immigrants, many asylum seekers with children, were reported
                   detained by ICE after arriving for scheduled check-ins at the
                  Roybal Federal Building. Eyewitness accounts and attorney
reports detail overcrowded conditions, with individuals held in the building's
basement, conference rooms, and even outdoor tents due to lack of space.
People are being processed and moved to facilities out of state that have roorr
as there is none left in the local facilities.


Detainees have reportedly been deprived of food and water for 12 to 24 hours
more, with some families, including young children, forced to endure these
conditions overnight. Additionally, lights in the building reportedly shut off at s
p.m., leaving families in complete darkness.


One attorney reported a client was being held without food or water from 2 p.r
until the next day, while his wife and two children waited over 12 hours. There .
also reports of a 20-year-old woman being held alone, separated from her
mother, despite having legally checked in with ICE for years and being days from
court date for an asylum process.


Attorneys inside said this began Tuesday, with more than a hundred people in
custody. Local immigration groups protesting outside the federal building and 1
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Metropolitan Holding Facility say people are being denied due process and the
the federal building basement is not a fitting location to hold people.




LA ICE Raids: Protesters rally in downtown

Hundreds gathered in downtown LA Friday to protest immigration raids that w
being conducted throughout the city.



What they're saying: Representativelimmy Gomez (CA-34), whose district indic
                            the Roybal Federal Building, condemned the detentions.


"These are very disturbing reports from _.A.'s Roybal Federal Building," said
Gomez. "Law-abiding asylum seekers - many with kids - are being detained
after showing up for routine ICE check-ins. No food. No water. Locked in holdin
rooms for over 12 to 24 hours. These are not criminals. These are families who
followed the rules. Filed the paperwork. Showed up on time. Instead, they're
being treated like they broke the law just for seeking asylum."



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Gomez further added, "This isn't 'just how the system works.' This is a system
breaking people. Bureaucracy weaponized against those who complied. DHS-
demand to go in to get answers. We need to know why law-aloiding asylum
seekers are being detained, separated, and treated like criminals."


The League of United Latin American Citizens (LULAC) also issued a national all
and demanded an immediate federal investigation. Roman Palo mares, LULAC
National President and Chairman of the Board, stated, "This is beyond
unacceptable - it is unconscionable. The notion that our federal courthouse -
place that symbolizes the pursuit of justice - is now being used as a de facto
detention facility under ICE authority, is an affront to every value our nation is
supposed to uphold. We are demanding answers: Who is being held, who is
holding them, and under what legal justification? We must not allow the
courthouse to become a cage."


Palo mares continued, "It is inconceivable that in the United States ol'America, E
nation that claims to value the rule of law, we are seeing such blatant disregarc
for due process, civil rights, and human dignity. These are individuals whose la<
hope rests with the us judicial system. Instead, they are being detained in the
very place they came to for justice. This violates our own constitution and
international human rights standards."


The other side: While no specific statement from ICE or the Department of
                 Homeland Security (DHS) regarding there particular allegations
                 the Royloal Federal Building i5 currently available, ICE operates
under a broad mandate to enforce US. immigration laws.


According to attorneys on site, ICE claims it can detain people indefinitely even
they have a "legal stay," which i5 generally a temporary suspension of a
deportation order.


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From ICE's general operational perspective, the presence of a legal stay does n
always preclude detention, as individuals may still Pe deemed ultimately
removable under immigration statutes or present other factors that, in ICE's vie
warrant continued custody. Enforcement actions, including arrests at check-ins
are part of ICE's stated mission to apprehend individuals violating immigration
laws.


Nationwide arrests
Big picture view: These reported detentions in LA align with a broader federal
                    effort to significantly escalate immigration arrests nationwide.
                    Internal government data shows icE arrests during President
Donald Trump's second term have already surpassed 100,000 this week,
_


including over 2,000 arrests on both Tuesday and Wednesday. This marks a
dramatic increase from the daily average of approximately 660 arrests during t
first 100 days of the Trump administration.


These numbers reportedly move closer to the stated goal of top admMistratior
officials, sucli as Wliite House deputy criief of staff Steplien Miller, wllo has
pushed for ICE to conduct "a minimum" of 3,000 arrests eacli day.




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ICE raid at alleged underground nightclub in LA

Agents with homeland security and ICE raided an alleged underground nightclub
in Los Angeles. HSI Los Angeles said more than 30 people with ties to China an
Taiwan were arrested in the raid.



This aggressive expansion, which includes arresting migrants and asylum-seeke
at court hearings or check-in appointments, is seen by critics as deterring
individuals from complying with the legal process and creating a dangerous
situation for immigrant communities.


What's next: LULAC is urgently calling for a full and immediate investigation by 1
                 Department oflustice and the Office of the Inspector General. The
                 also demand an accounting from icE and federal court officials
regarding the legal basis and circumstances of these detentions, a halt to any
deportation actions until due process is fully afforded to every individual in
custody, and oversight by members of Congress, particularly the Congressiona
Hispanic Caucus and the House and Senateludiciary Committees.


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Representative Gomez has also demanded access to the facility. As the son of
immigrants, Gomez has been a strong advocate for immigrant families, previou
filing an amicus brief urging the court to uphold the 14th amendment's guard
of citizenship and supporting the Dream and Promise Act of 2025.


He has also called on the IRS and DHS to halt the misuse of confidential taxpay
data for immigration enforcement and is leading efforts to reinstate the
Citizenship and Assimilation (C&A) Grant Program.



  The Source: This article's information comes directly from official statement
  and reports by Representativelimmy Gomez and the League of United Latin
  American Citizens (LULAC). Context for the broader immigration enforcement
  trends was sourced from a Fox News report based on internal government
  data.




 Immigration              Los Angeles              Instastories               Downtown LA




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                                EXHIBIT A




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  SEIU
    Contact:
    SEIU National Media, media@seiu.org


  Issued June O9, 2025


  STATEMENT: SEIU President April
  Verrett on David Huerta's Release from
  Federal Custody
  Following the release of SEIU Cal0'ornia and SEIU- USWW President Dared
  Huerta from federal oastodg, SEIU International President April Verrett
  released the following statement

  "David Huerta was arrested while standing up for immigrants' rights. Today,
  a judge set him free after federal authorities attacked, injured, and unjustly
  detained him since Friday. We are relieved that David is free and reunited
  with his family and we are deeply grateful to the hundreds of elected
  officials, civil rights leaders, labor partners and allies from across the nation
  who stood in solidarity and demanded David's release.

  "But this struggle is about much more than just one man. Thousands of
  workers remain unjustly detained and separated from their families. At this
  very moment, immigrant communities are being terrorized be heavily
  militarized armed forces. The Trump regime calling in the National Guard is a
  dangerous escalation to target people who disagree with them. It is a threat
  to our demooraou. The federal government should never be used as a
  weapon against people who disagree with them.

  "SEIU will always stand up to protect the rights and dignity of hard working
  people, and the safety of workers in the workplace. Imagine what it feels
  like for thousands of workers around the country to be attacked be masked
  men with weapons, or to bear witness to their on-workers getting dragged
  away, knowing their kids mau not see them again.

  "It is shameful and wrong that this administration is attempting to tear
  apart our families, communities and disrupt the lives of peaceful,
  hardworking people. It is set another attempt to use people's race and
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  country of origin to divide US as Americans. It won't work. And these cruel
  ICE raids are economically destructive, hurting all working people by
  targeting the essential immigrant workers who are the backbone of our
  economy.

  "America is a nation of immigrants. Immigrant workers are essential to our
  society: feeding our nation, caring for our elders, cleaning our workplaces,
  and building our homes. Immigrants are scientists, they are teachers and
  professors. They are our on-workers, neighbors and family members. They
  deserve our respect and they need their constitutional rights respected.

  "We demand the release of all people unjustly detained, and an end to the
  raids. We demand that all immigration proceedings uphold the principles of
  due process, and that all detainees have aooess to the legal representation
  and rights promised by the constitution."

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                             Washington, DC 20036


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                 by any candidate or candidates committee.




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                             EXHIBIT B




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E An official website of the United States government                                                                                                                                                                                                 Ill EN
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                    U.S. Immigration
                    and Customs                                                                                                                                                                                                            l Search
                    Enforcement                                                                                                                                                                                                               Call 1-866-DHS-2-ICE                      Rep or t Cr im e



 ICE




                                                                                                      ICE Enforcement and Removal Operations Statistics




    U.S, Immigration and Customs Enforcement's Enforcement and Removal Operations (ERO) officers enforce immigration laws within the interior to preserve national security and public safety,

    ERO manages all aspects of the immigration enforcement process, including the identification, arrest, detention and removal of aliens who are subject to removal or are unlawfully present in the United States,

    Like all law enforcement agencies, ERO officers prioritize their enforcement actions based on agency and department priorities, funding and capacity. ERO operations are flexible enough to allow its officers to respond to events such as spikes in border crossings, modifications
    to U,S, laws, pandemics, and natural disasters at home and abroad,

    The following dashboards present for the first time information and trends in arrests, detentions, removals and alternatives to detention as of December31, 2024.

    The dashboards will be updated quarterly.




    ERO enforces laws by arresting immigration violators in the interior of the United States, It relies on statutory law enforcement authority to identify and arrest aliens who may present threats to national security or public safety, or who otherwise undermine the integrity of U,S.
    immigration laws. ERO uses targeted, intelligence-driven operations to prioritize its enforcement actions in ways that help protect communities nationwide, While ERO primarily conducts administrative arrests of aliens it has probable cause to believe are removable from the
    United States, it also has the authority to execute criminal arrest warrants and initiate prosecutions for criminal activity, including immigration-related crimes, ERO officers assigned to task forces also help target and apprehend foreign fugitives in the United States who are
    wanted for crimes here and abroad by working with domestic and international partners,

           Arrests by country of citizenship and criminal history: ERO arrests are broken down by country of citizenship and categories of criminal history that include people with:

                                                                                                                                            A69
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                                                                                                                                            Arrest Month                                                  Country of Citizenship
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ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter's data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.




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                                                                                                                                                                                                              DETENTI0N


ERO oversees the civil immigration detention of one of the most diverse and rapidly changing detained populations in the world. The ERO Headquarters Custody Management and ICE Health Service Corps divisions help officers in the field manage the detained population and
ensure detained aliens' health and safety, ensure compliance with ICE's detention standards, and provide medical care - including mental health care - to detained individuals.

ICE detains individuals as necessary, including to secure their presence for immigration proceedings and removal from the United States. ICE also detains those who are subject to mandatory detention under U,S. immigration law and those a supervisor has determined are
public safety or flight risks.

After ICE arrests and processes individuals for administrative immigration violations or CBP and other state, local and federal law enforcement partners turn them over to ICE, officials may detain them while their immigration cases are pending or release them undera form of
supervision, Both ICE and the Department of Justice's Executive Office for Immigration Review - the office that oversees the immigration court system - can impact custody status at various points during a alien's immigration proceedings.

Officials make custody determinations on an individual basis, taking into account all facets of a person's situation, including their immigration history and criminal records. Authorities also consider family ties, humanitarian issues and whether a person may be a flight risk.

Whenever possible, ICE seeks to house detained individuals within the geographical areas of their arrests to minimize their time in ICE custody and keep them close to family, friends and legal representatives,

Most detained individuals are transfers from CBP following arrests at the border, ICE is legally obligated to detain some of these people, including those with certain criminal histories.

If an alien or their representative believes they should not be subject to enforcement, detention or removal, they should contact their local ERO field office to request a case review or initiate the ICE Case Review process. People who want to contact ICE about their cases should
first notify their local ERO field office via email with supporting documentation for an initial review,

   • Detention by country of citizenship and criminal history: Detained individuals are categorized in the following ways:
          o Individuals with criminal convictions.
          o Individuals with pending criminal charges.
          o Those with no convictions or pending charges but who have broken U.S. immigration laws.*


             *The third category includes individuals without any known criminal convictions or pending charges who have repeatedly violated U.S. law by reentering after deportation, immigration fugitives with a final order of removal by an immigration judge, and foreign
             fugitives wanted for crimes committed abroad.

   • Detention overtime: Most detained individuals are transfers from CBP following arrests made at the border. Higher numbers of border crossings are typically associated with higher detention numbers,




                                                                                                                                      DETENTION




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                                                                              Detention Fiscal Year               Detention Month                                             Country of Citizenship                                                Arresting Agency
                                                                      (All)                               (All)                                                       (All)                                                                \(All)                      v

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                                          Detentions                                                                                                    Detentions
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ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter's data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.




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                                                                                                                                                                                                           EXPULSI0NS
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ICE's authority to remove aliens exists under the Immigration and Nationality Act pursuant to Title 8 of the U.S. Code, sometimes called "Title 8 authority."

Between March 2020 and May 2023, the Department of Homeland Security quickly expelled irregular border crossers from the United States under a public health order the Centers for Disease Control and Prevention issued March 21, 2020, sometimes called "Title 42 authority."

Title 8: ICE principally removes aliens from the United States after they have received a final order of removal, These removal operations require complex coordination, management and facilitation efforts to successfully remove and return aliens from the United States. ERO
accomplishes this mission through charter flights and on commercial airlines for escorted and unescorted removals, in addition to ground transportation missions on the northern and southern borders and at ports of entry,

ERO's highest-profile removals generally comprise fugitives wanted for serious crimes in othercountries, such as homicide, gang-related offenses, corruption and fraud, Often,theseindividuals come to ERO's attention because of Interpol notices, Other high-profile removals
include known or suspected terrorists, those involved in counterproliferation crimes, and those on the terrorist watch list and no-fly list. War criminals and others convicted or suspected of committing human rights abuses - including torture, ethnic cleansing and genocide -
are also in this category. Authorities escort high-profile removals out of the country via commercial flights, regularly scheduled ICE charter flights and special high-risk charters, In many cases, the individuals are turned over to law enforcement authorities in their home country
to face charges or sentencing,

Title42: Title 42 is a public health authority guided by the CDC and is not an immigration authority, On March 21, 2020, The U,S. Department of Health and Human Services transferred Title 42 Public Health Authority to CBP, Under Title 42,CBPprohibited the entry of certain
people who potentially posed a health risk by being subject to previously announced travel restrictions or having unlawfully entered the country to bypass health screening measures, Under Title 42 authority, DHS rapidly expelled irregular border crossers to their country of last
transit- Canada or Mexico - or, when such an expulsion was not possible, interagency partners engaged foreign government officials to secure aliens' expulsion to their countries of origin.




                                                                                                                                      REMOVALS




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                                                                               Removal Fiscal Year                  Removal Month                                                       Country of Citizenship
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                                                San Diego   _
                                                            0         20,000        40,000      60,000            80,000    100,000      120,000
                                                                                                     Removals




                                                                                                                                                                 Removals
                                        Removals
                                         I636          I     -                                                                                                   10   17,000
                                                            147,886




ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter's data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.




ICE served a role in transporting aliens expelled under Title 42 via ICE charter flights,

 The data in the chart below represents only Title 42 expulsions conducted by ICE via ICE charter flights, Effective May 11, 2023, President Joe Biden declared the end of the COVID-19 national emergency,

 Comprehensive data related to Title 42 expulsions for the United States is available through CBP. For additional information, please visit CBP's Title 42 statistical report.




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                                                   Metric Selection                                                                      Expulsion Fiscal Year                              T42 Expulsion Month                         Country of Citizenship
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        our try of Citizenship
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      Ecuador                                    Honduras

      El Salvador
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      Haiti
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                                                                                                                                                           T42 Individuals/Flights
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                                                                                               metric Selector
                                                                                                                                                      © 2025 Soapbox © OpenStreetMap




Individual T42 Expulsion flights may stop at multiple locations. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuates until "locked" at the conclusion of the fiscal year. These statistics are
published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter's data.




                                                                                                                                                                                                         ALTERNATIVES
                                                                                                                                                                                                         TO DETENTI0N
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The Alternatives to Detention (ATD) program's Intensive Supervision Appearance Program is an alien compliance tool overseen by ERO.

ATD uses technology and case management to more closely monitor cases assigned to the non-detained docket where detention is not necessary or appropriate. The level of supervision and technology participants are assigned is based on their current immigration status,
criminal history, compliance history, community or family ties,caregiver or provider status, and other humanitarian or medical conditions. Officials may enroll aliens in ATD following a border apprehension by CBP or an ICE interior administrative arrest, or at a later stage in
removal proceedings.

In fiscal year 2023, ICE's ATD program deployed the following types of monitoring:

   • Facial matching technology: Facial matching technology allows participants to report compliance via an app installed on an alien's own Smartphone or a dedicated government-issued device,
   ' GPS monitoring: Satellites track participants' location to ensure compliance with conditions of release.
   • Telephonic reporting (telephonic check-in): Phone calls are compared against a voiceprint obtained during enrollment.
   ' Wrist worn device: Provides GPS monitoring, facial matching, and virtual case management functionality, including virtual check-ins and reminders. ICE is conducting a limited deployment of 50 wrist worn devices in the DenverAOR.




                                                                                                                        ALTERNATIVES TO DETENTION




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                                                                                                                                                       11   _        22,722
                                  Active participants

                                  904 _20,059



ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter's data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.

*Unknown Legal Stage: Legal stage data was unavailable when the record was produced. Data is extracted under a point-in-time scenario.




Additional Resources

      ICE Fiscal Vear2024 Annual Rel:
      ICE Fiscal Year 2023 Annual Report
      ICE Fiscal Year2022 Annual Rel:
      ICE Fiscal Year 2021 Annual Re


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                                                     Case 3:25§8§§                                     B06/.63é2u0m28hPé4F"'%|8808l?L%921306 91392428 of 129
      ICE Annual Report Fiscal Year 2020
      Fiscal Year 2020 Enforcement and Removal Operations Rel    t l Local Statistics 2020
      Fiscal Year2020 Homeland Security Investigations
      Fiscal Year 2019 Enforcement and Removal Operations | Local Statistics 2019
      Fiscal Vear2019 Homeland Security Investigations
      Fiscal Year 2018 Enforcement and Removal Operations | Local Statistics 2018
      Fiscal Year2018 Homeland Security Investigations
      Fiscal Year 2017 Enforcement and Removal Operations | Local Statistics 2017
      Fiscal Vear2017 Homeland Security Investigations
      Fiscal Year 2016 Enforcement and Removal Operations | Local Statistics 2013-2016
      Fiscal Vear2016 Homeland Security Investigations
      Fiscal Year 2015 Enforcement and Removal Operations
      Fiscal Vear2014 Enforcement and Removal Operations
      Fiscal Year 2013 ICE Immigration Removals




Definitions


       Term                                                                                                                                Definition

Aliens              People without U.S. citizenship or nationality, which may include stateless people.

AOR                 AOR refers to the area of responsibility that ICE has identified as a geographic region for an action taken.

Arresting           Arresting agency is either CBP or ICE. Border patrol and inspections by air, land or sea are the program areas included within the CBP data.
Agency

Arrests             ICE administrative arrests occur when an ICE officer physically apprehends an alien for a non-criminal civil infraction. The immigration courts hear these cases. ICE civil immigration enforcement arrests do not always lead to detention.

ATD                 ATD refers to ICE's Alternatives to Detention program. ATD is a flight-mitigation tool that uses technology and case management to ensure alien compliance with release conditions, court hearings and final orders of removal while allowing
                    them to remain in their communities as they move through the immigration process or prepare for departure from the United States.

CBP                 U.S. Customs and Border Protection.

Citizenship         Country of citizenship of the alien . Country of Citizenship is derived from the ICE system of record as it is input by the officer at the time of processing. An "Unknown" Country indicates the alien failed or refused to identify a country of
Country             citizenship or the officer lacked documentation to do so at the time. Country of Birth or Citizenship can be updated at anytime during the Immigration Lifecycle by an Officer. These aliens can include those that were born in Palestine, West
                    Bank, or the Gaza strip and considered Stateless.

Criminality         Criminality encompasses three categories: individuals with criminal convictions, people with pending criminal charges, and other immigration violators. Those with convictions are immigration violators who have a criminal conviction in
                    ICE's system of record at the time of the enforcement action. Pending criminal charges refers to an immigration violator with pending criminal charges in ICE's system of record at the time of the enforcement action. Other immigration
                    violators are individuals without any known criminal convictions or pending charges in ICE's system of record at the time of the enforcement action.

Detentions          The detention data presented counts the number of initial book-ins into ICE facilities and does not include juveniles who are transferred to Office of Refugee Resettlement custody or housed in an ORR facility. U.S. Marshals Service prisoners
                    are also excluded. Transfers between ICE facilities are not counted as new detention events, and aliens may be booked into ICE facilities more than once without triggering a new detention event.

Expulsions          The term 'Expulsion' refers to the removal of an alien pursuant to the United States Code other than Title 8 such as Title 42 or Title 50.

Facial              Facial monitoring technology is a form of monitoring forATD participants. It is a Smartphone application that uses facial recognition technology to verify the user's identity and physical location. This application also provides video
Monitoring          conferencing, community referrals, messaging between the alien and an officer, document capturing, appointment reminders and a calendar.

GPSAnkle            A GPS ankle monitor is a low-profile ankle bracelet that uses GPS to provide detailed information about an ATD participant's movement.
Monitor

ICE                 U.S. Immigration and Customs Enforcement.

Removals            ICE removal data includes returns. Returns include:

                           Voluntary returns: Discretionary relief granted by an ICE officer at the border by permitting an alien to depart the United States without a removal order and related immigration consequences.
                        - Voluntary departures: Discretionary relief granted in removal proceedings or by an ICE officer in lieu of removal proceedings permitting an alien to depart the United States voluntarily without a removal order and related immigration
                           consequences.


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       Term                                                                                                                                    Definition
                           Withdrawals under docket control: Discretionary relief granted by an ICE officer or immigration judge to an alien encountered at a port of entry that permits the alien to voluntarily withdraw an application for admission to the United
                           States and depart the United States without a removal order and related immigration consequences.

                    ICE Removals include aliens processed for Expedited Removal (ER) or Voluntary Return (VR) that are turned over to ERO for detention, As of May 12, 2023, aliens processed for ER that were turned over from Border Patrol to ICE for removal via ICE Air are also
                    included. Aliens processed for ER and not detained by ERO or VR after June 1, 2013, and not detained by ERO are primarily processed by Border Patrol, Those statistics are not included in this dashboard and are maintained by CBP, This does not include
                    Title 42 expulsions.




 Staging sites or    Staging sites, also known as S-sites, are locations mostly along the Southwest Border that enroll participants being released from CBP or ICE custody. These participants are generally given fewer than 30 days to report to an ERO office in their
 S-sites             final destination AOR. After a participant arrives in their AOR, local ATD officers determine their continued suitability in the ATD program and possible transition to other sites.

 Telephonic         Telephonic check-in is a form of monitoring in the ATD program and is a multilingual telephonic voice recognition system. Telephonic check-in automatically calls ATD program participants in one of36 languages and validates participants'
 Check-in            voices against a master template resulting in pass or failure.

 Unmapped AOR       An 'Unmapped AOR' indicates that the location of a given enforcement action is not mapped to a specific AOR in the database.
 Records

 Wrist worn         Provides GPS monitoring, facial matching, and virtual case management functionality, including virtual check-ins and reminders.
 device




Access and Export Congressionally Mandated ICE Data

     ICE Detention Statistics




Access and Export ICE Data

To download the underlying ICE data from all the dashboards as an Excel spreadsheet, click here.

*Applied titers will not be captured in the data download.
*Records with less than 10 aliens are excluded forprivacy reasons.




Tips for Using the ICE Dashboards


        This page is best viewed on a desktop computer. If you are using Internet Explorer, you may have issues viewing the charts on this page. Please use another browser, such as Chrome, Safari, Firefox or Edge to view. When using a mobile device, the charts
        are best displayed in landscape mode. If the charts are not loading or appear overlapping, refresh your browser or press Ctrl+F5 on a PC orCmd+R on a Mac.
        Dashboards are best viewed in "Full Screen." To enter "Full Screen" click the "Full Screen" button next to "Share" at the bottom-right corner of each dashboard.




                          <-(3 Share




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Tips for Exporting ICE Dashboards as Images


   To download the underlying data as an Image, PDF, or PowerPoint spreadsheet, click the "Download" button next to "Full Screen" at the bottom-right corner of each dashboard.
   *Records with less than 10 aliens are excluded forprivacy reasons,

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                                ADDRESS                                                           RELATED INFORMATION                                        CONTACT US

                                9 500 12th St SW                                                  Mission                                                    General Information
                                      Washington, DC 20536
                                                                                                  Who We Are                                                 ICE Field Offices
                               L Report Crimes: Call 1-866-DHS-2-ICE                              ICE Leadership                                             HSI International Offices

                                                                                                  Career Opportunities                                       Media Inquiries

                                                                                                  News Releases and Statements                               Small Business



                                                                                       About Us                                                    Immigration Enforcement


                                                                              Combating Transnational Crime                                                 Newsroom




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                                                                   Enforcement                                                                        Report suspicious activity: l-866-DHS-2-ICE




                                                             :38       ICE.gov
                                                               u       An official website of the U.S. Department of Homeland Security                                    National
                                                             About ICE                        Archive                            The White House                          Terrorism
                                                             Accessibility                    No FEAR Act Data                   DHS Components                           Advisory
                                                             FOIA Requests                    Site Links                         USA.gov
                                                                                                                                                                          System
                                                             Privacy Policy                   Performance Reports

                                                             DHS.gov




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    BRENNAN
    CENTER
    FOR IUST1CE

     POLICY SOLUTION



    Limiting the Military's Role in Law
    Enforcement
    The Posse Comitatus Act bars the armed forces from serving as civilian
    police, but loopholes and exceptions undermine its effectiveness.




    Joseph Nunn


    PUBLlSHED= October 2, 2024




    In May 1992, seven U.S. Marines joined              me" - a request, in law enforcement par-
    two local police officers as they responded         lance, that they raise their weapons and
    to a domestic violence call in the waning           be ready to fire if necessary. But the
    days of the Los Angeles riots. Deployed to          Marines, in accordance with their own
    the city alongside several thousand other           training, took it as a request for suppress-
    federal troops after President George               ing fire. They riddled the home with more
    H. W. Bush invoked the Insurrection Act,            than 200 bullets. Miraculously, no one was
    these Marines now found themselves play-            killed. [1]
    ing a role for which they had little training:
                                                        In the United States, federal military par-
    that of civilian law enforcement officer.
                                                        ticipation in civilian law enforcement like
    At the scene, as the police officers pre-           this has been rare, particularly over the
    pared to enter the home, someone inside             past half century. The idea of tanks rolling
    fired a shotgun through the door. One of            down the streets of American towns and
    the officers shouted to the Marines, "Cover         soldiers dressed in camouflage appre-



1                    Brennan Center for Justice at   gawk University School of Law
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    bending Americans is anathema to mod-               itary as a domestic police force. But there
    ern sensibilities. Some Americans might             are also other ways in which the Posse
    even assume that these actions are pro-             Comitatus Act fails to provide robust pro-
    hibited by the U.S. Constitution. Indeed,           tection against the use of federal troops
    the use of federal troops as a domestic po-         for law enforcement purposes.
    lice force is in tension with both constitu-
                                                        In reality, the principle enshrined in the
    tional principles and long-standing
                                                        Posse Comitatus Act is protected more by
    American traditions, which were informed
                                                        norms and historical practice than by the
    by the British government's heavy-handed
                                                        text of the law itself. Those norms and
    use of the military to police the colonies in
                                                        practices are significant, to be sure, and
    the years leading up to the American
                                                        efforts to reform the law should embrace
    Revolution. Events like the Boston
                                                        and codify them. But in an era in which we
    Massacre illustrated to the founding gen-
                                                        can no longer rely on tradition to constrain
    eration the dangers of domestic deploy-
                                                        executive action, the Posse Comitatus
    ment of the military. But while the
                                                        Act's flimsiness poses serious risks.
    Constitution limits military involvement in
                                                        Rather than wait for those risks to materi-
    civilian affairs in various ways, it does not
                                                        alize, Congress should act now to shore Ur)
    entirely bar the federal armed forces from
                                                        the law's protections.
    conducting law enforcement activities. A
    partial prohibition comes instead from a            This report proceeds in three parts. Part I
    law passed by Congress in 1878: the Posse           discusses the dangers of using the mili-
    Comitatus Act.                                      tary for domestic law enforcement, a con-
                                                        cern that has been prominent in American
    The Posse Comitatus Act rests at the cen-
                                                        legal thinking since the nation's founding.
    ter of a web of laws, regulations, and poli-
                                                        It also explains how the Constitution ap-
    cies that govern what the U.S. military can
                                                        proaches domestic deployment of the mil-
    and cannot do domestically. lt is a crucial
                                                        itary, including the central role accorded
    safeguard for the preservation of both
                                                        to Congress. Part II lays out the array of
    American democracy and constitutional
                                                        problems that undermine the Posse
    liberties. At the same time, it is riddled
                                                        Comitatus Act, from its many statutory ex-
    with exceptions, loopholes, and ambigui-
                                                        ceptions to its lack of meaningful enforce-
    ties that leave it surprisingly weak. The
                                                        ment mechanisms. Finally, part Ill lays out
    most dangerous exception by far is the
                                                        a legislative proposal for fixing each of
    Insurrection Act, which gives the president
                                                        these shortcomings.
    virtually limitless discretion to use the mil-



2                   Brennan Center for Justice at °§"3Y0rk University School of Law
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                                                                                      [link-1]
                   DOWNLOAD PDF




    Endnotes

    1 See Kyle Daly, "1992: Rioting in Los Angeles," Leatherneck, October 2020, 30, 34, https://www.mca-
    marines.org/wp-content/uploads/1992-Riots-in-Los-Angeles.pdf. See also Paul J. Scheips, The Role of Federal
    Military Forces in Domestic Disorders, 1945-1992 (Washington, DC: Center of Military History, United States
    Army, 2012), 448, https://www.govinfo.gov/content/pkg/GOVPUB-D114-PURL-gpo82975/pdf/GOVPUl3-D114-
    PURL-gpo82975.pdf.




Links


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3                     Brennan Center for Justice at °§"4Y0rk University School of Law
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  SOCIETY



Crowds clash with federal agents after dozens detained in ICE raids across LA
if
Friday, June 6, 2025 9:40PM



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Este articulo se ofrece en @paFiol ->




Immigration enforcement agents carried out raids in Los Angeles, prompting gatherings of protesters who at one point clashed with authorities.




WESTLAKE, LOS ANGELES (KABC) -- Immigration enforcement agents carried out raids in Los Angeles Friday, prompting gatherings of protesters who at one point
clashed with authorities.

At one scene in downtown Los Angeles, a crowd of people tried to prevent authorities from leaving in vans after multiple people were detained.




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    Immigration enforcement agents carried out raids in Los Angeles Friday, prompting gatherings of protesters who at one point clashed with authorities.


    Protesters could be seen throwing objects at the vehicles, while others tried to block the vans from leaving. One person was nearly run over when they fell to the ground
    after getting in front of one of the vehicles.

    Friday evening, protesters marched in downtown L.A.condemning Friday's immigration raids.

    Immigration enforcement agents were spotted at two separate locations in the morning, including a Home Depot store in the Westlake District.


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                                                                     in           scholarship yet?
                                                                            Get up to $1,500 for their college journey,




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    Video posted to the Citizen app showed Department of Homeland Security agents escorting men in handcuffs outside the store on Wilshire Boulevard.

    A witness who spoke with Eyewitness News outside the store said several people, including men andwom en, some ofwhom are street food vendors, were detained.

    "We're a little scared," said the witness in Spanish.

@   24/7 Live                                                                                                                                                                   62°



    "Frankly, I'm just outraged because what happened is that went ICE went in they just took people away. And we just can't have this in our city, and it happened at multiple
    places in the city," Bass said. "It sows a sense of terror throughout the community...ICE was literally chasing people down the street."




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"I'Ve been really worried about this from the beginning, and as far as I know, this is the first time this has happened in our city like this. We know ICE has been here, but it's
been for targeted arrests; this was just mass chaos," Bass added. "It sows a sense of chaos in our city, and a sense of terror, and it's just unacceptable."




Mayor Karen Bass spoke with Eyewitness News Friday afternoon regarding the ICE raids that occurred across the city, and said that neither she nor LAPD had any idea these raids were going to happen.


The mayor also said that SEIU-USWW President David Huerta was injured and hospitalized after federal agents got on top of him to detain him. The mayor said Huerta was
just an observer and a witness as part of a rapid response network to the community when events like these occur.

ABC7 spoke with members of the SEIU who said the union leader wanted to protect his members working at the Ambiance Apparel location at 15th Street and Santa Fe
Avenue. At some point, there was a scuffle involving federal agents and it appeared Huerta was pushed down and hit his head. One video shows a federal agent pushing
Huena while he has his hands at his hips, after which, he falls to the ground.

Friday evening, Angelica Salas, Executive Director of CHRLA, said Huerta had been released from the hospital but was still being detained by federal authorities.


Meanwhile, FBI agents were also spotted outside the Ambiance Apparel store near 9th Street and Towne Avenue in the Fashion District. Dozens of people were seen
gathered outside the store.




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At around 10 p.m. Friday, federal agents were seen gathering at a parking lot in the on the 700 block of north Hill Street in Chinatown. It was unclear whether they were
carrying out an operation or not.

Their presence sparked a confrontation between the agents and a large crowd of residents. Video from AIR7 showed several unmarked vehicles and federal agents trying
to clear out the crowd.




Several federal agents staged in a parking lot on the 700 block of north Hill Street in Chinatown Friday evening, prompting a large crowd of residents.


A senior DHS spokesperson sent ABC7 a statement Friday, but did not directly address the investigations at both locations.


The statement said in part, "ICE is now following the law and placing these illegal aliens in expedited removal, as they always should have been."

"If they have a valid credible fear claim, they will continue in immigration proceedings, but if no valid claim is found, aliens will be subject to a swift deportation."




                                                                                                       A89
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Eyewitness News is working to get more information.

Aerial video from AIR7 showed federal agents using a parking lot for their operations near a California Highway Patrol office. According to CHP, the FBI requested to use
the lot but did not disclose it would be used as pan of immigration enforcement.

"The CHP was informed by the FBI that the request to use the public parking lot was for a federal operation not related to immigration enforcement. Based on that
representation, CHP granted access to the parking lot strictly for staging purposes and did not participate in the operation itself," said CHP in a statement. "CHP was not
made aware of any involvement by immigration enforcement agencies at the time of the request. If the nature or scope of the operation changed or was broader than
initially communicated, that information was not disclosed to CHP prior to the approval."

Friday's raids come as the advocacy group true of United Latin American Citizens calls for an investigation after reports surfaced of U.S. Immigration and Customs
Enforcement holding families in detention at a federal building in downtown L.A.

Images shared by LULAC showed several people being detained by authorities.


Swift condemnation from local leaders
California Gov. Gavin Newsom joined the many condemning Friday's immigration raids saying:


"Continued chaotic federal sweeps, across California, to meet an arbitrary arrest quota are as reckless as they are cruel. Donald Trump's chaos is eroding trust, tearing
families apart, and undermining the workers and industries that power America's economy."

U.S. Senator Alex Padilla (D-calif.) echoed the governor's sentiments, calling the raids "extreme" and "crueL" He issued the following statement:

"The ICE raids across Los Angeles today are a continuation of a disturbing pattern of extreme and cruel immigration enforcement operations across the country. These
indiscriminate raids prove once again that the Trump administration cares about nothing but instilling harm and fear in our communities to drive immigrants into the
shadows. It will not work. This fearmongering is not going to change the fact that immigrants are valued members of our communities who contribute to our society and
economy, and my office will demand accountability for today's actions."

L.A. County Supervisor Janice Hahn said:


"The ICE raids across Los Angeles today are chilling. They aren't targeting violent criminals - they are sweepingup hardworking people in our communities just trying to
provide for their families. These agents are armed to the teeth and it is clear their goal is to make people afraid and it's working. I understand that during this mornings
raids, SEIU California President David Huerta was injured by federal agents and wrongfully detained. I am calling for his immediate release. This is a democracy. People
have a right to peacefully protest, to observe law enforcement activity, and to speak out against injustice."


Los Angeles County Supervisor Lindsey P. Horvath shared the following:


"Today's ICE raids were acts of cruelty and bigotry, targeting our immigrant neighbors and tearing families apart. These actions are designed to instill fear in communities
of color-but we will not be intimidated, and we will not be silent. I'm in direct communication with County, State, & community leaders to ensure that all available
protections from LA County are activated immediately. We must remain vigilant. We must protect one another. And above all, we will stand together."

Los Angeles County Chair Pro Tem and First District Supervisor Hilda L. Solis issued the following statement:

"Today's immigration sweeps across the First District in downtown Los Angeles, Westlake, and Cypress Park are deeply disturbing. The individuals detained are
hardworking Angelenos who contribute to our local economy and labor force every day. It is also horrifying that ICE targeted Skid Row to intimidate some of our most
vulnerable residents. Trump said he would go after criminals, not innocent hardworking people contributing to our economy and supporting their families.


These are difficult times that have our communities fearful and concerned by these federal immigration actions. As we continue to hear from community organizers
exercising their rights to speak out, it is vital we all remain safe and calm in assessing the needs of those impacted. Los Angeles County remains committed to standing
with our immigrant communities, providing support through our Office of Immigrant Affairs and our network of nonprofit partners."

L.A. City Councilmembers Eunisses Hernandez, Adrin Nazarian, Bob Blumenfield, Nithya Raman, Katy Yaroslavsky, Imelda Padilla, Marqueece Harris-Dawson, Heather
Hurt, Hugo Soto-Martinez, Ysabel Jurado, and Tim Mcosker released the following statement in response to the raids:

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"Today, Los Angeles witnessed an egregious escalation from federal immigration agencies as reports of ICE raids and activity occurred throughout the City. This
indiscriminate targeting of children and families not only harms the individuals who are directly impacted, but destroys our communities' sense of trust and safety in
their own homes.

We condemn this in no uncertain terms: Los Angeles was built by immigrants and it thrives because of immigrants. We will not abide by fear tactics to support extreme
political agendas that aim to stoke fear and spread discord in our city. To every immigrant living in our city: we see you, we stand with you, and we will fight for you. Los
Angeles will continue to be a place that values and dignifies every human being, no matter who they are or where they come from."

Los Angeles Unified School District Superintendent Alberto Carvalho said:

"I am dismayed by recent immigration enforcement activity occurring near our schools. These actions are causing unnecessary fear, confusion, and trauma for our
students and families - many of whom are simply trying to get to and from school and work, and to live with dignity. Our schools must remain safe havens - places where
every child can learn, grow, and thrive without fear of being separated from their loved ones. The presence of federal immigration activity near campuses threatens that
fundamental right. Children deserve support, not surveillance.

Los Angeles Unified stands with our immigrant families. We will continue to provide resources, support, and information to protect our students and their families - and
we will use every tool at our disposal to advocate for their safety and well-being.


We are working with school leaders, safety teams, and community partners to ensure that impacted schools remain a safe, welcoming, and protected environment for all
students and families. We are advising families to closely monitor communication from their schools. If any parent or guardian sees immigration activity, please contact
your school, utilize the LASAR app, and/or call the Family Hotline at213-443-1300."

Los Angeles County Sheriff Robert Luna also issued a statement reminding the public that the department does not participate in any immigration enforcement activities,
and urged everyone to remain calm:


"This afternoon, we received several reports of federal immigration enforcement actions across Los Angeles County. The Los Angeles County Sheriffs Department wants
to emphasize that we do not participate in any civil immigration enforcement activities or mass deportation sweeps. Immigration enforcement is the responsibility of
federal law enforcement agencies not the Sheriffs Department. The Sheriffs Department does not enforce civil immigration laws, nor do we ask about an individual's
immigration status when responding to calls for service. Our focus and priority remain on enforcing state and local laws to ensure the safety and well-being of our diverse
communities throughout Los Angeles County.

We deeply value diversity, inclusion and public trust within our communities and we want our residents to know that when they call for help, the Los Angeles County
Sheriffs Department will respond, investigate, and protect everyone-regardless of a person's legal status. We recognize that these reports have caused fear, allxiety, and
concern within our communities. We urge everyone to remain calm and peaceful as we continue to place your safety and well-being at the forefront of our efforts."




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                                                     PRESIDENTIAL ACTIONS

                 Department of Defense Security for the Protection of Department of Homeland Security Functions


                                                     Presidential Memoranda

                                                          June 7, 2025




            MEMORANDUM FOR THE SECRETARY OF DEFENSE
                    THE ATTORNEY GENERAL
                    THE SECRETARY OF HOMELAND SECURITY
             SUBJECT:     Department of Defense Security for the Protection of Department of Homeland
             Security Functions
             Numerous incidents of violence and disorder have recently occurred and threaten to
            continue in response to the enforcement of Federal law by U.S. Immigration and Customs
             Enforcement (ICE) and other United States Government personnel who are performing
            Federal functions and supporting the faithful execution of Federal immigration laws. In
            addition, violent protests threaten the security of and significant damage to Federal
             immigration detention facilities and other Federal property. To the extent that protests or
             acts of violence directly inhibit the execution of the laws, they constitute a form of rebellion

                                                       The WHITE HOUSE

            in me as President by the Constitution and the laws of the United States of America, I hereby
             call into Federal service members and units of the National Guard under 1O U.S.C. 12406 to
             temporarily protect ICE and other United States Government personnel who are performing
            Federal functions, including the enforcement of Federal law, and to protect Federal property,
            at locations where protests against these functions are occurring or are likely to occur based
            on current threat assessments and planned operations. Further, I direct and delegate actions
             as necessary for the Secretary of Defense to coordinate with the Governors of the States and
             the National Guard Bureau in identifying and ordering into Federal service the appropriate
             members and units of the National Guard under this authority. The members and units of the
            National Guard called into Federal service shall be at least 2,000 National Guard personnel
            and the duration of duty shall be for 60 days or at the discretion of the Secretary of Defense.
             In addition, the Secretary of Defense may employ any other members of the regular Armed
             Forces as necessary to augment and support the protection of Federal functions and
             property in any number determined appropriate in his discretion.
            To carry out this mission, the deployed military personnel may perform those military
             protective activities that the Secretary of Defense determines are reasonably necessary to
             ensure the protection and safety of Federal personnel and property The Secretary of
             Defense shall consult with the Attorney General and the Secretary of Homeland Security
             prior to withdrawing any personnel from any location to which they are sent. The Secretaries
             of Defense and Homeland Security may delegate to subordinate officials of their respective
             Departments any of the authorities conferred upon them by this memorandum.
                           DONALD J.TRUMP




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u.s.nEws


Federal authorities arrest dozens for immigration violations across Los
Angeles




                                                                       BY DAMIAN NOVARGANES nun uLan R. RODRIGUEZ

                                                                       Updated g 21 AM PDT. June ?. 2025




                                                                       LOS ANGELES (AP) - After federal immigration authorities arrested more than 40 people Friday across Los
                                                                       Angeles, protesters gathered outside a federal detention center demanding their release before police in riot
                                                                       gear tossed tear gas canisters to disperse the crowd ,

                                                                       immigration and Customs Enforcement officers executed search warrants at multiple locations, including
                                                                       outside a clothing warehouse where a tense scene unfolded as a crowd tried to block agents from driving
                                                                       away. Sirens blared as protesters surrounded black SUVs and tactical vehicles. Officers threw flash bangs into
                                                                       the street to disperse people as they shouted and filmed the scene with their cell phones, One demonstrator
                                                                       tried to physically stop a vehicle from leaving.

                                    LA protests   sly Stone dies   Apple at W W DC    Greta Thunberg       BET Aw ards


                                                                       labor union, was arrested and charged for impeding a federal agent while protesting, the U.S. Attorneys
                                                                       office said,



                                                                       Los Angeles Mayor Karen Bass said the activity was meant to "sow terror" in the nations second-largest city.



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                                                                       sTump sending National Guard troops to LA-area protests against ICE




                                                                       Los Angeles' image is scuffed since ICE raids and protests




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                    Marines deployed to LA to respond to immigration protests



                    Federal immigration authorities have been ramping up arrests across. the country to fulfill President Donald
                    Trumps promise of mass deportations. Todd Lyons, the head of U.S. Immigration and Customs Enforcement,
                    defended his tactics earlier this week against criticism that authorities are being too heavy-handed. He has
                    said ICE is averaging about 1,600 arrests per day and that the agency has arrested "dangerous criminals."

                    Protests recently broke out af ter an immigration action at a restaurant in San Diego and in Minneapolis, when
                    federal officials in tactical gear showed up in a Latino neighborhood for an operation they said was about a
                    criminal case, not immigration.




                    Protesters chant 'set them free'
                    In Los Angeles, federal agents executed search warrants at three locations, OKeefe said. But Angelica Salas,
                    executive director for the Coalition of Humane Immigrant Rights, or CHIRLA, said advocates were aware of
                    activity at seven locations, including several Home Depot parking lots and a doughnut shop.

                    At the warehouse in the fashion district, agents had a search warrant after they and a judge found there was
                    probable cause the employer was using fictitious documents for some of its workers, U,5. Attorneys Office
                    spokesperson Ciaran McEvoy confirmed.

                    Dozens of protesters gathered Friday evening outside a federal detention center in Los Angeles where
                    lawyers said those arrested had been taken, chanting "set them free, let them stay!"

                    Other protesters held signs that said "ICE out of LA!" while others led chants and shouted from megaphones.
                    Some scrawled graffiti on the building facade.

                    Officers holding protective shields stood shoulder to shoulder to block an entrance, Some tossed tear gas
                    canisters to disperse the crowd, Officers wearing helmets and holding batons then forced the protesters
                    away from the building by forming a line and walking slowly down the street.



                    "Our community is under attack and is being terrorized. These are workers, these are fathers, these are
                    mothers, and this has to stop. Immigration enforcement that is terrorizing our families throughout this
                    country and picking up our people that we love must stop now," Salas, of CHIRLA, said at an earlier press
                    conference while surrounded by a crowd holding signs protesting Immigration and Customs Enforcement.



                    One detainee sent to Mexico
                    Yliana Johansen-Mendez, chief program officer for the Immigrant Defenders Law Center, said her
                    organization was aware of one man who was already deported back to Mexico after being picked up at a
                    Home Depot on Friday morning. The mans family contacted her organization and one of their attorneys was
                    waiting for hours to speak to him inside the detention center, she said. Authorities later sand he had already
                    been removed, and the man later contacted his family to say he was back in Mexico.

                    Videos from bystanders and television news crews captured people being walked across a Home Depot
                    parking lot by federal agents as well as clashes that broke out at other detention sites. Outside the
                    warehouse, KTLA showed aerial footage of agents leading detainees out of a building and toward two large
                    white vans waiting in a parking lot.




                    The hands of the detained people were tied behind their backs. The agents patted them down before loading
                    them into the vans. The agents wore vests with the agency acronyms FBI, ICE and HSI. Armed agents used
                    yellow police tape to keep crowds on the street and sidewalk away from the operations.

                    Immigrant-rights advocates used megaphones to speak to the workers, reminding them of their
                    constitutional rights and instructing them not to sign anything or say anything to federal agents, the Los
                    Angeles Times reported.




                    Katia Garcia, 18, left school when she learned her father, 37-year-old Marco Garcia, may have been targeted.

                    Katia Garcia, a U.S. citizen, said her father is undocumented and has been in the U.S. for 20 years. "We never
                    thought this would happen to us," she told the Los Angeles Times.




                    Rodriguez reported from San Francisco and McAvoy from Honolulu. Associated Press journalists Jae Hong
                    and Eugene Garcia in Los Angeles, Amy Taxin in Orange County, California, and Kathleen Ronayne in
                    Sacramento, California, contributed.




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                           EXPLAINER
                           News I Police

                           ICE launches 'military-style' raids in Los Angeles: What we know
                           More than 4o people have been arrested by immigration officials in what has been described as an 'oppressive and vile paramilitary operation'.




                           Los Angeles Police Department officers move to disperse a protest after federal immigration authorities conducted an operation on Friday, June 6, 2025 [Jae C Hong!AP]


                             By AI Jazeera Staff
                             7 Jun 2025

                            o X B 69 I ®
                           Los Angeles witnessed a series of coordinated immigration raids by United States law enforcement officials on Friday, resulting in the arrest of
                           dozens and igniting widespread protests.

                           The raids, which were carried out in a military-style operation, have intensified concerns about the force used by federal immigration officials and
                           the rights of undocumented individuals.



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                                    Why does Donald Trump seem to be fixated on foreign nationals?

                                    What has Musk accused Trump of in relation to the Epstein files?




                           Here is what we know about the raids and the latest on the ground.


                           What happened in LA?
                           Federal agents from US Immigration and Customs Enforcement (ICE), the Department of Homeland Security (DHS), the Federal Bureau of
                           Investigation (FBI) and the Drug Enforcement Administration (DEA) conducted a series of "immigration enforcement operations" across Los
                           Angeles on Friday morning.

                           Individuals suspected of "immigration violations and the use of fraudulent documents" were arrested. The arrests were carried out without judicial
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                          The Los Angeles Police Department (LAPD), which did not take part in the raids, was called in to quell ensuing protests.

                          The raids were part of a broader initiative under the Trump administration's intensified immigration policies.


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                          Which areas were raided?
                          The raids focused on several locations in downtown LA and its immediate surroundings. These spots are known to have Qgnifieant migrant popula-
                          tions and labour-intensive industries.

                          Angelica Salas, executive director of the Coalition of Humane Immigrant Rights (CHIRLA), which covers California - home to the US's largest pop-
                          ulation of undocumented people - said advocates had recorded enforcement activity at seven sites. This included two Home Depot stores in the
                          Westlake District of Los Angeles, a doughnut shop and the clothing wholesaler, Ambiance Apparel in the Fashion District of downtown Los
                          Angeles.

                          Other locations in which raids were carried out included day labor centres and one other Ambiance facility near 15th Street and Santa Fe Avenue
                          in south Los Angeles.

                          How many people have been arrested?
                          ICE and Homeland Security Investigations (HSI) reported the "administrative arrest" of 44 individuals for immigration-related offences.

                          An administrative arrest, unlike a criminal arrest, refers to detention for civil immigration violations such as overstaying a visa or lacing legal sta-
                          tus, and does not require criminal charges. These arrests can result in detention, deportation, temporary re-entry bans and denial of future immi-
                          gration requests.

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                       Advocates believe the number of arrests made was higher, however. Caleb Soto, of the National Day Laborer Organizing Network, told Al Jazeera
                       that between 70 and 80 people had been detained, but only three lawyers have been allowed access to the detention centre where they were being
                       held to provide legal advice.

                       Soto added that members of the community had effectively been "kidnapped" as officials, wearing masks had not shown warrants or any form of
                       documentation when carrying out arrests.

                       Additionally, David Huerta, president of the Service Employees International Union (SEIU) California, was arrested for allegedly obstructing fed-
                       eral agents during the raids. Huerta was reportedly injured during the arrest and received medical treatment at Los Angeles General Medical
                       Center before being taken into custody.




                       A protester attempts to evade a Department of Homeland Security officer [Jae C Hong/Ap Photo]
                       What kinds of raids were these?
                       What sets these raids apart from typical civil enforcement actions was their military-style execution, experts say.

                       According to witnesses, legal observers and advocacy groups, federal agents involved in the operations were heavily armed and dressed in tactical
                       gear, with some wearing camouflage and carrying rifles.


                       Agents arrived in unmarked black SUVs and armoured vehicles and, at certain points, sealed off entire streets around targeted buildings. Drones
                       were reportedly used for surveillance in some areas and access to sites was blocked off with yellow tape, similar to measures which would be taken
                       during a high-threat counterterrorism or drug bust operation.




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                          The ACLU described the show of force as an "oppressive and vile paramilitary operation". Civil liberties groups said the tactics used had created
                          panic in local communities and may have violated protocols for civil immigration enforcement.




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                          How did protests break out?
                          As news of the raids spread via social media and through immigrant advocacy networks, hundreds of protesters gathered outside the Edward R
                          Roybal Federal Building in downtown Los Angeles, where detainees werebeing processed.


                          Demonstrators blocked entrances and exits to the building, chanted slogans and demanded the release of those arrested. Some spray-painted anti-
                          ICE slogans on the building's exterior walls. Several protesters attempted to physically stop ICE vehicles, leading to confrontations with law
                          enforcement.

                          LAPD officers issued dispersal orders and warned protesters that they would be subject to arrest if they remained in the area. To enforce the order,
                          officers in riot gear deployed tear gas, pepper spray and "less-lethal munitions", including firing rubber bullets to disperse the crowd. A citywide
                          tactical alert was also issued, requiring all LAPD officers to remain on duty.


                          What's happening now?
                          Shortly after 7pm on Friday [02:00 GMT Saturday], the LAPD declared the protests to be an "unlawful assembly", meaning that those who failed to
                          leave the area could be subject to arrest. The declaration appeared to remain in effect until the crowd dispersed later that evening, though no for-
                          mal end time was publicly announced.

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                          US media outlets and rights groups reported that hundreds of detainees, including children, were held overnight in the basement of the federal
                          building without access to beds, blankets or adequate food and water.


                          However, an ICE spokesperson told CBS News that the agency "categorically refutes the assertions made by immigration activists in Los Angeles",
                          stating that it takes its mandate to care for people in custody "seriously".

                          The status of all individuals detained remains unclear. While some have been released, others continue to be held and details about their current
                          locations or conditions have not been fully disclosed.

                          What are the reactions to the raids?
                          Local and state officials condemned the raids and the manner in which they were conducted.

                          In a statement shared on X on Friday, Los Angeles Mayor Karen Bass said such operations "sow terror in our communities and disrupt basic princi-
                          ples of safety in our city".


                                                                                                Mayor Karen Bass       a                                                         X
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                          California Governor Gavin Newsom issued a statement describing the operations as "cruel" and "chaotic", adding that they are an attempt "to meet
                          an arbitrary arrest quota".

                          All 15 members of the Los Angeles City Council issued a joint statement denouncing the raids.

                          Some Trump administration officials, on the other hand, defended the actions and criticised local leaders for pushing back. White House Deputy
                          Chief of Staff Stephen Miller, for instance, suggested that Mayor Karen Bass was undermining federal law.




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                                                                                             Mayor Karen Bass        a @MayorOfLA
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                                                THAN TRUMP'S "BIG BEAUTIFUL BILL."                                                                  me


Newsom blasts deployment of National Guard to LA as 'purposefully inflammatory'
The federal government is deploying 2,000 soldiers a.mid unrest over immigration sweeps in Los Angeles.




                                                     A man helps an injured woman during a protest in the Paramount section of Los Angeles, Saturday, June 7,
                                                     2025, after federal immigration authorities conducted operations. I Eric Thayer/AP


                                                     By MELANIE MASON
                                                     06/0?42025 09:00 PM EDT
                                                     Updated: 06:'07:'2025 09:28 PM EDT


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                                                     LOS ANGELES - California Gov. Gavin Newsom on Saturday denounced
                                                     President Donald Trump's plan to deploy thousands of National Guard troops
                                                     to quell pro-immigrant demonstrators in the Los Angeles area, calling the
                                                     action "purposefully inflammatory."

                                                     The Democrat's remarks came after Tom Homan, Trump's border czar, told
                                                     Fox News that the administration planned to send National Guard troops to
                                                     the area. The White House said Trump signed a presidential memorandum
                                                     deploying 2,000 troops "to address the lawlessness that has been allowed to
                                                     fester.'

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                                          In a statement, Newsom said Trump was moving to take over the California
                                          National Guard and deploy 2,000 soldiers, which the governor said would
                                          "only escalate tensions" after protesters confronted immigration agents making
                                          raids on local businesses. Trump's move came without Newsom's signature,
                                          presumably hy invoking Title 10, the legal basis for activating and mobilizing
                                          the Guard.


                                          In a social media post, Trump said, "If Governor Gavin Nev scum, of California,
                                          and Mayor Karen Bass, of Los Angeles, can't do their jobs, which everyone
                                          knows they can't, then the Federal Government will step in and solve the
                                          problem, RIOTS & LOOTERS, the way it should be solved!!!"

                                          The standoff in Paramount, a small city in southeast Los Angeles County,
                                          marks the second consecutive day of clashes in the region over high-profile
                                          immigration raids. At least 44 people were arrested on Friday on suspicion of
                                          immigration violations.

                                          Among those arrested was the president of the labor union SEIU California,
                                          David Huerta, whose injuries during his detainment required brief
                                          hospitalization and set off a wave of condemnation from California Democratic
                                          officials, including Newsom. A video of Huerta's arrest showed officers
                                          knocking the labor union leader to the ground.

                                          In Paramount, federal agents in riot gears squared off against protestors, using
                                          tear gas and flash-bang grenades to disperse the crowds.

                                          Karoline Leavitt, the White House press secretary, said in a statement that
                                          "violent mobs have attacked ICE Officers and Federal Law Enforcement Agents
                                          carrying out basic deportation operations" and that "California's feckless
                                          Democrat leaders have completely abdicated their responsibility to protect
                                          their citizens.'

                                          Homan told Fox News that while people had a First Amendment right to
                                          protest, there would he consequences for "crossing the line" and impeding
                                          ICE's operations.

                                          "We're already ahead of the game. We're already mobilizing. We're going to
                                          bring in the National Guard tonight," he said. "We're going to continue doing
                                          our job. We're going to push back on these people and we're going to enforce
                                          the law."

                                          Newsome, in his statement, said such federal intervention was unnecessary.

                                          "LA authorities are able to access law enforcement assistance at a moment's
                                          notice. We are in close coordination with the city and county, and there is
                                          currently no unmet need," Newsom said. "The Guard has been admirably
                                          sewing LA throughout recovery. This is the wrong mission and will erode
                                          public trust."


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Why did Donald Trump buckle?                          Summer in Punta Cana                                                     Why Gen X is the real loser generation
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HOME > NEWSROOM > PRESS RELEASES




                                                                                               PRESS RELEASE I June 8, 2025


                                                                           USNORTHCOM statement
                                                                        regarding protection of federal
                                                                         property and personnel in the
                                                                              Los Angeles Area
                                                                         PETERSON SPACE FORCE BASE, Colo. - By direction of Secretary of Defense
                                                                         and in coordination with U,S. Northern Command (USNORTHCOM),
                                                                         approximately 2,000 California Army National Guard soldiers have been placed
                                                                         under federal command and control in a Title 10 status to support the protection of
                                                                         federal personnel and federal property in the greater Los Angeles area.

                                                                         As USNORTHCOM's land component command, U.S. Army North stood up Task
                                                                         Force 51, with a two-star general, as the ground command and control element
                                                                         over the Title 10 forces. At this time, there are approximately 300 members of the
                                                                         California Army National Guards 79m Infantry Brigade Combat Team deployed at
                                                                         the following locations in the greater Los Angeles area: Los Angeles, Paramount,
                                                                         and Compton, California.

                                                                         Additionally, approximately 500 Marines from 2nd Battalion, 7'*' Marines at
                                                                         Twentynine Palms, California, are in a prepared to deploy status should they be
                                                                         necessary to augment and support the DOD's protection of federal property and
                                                                         personnel efforts.

                                                                         USNORTHCOM will provide more information as units are identified and
                                                                         deployed.

                                                                                                                -30-

                                                                         NOTE TO EDITORS: For further information, please contact U.S. Northern
                                                                         Command Public Affairs at (719} 554-6889 or email us at n-ncpa.omb@mail.mil.

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                       OFFICE OF THE GOVERNOR
                                      June 8, 2025


Hon. Pete Hegseth
Secretary of Defense
Washington, DC 20301

Via email only

Re:     Federalization of the California National Guard

Dear Secretary Hegseth:

       On June 7, 2025, President Trump issued a memorandum to your office
entitled "Deportment of Defense Security for the Protection of Department of
Homeland Security Functions." The memordndum purports to invoke 10 U.S.C. §
12406 to "coll into Federal service members and units of the National Guard .
to temporarily protect ICE and other United States Government personnel who
are performing Federal functions, including the enforcement of Federal law,
and to protect Federdl property." The memordndum further directs "dctions ds
necessary for the Secretary of Defense to coordinate with the Governors of the
States and the National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard under this
duthority."

      Section 12406 stdtes that "the President mdy coll into Federdl service
members and units of the National Guard of any State in such numbers as he
considers necessdry" to (i) repel on inydsion of the United Stdtes by d foreign
nation, (2) suppress a rebellion against the authority of the Government of the
United States, or (3) execute the laws of the United States when the President is
undble to do so with reguldr forces. Section 12406 further stdtes thdt "[o]rders for
these purposes shall be issued through the governors of the Stdtes."

      Last night, the Adjutant General of California received a memorandum
from your office with the subject line "Colling Members of the Cdlifornid Ndtiondl

           GOVERNOR GAVIN NEWSOM SACRAMENTO, CALIFORNIA 95814 (916)445-2841
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Gudrd into Federdl Service," which stdtes that "[t]wo thousdnd members of the
California National Guard will be called into Federal service effective
immedidtely for d period of 60 ddys." Notdbly, This directive did not issue
"Through the governor[] of the Stdte[]" ds required by section l 2406; the
Department of Defense did not transmit this directive to the Office of the
Governor, nor was it approved or ordered by the Governor of California. This
directive is dlso inconsistent with the President's memordndum, which
dnticipdtes "coordindt[ion] with the Governors of the Stdtes" in identifying dnd
ordering units of the National Guard into federal service.

        At present, law enforcement authorities from the City and County of Los
Angeles are safeguarding public safety, and, as demonstrated by the robust
law enforcement response yesterday evening to protect federal facilities, local
law enforcement resources are sufficient to maintain order. In dynamic and
fluid situations such as the one in Los Angeles, State and local authorities are the
most appropriate ones to evaluate the need for resources to safeguard life and
property. Indeed, the decision to deploy the National Guard, without
appropriate training or orders, risks seriously escalating the situation.

       There is currently no need for the National Guard to be deployed in Los
Angeles, and to do so in this unlawful manner and for such a lengthy period is a
serious breach of state sovereignty that seems intentionally designed to inflame
the situation, while simultaneously depriving the State from deploying these
personnel and resources where they are truly required. Accordingly, we ask that
you immediately rescind your order and return the National Guard to its rightful
control by the State of California, to be deployed as appropriate when
necessary.



        Sincerely,


           )      /0
        David Sapp
        Legal Affairs Secretary
        Office of Governor Gavin Newsome


CC.     California Attorney General Rob Bonita (via email only)




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•   Los Angeles fires: Go to CA.gov/LAfires for latest information and resources




      News




 jun 7, 2025




 Governor Gavin Newsom on speaking out
 peacefully

Los Angeles, California - Governor Gavin Newsom today issued the following statement in response to speaking
out peacefully on the federal government's immigration actions:


 The federal government is taking over the California National Guard and deploying 2,000 soldiers in Los Angeles   not because there is a shortage of law
 enforcement, but because they want a spectacle.

 Don't give them one.

  Never use violence. Speak out peacefully.

  Governor Gavin Newsome




  Categories: Press releases, Public safety, Recent news,      p story


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                              Mayor Karen Bass       o
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                      This is a difficult time for our city. As we recover from an unprecedented
                      natural disaster, many in our community are feeling fear following recent                      Create account
                      federal immigration enforcement actions across Los Angeles County.
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                       concerning. We've been in direct contact with officials in Washington,
                       D.C., and are working closely with law enforcement to find the best path
                       forward.
                                                                                                                                  J
                       Everyone has the right to peacefully protest, but let me be clear: violence
                       and destruction are unacceptable, and those responsible will be held          Terms of Service | Privacy Policy | Cookie Policy |
                       accountable.                                                                  More       © 2025 X Corp.

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 NEWS ANALYSIS



Trump Jumps at the Chance for a Confrontation
in California Over Immigration
The situation has all the elements that the president seeks: a showdown with a
top political rival in a deep blue state over an issue core to his agenda.


   >      Listen to this article - 7:30 min Learn more




              By Tyler Pager
              Reporting from Washington

 June 8, 2025



 It is the fight President Trump had been waiting for, a showdown with a top
 political rival in a deep blue state over an issue core to his political agenda.

 In bypassing the authority of Gov. Gavin Newsom of California, a Democrat, to call
 in the National Guard to quell protests in the Los Angeles area over his
 administration's efforts to deport more migrants, Mr Trump is now pushing the
 boundaries of presidential authority and stoking criticism that he is inflaming the
 situation for political gain.
 Local and state authorities had not sought help in dealing with the scattered
 protests that erupted after an immigration raid on Friday in the garment district.
 But Mr Trump and his top aides leaned into the confrontation with California
 leaders on Sunday, portraying the demonstrations as an existential threat to the
 country - setting in motion an aggressive federal response that in turn sparked
 new protests across the city.




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 As more demonstrators took to the streets, the president wrote on social media
 that Los Angeles was being "invaded and occupied" by "violent, insurrectionist
 mobs," and directed three of his top cabinet officials to take any actions necessary
 to "liberate Los Angeles from the Migrant Invasion."

 "Nobody's going to spit on our police officers. Nobody's going to spit on our
 military," Mr Trump told reporters as he headed to Camp David on Sunday,
 although it was unclear whether any such incidents had occurred. "That happens,
 they get hit very hard."
 The president declined to say whether he planned to invoke the 1807 Insurrection
 Act, which allows for the use of federal troops on domestic soil to quell a rebellion.
 But either way, he added, "we're going to have troops everywhere."

 Stephen Miller, the White House deputy chief of staff, posted on social media that
 "this is a fight to save civilization."

 Mr. Trump's decision to deploy at least 2,000 members of the California National
 Guard is the latest example of his willingness and, at times, an eagerness to shatter
 norms to pursue his political goals and bypass limits on presidential power The
 last president to send in the National Guard for a domestic operation without a
 request from the state's governor, Lyndon B. Johnson, did so in 1965, to protect civil
 rights demonstrators in Alabama.




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     President Trump in New Jersey on Sunday. On social media, he, his aides and a.1lies have sought to frame
     the demonstrations against immigration officials on their own terms. Haiyun Jiang forTh New York Times



 But aides and allies of the president say the events unfolding in Los Angeles
 provide an almost perfect distillation of why Mr. Trump was elected in November

 "It could not be clearer," said Newt Gingrich, the former Republican House speaker
 and ally of the president who noted that Mr. Trump had been focused on
 immigration enforcement since 2015. "One side is for enforcing the law and
 protecting Americans, and the other side is for defending illegals and being on the
 side of the people who break the law."

 Sporadic protests have occurred across the country in recent days as federal
 agents have descended on Los Angeles and other cities searching workplaces for
 undocumented immigrants, part of an expanded effort by the administration to
 ramp up the number of daily deportations.

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 On social media, Mr Trump, his aides and allies have sought to frame the
 demonstrations against immigration officials on their own terms. They have
 shared images and videos of the most violent episodes - focusing particularly on
 examples of protesters lashing out at federal agents - even as many remained
 peaceful. Officials also zeroed in on demonstrators waving flags of other countries,
 including Mexico and El Salvador, as evidence of a foreign invasion.

 "Illegal criminal aliens and violent mobs have been committing arson, throwing
 rocks at vehicles, and attacking federal law enforcement for days," wrote Karoline
 Leavitt, the White House press secretary.

Mr. Newsom, whom the president refers to as "Nev scum," has long been a foil for
Mr. Trump, who has repeatedly targeted California and its leader as emblematic of
failures of the Democratic Party.

 "We expected this, we prepared for this," Mr. Newsom said in a statement to The
 New York Times. "This is not surprising - for them to succeed, California must
 fail, and so they're going to try everything in their tired playbook despite the
 evidence against them."

 On Sunday, the governor sent a letter to Defense Secretary Pete Hegseth formally
 requesting that Mr. Trump rescind the call-up of the National Guard, saying federal
 actions were inflaming the situation. And on Monday, Mr. Newsom said California
 would file a lawsuit challenging the president's order to federalize the state's
 National Guard.

 He was echoed by other Democratic officials, who said the mounting
 demonstrations were the result of Mr. Trump's own actions.

 The president and his aides "are masters of misinformation and disinformation,"
 Senator A1eX Padilla of California, a Democrat, said in an interview. "They create a
 crisis of their own making and come in with all the theatrics and cruelty of
 immigration enforcement. They should not be surprised in a community like Los
 Angeles they will be met by demonstrators who are very passionate about
 standing up for fundamental rights and due process."

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 Republicans defended Mr Trump's moves, saying he was rightfully exercising his
 power to protect public safety.

 "The president is extremely concerned about the safety of federal officials in L.A.
 right now who have been subject to acts of violence and harassment and
 obstruction," Representative Kevin Kiley, Republican of California, said in an
 interview.

 He added: "We are in this moment because of a series of reckless decisions by
 California's political leaders, the aiding and abetting the open-border policies of
 President Biden."

 Trump officials said on Sunday that they were ready to escalate their response
 even more, if necessary. Tom Homan, the president's border czar, suggested in an
 interview with NBC News that the administration would arrest anyone, including
 public officials, who interfered with immigration enforcement activities, which he
 said would continue in California and across the country.




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     Protesters in Pasadena, Calif., on Sunday Alex Welsh for The New York Times




 Mr. Trump appears to be deploying against California a similar playbook that he
 has used to punish universities, law firms and other institutions and individuals
 that he views as political adversaries.

Last month, he threatened to strip "large scale" federal funding from California
"maybe permanently" over the inclusion of transgender athletes in women's
sports. And in recent days, his administration said it would pull roughly $4 billion in
federal funding for California's high-speed train, which would further delay a
project that has long been plagued by delays and funding shortages.

 "Everything he's done to attack California or anybody he fears isn't supportive of
 him is going to continue to be an obsession of his," Mr. Padilla said. "He may think
 it plays smart for his base, but it's actually been bad for the country."


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 White House officials said there was a different common denominator that explains
 Mr. Trump's actions both against institutions like Harvard and immigration
 protests in Los Angeles.

 "For years Democrat-run cities and institutions have failed the American people,
 by both choice and incompetence," Abigail Jackson, a White House spokeswoman,
 said in a statement.

 "In each instance," she added, "the president took necessary action to protect
 Americans when Democrats refused."
 Tyler Pager is a White House correspondent forThe Times, covering President Trump and his administration.


 A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: Trump Leaps at Chance For
 Clash in California




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700 Marines will deploy as immigration protests continue
The state ofcalifomia has sued the Trump administration for its activation of the state's National Guard




            BREAKING
            NEWS


Updated June 9, 2025, 10:33 PM PDT



This liveblog has now ended.



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         TROOPS IN L.A.: About 700 Marines from the Marine Corps base in Twentynine Palms, California, will deploy to Los Angeles to support the roughly 300 National Guard members already in
         the city to control protests against federal immigration raids, Defense Secretary Pete Hegseth said. President Donald Trump had earlier ordered the deployment of2,000 troops in a move
         California Gov. Gavin Newsom criticized as inflammatory.

         HOW WE GOT HERE: Protests erupted after Immigration Customs Enforcement officers carried out raids Friday in three locations across Los Angeles, where dozens of people were taken
         into custody. Newsom called the raids "chaotic federal sweeps" that aimed to fill an "arbitrary arrest quota."

         TRUMP VS. NEW SOM: "Border czar" Tum Homan threatened Newsom and Mayor Karen Bass with arrest if they impede troop deployment efforts. Newsom responded by saying: "Tom,
         arrest me. Let's go." Trump backed Homan's threat, and Newsom called it "an unmistakable step toward authoritarianism."

         CALIFORNIA SUES: Newsom and California Attorney General Rob Bonita sued Trump and Hegseth over the activation of the state's National Guard, asldng a court to declare the order


         ARRESTS: At least 56 people were arrested this weekend as protesters were ordered to leave downtown and law enforcement shot "less-lethal" rounds. Demonstrators spilled out onto the
         101 Freeway, while others set fire to Way no driverless cars.




Eh age /10:33 PM pm
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'Th ere was a kind of a stampede of people,' says man in L.A. protest


e        Alicia Victoria Lozano

9 Rcpurting from Les Angeles

Pau Castro said he was in a crowd of people in downtown Las Angeles' Little Tokyo when, during what he characterized as a peaceful protest, "there was a bit of an exchange" with police.

"And all of a sudden, very quickly, there was a kind of stampede of people, and we were tear-gassed," Castro, 27, said in the lobby of the building where he and others took shelter.

"And with the stampede of people, we were able to find a safe place in this lobby of an apartment building," the Los Angeles resident said. "And immediately afterwards the police began charging
forward and shooting against the protesters."

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Castro said the protest was peaceful but that a few people tried to escalate it, and others in the crowd tried to stop them.

He said water balloons were thrown, and then fireworks were set off, "and then it land of all happened quickly."

"I've been to many protests, and it kind of always happens like this, you know?" Castro said. "It's like everything is kind of contained, and then there's this one spark, or the police decide, 'OK, enough
is enough. We're charging forward."



7h ago/10:04 PM FDT
                                                                                                                                                                                                          ®
Police push in line from Little Tokyo intersection, video shows


Q        Phil Helsa


News helicopter video from NBC Los Angeles showed a line of police advancing from 2nd and San Pedro streets as some protesters fled ahead of them.

Police are wearing riot helmets and other equipment. A very large number of police vehicles with lights flashing are stationed behind the officers, not moving, video showed.

Police have used a chemical irritant and flash-bang devices.




oh 38' /9:49 PM p m                                                                                                                                                                                       .g

Police use tear gas and flash-bangs after declaring unlawful assembly


e        Alicia Uictnria Luzann

9 Repurtmgfrum ins Angeles


An NBC News reporter was trapped in a building with other journalists after police declared an unlawful assembly in the Little Tokyo section of downtown and then used flash-bang devices and tear
gas on protesters.

Some demonstrators lingered amid the gas, while others screamed and ran. One woman tried to retrieve a water bottle from the street, and police shot a less-lethal round at her.

A news photographer with a different agency was also hit with tear gas, and water was used to flush his eyes.

Video from a helicopter slwwed a line ufpulice in riot gear at an intersection and a small group of people farther down the street, dispersed between cars and on the sides of buildings.




8h agnl9:Z7 PM P07
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Australian PM says he raised issue Ni injured journalist with U.S.


e        Phil Helsa


Australian Prime Minister Anthony Albanese said he was "horrified" by video of Channel Nine journalist Lauren Turnasi being struck by a less-lethal round fired by police during protests in Las
Angeles.

Tomasi is clearly identified as a journalist and is clearly speaking into a microphone toward a camera when, video shows, an officer raises his weapon and fires from behind her. Tomasi then yells in
pain.

"In L.A., it is not unreasonable to think that she would not have been targeted with a rubber bullet," Albanese said at the National Press Club of Australia, shown on Australia television. "It is not
unreasonable to think that she could go about her coverage, clearly, as people could see the footage, clearly identified as media."

"And so we have already raised these issues with the U.S. administration. We don't find it acceptable that it occurred," he said. "And we think that the role of the media is particularly important."

Albanese said Tumasi is doing well, "but that footage was horrific.II



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sh ago/9:07 PM PDT                                                                                                                                                                                        | C -3


In L.A.'s downtown, a resident hopes or peace amid protest chains around him


6       Dennis Rgmgrg


For a fourth straight night, protesters have descended on downtown Los Angeles and clashed with authorities on the otherwise empty streets of a community known for its commuter life.

But the urban center of Las Angeles is home to an estimated 90,000 residents in historic lofts, converted single-room occupancy apartments and newer high-rise penthouses. Many are trying to
endure the daily action on the street.

Last night, protesters were on the street below Derek Mazzeo's residence in a roughly 100-year-old building that was redeveloped in the 2000s. Despite what he said was a solid job bringing the old




                                                                                                 SHOW MORE




Sh ago/ B:52 PM PDT
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Police lire flash-bang grenades at crowd Ni around 1,000


e        Alicia Victoria Lnzann


® Renortmgfram Les Angeles


Officers fired flash-bang grenades at a crowd of around 1,000 protesters in downtown Los Angeles.

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People in the crowd flew Mexican flags and at least two U.S. flags turned upside-down, a signal of distress.

Police continued to work to push the crowd back down the street after they advanced on protesters in the city's Little Tokyo section.



3h ago / B:23 PM PDT
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Police f i r e pepper balls at crowd in downtown L.A.'s Little Tokyo


e        Alicia Victoria Luzann


Q Repurtlng from Los Angeles


Officers were seen firing pepper balls into a crowd that had roughly tripled in size at 2nd and San Pedro streets in Los Angeles.

The crowd was observed yelling, "Peaceful protest!" It was not immediately clear what prompted uflicers to fire. An irritant hung heavy in the air after the incident at around 8:15 p.m.

The intersection is in the Little Tokyo area of downtown Los Angeles, the cultural and historic hub of the city's Japanese community.




oh ago/8:11 PM pm
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Authorities attacked reporters 27 times during L.A. protests, journalist groups say


ea       Dennis Rgmgrg


Authorities deployed to protests in Los Angeles since Friday have attacked journalists 27 times, the organization PEN America said, citing the Los Angeles Press Club and Reporters Without Borders.

PEN America joined 24 other organizations to decry the attacks, reported from Friday to Sunday, in a letter to Homeland Security Secretary Kristi Nuern.

The letter focused on attacks by federal officers, who it said may have violated journalists' First Amendment rights, as well as federal case law that held that reporters have the right to record their
actions and may remain nearby even as dispersal orders are directed at protesters.




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oh ago/1:38 PM pm                                                                                                                                                                                           | C-D

Around 1,700 National Guard troops in greater los Angeles, military says


6        Courtney Kuhe


About 1,700 National Guard troops are on site in the greater Los Angeles area, and 700 Marines were activated to join them in their mission in Los Angeles, the military said in a statement.

The military task force is "protecting federal personnel and federal property in the greater Los Angeles area," said U.S. Northern Command, known as NORTHCOM.

Overall, there are 2,100 National Guard soldiers with the task force, called Task Force 51, along with the 700 Marines, the military said.

The city's Democratic mayor and other officials, as well as Newsom, have condemned the deployment to Los Angeles.




9h 399 I1:31 PM PHT
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'Border czar' says Newsom hasn't done anything to warrant arrest, after Trump says he should be arrested

 415     Zoii Richards



Trump's "border czar," Tom Homan, said he did not believe Newsom has done anything to warrant arrest after Trump suggested today that he should have Newsom arrested.

Asked in a CNN interview that aired tonight about Trump's comments and whether Newsom should face arrest, Human responded: "Not at this time, absolutely not.N

Newsom had dared Human to arrest him. Responding to Newsom's challenge, Trump told reporters earlier today, "I would do it if I were Tom.II

Homan also defended Trump's move to activate the National Guard, telling CNN host Kaitlan Collins that he thinks Trump "did exactly the right thing" and that Trump had not acted unlawfully.

"I certainly think the president is acting within the confines of the law," Homan said when he was asked about Trump's deploying the National Guard without Newsom's request.




10h ago I7:02 PM PDT                                                                                                                                                                                         c-z)
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9 Repurtmg from Les Angelus




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Officials tried to disperse a crowd at anti-ICE protests downtown by firing tear gas and flash-bang devices.




10h ago I6:57 PM PDT                                                                                                                                                                            c -:)


Democratic Sen. Fetterman condemns protests, calling them 'anarchy and true chaos'

        Raquel Cnrnnell Uribe


Sen. john Fetterrnan, D-Pa., called the protests in Los Angeles "anarchy and true chaos," slamming his party for what he characterized as a refusal to condemn violent acts.

"I unapologetically stand for free speech, peaceful demonstrations, and immigration - but this is not that," Fetterman wrote on X.

"My party loses the moral high ground when we refuse to condemn setting cars on fire, destroying buildings, and assaulting law enforcement," he added.

The protests have been largely peaceful, and there have nut been widespread reports of damage.

Fetterrnan's response is in contrast to statements by other Democratic lawmakers. Senate Minority Leader Chuck Schumer, D-N.Y, condemned the Trump administration's response, in which Trump
ordered the National Guard to the city, calling it "unnecessary, inflammatory, and provocative" in a statement today.



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10h ago /6:30 PM PDT                                                                                                                                                                           | C -3


'Stop the raids,' l.A. mayor pleads with leds

e       Phil Helsa



Bass ended a news conference this evening by asking the federal government to stop conducting immigration raids in the city, saying they are creating chaos and are unnecessary.

Bass said that in some cases families are showing up for their scheduled appuintrnents with ICE as they are supposed to and then being detained and that day Iaburers are being targeted.

Bass said there have been five raids in the LA region, but she did not know all the details.

"I am hopeful that the federal government will hear our plea: Stop the raids," Bass said. "This is creating fear and chaos in our city, and it is unnecessary."

"And I hope that we will be heard, because our city is trying to move forward," she continued. "And I believe that the federal government should be supportive of us moving forward."

The protests erupted after federal raids Friday.




11h Hall /8:23 PM pm



Authorities fire less-lethal weapons from rooftop


ee             Alicia 1fictnria Lnzann and Dennis Romero


The situation grew tense in downtown Los Angeles this evening as less-lethal rounds were launched from the rooftop of the Edward R. Roybal Federal Building and police moved in to secure the area.



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Authorities in fatigues were seen tiring from the rooftop. It wasn't clear which agency opened tire, but the Los Angeles Police Department's Central Division noted that officers in the area are
authorized to use less-lethal weapons.

The division, which patrols downtown, said on X that troublemakers were throwing objects at officers at Los Angeles and Temple streets, adjacent to the federal building.

The situation seemed to darken as more law enforcement agents and offinsers moved into the area, agitating same protesters.

Police formed a line blocking the steps of City Hall nearby.

Some protesters were trapped on Los Angeles Street near the Los Angeles Mall as police shut down movement from the area. They also closed Temple Street, which runs east-west past the federal
building.



Ilh 389 / s=1s PM PDT



L.A. mayor warns fed heavy-handedness may be 'test case' by Trump


e        Phil Helsa



Bass said tonight that the immigration raids last week that set off the protests in the city were unnecessary and that they targeted people like day laborers at a Home Depot, not the criminals the
Trump administration claimed would be prioritized.

"Nothing warranted the raids," Bass said. "If you remember at the beginning of this administration, we were told that raids would be to look for violent criminals, people who have warrants."

"But I don't know how you go from a drug dealer to a Home Depot, to people's workplaces where they're just trying to make a living," she said.




Bass said the Trump administration could be using Los Angeles to see how far federal agents can go.

"These are not the people that we were told were going to be detained," she said. "And it makes me feel like our city is actually a test case   a test case for what happens when the federal government
moves in and takes the authority away from the state or away from local government."




11h ago /6:14 PM PHT                                                                                                                                                                                       c-3

LAPD chief 'very concerned' about reporter struck by less-lethal round


9        Dennis Rl]mgll]


Police Chief McDonnell said today that he's "very concerned" after an officer fired a less-lethal round that struck a journalist during protests downtown last night.

Lauren Tumasi, a correspondent with Australia's Channel Nine, was broadcasting live when she was struck in the leg by what the LAPD described as a foam projectile fired from a 40 mm launcher.

In video of the use of force, a police officer is seen turning toward Tumasi and firing a round in her direction. Turnasi yells and stumbles to reach for her leg. She later told Nine News Australia that she
was "safe."

Police are trained to aim at the belt line of anyone targeted with less-lethal grounds, including the foam projectiles and bean bag rounds. However, the department has agreed in the past - including
after the 2007 "Mayday melee," in which officers injured multiple reporters and protesters at a pro-immigrant rally - not to target journalists who are working and covering action from a reasonable
distance.


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McDonnell said the department is looking into the incident.


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11hago /6:00 PM PDT                                                                                                                                                                                       | C-3


There will be 'many more' arrests in coming days, LAPD chief says


e       Phil Helsa



Police Chiefjim McDonnell warned tonight that anyone committing violence or vandalism during protests will be arrested and said investigators will make more arrests connected to past incidents.

"There is HO tolerance for criminal activity under the guise of protest," McDonnell said at a news conference.

Around 60 people were arrested in the unrest over the weekend, officials said. McDonnell said he "wouldn't argue" that relatively few people have been arrested thus far, but he saidnumbers are
expected to grow as investigations continue.

"There will be many more subsequent arrests," he he said.

McDonnell also said the Trump administration's deployment of federal troops without direct coordination causes logistical problems "and risks confusion during critical incidents."

He said that the LAPD has decades of experience with large-scale protests and that he is confident the police department can respond to the current demonstrations professionally and effectively.



Ilh ago /5:43 PM PDT
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Police tire less-lethal rounds in faceoff with protesters in center of l.A.

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      9        Snssyf Dumbnurian and Dennis Rnmern


Protesters in the middle of an intersection faced oft with law enforcement officers who used less-lethal rounds in an attempt to disperse the crowd today.

The sound of small explosions and popping from officers' less-lethal launchers could be heard as protesters began to retreat from the intersection of Los Angeles and Temple streets near the Edward R.
Roybal Federal Building. A handful had been observed throwing objects at officers.

Some protesters ran, while others put up their hands, some holding up two fingers in a seeming sign of peace.

Police declared an unlawful assembly in the area, meaning anyone who remains can be arrested. Officers were seen lined up, pushing the crowd back.




IIi 39 /5:30 PM PDT                                                                                                                                                                                         c-2)


NationaI Guard deployment is illegal and could hinder wildlife prevention, Calilnrnia AG says

        Raquel Gorunell Uribe


California Attorney General Rob Bonita said that the state's position is clear and that state officials believe Trump's decision to federalize the National Guard was unlawful.

"The California National Guard is a joint operation, and the commander-in-chief, most of the time, is the governor of California," Bonita said on MSNBC, adding that only in cases of "rare and
infrequent" conditions like rebellions or invasions can the president deploy the National Guard.

"The president can du many lawful things, but he cannot du unlawful things, and what he has tried to do here is exercise authority he doesn't have," Bonita said.

He added that Trump federalized the guard as wildfire season in California is in full swing and that the state's troops, who are trained to combat wildfires, are pulled away from that mission.

"What the Trump administration has done here is unnecessary. It's not constructive. It's harmful. It has only led to intlarne tensions and provoke, as opposed to calm and create peace. And most
importantly, it's unlawful," Bonita said.




12h ago /5:20 PM PDT
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Burning electric vehicles hard to extinguish during protests, fire department says


a       Phil Helsa


Electric vehicles were left to burn in the Los Angeles unrest in some cases because their batteries are hard to reach with water and take a lot of it, a spokesperson for the fire department said today.

The fire department responded to "multiple vehicle fires" during this weekend's unrest, Public Information Officer Erik Scott said in a video on X. Amongthe vehicles that were torched were Way no
autonomous electric vehicles, video showed.

"Due to the design of EV battery systems, it's often diilicult to apply the water directly to the burning cells, especially in a chaotic environment, and in some cases, allowing the fire to burnis the safest
tactic," Scott said.

It also requires a large amount of water, Scott said, and the runoff must be managed.

The lithium-ian batteries in electric vehicles became dangerous when they are burned, he said, including releasing highly toxic hydrogen fluoride gas - dangerous to the lungs when it is breathed in
and able to be absorbed through the skin.

It can cause "serious internal harm," Scott said.




12h age /458 PMPDT
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ACLU says Marines aren't trained to police protests


Q       Phil Helsa



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The American Civil Liberties Union today called the deployment of active-duty troops an unnecessary escalation and a move by the Trump administration that raises serious constitutional concerns.

"Every move President Trump has made since Saturday night has been escalatory and inflammatory," Hina Shamsi, director of the National Security Project at the ACLU, said in a statement.

"The idea that these Marines have anywhere near the kind of training required to police protests while respecting people's constitutional rights would be laughable if the situation weren't so
alarming," Shamsi said.

"From the get-go, the Trump administration's deployment of troops into the streets of California, over the governor's objection, has raised serious constitutional concerns," Shamsi said. "This latest
move only increases legal and ethical jeopardy for troops, and further endangers the rights of the people of Los Angeles."




12h age I4,18PMPDT
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LAPD get no formal notice Marines would be deployed, chief says

 Mk Andrew Blankstein

Police Chiefjim McDonnell said today his agency has not received any formal notice that Marines would be deployed in Los Angeles, but he said the police force has the experience when it comes to
largeprotests.

"The LAPD has not received any formal notification that the Marines will be arriving in Los Angeles. However, the possible arrival of federal military forces in Los Angeles absent clear coordination
presents a significant logistical and operational challenge for those of us charged with safeguarding this city," McDonnell said in a statement.

"The Los Angeles Police Department, alongside our mutual aid partners, have decades of experience managing large-scale public demonstrations, and we remain confident in our ability to do so
professionally and effectively," he said.

McDonnell said his agency's priority is public and officer safety, andhe urged "open and continuous lines of communication between all agencies to prevent confusion, avoid escalation, and ensure a
coordinated, lawful, and orderly response during this critical time."




12ha go /4:38 PM PDT



Hegseth makes it official: Marines deploying to L.A.

 439.
      a        Musheh Gains and Dennis Romero


Hegseth made the deployment of Marines to Los Angeles official, saying on X that the 700 Marines mobilized to Camp Pendleton will be sent to defend federal resources.

"Due to increased threats to federal law enforcement officers and federal buildings, approximately 700 active-duty U.S. Marines from Camp Pendleton are being deployed to Los Angeles to restore
order," he said.

U.S. Northern Command said in an earlier statement that the Marines would came from the Marine Corps Air Ground Combat Center and were being sent to Camp Pendleton in San Diego County
before probable deployment.

Twentynine Palms, in the California desert, is about 140 miles east of downtown Los Angeles. Camp Pendleton, which has its main address in Oceanside, is about 90 miles south of downtown L.A.

Two Defense Department sources said the process of mobilizing - moving troops from Twentynine Palms to Oceanside, a distance of about 147 miles           would begin tonight.

Hegseth said the troops will defend federal agents amid protests in Los Angeles over immigration raids.

"We have an obligation to defend federal law enfurcernent ufiicers even if Gavin Newsom will not," he said.




12h ago /4:36 PM PHT                                                                                                                                                                                     c-3

California suit against use of troops: 'People are governed by civil, not military, rule'


e       Phil Helsa



California's attorney general has filed a promised lawsuit challenging the Trump administration's deployment of military troops in Los Angeles following protests and unrest.

The suit says that Trump exceeded his lawful authority and that he "used a protest that local authorities had under control to make another unprecedented power grab."

Newsom is the legal commander-in-chief of the state's National Guard, the suit argues, and he did nut request their use. In fact, Newsom has criticized Trump's ordered of troops as an attempt to
"manufacture a crisis."

The lawsuit says that under the legal statute, "when the President calls members of a State National Guard into federal service pursuant to that statute, those orders 'shall be issued through the
governors of the States."'

"Instead, Secretary Hegseth unlawfully bypassed the Governor of California, issuing an order that by statute must go through him," Banta wrote in the suit.

Bunta also argued that Trump's action "contravenes core statutory and constitutional restrictions."

"One of the cornerstones of our Nation and our democracy is that our people are governed by civil, not military, rule. The Founders enshrined these principles in our Constitution," Bonita wrote.




13h 380 /4:25 PM pm
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Newsom says Trump is deploying another 2,000 National Guard trnnps to L.A.


e       Phil Helsa



Newsom said this afternoon that Trump is deploying 2,000 more National Guard troops to Los Angeles, on top of an initial 2,000.

"I was just informed Trump is deploying another 2,000 Guard troops to L.A.," he said on X.


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"The first 2,000? Given no food or water. Only approx. 300 are deployed - the rest are sitting, unused, in federal buildings without orders," Newsom wrote.

"This isn't about public safety. It's about struldng a dangerous President's ego," he continued. "This is Reckless. Pointless. And Disrespectful to our troops.II

California's attorney general today h`led a lawsuit challenging Trump's deployment of National Guard troops to Los Angeles, calling it an unprecedented power grab that exceeds his authority.

Newsom has accused Trump of using the National Guard "to manufacture a crisis.N



13h ago /4:11 PM PDT
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one voice in the crowd urges protesters not to 'give Donald Trump what he wants'


e        Alicia Uictnria Luzann


Amid the protesters outside the Edward R. Roybal Federal Building in downtown Los Angeles today was a voice calling for peace.

Najee Gow, 27, is a Los Angeles resident from Portland, Oregon, who was at that 1:ity's raucous 2020 protests that emerged from the police murder of George Floyd in Minneapolis that spring.

Using a handheld loudspeaker, Gow urged fellow protesters today to remain peaceful and not "give Donald Trump what he wants.            or




Gow said protesters who turn to violence and vandalism feed Trump's strategy to paint Los Angeles as a city of crime while bolstering his use of the National Guard and, possibly, Marines to protect
federal assets in the region.

Gow noted that Trump administration officials have threatened to arrest Newsom.

"I don't know what will happen if Marines set foot in L.A.," Gow said. "You know, like, if you arrest the governor, if you arrest the mayor, that is a decline of democracy, that is a dictatorship.N



13h 380 /3:58 FM PDT
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Hakeem Ieffries: Trump and Republicans have 'zero credibility' on law and order


e        Phil Helsa



House Minority Leader Hakeemjeffries said today that Trump and the current Republican Party have "zero credibility" OH law-and-order issues and are "intentionally trying to inflame" the situation.




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13h ask I3:55 PM PDT
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All 'uniformed officers' to stay in duty as LAPD declares 'tactical alert'


e        Phil Helsa



The LAPD's Central Division, which covers downtown, declared a tactical alert shortly after 3 p.m.

"The City of Los Angeles has declared a Tactical Alert. All uniformed personnel are to remain on duty," is said on X.

A tactical alert allows supervisors to keep officers past their shifts and maintain high levels of staffing in the event of emergencies or large incidents.



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13h ago /3:48 PM PDT                                                                                                                                                                                    | C-D



'Not in our watch': l.A. public schools plan to protect undocumented families at graduations

 474     Helen Ienng, NBE Les Angeles



Ahead of the roughly 100 graduation ceremonies today and tomorrow, the Los Angeles Unified School District is carrying out plans to protect its estimated 7,500 undocumented students and their
families amid ongoing federal immigration raids in Los Angeles and beyond, according to United Teachers Los Angeles, an LAUSD teachers' union.

Superintendent Alberto Carvahlo said that security perimeters will be set up at every graduation site and that buses and bus sites are included in security plans.

"Every single graduation site is a protected site," Carvalho said. "Any federal agency [that] may want to take action during these joyous times that we call graduation not on our watch."

United Teachers Los Angeles, the teachers union for the second-largest public school district in the country, says about 1 in 4 of the district's 30,000 immigrant students are undocumented.

Readthe full story here.




13h 380 /3:41 PM PDT
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Gov. Newsom says using military in L.A. is 'dictatorial'


ea      Dennis Rl]mgll]


Newsom continued a bitter back-and-forth with Trump today after U.S. Marines were mobilized in anticipation of duty in Los Angeles amid the region's ongoing protests.

Newsom said using Marines amid free speech displays by Americans on U.S. soil is "un-American.       or




"U.S. Marines have served honorably across multiple wars in defense of democracy," Newsom said. "They are heroes.         or




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The mission in Los Angeles, should Marines be deployed, would be to protect federal personnel and resources, two Defense Department sources said. Under federal law, they would be prohibited
from making arrests.

still, using U.S. forces for a domestic situation is rare.

"They shouldn't be deployed on American soil facing their own countrymen to fulfill the deranged fantasy of a dictatorial President," Newsom said on X this afternoon.

"This is un-American," he said.


13h 380 /3:30 PM PDT
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'My message to ICE is: Leave us alone,' pastor says at L.A. march

 #YA liz Kreuiz

® Reporting Tmm lns Angeles


Marching with protesters in Los Angeles today, Pastor Lucia Chappelle at Founders Metropolitan Community Church in Los Angeles said her message was a simple one.

"My message to ICE is: Leave us alone," she said, using a walker to join the crowd.

"1 mean, you're talking about family people, you're talking about my neighbors, you're talking about people who have not hurt anyone not hurt anyone," she said.

Chappelle also said the reality of Las Angeles, which has many immigrants, dues not match the rheturiv: of an "invasion" that is being spread.

"You can see we're not a mass of invading, marauding immigrants tearing up the city," she said. "We're people building this city - all of us are."




14h Zell /3:10 PM PDT
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Marines mobilize to Camp Pendleton in anticipation of L.A. deployment


ea              Bnurtney Kuhe and Dennis Rnmern



An estimated 700 Marines are being mobilized, moving from Marine Corps Air Ground Combat Center in Twentynine Palms, about 140 miles east of Las Angeles, to Camp Pendleton in San Diego
County, defense sources said.

The mobilization will put the troops closer to Los Angeles, where they could be deployed alongside National Guard troops to protect federal resources and personnel, two Defense Department sources




                                                                                                 SHOW MORE
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14h age /3:05 PM PDT
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Protesters gather at historic site where L.A. was founded


9        Dennis Rl]mgll]



A few hundred peaceful protesters gathered today at Olvera Street, part of El Pueblo de Los Angeles Historical Monument, commemorated as the site where Los Angeles was founded.

The location emits a symbolism, no doubt, in the minds of some protesters, attaching history to contemporary demographics that have Los Angeles County roughly one-half Latino and three-fourths
people of color.

The city's Latino roots reach to Olvera Street, where in1769 Gaspar de Portola led a Spanish expedition north from San Diego and found an ideal place for a settlement.




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labor leader David Huerta released on $50K bond


e        T yler Kingkade


® Repurwig Tmm Las Angeles


David Huerta, president of the California chapter of the Service Employees International Union, was released from federal custody on a $50,000 bond this afternoon after his first court appearance.

Huerta faces a federal charge of conspiracy to impede an officer, a felony, stemming from Friday's immigTation raids.

The charges were not discussed during the hearing, and the court did not ask him to enter a plea.

A criminal complaint alleges that Huerta arrived on the scene of an immigration enforcement operation and, according to an undercover officer in the crowd, directed people to picket to prevent law
enforcement vehicles from entering the property of a clothing warehouse.




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14h ago/2:44 FM pm
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Newark Mayor Ras Baraka slams Trump's National Guard decision as 'dangerous'


e       +2    Iulie Tsirkin, Olympia Sunnier and Bridget Bowman


® Repurtingtrom Newark, N I

Newark, New Jersey, Mayor Ras Baraka said today that Trump's decision to federalize California's National Guard troops is "really dangerous."

Baraka, who is running for governor of New jersey, said he agreed with Newsom's objection to activating the state's National Guard to respond to protests in Los Angeles.

"They are putting troops on the ground in these cities, and this is something that you don't do, right?" Baraka told NBC News on the eve of the state's gubernatorial primary, in which he is one of six
candidates for the Democratic nomination.




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14h Egll /2:33 PM PDT


Newsom's nflice criticizes mobilization Ni Marines


e        Dennis Romero


Newsom's press office called the mobilization of U.S. Marines, an estimated 700 of whom are being moved to L.A. to support National Guard troops, "completely unwarranted.II

"The level of escalation is completely unwarranted, uncalled for, and unprecedented," the office said on X.

The governor's office characterized the move as "mobilizing the best in class branch of the U.S. military against its own citizens. or




It made a distinction between mobilizing the troops and deploying them, saying Marines are not being deployed but will be moved to L.A., where raucous protests over immigration enforcement have
been ongoing since the weekend.

Deployment would be a final step in putting troops on the streets, as two sources in the U.S. Department of Defense said, to protect federal personnel and resources amid the protests.




14h Egll /2:29 PM PDT
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Rabbi at lns Angeles protest calls ICE raids 'dehumanizing'

 435     NBC News




15h 380 /2:27 PM PDT
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Los Angeles protester: 'Families are being tom apart'

 or;
       e        Morgan Pesky and Daniella Silva


A protester at a pro-union rally for immigrants said he showed up to send the message that families should not be "torn apart" by the ICE raids in Los Angeles and that "workers can go to work every
day and not fear that they're not gonna be able to see their families at the end of the day."

"I think it improves us all to come out here today, to come out tomorrow and the next day to show a peaceful front, and to make sure that the right story that's out there is that these families are being
torn apart, and that this should stop, that ICE needs to leave, that the National Guard should stand down, and that we need to be able to be supporting our immigrant families and those communities,"
Victor Sanchez, the executive director of the Los Angeles Alliance for a New Economy, told NBC News.

Sanchez, who is a native of Los Angeles and comes from an immigrant family, said watching the events of the last 72 hours in his city has been "heart-wrenching."

"I think this is probably the start of a groundswell of activism and mobilization on behalf of the community and the moral imperative is here. I think people are standing up and are saying, 'enough is
enough," he said. "We have to continue to show up, not just for the larger context in terms of what we're suffering with this administration, but for these families that are being locked up and
deported without due process."



15h ago /2:08 PM PDT
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Immigration arrests are way up and ICE detention facilities are full

 \%
      9         Laura Strickler and Dennis Romero


New data from U.S. Immigration and Customs Enforcement shows immigration enforcement efforts, including arrests of those believed to be in the United States illegally, are up significantly.

ICE detention facilities are at capacity, even as the number of detainees is expected to grow. The U.S. Department of Homeland Security says ICE arrested more than 2,000 people each day for much
of last week.

The number of people in detention is now at 51,302, which is 30% higher thanit was at the beginning of President Donald Trump's administration.ICE is funded to hold 41,500 detainees.

In May, there were 28,797 people booked into ICE facilities, the highest number since the second Trump Administration began. During the last two weeks of May, a total of 15,020 were held at ICE
facilities. This figure represents people who were arrested by ICE or U.S. Customs and Border Protection.

ICE is using44% more detention facilities, 155 in all, since the last days of President Joe Biden's term.

Of those in ICE detention, 56%, or 28,864, have criminal backgrounds, meaning they have either been convicted of a crime Ur have pending criminal charges, according to the data. The remaining
22,438 do not have criminal histories.


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The Adelanto ICE Processing Center is the main ICE facility for the Los Angeles area and currently has 140 detainees, the data show. At the start of the Trump administration, it had just three
detainees.



15h ask I1:52 PM PDT
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U.S. Marines tasked with defense of federal property


e       Mk Gouriney Kubo and Musheh Gains

U.s. Marine Corps troops mobilized in Los Angeles will be tasked with defending federal property and personnel, two U.S. Department of Defense officials said.

An estimated 700 Marines from the U.S. Marine Corps Air Ground Combat Center in Twentynine Palms have been mobilized to assist National Guard troops and law enforcement in Los Angeles amid
ongoing protests.

Twentynine Palms is in the desert, about 140 miles east of L.A.

According to the officials, the Marines will operate under three rules of force: self defense, defense of federal property and defense of federal personnel.

Those are the same rules of force for NationalGuard troops deployed under 'l`rurnp's executive order in Los Angeles, where raucous protests have been ongoing.




16h age I1:25 PM pm



700 U.S. Marines mobilized to support National Guard


60             Courtney Kuhe and Dennis Rnmern



Approximately 700 U.S. Marines have been mobilized to support the National Guard in protecting federal personnel and property in Los Angeles, according to two Department of Defense officials.

The troops are from the U.S. Marine Corps Air Ground Combat Center Twentynine Palms, which is in the desert about 140 miles east of Los Angeles.

The rnubilization is temporary until more California National Guard troops arrive to L.A., the officials said.

Mobilization is separate from full deployment, so it's not clear if the Marine Corps troops will hit the streets of L.A. immediately or remain on standby.

President Donald Trump authorized the deployment of California National Guard troops to protect federal law enforcement as protesters angry over immigration raids hit the streets over the
weekend.




16h 380 /1:03 PM PDT


JD Vance tells Newsom to 'do your job'

 435 NBC News




16h agn/12:44 PM PHT                                                                                                                                                                               c-3

Crane removes charred Wayne vehicle


g        Matt Nighswander




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           Fr*eder*1c J. Br"own / AFP   Getty Images




A work crew removes a charred driverless Way no vehicle today that was burned during last night's protests. Way no began offering robotaxi rides across 80-plus square miles of Los Angeles County
last year.




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l.A. mayor says Trump created a crisis

 44 NBC News




llh ago /12:19 PM PDT                                                                                                                                                                              c-3


Trump calls ICE raid protesters 'insurrectionists'

 435     Marlene Lenthang



Trump wrote on Truth Social today, "If they spit, we will hit" while addressing ICE protests in Los Angeles and called the protesters "insurrectionists."

"The Insurrectionists have a tendency to spit in the face of the National Guardsmen/women, and others. These Patriots are told to accept this, it's just the way life runs. But nut in the Trump
Administration," he wrote. "IF THEY SPIT, WE WILL HIT, and I promise you they will be hit harder than they have ever been hit before. Such disrespect will not be tolerated!"




11h age /12:13 PM PDT
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Families describe emotional till of detainments outside clothing warehouse


G        Tyler Kingkade


9 RcpurUng from Les Angeles


At a rally outside the Ambiance clothing warehouse in L.A., around two dozen family members of people who were detained there Friday held signs with photos of their loved ones. One sign read,
"Dad, ComeBack Home :("

Several described the toll the arrests have taken on their families.



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A person who identified himself as Gabriel said his brother, Paco Vasquez, was detained in the raid. Because Vasquez was his household's sole breadwinner, his family doesn't know how it will cover
expenses, such as rent and bills.

A woman named Julian said her father, Mario Romero, was arrested, but her family has avoided telling her 4-year-old brother, who has autism and struggles to communicate.

"He's asked about his father," she said, "in which we have responded that he's worldng."

At least four people said they had not received updates from immigration authorities or been able to communicate with their detained loved ones.

_lerénimo Martinez, 39, said in an interview, through an interpreter, that he is worried about his nephew, Lazaro Maldonado, because the family hasn't had any communication with him since Friday.




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        All unidemiiied woman speaks outside Ambiance Apparel in Los Angeles Uodaiy.   Tyler" Kingkade / NBC News
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"We don't know if they're OK," Martinez said. "We don't know where they are."



11h age /11:45 AM PDT
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California AG says Trump has no grounds to arrest Newsom

 \ 8 Marlene Lenthang

When asked whether the Trump administration can legally arrest Guv. Gavin Nev sum if the federal government sees him as impeding ICE efforts, California Attorney General Rub Bunta said, "It's just
more talk, more bluff, more bluster, more threats."

"States have rights. States could du lawful things," Bonita told reporters today in announcing the state's lawsuit against the Trump administration. "It is the president and the Trump administration that
is consistently and frequently blatantly and brazenly violating the law, not Gov. Newsom."

Earlier today, Trump said Newsom should perhaps be arrested after the governor dared Trump's border czar Tom Human to du SD.




18h agn/11:26AM PDT
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Police in Portland, Oregon, make some arrests during weekend ICE protests


e       Daniella Silva


Los Angeles isn't the only U.S. city where anti-IcE protests have been taking place. The Portland Police Bureau in Oregon said in a statement today that officers responded to "safety concerns and
protest activity" around the ICE facility there Saturday and yesterday.

Some of the protests were peaceful and others included arrests, the bureau said.

Police responded yesterday to the area following a report of people on private property next to the ICE building. The crowd cooperated, moving to a nearby sidewalk and H0 arrests were made




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18h agn/11:14AM PDT                                                                                                                                                                                    c-3


California to sue Trump administration

 Q +2         Iacnh Soborulf. Gary Grumhach and Marlene lenthang


California Attorney General Rob Bonita and Gov. Gavin Newsom said they will file a lawsuit today against Trump and Defense Secretary Pete Hegseth over the activation of the state's National Guard.

The Defense Department, under Trump's orders, redirected hundreds of National Guard troops from San Diego to Los Angeles without the governor's authorization and against the wishes of local law
enforcement, the attorney general's office said in a news release.

The lawsuit will ask the court to declare the order unlawful because it "exceeds the federal government's authorities under the law and violates the Tenth Amendment."

The move came as ICE had conducted multiple immigration raids in downtown Los Angeles the two days prior that were met with multiple protests. The release said by the time the National Guard




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When have other presidents federalized the NationaI Guard?


a        Megan Lehnwitl


A president ordering the National Guard under federal command over objections from a state's governor is historically rare.

"It's highly, highly unusual and really outside our constitutional norms and traditions," said Laura Dickinson, a law professor at George Washington University.

Other presidents have federalized the National Guard during civil unrest.

President George H.W. Bush used the Insurrection Act to mobilize troops in Los Angeles during the 1992 riots when police officers accused of beating Rodney King were found not guilty.




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'Unmistakable step toward authoritarianism': Newsom responds to Trump saying he should be arrested
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e       Reheuua Shahad



Newsom responded in a post on X to Trump saying the Democratic governor should be arrested after Newsom dared border czar Tom Homan to do it.

"The President of the United States just called for the arrest of a sitting Governor," Newsom wrote.

"This is a day I hoped I would never see in America," he continued. "I don't care if you're a Democrat Ur a Republican this is a line we cannot cross as a nation - this is an unmistakable step toward
authoritarianism.'



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Trump says Homan should have Newsom arrested


e       Reheuua Shahad



Trump said in brief remarks to reporters today that maybe Gavin Newsom should be arrested after the Democratic governor dared Trump's border czar Tom Homan to do so.

"I would du it if I were Tum," Trump said after landing back at the White House when asked about Newsom's dare. "1 like Gavin Newsom         he's a nice guy, but he's grossly incompetent.II

Asked to describe the people protesting in L.A., Trump said the people who are causing the problems are "professional agitators" and "insurrectionists.II




19h 38" I9:55 AM pm
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SEIU president David Huerta charged

 474 494      Lindsay Gaud and Marlene Lenthang



David Huerta, president of the Service Employees International Union California, who was arrested during ICE protests in Los Angeles an Friday, has been federally charged with felony conspiracy to
impede an officer.

The felony charge carries a statutory maximum sentence of six years in federal prison. He's currently in federal custody at the Metropolitan Detention Center in Los Angeles.

His initial appearance is set for today at 1:20 p.m. PT.

The SEIU said that Huerta, an American citizen and Las Angeles native, was injured and detained Friday as he was peacefully observing an ICE raid.

He was hospitalized for his injury and taken into custody. Mayor Karen Bass told NBC Las Angeles that Huerta was pepper-sprayed.




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        David Huerta, president of SEIU California. Ringo Chiu / AP File



19h age I9:48 AM PDT



Schumer calls on Trump to 'revoke his command' for the National Guard


66              Frank Thorp V and Megan lebnwilz


Senate Minority Leader Chuck Schumer, D-n.y., slammed Trump's order to deploy the National Guard as "unnecessary, inflammatory, and provocative.ii

"Trump should immediately revoke his command to use the National Guard, and leave the law enforcement to the governor and the mayor, who are more than capable of handling the situation,II
Schumer said in a statement. "Americans do not need or deserve this unnecessary and provocative chaos."

Democrats have repeatedly criticized Trump's response to the protests along similar lines as Schumer, framing the White House as trying to escalate the situation.



19h agn/8:47 AM P01
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Trump Irames National Guard decision as 'a great decision'


a        Megan Lehnwitz


Trump said in a post on Truth Social that "we made a great decision in sending the National Guard" to respond to the protests in Los Angeles, claiming that the city would have otherwise "been
completely obliterated."

He criticized Newsom and Bass, saying that they should have been telling the president that "you are so wonderful" and "we would be nothing without you.H

Democrats have consistently criticized Trump ordering the National Guard to deploy, arguing that it escalated the situation. Newsom had objected to Trump sending the National Guard.




13h 880 I9:33 AM pm                                                                                                                                                                                 c -:)


Protesters plan more demonstrations today


e        Daniella Silva


Immigration protests were planned today after dozens of people were arrested over the weekend.

Here are some of the demonstrations planned today, all Pacific time:

9 a.m.       Families demand release of their loved ones arrested in weekend raids. Ambiance Warehouse, 2415 E. 15th St., Los Angeles.

11 a.m. - L.A. student walkout and protest against National Guard deployment. After walking out of school, high school students will convene at the Federal Building downtown at 1p.m.

Noon - National civil rights leaders to rally with hundreds to demand an end to the immigration raids. They will be joined by workers, elected officials and supporters to demand the release of David
Huerta from federal detention and the end of ICE raids in the community, according to organizers.




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42 Mexicans detained in L.A. raids, Mexican officials say

 \74 44 Nicole lluarle and Marlene Lenthang


Forty-tw0 Mexicans were detained in the ICE raids in Las Angeles, Mexico foreign minister, _Iran Raman de la Fuente, said at a news conference today.

Of those, 37 are men and five are women, and all were identified and assisted by consular authorities.

Four people have been deported, two by previous removal orders and two voluntarily.




21h ago /7:50 AM PDT
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What can Trump legally dn to disperse L.A. immigration protests?
President Donald Trump ordered the deployment of 2,000 National Guard troops to Los Angeles to disperse immigration protests and California Gov. Gaw'n Newsom has questioned the legality of this
move. NBC News legal analyst Danny Cevallos breaks down what Trump's legal options are for using federal troops.




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Border czar Tom Human: Newsom and Bass 'haven't crossed the line, but they're not above the law either'


no              Megan Lehnwilz and Samh Dean


President Donald Trump's "border czar" Tom Homan responded to California Gov. Gavin Newsom telling Homan to "arrest me" after the border czar threatened to arrest anyone obstructing
immigration enforcement.

"I was clear, they haven't crossed the line, but they're not above the law either," Homan said in an interview on MSNBC's "Morning Joe," referring to Newsom and L.A. Mayor Karen Bass. "If they
commit a crime, then certainly we'd ask for prosecution. That's what was happening. I never threatened to arrest Governor Newsom, so I'm not biting off of that."

Separately, when asked whether everyone arrested by ICE has a criminal record, Homan said, "Absolutely not."

"If ICE is there to arrest that bad guy and other aliens are there, we're going to arrest them," Hornan said. "That's what sanctuary cities get."

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Homan also criticized rhetoric about the protesters, pointing to incidents of violence.

"It's a matter of time before someone loses their life," he said. He added that throwing a Molotov cocktail at an ufhcer "can certainly be met with deadly force."


22h 899 /6:29 AM pm
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Newsom slams use of National Guard on ICE protesters in l.A.

 44 liz Kreutz

California Gov. Gavin Newsom is criticizing President Donald Trump's use of the National Guard to crack down on demonstrators in Los Angeles who are protesting immigration raids by federal
agents, saying it only inflames the situation. Meanwhile, border czar Tom Homan said officials who stand in the way of law enforcement operations could be arrested.




23h age /8:02 AM pm                                                                                                                                                                                     g
Australian TV news reporter struck by rubber bullet while broadcasting

 \% Astha Raivanshi


Lauren Tomasi, a news correspondent with Australia's Channel Nine, was broadcasting live from the protests on Sunday evening when she was struck in the leg by what appeared to be a nonlethal
rubber bullet fired by law enforcement.

In the video, a police officer was seen turning toward Tumasi and her crew before firing a round in their direction. Turnasi appeared to yell in pain as she stumbled to reach for her injured leg while
the camera swiveled in the other direction.

Tumasi later told Nine News Australia that she was "safe," adding that it had been "a really volatile day OH the streets 0fL.A."

LAPD did not respond to a request for comment.



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23h ago /8:01 AM PDT


Chicago congressman to speak out against Trump's deployment of National Guard troops

 475 Astha Raivanshi


Rep. JesUs "Chuy" Garcia, a Democrat from Chicago, will join immigrant rights leaders in the city later today to speak out against Trump's move to deploy hundreds of National Guard troops in Los
Angeles, as widespread protests persist for a fourth day.

A press release for the news conference, scheduled for 10 a.m. ET, stated that "the deportations, forced disappearances, travel ban 2.0, attacks on welcoming jurisdictions, and the jailing of labor
leaders, highlight the cruelty with which Trump and his administration are focused on harming communities and families."

In Chicago, protestors on Sunday held a rally in Pilsen to oppose the detention of at least 10 immigrants by ICE agents last week near a warehouse in the South Loop. Those arrested had "executable
final orders of removal by an immigration judge, and had not complied with that order," ICE said in a statement.




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Rallies and protests planned for today

 Mk     Marlene Lenthang


The ACLU will lead a peaceful rally and protest in downtown Las Angeles today at muon PT to demand the end of ICE raids, as anger toward government immigration politics simmers.




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Miami-Dade Commission to vote on a proposal calling for police-ICE collaboration

 475 Aslha Raivanshi


The Miami-Dade Commission is set to vote on a proposal Monday 9 a.m. ET that could block the county from releasing public records about the people detained within its jails.

The commission will hold a hearing at the Stephen P. Clark Government Center, where the proposal, if passed, would effectively disappear those detained into the system without public accountability
for their whereabouts.

I n exchange, the proposed contract will pay the county $25 per day for every person detained.

The proposal is part of an agreement with Immigration and Customs Enforcement under its 287(g) program to cooperate in apprehending and detaining those believed to be in the country illegally.

Each of Florida's 67 county jails has signed the agreement, with 590,000 of the country's nearly II million undocumented immigrants living in Florida, according to the latest Homeland Security
Department estimates.

On Friday, Miami-Dade Commissioner Roberto Gonzalez said he would back the proposal in a post on X, adding that "Miami-Dade is not and will not be a sanctuary county."




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The Trump admin says it ordered the deployment of 2,000 National Guard troops in L.A. to stop 'violent protests'

 474 Astha Raivanshi


Around 300 National Guard members are stationed in downtown Los Angeles after President Donald Trump ordered the deployment of 2,000 troops for 60 days          a move condemned by California
Gov. Gavin Newsom, who called it inflammatory. About 500 Marines are ready to deploy to respond to the protests.




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What sparked the l.A. protests?

 435 Astha Raivanshi


Widespread protests in Los Angeles County erupted after Immigration Customs Enforcement (ICE) officers on Friday carried out raids in three locations across the city, where dozens of people were
taken into custody.

California Gov. Gavin Newsom condemned the raids, calling them "chaotic federal sweeps" that aimed to fill an "arbitrary arrest quota."

But as L.A.'s sizable pro-immigrant organizations and labor groups continued to demonstrate Saturday, L.A. County Sheriff Robert Luna said federal law enforcement operations were "proceeding as
planned" across the county.

Law enfurcernent used less-than-lethal munitions, as well as what appeared to be tear gas, to disperse crowds while multiple people were detained throughout the day.

The unrest also prompted President Donald Trump to deploy 2,000 National Guard troops to L.A. - a move that was condemned by Newsom and Mayor Karen Bass, who said at a news conference
that the raids didn't increase peace and decrease crime but that they did push a wave of fear through a county where 1 in 3 are foreign-born.

"What we're seeing in Las Angeles is chaos that is provoked by the administration," Bass said, referring to Trump.

The protests continued for a third day on Sunday, with 56 people arrested so far, according to the police.




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British photographer says he was shot by police while covering l.A. protests

 495 Astha Raivanshi




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        Protesters help photographer Nick Stern on Saturday. Eth EM Swope / AP




British photographer Nick Stern said he was hit with a 14mmhigh-velocity "sponge bullet" in his thigh while he was covering a stand-oIT between protestors and law enforcement in Los Angeles on




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Los Angeles Mayor Bass calls on protesters to demonstrate 'peacefully'

 #4 NBONews

Los Angeles Mayor Karen Bass said that ICE raids have created fear and unrest in the city and called on protesters to express their anger "peacefully."




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Chinese Consulate in L.A. urges Chinese citizens in the area to stay vigilant

 474 Astha Raivanshi

The Chinese Consulate General in Las Angeles urged Chinese citizens in the region to follow safety protocol as law enforcement operations continue in the area in an official statement issued Monday.

Chinese citizens "stay vigilant, enhance personal safety precautions, avoid gatherings, crowded areas, or places with poor public security, and refrain from going out alone or at night," it added.




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Almost B0 arrested in l.A. sn War, police say

 \ 8 Ast ha Raivanshi



At least 56 people were arrested in Los Angeles over the weekend, police said.

Capt. Rauljovel from the LAPD's Central Division said that the California Highway Patrol had made 17 arrests while patrolling the 101 Freeway.


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Those arrested include a person who allegedly threw a Molotov cocktail at an officer and another who was accused of ramming a motorcycle into a line of officers, injuring one.




       Way no cars burn during protests in Los Angeles on Sunday. Mario Tama / Getty Images




Another driver was arrested after protesters chased a van near Union Station in downtown Los Angeles Sunday because, they said, it aimed at them. The van appeared to veer toward protesters
gathered near the Edward R. Roybal Federal Building multiple times as it drove in circles, with what sounded like gunfire being heard from the van.



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"BRING IN THE TROOPS!!!" says Trump

 44 Astha Raivanshi


President Donald Trump an Sunday continued his harsh rhetoric against protestors in LA in a series of posts on Truth Social. Referring to reports from Los Angeles Police Chiefjim McDonnell that
protestors in LA were "getting verymuch more aggressive," Trump once again called on troops from the National Guard to be deployed in the area.

"Looldng really bad in L.A. BRING IN THE TROOPS!!!" he said in a post on Truth Social, adding, "ARREST THE PEOPLE IN FACE MASKS, NOW"' in a separate post.

About 300 National Guardsmen have been deployed on theground in LA after being called to protect federal personnel and property for the first time by an American president.




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Clashes continue through the night in Los Angeles


6       Max Butterwurlh


Protesters wave Mexican flags last night following two days of clashes with law enforcement, sparked by a series of immigration raids in Los Angeles.




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Ringo Chiu / AFP - Getty Images




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          Spencer platt / Getty Images



ld 380 /1:26 AM PDT
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Downtown L.A. declared an "unlawful assembly" area by the LAPD

 44 Astha Raivanshi


The LAPD has declared the Civic Center area in downtown Las Angeles an "unlawful assembly," according to a post on x, adding that it had sent an alert to all cell phones in the area.



Id age /1:26 AM PDT
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Stores in downtown l.A. are being Inned, LAPD says

 #YA Astha Raivanshi


Local business owners reported that stores in the area of 6th Street and Broadway were being looted, Los Angeles police said in a post on X, adding that its officers were en route to the location to
investigate.

In a separate post on x, the LAPD's Central Division requested all DTLA businesses or residents to photograph all vandalism, damage or looting so that "it can be documented by an 0fl'11:ial police
report."



ld ago /1:06 AM pm
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Trump's travel ban takes effect amid immigration tensions

 #75 Iennilerlett

Trump's new ban on travel to the U.S. by nationals from 12 mostly African and Middle Eastern countries took effect at 12:01a.m. ET as protesters in Los Angeles clashed with law enforcement over
immigration enforcement raids.

A proclamation Trump signed last week bars entry to nationals of Afghanistan, Myanmar, Chad, the Republic of Congo, Equatorial Guinea, Eritrea, Haiti, Iran, Libya, Somalia, Sudan and Yemen. Seven
other countries - Burundi, Cuba, Laos, Sierra Leone, Togo, Turkmenistan and Venezuela - face heightened restrictions.

Trump said that nationals from the affected countries might pose risks related to terrurisrn and public safety and that many of the countries had high rates of people overstaying their visas.




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The ban has been strongly condemned as discriminatory by groups that provide aid and resettlement to refugees, who say it will prevent many people from reuniting with family and jeopardize the
safety of those fleeing conflict and persecution in countries such as Afghanistan.



id ask I1:06 AM PDT
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'Tom, arrest me. Let's go.': Gov. Gavin Newsom responds to Newsom from Trump 'border czar'

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In an exclusive interview, Newsom said Trump "has created the conditions" surrounding the Los Angeles protests.

Newsom went OH to call Trump's decision to deploy the National Guard "a manufactured crisis," then addressed White House "border czar" Tom Homan's threats of arrest.

"Tom, arrest me. Let's go," he said. The governor also plans to sue the Trump administration over its deployment of the National Guard.




Id ago /1:06 AM PDT                                                                                                                                                                            c-1)


Way no cars go up in flames during Los Angeles anti-ICE protests

 40 NBC News


At least five Way no cars went up in flames as crowds protested after federal immigration raids. The driverless rides have been suspended in downtown Los Angeles.




         NB C News



             Phil Helsel, Dennis Romero and Marlene Lent hang contributed.




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                                EXHIBIT O




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                                SECRETARY OF DEFENSE
                                 $000 DEFENSE PENTAGON
                               WASHINGTON, DC 20301 -IOOO

                                                                                 JUN D 7 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                 THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

        Thc Prcsidcnt of the United Statcs has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to temporarily
protect U.S. Immigration and Customs EnfOrcement and other U.S. Govcmment personnel
who arc performing Federal functions. including the enforcement of Fcdcral law. and to protect
Federal property. at locations where protests against these functions are occurring or are likely
to occur based on current threat assessments and planned operations. The Pncsidcnt signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

        This memorandum implements the President's direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of60 days. The Chief of the National Guard Bureau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard, in
coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander. U.S. Northern Command.




Attachment:
As stated


cc:
Chairman of the Joint Chiefs of Staff
Chiefi National Guard Bureau
Commander. U.S. Nor hem Command
Under Secretary of Defense for Policy




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                                        June
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     MEMORANDUM FOR THE SECRETARY OF DEFENSE
                   THE ATTORNEY GENERAL
                   THE SECRETARY OF HOMELAND SECURITY
' - - | l " - -   r
     SUBJECT :        v   Department of Defense Security for the Protection
     '--1r ' ._ 1.-F 'u   of Department of Homeland Security Functions

     Numerous incidents of violence and disorder have recently
     occurred and threaten to continue in response to the enforcement
     of Federal law by U.S. Immigration and Customs Enforcement (ICE)
     and other United States Government personnel who are performing
     Federal functions and supporting the f aithful execution of
     Federal immigration laws. In addition, violent protests
     threaten the security of and significant damage to Federal
     immigration detention facilities and other Federal property. To
     the extent that protests or acts of violence directly inhibit
     the execution of the laws, they constitute a form of rebellion
     against the authority of the Government of the United States.
    In light of these incidents and credible threats of continued
    violence, by the authority vested in me as President by the
    Constitution and the laws of the United States of America, I
    hereby call into Federal service members and units of the
     National Guard under 10 u.s.c. 12406 to temporarily protect ICE
     and other United States Government personnel who are performing
     Federal functions, including the enforcement of Federal law, and
     to protect Federal property, at locations where protests against
    these functions are occurring or are likely to occur based on
    current threat assessments and planned operations. Further, I
    direct and delegate actions as necessary for the Secretary of
    Defense to coordinate with the Governors of the States and the
    National Guard Bureau in identifying and ordering into Federal
    service the appropriate members and units of the national Guard
    under this authority. The members and units of the National
    Guard called into Federal service shall be at least 2,000
    national Guard personnel and the duration of duty shall be for
    60 days or at the discretion of the Secretary of Defense. In
    addition, the Secretary of Defense may employ any other members




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                                     2

of the regular Armed Forces as necessary to augment and support
the protection of Federal functions and property in any number
determined appropriate in his discretion .
To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.

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                                  DONALD J, TRUMP r
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                               EXHIBIT P




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                               SECRETARY OF DEFENSE
                                1000 DEFENSE PENTAGON
                               WASHINGTON, DC 20301-IOOO

                                                                                    JUN -g 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                 THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Additional Members of the California National Guard into Federal Service

         On June 7, 2025, the President of the United States called forth at least 2,000 National
Guard personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to
temporarily protect U.S. Immigration and Customs Enforcement and other U.S. Government
personnel who are performing Federal functions, including the enforcement of Federal law, and
to protect Federal properly, at locations where protests against these functions are occurring or
are likely to occur based on current threat assessments and planned operations. The President
signed a copy of the attached memorandum to effectuate the calling forth of these Service
members. Also on June 7, 2025, l implemented that order by directing 2,000 members of the
California National Guard be called into Federal Service for a period of 60 days (see attached
memorandum).

       This memorandum further implements the President's direction. An additional 2,000
members of the California National Guard will be called into Federal service elTective
immediately for a period of 60 days. The Chief of the National Guard Bureau will immediately
coordinate the details of the mobilization with the Adjutant General of the California National
Guard, in coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S.
Northern Command. The mobilized Service members will be under the command and control of
the Commander, U.S. Northern Command.




Attachments:
As stated

cc:
                                                       8-
Chairman of the Joint Chiefs of Staff
Chief; National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy
Under Secretary of Defense for Personnel and Readiness




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                                June 7, 2025

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I MEMORANDUM FDR THE SECRETARY OF DEFENSE
Irv "re °.r*,.     Q'I
 .
HI
       |        THE ATTORNEY GENERAL

 r~.
  SUBJECT :
                THE SECRETARY OF HOMELAND SECURITY

                     Department of Defense Security for the Protection
  y.                 of Department of Homeland Security Functions

 Numerous incidents of violence and disorder have recently
 occurred and threaten to continue in response to the enforcement
 of Federal law by U.S. Immigration and Customs Enforcement (ICE)
 and other United States Government personnel who are performing
 Federal functions and supporting the faithful execution of
 Federal immigration laws. In addition, violent protests
 threaten the security of and significant damage to Federal
 immigration detention facilities and other Federal property. To
 the extent that protests or acts of violence directly inhibit
 the execution of the laws, they constitute a form of rebellion
 against the authority of the Government of the United States.
 In light of these incidents and credible threats of continued
 violence, by the authority vested in me as President by the
 Constitution and the laws of the United States of America, I
 hereby call into Federal service members and units of the
 National Guard under 10 U.S.C. 12406 to temporarily protect ICE
 and other United states Government personnel who are performing
 Federal functions, including the enforcement of Federal law, and
 to protect Federal property, at locations where protests against
 these functions are occurring or are likely to occur based on
 current threat assessments and planned operations. Fur then, I
 direct and delegate actions as necessary for the Secretary of
 Defense to coordinate with the Governors of the States and the
 National Guard Bureau in identifying and ordering into Federal
 service the appropriate members and units of the national Guard
 under this authority. The members and units of the National
 Guard called into Federal service shall be at least 2,000
 National Guard personnel and the duration of duty shall be for
 60 days or at the discretion of the Secretary of Defense. In
 addition, the Secretary of Defense may employ any other members




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of the regular Armed Forces as necessary to augment and support:
the protection of Federal functions and proper Ty in any number
determined appropriate in his discretion.
To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.


                                  DONALD J. TRUMP




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                                SECRETARY OF DEFENSE
                                 1000 DEFENSE PENTAGON
                               WASHINGTON, DC 20301-IOOO

                                                                                 JUN 0 1 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                 THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

       The President of the United States has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 12406 of title IO. U.S. Code, to temporarily
protect U.S. Immigration and Customs EnfOrcement and other U.S. Govcmment personnel
who arc performing Federal functions. including the enforcement of Federal law. and to protect
Federal property, at locations where protests against these functions are occurring or are likely
to occur based on current threat assessments and planned operations. The President signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

        This memorandum implements the President's direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of 60 days. The Chicfof the National Guard Bureau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard. iii
coordination with the Chairman of the Joint Chiefs of Sta1Yand Commander, U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander. U.S. Northern Command.




Attachment:
As stated


cc:
Chairman of the Joint Chiefs of Staff
Chief National Guard Bureau
Commander, U.S. Nor hem Command
Under Secretary of Defense for Policy




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                               EXHIBIT R




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Los Angeles    I   News       Weather         Sports        Vldeos   KCAL News Shows                                                                                             e 62°
I LOCAL NEWS I

Los Angeles immigration enforcement operations set to continue after weekend of protests, National Guard
deploys
                           can Fioresi, Camile Montoya-Galvez
                          Ln35 I 11:38 PM PDT I KCAL News




National Guard troops arrived in downtown Los Angeles on Sunday after being ordered into the city by President Trump in response to a weekend of violent clashes
between law enforcement oHicers and protesters triggered by immigration enforcement operations in the area on Friday.

Protesters clashed with soldiers throughout the afternoon and evening hours of Sunday after a crowd gathered near the Metropolitan Detention Center downtown.
Images captured by CBS News Los Angeles showed members of the National Guard using what appeared to be tear gas and firing non-lethal rounds toward some groups




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                                                                     l. County including in the Westlake District, downtown L,A. and Paramount, and have escalated to violence on
                                                                     1 by Immigration and Customs Enforcement on Friday. A federal law enforcement official told CBS News that multiple
                                                                     .fig confrontations with protesters on Friday and Saturday.

                                                                     Chiefjirn McDonnell said 39 people had been arrested in total - 29 on Saturday and 10 on Sunday. McDonnell also
                                                                     was slow to respond to the unrest.


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"We can't participate in any way in civil immigration enforcement," McDonnell said, noting that the department must comply with the California Values Act, also known
as SB 54, which prohibits local and state law enforcement agencies from assisting federal immigration enforcement actions.




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                                                                                                                                                                   See More




"Federal partners have been reticent to provide information to us before something happens because of that reason," McDonnell said.

The Trump administration has made it clear that immigration enforcement will continue despite the ensuing violence. Democratic U.s. Rep. Nanette Barragan, who
represents parts of L.A.'s South Bay, told CBS News that ICE enforcement and removal operations are expected daily for the next 30 days in L.A. County.

Mr. Trump announced Saturday night that he'd deploy the guard in response to the protests. In a post to his Truth Social late Saturday night local time, Mr. Trump
called the events in L.A. "two days of violence, clashes and unrest."

He posted again on Sunday, saying that California Gov. Gavin Newsom and L.A. Mayor Karen Bass should "apologize to the people of Los Angeles for the absolutely
horrible job that they have done, and this now includes the ongoing L.A. riots."




"These are not protesters, they are troublemakers and insurrectionists," the post said. "Remember, NO MASKS!"




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Members of the National Guard stand guard outside the Metropolitan Detention Center in downtown Los Angeles, California on June 8, 2025.
FREOERlC J aROWNrAFP VIA GETTY IMAGES


A Presidential Memoranda issued Saturday stated that at least 2,000 National Guard troops were going to be deployed. The majority of the soldiers are from the
California National Guard, a Defense Department official told CBS News.

The U.S. military's Northern Command also confirmed to CBS News that 300 National Guard troops were in the Los Angeles area on Sunday, specifically in Paramount,
Compton and the downtown area. They also said that 500 active-duty U.S. Marines based at Twentynine Palms were in "prepared to deploy" status and were ready to
augment the National Guard if ordered to do so.

Newsom on Saturday criticized Mr. Trump's military deployment, calling it "purposefully inflammatory" in a post to X. In another post he said Mr. Trump was
"escalating the situation."

"The federal government is taking over the California National Guard and deploying 2,000 soldiers in Los Angeles not because there is a shortage of law enforcement,
but because they want a spectacle," he said in another post. "Don't give them one,"

He formally requested that Mr. Trump rescind the deployment of troops to L.A. in a letter addressed to Defense Secretary Pete Hegseth, saying there was "no need" for
the National Guard.

"State and local authorities are the most appropriate ones to evaluate the need for resources to safeguard life and property," Newsom's letter said, "Indeed, the decision
to deploy the National Guard, without appropriate training or orders, risks seriously escalating the situation."




On Sunday afternoon, Newsorn's office confirmed that he was in Los Angeles. He met with Los Angeles Police Chiefjirn McDonell and L.A. County Sheriff Robert Luna,
shown in a picture posted to his X account.

"We're here to keep the peace - not play into Trump's political games," the post said,
on m-fI~=v mm-na.-..»¢ N=>w=-"1 m"9"m°d "I"-"° to sue the Trump administration and accused the president of illegally activating the National Guard.



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A protester carries a Mexican flag as L.A. County Sheriff deputies form a law enforcement line to keep demonstrators from advancing after ICE raids at a nearby Home Depot and the Garment District Drought out resistance from Los Angeles
residents on June 7, 2025 in Compton, California.
G INA FEnA2znLos ANGE LES TIM ES VI A GETTY IMAGES



Bass called the deployment of the National Guard a "chaotic escalation" of the situation in a post to X.

"The fear people are feeling in our city right now is very real - it's felt in our communities and within our families and it puts our neighborhoods at risk," she said in
part. "This is the last thing that our city needs, and I urge protestors to remain peaceful."

Former Vice President Kamala Harris took to X to share a statement on Sunday afternoon.

"Los Angeles is my home. And like so many Americans, I am appalled at what we are witnessing on the streets of our city. Deploying the National Guard is a dangerous
escalation meant to provoke chaos," her statement said.




Standing outside of the Metropolitan Detention Center before violent clashes began on Sunday, Rep, Maxine Waters, who represents parts of South L.A,, called Mr.
Trump's deployment of the National Guard a "disruption."

"People have to stand up for what is right," she said.

In a statement to CBS News, an ICE spokesperson said immigration enforcement operations have resulted in the arrest of a "domestic abuser" and a "child rapist.I!

"irresponsible politicians continue to push dangerous and misleading rhetoric that puts communities and law enforcement at risk," the statement reads. "Even the Los
Angeles Police Departments referred to violent riots yesterday as 'peaceful protests.' Americans can look at the videos and images and see with their own eyes that they
are dangerous not peaceful.'"

Protesters clash with law enforcement again
For the third straight day, some protesters and activists gathered in downtown L.A. to protest the ongoing operations and presence of federal authorities in the city.

The situation appeared calm to start on Sunday, with CBS News Los Angeles reporters at the scene reporting no signs of conflict until about 3 p.m., when a large group
of demonstrators marched from the steps of L.A. City Hall to the federal building, where the detention center is located.




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A massive crowd of protesters in downtown Los Angeles on June 8, 2025, as demonstrations against immigration operations continued for third straight day.
KCALNEWS


They began to clash with the large group of federal agents located outside of the building, including some who looked to be members of the National Guard. In
response to the escalation, which police said involved people throwing projectiles and concrete in their direction, the LAPD issued a Tactical Alert for the entire city.




"An UNLAWFUL ASSEMBLY has been declared for the area of Alameda between 2nd St and Aliso St. A DISPERSAL ORDER has been issued, Arrests are being made. To
our media partners, please keep a safe distance from active operations," said a post on X by LAPD's Central Division,

Two officers were injured when two motorcyclists tried to breach the LAPD skirmish line in front of the detention center, police said. Both of those people were
detained.

Several blocks away, CBS News Los Angeles reporters saw a smaller crowd of people vandalizing as many as six Way no driverless vehicles in the area. They were seen
spray painting the cars, throwing objects and jumping on the windshields.

A short time later, all six of those vehicles were set on fire as the large crowd looked on. Plumes of smoke billowed over the downtown landscape.




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A Way no vehicle on fire in the midst of protests in downtown Los Angeles.
KCALNEWS


The flames from the vehicles continued to burn for some time and there were several small explosions seen in footage filmed from CBS News Los Angeles' helicopter,

While the demonstrations continued, some people used chairs, garbage bins and street signs to block the road at Temple and Main Street. A few blocks away a Metro
bus was stopped by demonstrators. Some were seen spray painting the sides with anti-ICE messages from helicopter footage.

The crowd moved into the city's Civic Center at around 5 p.m. Some demonstrators were seen setting fireworks from the CBS News Los Angeles helicopter as LAPD
officers on horseback attempted to push the crowd back.




A little before 9 p.rn., LAPD's Central Division said on X that "Downtown Los Angeles has been declared as an UNLAWFUL ASSEMBLY You are to leave the Downtown
Area immediately."

The crowd of demonstrators began to move into the LA Live area, near Crypto.corn Arena, at 9:30 p.rn., LAPD officers said. They were blocking tragic on Figueroa
Street and llth Street.

They moved through the city despite the area-wide dispersal order, again lighting fireworks and throwing projectiles at police vehicles driving by. Several fires were set
in dumpsters and trash bins and at least one store had windows shattered by alleged looters. Dozens of buildings were tagged with graHiti, including the LAPD
Headquarters, the U.S. Courthouse and the old Los Angeles Times building.

Footage from the CBS News Los Angeles helicopter showed that multiple windows of the police headquarters had been shattered as well.

As the events continued, both LAPD and LASD personnel could be seen worldng to quell the situation. Sheriff Luna said that more than 100 deputies were deployed to
assist both LAPD and CHP at around 6 p.m., and that mutual assistance was also requested from the California Office of Emergency Services.

Separately, San Francisco police reported 60 arrests Sunday night. Police said people were taldng part in "First Amendment activities" but then began committing
crimes "ranging from assault to felony vandalism and causing property damage." An unlawful assembly was declared but several people kept "engaging in illegal
activity," police said. Two officers were hurt, though the injuries weren't life threatening. Police said the demonstrators then vandalized buildings, a police cruiser and
other property, and officers began arresting people who didn't comply with the dispersal order.




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Demonstrators flood the 101 Freeway as immigration operation protests continue for third day in Los Angeles.
KCALNEWS


Crowd swarms L.A.'s 101 Freeway
just before 4 p.m., demonstrators moved onto the 101 Freeway, blocldng traffic on the busy thoroughfare. They blocked the Aliso Street off ramp and several lanes while
hundreds of others watched from the Main Street overpass.




In response, the California Highway Patrol closed the entire stretch of freeway that runs through the downtown area. Dozens of CHP officers were seen as they also
entered the freeway, stopping under the overpass in a line, They completely overtook southbound lanes, moving protesters back, though the majority of the crowd
remained on the other side of the freeway.

Several people were seen being taken into custody from the CBS helicopter's aerial view. Officers deployed multiple smoke-filled canisters at the feet of the crowd.
Some people attempted to kick the canisters back in the direction of law enforcement.

The crowd was completely moved from the road by 5 p.m,

With multiple CHP patrol vehicles still parked on the freeway, people began to throw objects over the side of the overpass. They were seen throwing street signs,
fireworks, e-scooters and pieces of concrete with the CBS News Los Angeles helicopter overhead.

Some of the cars sustained visible damage before officers began deploying non-lethal canisters of smoke towards the crowd. Though they briefly dispersed, they
returned to the area and continued to throw items, one of which caught a CHP vehicle on fire,

As some officers tried to get into their vehicles, some of the people were seen throwing cement in their direction.

Because of the debris and damaged cars now in the road, the southbound 101 Freeway was expected to remain closed until further notice, LAPD said. It's unclear when
the cleanup process would begin.




In nearby Pasadena, a small gathering began Sunday afternoon after federal oHicers were spotted at a local hotel, a city spokesperson confirmed.

Pasadena Mayor Victor M. Gordo said in a statement that no enforcement activity was confirmed.

"We understand the anxiety and fear that these reports can create for many in our community," he said. "I urge our community to remain calm, united, and peaceful,
                                                  ight to peacefully assemble and express ourselves is a fundamental part of who we are-not just as Pasadenans, but as


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                                                                      ns were conducted across L.A., primarily in the Westlake District, downtown and South L.A., ICE oHicials confirmed.
                                                                      je arrest of 44 unauthorized immigrants, ICE told CBS News on Sunday. An additional 77 were arrested around the



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The exact charges of those arrests were not yet clear as of Sunday afternoon.

ICE confirmed to CBS News Los Angeles that four federal search warrants were served at three locations in L.A. on Friday night. As news of those warrants spread,
protests broke out. The most notable of which was Friday night, and took place outside the Federal Building in downtown L.A. after demonstrators learned that
detainees were allegedly being held inside.

As tensions escalated and some protesters threw objects toward law enforcement, the Los Angeles Police Department eventually issued an unlawful assembly
declaration and a dispersal order. Dozens of officers sporting riot gear and shields formed a skirmish line.




A federal law enforcement official with knowledge of the operations told CBS News that ICE requested assistance from LAPD multiple times over the course of Friday
night. That same official said it took local authorities more than two hours to honor that request, although a senior city official in L,A. told CBS News that it took LAPD
55 minutes to respond, not two hours.




A car burns during a protest in Compton, Calif., Saturday, June 7, 2025, after federal immigration authorities conducted operations.
ERIC THAYERMAP


On Saturday, protests centered in on the city of Paramount after ICE and other federal law enforcement oHicers were spotted. Tricia McLaughlin, a spokesperson for
the Department of Homeland Security, said in a statement that there was no ICE "raid" on Saturday in Paramount, but instead the agents were staging at an office.

The protests in Paramount eventually spilled over into Compton, where hundreds of demonstrators gathered around a car that was set on fire in the middle of the
intersection of Alondra Boulevard and Atlantic Avenue, near Dale's Donuts.

Images captured at the scene by CBS News Los Angeles showed law enforcement deploying what appeared to be tear gas to disperse crowds and shooting non-lethal
munitions at some protesters.

A federal law enforcement official told CBS News that deputies with LA County Sheriffs Office are now assisting ICE oHicials with perimeter protection, although they
will not be assisting with any immigration enforcement efforts.

                                                                        attributed to this report.


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in      2 including toddler found dead, Minneapolis police suspect murder-suicide

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        Los Angeles     Immigration     U.S. Immigration and Customs Enforcement


Aus t in T urne r
Austin Turner is a web producer at CBS Los Angeles. An Inland Empire native, Austin earned a degree in journalism from San Jose State University in 2020. Before joining CBS in
2025, he worked at KTLA, the San Jose Mercury News, the Sedona Red Rock News and various freelance outlets as a sports reporter.
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                       OFFICE OF THE GOVERNOR
                                      June 10, 2025


Hon. Pete Hegseth
Secretary of Defense
Washington, DC 20301

Via email only

Re:     Federalization of the California National Guard

Dear Secretary Hegseth:

      Yesterday, you issued a memorandum calling an additional 2,000
members of the California National Guard into federal service. This was done
without going "through the governor[]" ds is std tu torily required under section
12406 of title 10 of the United States Code, and without "coordindt[ion] with the
Governor[] of the Stdte[]" ds instructed in the President's June 7 memorandum.

      Although you notified this office of the action once it was taken, the
Governor of California was given no opportunity to provide or withhold his
consent, nor, at a minimum, to consult with the President or you as to which
service members and in what number should be called, and for what purposes
and what period of time. And to be clear, the Governor does not consent to this
unlawful usurpation of his authority or to this unnecessary and counterproductive
deployment of service members in our communities. Together with the California
Attorney General, the Governor filed a lawsuit to stop these unlawful abuses of
authority.

        The Governor wishes to reiterate that Los Angeles has a robust presence
of State and local law enforcement responding swiftly to the small number of
protestors who are acting violently and breaking the law. These agencies are
regularly entrusted to police and enforce the law in a region of over 9 million
people and are fully capable of responding to these recent sporadic acts of
civil disobedience and violence, which are no different in kind from instances of

            GOVERNOR GAVIN NEWSOM U SACRAMENTO, CALIFORNIA 95814 • (916) 445-2841
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civil unrest that impact communities throughout the United States from time to
time.

       This latest usurpation of the Governor's authority is even more egregious
given that you have not even committed at least 1600 of the 2000 service
members you unlawfully federalized only two days earlier. As has been widely
reported, the federal government's organizational failure has meant that service
members who were deployed arrived with no federal funding for food, water,
fuel or lodging.

        There is no need for the National Guard to be deployed on the streets of
Los Angeles. Allow state and local authorities to do their work of restoring order
and deescalating, without the added burden of military forces whose mere
presence fans the flames. Rescind your orders and return the National Guard to
its rightful control by the State of California.

        Sincerely,


            )

        David Sapp
                  /0
        Legal Affairs Secretary
        Office of Governor Gavin Newsome


CC.     California Attorney General Rob Bonita (via email only)




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                        JAMES E. STANLEY
                3       Supervlsln Deputy Attorneys General
                        NICHOLAS SPIRITU
               4        LUKE FREEDMAN
                        ROBIN GOLDFADEN
               5        BRENDAN M. HAMME
                        LORRAINE LOPEZ
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                        Attorneys for Plaintiffs
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                                          IN THE UNITED STATES DISTRICT COURT
              12
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
              13
              14
              15
              16        GAVIN NEWSOM, IN HIS OFFICIAL
                        CAPACITY AS GOVERNOR OF THE
              17        STATE OF CALIFORNIA; STATE OF                DECLARATION OF BRIAN
                        CALIFORNIA,                                  OLMSTEAD
              18
                                                Plaintiffs, Date:
              19                                            Tlme:
                                 v.                         Courtroom:
              20                                            Jude: Charles R. Breyer
                                                            Tria Date:
              21        DONALD TRUMP, IN HIS OFFICIAL       Action Filed: 6/9/2025
                        CAPACITY AS PRESIDENT OF THE
              22        UNITED STATES; PETE HEGSETH, IN
                        HIS OFFICIAL CAPACITY AS SECRETARY
              23        OF THE DEPARTMENT OF DEFENSE;
                        U.S. DEPARTMENT OF DEFENSE,
              24
              25        Defendants.
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                                                                                     Declaration of Brian Olmstead
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                1                          DECLARATION OF BRIAN OLMSTEAD
               2
                                  I, Brian Olmstead, declare as follows:
                3
                             l.   I am over the age of 18 years and a U.S. citizen. I know the following
               4
                        facts based on my own personal knowledge and on my review of information and
               5
                        records gathered by California Governor's Office of Emergency Services (Cal
               6
                        OES) staff in the ordinary course of business, and if called as a witness, I could and
               7
                        would testify competently to the matters set forth below.
               8
                             2.   I currently serve as an Assistant Chief in the Law Enforcement Branch
               9
                        (LEB) of the California Governor's Office of Emergency Services (Cal OES). As
              10
                        an Assistant Chief, my duties include, but are not limited to: implementing and
              11
                        coordinating California's Law Enforcement Mutual Aid System (Mutual Aid
              12
                        System) in case of a natural or war-caused disaster, civil disturbance, mass casualty
              13
                        event, or homeland security incident, consulting with and advising local law
              14
                        enforcement organizations in the utilizing California's Mutual Aid System,
              15
                        assisting in the coordination of emergency law enforcement activities during the
              16
                        time of a natural or war-caused disaster or civil disturbance, and providing planning
              17
                        and training guidance for law enforcement and homeland security programs.
              18
                             3.   California's Law Enforcement Mutual Aid System was established in
              19
                        1961 and has been used to restore order during emergencies, including civil unrest,
              20
                        and to provide assistance to local agencies during other unusual events or
              21
                        catastrophic disasters. As a component of the Standardized Emergency
              22
                        Management System (SEMS), the Mutual Aid System is based on four
              23
                        organizational levels: cities, counties, regions, and the State. The state is divided
              24
                        into seven Law Enforcement Mutual Aid Regions. Cal OES Law Enforcement
              25
                        Branch has Assistant Chiefs assigned to each of the seven regions for direct
              26
                        coordination with law enforcement chiefs and sheriffs within each region. I am the
              27
              28
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                                                                                         Declaration of Brian Olmstead
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                1       Assistant Chief assigned to Region l, which is comprised of Los Angeles and
               2        Orange Counties.
                3            4.      The County Sheriff serves as the "Operational Area Mutual Aid
               4        Coordinator." In each of the seven regions, one Sheriff, elected by his or her peers,
               5        serves as the Regional Mutual Aid Coordinator (RMAC). The Los Angeles County
               6        Sheriff is the Regional Mutual Aid Coordinator for Region l.
               7             5.      Under the Mutual Aid System, within an operational area, adjacent or
               8        neighboring law enforcement agencies will assist one another. Should an event
               9        require assistance from outside the county, the region will provide requested
              10        assistance to the impacted county. If the combined resources of the region are
              11        insufficient to cope with the incident, the Regional Coordinator contacts the Cal
              12        OES Law Enforcement Branch for coordination of resources.
              13             6.      As Assistant Chief, on June 6, 2025, I began monitoring the protests
              14        occurring in the city of Los Angeles at the Metropolitan Detention Center that
              15        began that day, involving individuals protesting immigration enforcement activities
              16        being carried out by U.S. Immigration and Customs Enforcement (ICE). I was in
              17        regular communication with representatives of the Los Angeles Police Department
              18        (LAPD) and the Los Angeles County Sheriff' s Department (LASD) regarding the
              19        situation. On June 6, 2025, Both LAPD and LASD informed me that they were not
              20        in need of any additional resources, whether additional personnel or equipment. I
              21        understand that LAPD had reassigned about 150 additional officers to the area
              22        around Metropolitan Detention Center. Based on my observations and experience,
              23        which includes serving 32 years as a peace officer with the Santa Barbara County
              24        Sheriff" s Department, local law enforcement was effectively managing the
              25        situation.
              26             7.      I continued to monitor activities occurring in the city and county of Los
              27        Angeles on June 7, 2025, as it appeared that federal immigration enforcement
              28        activities were continuing and, thus, protests would continue. Protests did continue
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                                                                                         Declaration of Brian Olmstead
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               1        at the Metropolitan Detention Center, as well as in the cities of Paramount and
               2        Compton. Nonetheless, I did not receive any requests for mutual aid, which is an
                3       indication that local law enforcement agencies felt they were capable of controlling
               4        the situation. I understand that LASD provided at least 200 deputies to respond to
               5        the protests in Paramount and Compton. I Eurther understand that part of the
               6        assistance provided by LASD included their Sheriff' s Response Team - a team
               7        with specialized training in handling civil unrest - as well as Mobile Field Force.
               8             8.   As I was traveling to the Los Angeles County Sheriff' s Department
               9        Operations Center, at about 5:15 PM on June 7, I was contacted by representatives
              10        of both LAPD and LASD asking me if the National Guard was being deployed and
              11        who was deploying them. Typically, during fires or other disasters, agencies that
              12        exhaust their local resources and need assistance will submit a request through the
              13        Mutual Aid System requesting the assistance of the National Guard to provide
              14        assistance in conducting activities like staffing traffic control points to enable
              15        officers/deputies to focus on other law enforcement activities. As neither LAPD nor
              16        LASD had made such a request, it was unclear to them how the National Guard was
              17        being activated.
              18             9.   During the evening of June 7, I observed the protest activities and law
              19        enforcement response from the LASD Department Operations Center. Based on my
              20        observations and conversations with LAPD, the protest activities at the
              21        Metropolitan Detention Center were fairly in control with some incidents with
              22        protesters targeting the Metropolitan Detention Center. After federal officers
              23        pushed protesters away from the detention center, LAPD moved in front of the
              24        federal officers' skirmish line and declared an unlawful assembly. By 2: 15 a.m.,
              25        most of the protestors had left the area. Most activity that evening was focused in
              26        the cities of Paramount and Compton, where the LASD deployed additional
              27        resources to assist with crowd movement and control, as federal officers moved
              28        protesters away from federal property and onto the streets, which are within the
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                                                                                         Declaration of Brian Olmstead
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                1       jurisdiction of local law enforcement. At that time, some protesters unfortunately
               2        began to engage in dangerous behavior such as throwing rocks and other objects,
                3       including a Molotov Cocktail at deputies damaging vehicles, burning a vehicle,
               4        looting a gas station, and vandalizing property. Two deputies were injured during
               5        the incident. Local law enforcement was able to bring the situation under control
               6        and it is my understanding that by 4:00 a.m. on the morning of June 8, the LASD
               7        demobilized its teams, after it de-escalated the situation.
               8             10. In my estimation, there were approximately 300 to 400 protesters present
               9        on the evening of June 7 in the cities of Paramount and Compton, and that at least
              10        l l individuals were arrested for engaging in unlawful behavior that evening related
              11        to the protests in Los Angeles, Paramount, and Compton.
              12             II. On the morning of Sunday, June 8, I was contacted by individuals with
              13        the LAPD and LASD asking if the National Guard had arrived. I subsequently
              14        learned that they had arrived in the area, but it was not clear what role they were to
              15        play or what orders they were provided. In addition, there were concerns that
              16        having been deployed so quickly, the National Guard members did not have the
              17        equipment or training necessary to handle the situation. Without such equipment
              18        and training, and without any police powers, the National Guard members would be
              19        limited in how they could respond to protesters when equipped only with a rifle, a
              20        baton, and a shield.
              21             12. As the day progressed, there was a significant increase in the number of
              22        protesters in the area, and in particular at the Metropolitan Detention Center, where
              23        the National Guard were deployed. It appeared that the crowd at the Metropolitan
              24        Detention Center had increased significantly from the prior days' protest. LAPD
              25        estimated over 3,500 protesters. In addition, many of the protesters appeared angry
              26        that the National Guard had been federalized and was now present in their city. The
              27        presence of the National Guard seemed to only inflame the protesters further.
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                                                                                        Declaration of Brian Olmstead
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               1             13. In addition to LAPD and LASD, the California Highway Patrol also
               2        deployed to the protest area as protestors had blocked Highway lol after moving
                3       away from the Metropolitan Detention Center. Additionally, law enforcement
               4        mutual aid resources were requested from several law enforcement agencies both
               5        inside and outside of Los Angeles County to assist with controlling and addressing
               6        the civil unrest.
               7             14. I understand that at least 42 individuals were arrested related to their
               8        conduct during protests on June 8, with at least 19 of those individuals having been
               9        arrested by the CHP.
              10             15. Given that the number of protesters has increased since the arrival of the
              11        National Guard, LAPD is now seeking the assistance of additional officers and
              12        these needs are being met by local law enforcement through California's Law
              13        Enforcement Mutual Aid System.
              14
              15             I declare under penalty of perjury under the laws of the United States that the
              16        foregoing is true and correct.
              17             Executed on June 10, 2025, at Los Angels' ' 6LI¢a§i9.2a     -

              18                                                          [       aw.;
              19                                                        Brian Olmstead
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                                                                                             Declaration of Brian Olmstead
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1    ROB BONTA                   .   .
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     JAMES STANLEY
3    Supervlsln Deputy Attorneys General
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11
                        IN THE UNITED STATES DISTRICT COURT
12
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
14
15
16   GAVIN NEWSOM, IN His OFFICIAL
     CAPACITY AS GOVERNOR OF THE
17   STATE oF CALIFQRNIA; STATE OF                  DECLARATION OF PAUL s. ECK
     CALIFORNIA,
18                                                   D.ate:
                                         Plaintiffs, Time :
19                                                    Courtroom:
                   v.                               ]1ld€Z Charles R. Breyer
20                                                  Tria Date:
                                                       Action Filed: 6/9/2025
21   DONALD TRUMP, IN His QFFICIAL
     CAPACITY AS PRESIDENT OF THE
22   UNTTED STATES; PETE HEGSETH, IN
     HIS OFFICIAL CAPACITY AS SECRETARY
23   OF THE DEPARTMENT OF DEFENSE-
     U.S. DEPARTMENT OF DEFEN'SE,
24
25 Defendants.
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28
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                                                                                Declaration oflPaul S. Eck
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    1                           DECLARATION OF PAUL s. ECK
    2
              I, Paul S. Eck, declare under penalty of perjury that the following is true and
    3
         correct:
    4
                1.    I am a resident of the State of California. I am over the age of 18 and
    5
         have personal knowledge of all the facts stated herein, except to those matters
    6
         stated upon information and belief, as to those matters, I believe them to be true. If
    7
         called as a witness, I could and would testify competently to the matters set forth
    8
         below.
    9
                l. I am a Deputy General Counsel in the California Military Department
    10
         (CMD). I have served in this role since August 2018.
    11
                2. As Deputy General Counsel for the California Military Department, I
    12
         lead a blended team of California and National Guard attorneys. I provide direct
    13
         legal support to the Executive Staff and other senior leaders on complex matters at
    14
          the intersection of military operations, state governance, and national security. I am
    15
         regularly consulted on the operational needs, objectives, movements, and orders
    16
          impacting the CMD.
    17
                3.    began my service career as a Sergeant in the United States Marine
    18
          Corps. I served in the United States Marine Corps. from 1980 to 1984 before being
    19
          honorably discharged.
    20
                4. I completed college and law school following my service M the United
    21
          States Marine Corps. and worked M private practice from 1991 to 2012.
    22
                5. From 2008 to 2012, I also worked for the San Diego Sheriff' s
    23
          Department as a Search and Rescue Reserve. In this capacity I provided
    24
          communications and logistical support to San Diego Sheriff' s Department during
    25
          search and rescue operations for missing and lost persons, evidence recovery,
    26
          emergency and disaster operations, and mutual aid events among other duties.
    27
    28
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1           6. From 2010 to 2022, I served as a Colonel (CA) and Judge Advocate in
2    the CMD, advising a wide array of units including the 40th Infantry Division, 3-
3    140th Aviation Regiment, 49th Military Police Brigade, and Joint Forces
4    Headquarters. In this capacity, I advised on both administrative law and critical
5    operational legal support.
6           7. From 2012 to 2014, I worked as an attorney III for the California
 7   Department of Forestry and Fire Protection (Cal Fire).
 8          8. From 2014 to 2018, I served as a Peace Officer with Cal Fire, ultimately
 9   rising to Chief of Investigations. In this role, I led critical investigative and law
10   enforcement operations supporting both Cal Fire and the Office of the State Fire
II   Marshal. I concmrently served as Bomb Squad Commander and Terrorism Liaison
12   Officer.
13          9. I am certified by POST at the Basic, Intermediate, Supervisor, and
14   Instructor levels and also hold specialized credentials, including a Post-Blast
15   Explosives Investigator Certificate from the FBI and the FBI Certified Explosives
16    Investigator designation.
17          10. I have been a National Guard Bureau Intelligence Oversight Monitor for
18    the State of California since I joined CMD in 2018, maintaining annual
19    certifications and ensuring strict compliance with intelligence oversight standards.
20           II. I have also been a Domestic Operational Law Legal Advisor since 2018,
21    activated to support major domestic missions such as the Oroville Dam crisis and
22    the Camp Fire response. I am trained in State Disaster Management, Advanced ICS
23    Command, Military Resources M Emergency Management, USSOCOM OPSEC,
24    and Army Counterintelligence.
25          June 7., 2025
26          12. I am aware of and have reviewed the Memorandum issued by President
27    Trump on June 7, 2025 (Trump Memo) calling into federal service members and
28    units of the National Guard.
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    1           13. I am also aware and have reviewed the June 7, 2025, Memorandum from
     2   Secretary of Defense Peter Hegseth (DOD June 7 Order) to the Adjutant General of
     3   California, ordering 2,000 California National Guard members into federal service.
     4          14. I am aware that all 2,000 of the National Guard members deployed as a
     5   result of the DOD June 7 Order are members of the 79th Infantry Brigade Combat
     6   Team, which include a large number of guard members who serve in Taskforce
     7   Rattlesnake, the State's specialized fire combat unit. These service members have
     8   specialized training in wildland fire mitigation and prevention and direct fire
     9   suppression, and would be highly difficult for the State to replace.
    10          15. The 79th Infantry Brigade also contains Counterdrug Taskforce members
    II   that specialize in providing support to stop the trafficking of fentanyl at the U.S.-
    12   Mexico Border.
    13          16. As further described below, these deployments will impair the California
    14   National Guard's ability to perform critical functions for the State of California,
    15   including providing urgent responses to natural disasters and wildfires and drug
    16   interdiction, among other imperative missions.
    17          June 9, 2025
    18          17. I have reviewed the June 9, 2025, Memorandum from Secretary Hegseth
    19    order federalizing an additional 2,000 California National Guard members into
    20   federal service (DOD June 9 Order).
    21          18. I have also reviewed a post by Secretary Hegseth on the X social media
    22   platform, posted at 3:24 p.rn. Pacific time on June 9, 2025, stating that
    23   "approximately 700 active-duty U.S. Marines from Camp Pendleton are being
    24    deployed to Los Angeles to restore order" and "to defend federal law enforcement
    25    officers." (https://x.com/SecDeUstatus/1932202105361612994.)
    26           19. Consistent with those public statements by Secretary Hegseth, on June 9
    27    and 10, 2025, I became aware that CMD was informed of DOD's plans to issue
    28    change orders to the DOD .Tune 7 Order and DOD June 9 Order (collectively, DOD
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                                                                                Declaration of Paul S. Eck
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     1   Orders). CMD was informed that those change orders would advise that beginning
     2   June 10, mobilized federalized California National Guard units would be providing
     3   support for counter-immigration operations across Los Angeles, in communities
     4   during immigration enforcement operations and not only at federal buildings.
     5   CMD was informed that such support activities would include holding a secure
     6   perimeter in communities around areas where immigration enforcement activities
     7   would take place, and securing routes over public streets where immigration
     8   enforcement officers would travel.
     9          California's National Guard
    10          20. The California Anny National Guard and the California Air National
    II   Guard are part of the organized militia of the State of California and are federally
    12   recognized units and organizations of the reserve components of the United States
    13   military. For the purposes of this declaration, I will refer to the California Army
    14   National Guard and the California Air National Guard together as the "California
    15   National Guard."
    16          21. Soldiers and airmen of the California National Guard serve important
    17   functions for California under the authority of the Governor of California while
    18   simultaneously training to perform their federal missions.
    19          22. The California National Guard's purpose is to organize, tram, equip,
s

    20   deploy, and employ California's Airmen, Soldiers, and Sailors, to deliver integrated
    21   staff, enhanced federal readiness, civil support, and historical contribution
    22   capabilities to the California Military Department, interagency partners, and the
    23   Governor.
    24          23. The California National Guard is part of the CMD, a state agency that
    25   includes the California State Guard, which cannot be federalized and remains at the
    26   command and control of the Governor. CMD works under the Executive authority
    27   of the Governor of California and performs numerous functions to effectively
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    1    operate the California National Guard, including planning and organizing
    2    deployments, and trainings.
    3           24. There are three duty status categories for the National Guard: State
    4    Active Duty, Title 10, or Title 32 status. In general, these statuses determine who
    5    funds an operation and whether they are under the command and control of the
    6    Governor or the President in their respective capacities as Commander-in-Chief
    7           25. In State Active Duty, the California National Guard is fully paid for by
     8   the California budget and federal funds are not obligated for any personnel or units.
     9   Service members in State Active Duty serve under the command and control of the
    10   Governor of California.
    II          26. California National Guard members may serve in Title 32 status. In this
    12   hybrid status, they are under the command and control of the Governor, but the
    13   mission is paid for by federal funds. The federal government may request the
    14   Governor provide the California National Guard's assistance under Title 32 for
    15   federal missions. As an example, the California National Guard is in Title 32 status
    16   when it is deployed at the southern border to provide operational support to federal
    17   law enforcement for drug interdiction.
    18          27. The National Guard may be called into federal service under Title 10 of
    19    the United States Code. When members of the California National Guard are called
    20    to federal service under Title 10, they become components of the Anny and federal
    21   National Guard. In Title 10 status, the National Guard is paid for by the federal
I
    22    government and under the command and control of the President.
    23          28. There are approximately 18,733 members of the California National
    24    Guard. Most of the California National Guard members serve as reserve forces,
    25    meaning that their role in the California National Guard is part-time, and they are
    26    generally employed in civilian roles separate from their work as service members.
    27    There are currently approximately 12,212 available members of the California
    28    National Guard.
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1           29. There are approximately 717 California National Guard servicemembers
 2   who work full time on State Active Duty. There are 1,109 Army National Guard
 3   and 1,170 Air National Guard members who are in a full time Title 32 status and
 4   support the readiness of their guard units. These individuals serve full time for Fixed
 5   terms, which are often renewed.
 6          30. As the largest National Guard in the country, the California National
 7   Guard provides mission ready forces for the State and the Nation, supporting
 8   missions all over the world. Each service member plays a critical role, and many
9    have years of specialized training. Pulling those members away from these
10   assigmnents may imperil the State's ability to protect its residents.
ll          Use of the National Guard in Service of the State
12          3 l. As Commander-in-Chief of the State's militia, the Governor of California
13   calls members of the California National Guard into active duty to serve the needs
14   of California. The California National Guard is vital for various State functions
15   including emergency and natural disaster response, cybersecurity, and drug
16   interdiction. The California National Guard acts to protect people and property in
17   many ways and the State relies on the National Guard to be ready to intervene in
18   emergent situations to help protect Californians.
19          32. On average, in the years 2020 through 2025, 3,937 servicemembers were
20   activated for Emergency State Active-Duty each year. CMD has identified and
21   committed 4,600 service members to achieve state specific missions, which is 38%
22   of the available strength.
23          33. The needs of the State are variable depending on emergent
24   circumstances. For example, in 2020, 12,601 services members were deployed for
25   488,051 duty days, representing nearly three times more than the assigned strength
26    for the State. In 2025, there have already been 3,332 services members activated for
27    89,061 duty days, indicating the state will need every available service member to
28   meet the State's operational needs. These numbers exclude specialized taskforces
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1    such as Operation Rattlesnake and the State Counterdrug teams, discussed further
2    below, which contribute collectivity over 600 additional personnel dedicated to
3    state missions.
4          34. Presently only 6. 15% of the assigned strength of CMD is not subj ect to
5    Title 10 activation, meaning if there is a large federal activation the State will fall
6    far short of the anticipated annual state requirements, even without considering
7    specialized sldlls and capabilities to accomplish those missions.
 8         35. The January 2025 Los Angeles Fires are a recent example of one of these
9    state missions. On January 7, 2025, a devastating wildfire broke out in Los Angeles
10   County. Governor Newsom immediately proclaimed a state of emergency and
11   deployed the California National Guard to manage the emergency. Over the course
12   of 24 days 2,500 service members were deployed to assist with the firefighting and
13   emergency response efforts sprawling across 37,000 acres of fre-impacted land.
14         36. The California National Guard's support included firefighting brigades,
15   aerial firefighters who provided critical fire suppression assistance, military police
16   forces stationed at traffic control points to ensure the safety of the surrounding
17   community and those with specialized sldlls in removing hazardous waste.
18          37. There are also a number of specialized units and missions.
19          38. For example, the California National Guard operates FireGuard, a
20   wildfire satellite detection mission. During the last 18 months, FireGuard activated
21   at least five Emergency State Active-Duty Force Packages, consisting of 360
22   personnel total, in support of the Bridge Fire, Line Fire, and Park Fire in California.
23   One hundred-forty additional Emergency State Active-Duty Military Police
24   Soldiers were also activated to operate and augment Traffic Control Points at the
25   Line Fire and Bridge Fire.
26          39. The California.National Guard also operates Joint Task Force
27   Rattlesnake, a joint taskforce with CalFire to mitigate and prevent wildland fires
28   through fuels mitigation projects and direct fire suppression. Task Force
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 1   Rattlesnake provides 14 full-time, year-round Type I Hand Crews to reduce fuels
 2   and respond to fire incidents and other emergencies across the State. Each Task
 3   Force Rattlesnake crewmember is trained to Firefighter 1C standards, which require
 4   at least 540 hours of training. Each of California's 14 Crews are staffed with a
 5   minimum of 22 California National Guard personnel and maintain a minimum of
 6   22 Firefighter 1C trained crewmembers (308 personnel in total).
 7          40. Over the past 18 months, Task Force Rattlesnake responded to at least
 8   738 wildland firefighting response missions, covering 10,243 acres of lands
 9          41. The California National Guard also participates in drug interdiction
10   activities in conjunction with local and federal law enforcement agencies. The
11   CMD Counterdrug Task Force includes both state funded and Title 32
12   servicemembers operating year-round and includes specialized training for analysts
13   and reconnaissance personnel.
14          42. The State Counterdrug Task Force is funded by the State's General Fund,
15   and currently includes 118 service members assigned as analysts in drug demand
16   reduction at the southern border. California has invested over $60 million over four
17   years to expand California National Guard's work to prevent drug trafficldng.
18          43. California National Guard servicemembers who perform this crucial
19   work are criminal analysts, reconnaissance support personnel, and drug demand
20   reduction outreach specialists all positions that entail specialized training. State
21   funding for fiscal year 2025 and beyond enables the Counterdrug Task Force to
22   maintain and enhance support to federal, state and local partners in the ability to
23   assist in seizures of firearms, currency, and cryptocurrency from drug trafficldng
24   organizations.
25          44. CMI) also has 700 soldiers and 100 Air Guardsmen who are in Military
26   Police companies. These units receive training in apprehensions, detentions, less
27   lethal weapons options, and de-escalation, and they have unique capabilities in
28   crowd control and management. They provide critical site security to "high value
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 1    areas" such as residence buildings or state assets. Units can provide area security as
 2    well as conducting traffic control points in an emergency. California relies on these
 3    units as a part of its "Quick Reaction Force" (NGRF), which is used to rapidly
 4    respond and support the needs of Californians in an emergency.
 5           45. The California National Guard also provides critical cybersecurity
 6    support for the State, including providing staffing to CalOES's operation of the Cal
 7    CSIC (Cyber Security Integration Center). Cal CSIC aids in identifying and
 8    tracking Cyber-attacks and coordinating response efforts to combat those attacks.
 9           46. The California National Guard operates the Cyber Network Defense
10    Team (CND-T), which supports Cyber vulnerability inspections of state agencies,
II    state schools, and, by request, local education agencies and city and county
12    governments. These state agency vulnerability assessments are mandated by
13    California Government Code section 11549.3, which also authorizes CND-T to
14    conduct vulnerability assessments, known as Independent Security Assessments
15    (SAs) of state agencies and state schools as coordinated through the California
16    Department of Technology.
17           Impact of Federalization
18           47. As recounted above, the DOD .Tune 7 Order federalized 2,000 members
19    of the 79th Infantry Brigade Combat Team, which included a large number of guard
20    members who serve in CMD's Taskforce Rattlesnake and Counterdrug Taskforce.
21           48. This deployment is pulling California National Guard members away
22    from their critical drug interdiction work. This will undermine the State's critical
23    investment in this area.
24           49. This deployment is also pulling away highly trained fire mitigation and
25    prevention and direct fire suppression CMD specialists at the start of California's
26    wildfire season.
27           50. Most critically, diverting members of the National Guard impairs the
28    Governor's ability to respond to emergencies. As set forth above, California
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          1    National Guard resources are limited, and the State does not have an excess of
          2    National Guard servicemembers to carry out emergency functions, even without
          3    taking into account specialized training.
          4
                    I declare under penalty of perjury under the laws of the United States that the
          5
               foregoing is true and correct.
          6
          7
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          9
                    Executed on June 10, 2025, at Sacrament
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                                                            'Declaration of Paul S. Eck

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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




GAVIN NEWSOM, IN HIS OFFICIAL
CAPACITY AS GOVERNOR OF THE STATE OF
CALIFORNIA; STATE OF CALIFORNIA,                no. 3:25-cv-04870-CRB

                                    Plaintiffs, [PROPOSED] ORDER GRANTING
                                                TEMPORARY RESTRAINING ORDER
              v.                                AND ORDER TO SHOW CAUSE WHY A
                                                PRELIMINARY INJUNCTION SHOULD
                                                NOT ISSUE
DONALD TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; PETE HEGSETH, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF THE
DEPARTMENT OF DEFENSE; U.S.
DEPARTMENT OF DEFENSE,

                                 Defendants .




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                                       [PROPOSED] ORDER
        Plaintiffs' application for a temporary restraining order ("TRO") and order to show cause
came before this Court for consideration on June 10, 2025. Upon consideration, and for good

cause shown, IT IS HEREBY ORDERED that the TRO is GRANTED.

                            TEMPORARY RESTRAINING ORDER
       The Court finds that Plaintiffs have demonstrated a likelihood of success on the merits of

their claims, a likelihood of irreparable harm in the absence of temporary relief, that the balance

of equities tips in their favor, and that a temporary restraining order is in the public interest. In

support of this Order, the Court makes the following findings:
       1.      Since Fiscal Year 2024, U.S. Immigration and Customs Enforcement (ICE) has

made 4,741 arrests in the Los Angeles Area of Responsibility. Mass episodes of civil unrest
related to those arrests in 2024 were nominal. On June 6, 2025, ICE conducted enforcement

actions within the Los Angeles Area of Responsibility, including the execution of search warrants

at various locations. During these operations, ICE and its agents reportedly took actions that

inflamed tensions and provoked protest. In all, the Department of Homeland Security reported

that its enforcement activities on Friday, June 6, resulted in the arrest of approximately 44

individuals and 70-80 people detained in total, further showing ICE could execute its functions.
       2.      On June 7, 2025, President Donald Trump issued a memorandum "call[ing] into

Federal service members and units of the National Guard."
       3.      On June 7, 2025, Secretary of Defense Pete Hegseth issued a memorandum to the

Adjutant General of California ordering 2,000 California National Guard soldiers into federal

service.
       4.      On June 9, 2025, Secretary Hegseth issued another memorandum ordering an

additional 2,000 California National Guard members into federal service.

       5.       Defendants' orders were issued over the express objection of the Governor of the

State of California, despite 10 U.S.C. § 12406's requirement that all orders made pursuant to that

provision "shall be issued through the governors of the States."




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        6.     As a result, 2,000 California National Guard soldiers have been moved to federal

command, and an additional 2,000 will be moved imminently, for a total of 4,000 federalized

National Guard soldiers available to be deployed by the federal government in the Los Angeles
area.

        7.     Also on June 9, 2025, Secretary Hegseth mobilized 700 active-duty members of

the United States Marine Corps from Camp Pendleton and deployed them to the Los Angeles

area. Together with the 4,000 federalized National Guard soldiers, these constitute the "Title 10

Force" for purposes of this Order.

        8.     To date, Secretary Hegseth has deployed only approximately 325 of the 2,000
National Guard soldiers initially mobilized under federal authority, with a mission limited to
protecting federal real property and a presence on or immediately adjacent to federal real

property ,

        9,     Plaintiffs are likely to prevail on their claims that Defendants' actions are ultra
wires, including because they violate 10 U.S.C. § 12406 and the Posse Comitatus Act. Under

section 12406, the President lacks the authority to use California's National Guard soldiers to aid

federal agents with enforcing federal law. Section 12406 permits the President to call a state's

National Guard soldiers into service in only three circumstances: (1) the United States is invaded

or is in danger of invasion by a foreign nation, (2) there is a rebellion or danger of a rebellion

against the authority of the Government of the United States, or (3) the President is unable to
execute the laws of the United States with regular forces. None of these three circumstances

exists here. In his June 7 memorandum, the President purported to invoke the second and third

circumstance, stating that "[t]o the extent protests or acts of violence directly inhibit the execution

of the laws, they constitute a form of rebellion against the authority of the Government of the

United States." However, Plaintiffs have shown that the protests in Los Angeles fall far short of a
rebellion, which is generally understood to connote "an organized attempt to change the

government or leader of a country, [usually] through violence," something much beyond mere

protest or sporadic acts of disobedience and violence. Rebellion, Black 's Law Dictionary (12th
ed. 2024). Nor do these protests prevent the President or ICE from executing the laws of the


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United States. Plaintiffs' evidence shows that ICE has continued to execute its duties and that

National Guard soldiers are unnecessary to aid with the enforcement of federal law.

       10.      Plaintiffs are also likely to prevail on their claims because section 12406 mandates

that "[o]rders for these purposes shall be issued through the governors of the States." The

President's order was not issued through the Governor of the State of California.
       11.      Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

is likely to result in violations of the Posse Comitatus Act, 18 U.S.C. § 1385, because these forces

are likely to engage in activity that will 'amount to direct active involvement in the execution of
the laws[.]" United States v. Dreyer, 804 F.3d 1266, 1275 (9th Cir. 2015).
       12.      Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

violates the Tenth Amendment because it intrudes on the State of California's sovereign powers,

including by taking command of the State's own resources and depriving the State of its right to

control and have available its National Guard.
       13.      Plaintiffs are likely to suffer irreparable harm in the absence of temporary relief.

First, violations of state sovereignty are irreparable harms. Second, federalization of the
California National Guard's soldiers impairs the Guard's ability to perform critical functions of
the State of California, such as responding to natural disasters and wildfires when California is in

peak wildfire season. And third, Plaintiffs have shown that the presence of the Title 10 Force on

the streets of Los Angeles, including their actual or perceived support and aid in the execution of
ICE duties has created significant civil unrest and is likely to result in increased civil unrest in the

future. Specifically, after National Guard soldiers were deployed to Los Angeles, their presence

became the focus of protests and led to civil unrest, requiring intervention by state and local law

enforcement to protect the National Guard soldiers. Further escalation of military force will create

a significant and imminent risk of harm to Los Angeles by escalating tensions and increasing the
risk of potential hostilities that may lead to further violence against Californians or any violence

against the Title 10 Force or federal agents.




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       14.     The balance of equities and public interest favor injunctive relief, particularly

considering the imminent risk of violence in Los Angeles if the Title 10 Force is deployed in
excess of the law.
       Accordingly, it is hereby:
       ORDERED that Defendants Secretary of Defense Pete Hegseth and the United States

Department of Defense ("DOD Defendants") are temporarily enjoined from ordering or

deploying the Title 10 Force to enforce or aid federal agents in enforcing federal law or to take

any action beyond those that are required to ensure the protection and safety of federal buildings

and other real property owned or leased by the federal government and federal personnel on such
property,

       ORDERED that DOD Defendants are temporarily enjoined from ordering or permitting

the Title 10 Force to execute or assist in the execution of any federal agent or officer's
enforcement of federal law, including but not limited to all law-enforcement functions such as

execution of warrants, arrests, searches, checkpoints, or cordons,
       ORDERED that DOD Defendants are temporarily enjoined from ordering or permitting

the Title 10 Force to patrol communities or otherwise engage in general law enforcement

activities beyond the immediate vicinity of federal buildings or other real property owned or

leased by the federal government.
       This Order does not prohibit any of the Title 10 Force at issue from providing indirect
assistance to federal officials by protecting federal immigration detention facilities and other

federal buildings or real property owned or leased by the federal government, or by defending

federal officials or employees from threatened physical harm at such buildings or real property.

       Because Defendants have not shown they are likely to suffer harm as a result of this

temporary restraining order, and because this case implicates constitutional rights and the public

interest, the Court finds that only a nominal bond is necessary and orders Plaintiffs to post $100

within seven (7) days of this order. See Taylor-Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095,
1102-03 (D. Haw. 2015) (citing Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1126 (9th
Cir. 2005)).


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                                  ORDER TO SHOW CAUSE
       Defendants are ordered to show cause before this Court why a preliminary injunction
should not issue enjoining the Title 10 Force from enforcing or aiding in the enforcement of

federal law outside of federal property or the areas immediately surrounding federal property,

including raids, arrests, searches, or any other activity, or conducting patrols beyond federal

property. The hearing on the order to show cause will be held on                     at

            . Plaintiffs' moving papers shall be filed no later than                 . Defendants '
opposition papers shall be filed and served on or before                  . Plaintiffs' may file a
reply no later than
       IT IS SO ORDERED.



 Dated:
                                                   HON. CHARLES R. BREYER
                                                   United States District Judge




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GAVIN NEWSOM, in his official capacity as            Case No. 3:25-cv-04870-CRB
Governor of the State of California, et al.,

                                      Plaint%',      DEFENDANTS' CORRECTED
                                                     OPPOSITION TO PLAINTIFFS' MOTION
                 v.                                  FOR A TEMPORARY RESTRAINING
                                                     ORDER1
DONALD J. TRUMP, in his official capacity as
President of the United States of America, et al.,

                                     Defendants.




1 Consistent with the Court's order, Defendants filed this brief within 24 hours of Plaintiffs' brief.
Defendants encountered technical difficulties while finalizing their brief that prevented them from
generating tables and adding the formatting required by Local Rules. This Opposition is corrected
only as follows: (l) updated formatting to conformto the Court's Rules, see Loc. Civ. R. 3-4(c),
(2) inclusion of a table of contents, and (3) inclusion of a table of authorities. No changes have
been made in the substance of Defendants' Opposition. Defendants have conferred with counsel
for Plaintiffs regarding these corrections and Plaintiffs have no objection to the filing of this
Corrected Opposition.



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                                           INTRODUCTION
        In a crass political stunt endangering American lives, the Governor of California seeks to

use this Court to stop the President of the United States from exercising his lawful statutory and
constitutional power to ensure that federal personnel and facilities are protected. But, under the
Constitution, the President is the Commander in Chief of the armed forces, and the President is
responsible for ensuring the protection of federal personnel and federal facilities. Over the past
several days, violent rioters who object to enforcement of federal immigration laws have targeted

and damaged federal buildings, injured federal personnel, and impeded federal functions. The
L.A. Police Department ("LAPD") and other local and state law enforcement have been unable to

bring order to the city. Indeed, in a press conference, the LAPD Chief of Police lamented that
"things have gotten out of control" and wared that "somebody could easily be killed."2
Evaluating the unrest and threats to the enforcement of federal law that local and state authorities

were unable or unwilling to control, the President respondedby using the authority vested in him
by statute and the Constitution to federalize and deploy the California National Guard to protect
federal personnel and property, quell the mobs, and restore order. When the situation escalated

further, the Secretary of Defense deployed a group ofU.S. Marines to further assist.
        There is no rioters' veto to enforcement of federal law. And the President has every right
under the Constitution and by statute to call forth the National Guard and Marines to quell lawless

violence directed against enforcement of federal law. Yet instead of working to bring order to Los

Angeles, California and its Governor filed a lawsuit in San Francisco seeking a court order limiting

the federal government's ability to protect its property and officials. The extraordinary relief
Plaintiffs request would judicially countermand the Commander in Chief's military directives-
and would do so in the posture of a temporary restraining order, no less. That would be
unprecedented. It would be constitutionally anathema. And it would be dangerous.



2 Michele McPhee, "LAPD Chief Jim McDonnell Says, 'Violence I Have Seen is Disgusting,' Recounting Attacks
on Cops" (June 8, 2025 ), Los Angeles Magazine,https2//lamagcom/news/lapd-chief-jim-mcdonnell-says-violence-i-
have-seen-is-disgusting-recounting-atta cks-on-cops.




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       On the merits, Plaintiffs' claims are baseless. The President properly invoked his statutory

authority to federalize the California National Guard under 10 U.S.C. § 12406. Plaintiffs admit
that Los Angeles has experienced "unrest," but ask this Court to second-guess the President's
judgment that federal reinforcements were necessary. That is precisely the type of sensitive
judgment that is committed to the President's discretion by law, and to which courts owe the
highest deference. The statute empowers the President to determine what forces "he considers
necessary" to "suppress" a "rebellion" or to "execute" federal "laws"-not the Governor, and not
a federal court. Plaintiffs also object that the President did not consult with, or obtain the consent
of the Governor, but the statute imposes no such requirement. It merely directs, as a procedural
matter, that the PresidentS orders be conveyed "through" the Governor. They were.

       Plaintiffs' objection based on the Posse Comitatus Act is equally misdirected. Neither the
National Guard nor the Marines are engaged in law enforcement. Rather, they are protecting law
enforcement, consistent with longstanding practice and the inherent protective power to provide
for the safety of federal property and personnel. Plaintiffs offer no contrary evidence, only a
speculative assertion that the National Guard and Marines will be used for unlawful purposes in
the future. That speculation cannot justify the extraordinary remedy they seek.
       The balance of equities likewise cuts decisively against any judicial intervention in the
President's military judgments and deployments. Particularly in the realms of law enforcement
and national security, the separation of powers counsels against such interference. And, if the
Court were to grant the relief that Plaintiffs seek, that could cripple the federal government's law

enforcement operations and, as the local Police Chief explained, even lead to a loss of life.
       Courts did not interfere when President Eisenhower deployed the military to protect school

desegregation. Courts did not interfere when President Nixon deployed the military to deliver the

mail in the midst of a postal strike. And courts should not interfere here either.




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                                             BACKGROUND

    I.        The National Guard System

          The Constitution authorizes Congress both to raise and support a national Army and to
organize "the Militia." See U.S. Const. art. I, § 8, cl. 15 (granting Congress the power to "calll:l
forth the Militia to execute the Laws of the Union, suppress Insurrections and repel Invasions").
The "Militia" of old is now the modern-dayNational Guard.3 The National Guard consists of"two

overlapping, but legally distinct, organizations. Congress, under its constitutional authority to
'raise and support armies' has created the National Guard of the United States, a federal
organization comprised of state national guard urlits and their members." Perpich v. Dep 'tofu,

496 U.S. 334, 338 (1990) (quoting Perpich v. U.S. Dept of Def, 666 F. Supp. 1319, 1320 (D.
Minn. 1987)). It is composed of both the State National Guard, under the command of the several

States, and the National Guard of the United States, a federal entity enmeshed in the federal chain

of command.
           The Guard wears two hats: "Since 1933 all persons who have enlisted in a State National

Guard unit have simultaneously enlisted in the National Guard of the United States. In the latter
capacity they became a part of the Enlisted Reserve Corps of the Army, but unless and until ordered

to active duty in the Army, they retain[] their status as members of a separate State Guard unit."
Perpich, 496 U.S. at 345. While ordered into federal service, "members of the National Guard ..
. lose their status as members of the state militia," id. at 347, and become federal soldiers with the

President as the Commander in Chief of those forces. See U.S. Const. art. II § 2.
    II.       10 U.S.C. § 12406

          Congress has granted the President several authorities under which he may call forth the
National Guard, including the Insurrection Act (which is not at issue in this case), as well as other



3 The composition and classes of the militia are definedin 10 U.S.C. §246, which provides that the National Guard
is part of the "organized militia."




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authorities such as 10 U.S.C. § 12406 (which the President invoked here).
         The statutory lineage of Section 12406 begins with the First Militia Act of 1792, which,
among other things, was used by George Washington to respond to the Whiskey Rebe11ion.4 See

Note: Emergency Power and the Militia Acts,Stephen I. Vladeck, 114Ya1e L.J. 149 at 160 (2004).
Today, in its entirety, Section 12406 provides:

           Whenever-
         (1) the United States, or any of the Commonwealths or possessions, is invaded or
         is in danger of invasion by a foreign nation,
         (2) there is a rebellion or danger of a rebellion against the authority of the
         Government of the United States, or
         (3) the President is unable with the regular forces to execute the laws of the United
         States,
         the President ray call into Federal service members and units of the National Guard
         of any State in such numbers as he considers necessary to repel the invasion,
         suppress the rebellion, or execute those laws. Orders for these purposes shall be
         issued through the governors of the States or, in the case of the District of Columbia,
         through the commanding general of the National Guard of the District of Columbia.

10 U.S.C. § 12406.

    III.     The Riots and Violence in Los Angeles


         On Friday, June 6, 2025, officers from the Department of Homeland Security's
Immigration and Customs Enforcement ("ICE") Enforcement and Removal Operations ("ERO")
conducted federally authorized operations in Los Angeles, California. See Decl. of Ernesto
Santacruz Jr., 117 ("Santacruz Decl."), Ex. l . A crowd gathered at an enforcement site and tried to

prevent ICE officials from operating by throwing objects at ICE vehicles. Id. Several individuals
were arrested in the operation and brought to ERO 's federal facility in downtown Los Angeles. Id

         Around 5 :00 pm PT that night, a crowd began to gather at the ERO facility. Id. 119. The
protests quickly turned violent. Id. They spread across the downtown area, threatening federal
facilities and other public buildings. Id. 1110. Protesters pinned down Federal Protective Services

("FPS") officers who were left severely outnumbered while trying to defend a parking garage

         4 The Act we s amended by the Militia Act of 1795 , which we s invokedby President Madison, a s discussed
below.



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connected to several federal buildings. Id. 1111 . Protesters threw concrete chunks, bottles ofliquid,

and other objects at the officers. Id. Protesters also attempted to use a large rolling commercial
dumpster as a battering ram to breach the parking garage, causing damage to federal property. Id

        Officers feared for their safety. Id. 11 13. ICE and Homeland Security Investigations
("HSI") officers responded to support the FPS officers under siege and attempted to use non-lethal

force to disperse the crowd. Id. The federal officers managed to prevent a breach of the facility,
but it took Los Angeles Police Department ("LAPD") officers nearly an hour and a half to arrive
and assist the federal officers in pushing the crowd back from the parking garage gate. Id.
Meanwhile, the protests turned extremely violent, with news reports showing demonstrators using

chairs, dumpsters, and other weapons. Id. 11 14. Once on scene, LAPD declared an "unlawful
assembly" around 7:00 pm and ordered protesters to disperse. Id. 1116. Many did not and instead

began attacking LAPD officers. Id. The scene was not clear until around 11:00 p.m., leaving
extensive damage to multiple federal buildings. Id. 11 17.
        At approximately 10:23pm PT that night, President Trump called GovernorNewsom. The

President informed GovemorNewsom of the dangers that federal personnel and property were
being subjected to and directed him to take action to stop the violence. 5 But the violence only
intensified the next day. On Saturday morning, large crowds congregated around an HSI office in

the Paramount neighborhood olLA as federal officers prep ared for another enforcement op elation.

Id. 11 18. The crowd blocked traffic and began to attack ERO and Customs and Border Patrol
("CBP") officers. Id. 11 20. Seven hours of non-stop fighting between federal officials and
protesters ensued. Id. The crowd boxed in federal officers, surrounded an ERO officer's vehicle
that they pummeled with stones, launched mortar-style fireworks, set at least one vehicle on fire,
and threw objects of all nature, which caused a CBP officer to suffer a shattered wrist. Id. The
perimeter fence of the federal building was breached, vehicles were damaged, and mortar-style



5https://www.foxnews.com/politics/trump-brings-receipts-he-called-newsom-amid-la -riots-califomia -gov-claims-
wasnt-even-voicemailamp, see also https://www.gov.ca.gov/2025/06/09/watch-governor-newsom-discusses-
donald-trumps-mess-in-los-angeles/ (Governor Newsom concurring that the call took place)




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fireworks with multiple explosions were thrown at the federal officers. Id. 112 l . Leaders in both

political parties have described the violence in the strongest terms. Democrat Senator John
Fetterman called it "anarchy and true chaos."6
          Protests continued Sunday and through the moment. Id. 1124. Protesters have blocked the

lol Freeway. Id. 1125. Dumpsters have been lit on fire and commercial-grade fireworks were set
off toward federal officers. Id. 1126. Federal and state buildings have been damaged, and the
federal building security checkpoint has been in ruins. Id. W 26-27. Officers have been injured.
Id. 1127. The federal complex in Downtown LA has been closed due to the unrest, id. 1129, and
has been severely damaged and vandalized, id. W 26-27.
    Iv.      President Trump Deploys the California National Guard


          In response to these events, on June 7, the President signed a memorandum calling into
federal service at least2,000 membersofthe CalifomiaNational Guardto protect federal personnel
and property. The White House, Dep 'tofDefense Securilyfor the Protection ofDep 'torI-Iomeland

Security)/Functions,(Jun. 7, 2025) ("Presidential Memo"), ECFNo. 8-1 at 44-45. Specifically, the

President invoked Section 12406 to "temporarily protect ICE and other United State Government

personnel who are performing [f]ederal functions, including the enforcement of Federal law, and
to protect [f]ederal property[.]" Id. at 44. That same night, GovernorNewsomissued a statement
acknowledging that "[t]he federal government is moving to take over the California National
Guard and deploy 2,000 soldiers" while criticizing the decision as "the wrong mission."7
          Later that evening, based on the President's invocation of Section 12406, the Secretary of
Defense issued directed the California Adjutant General to effectuate the call into federal service

of the National Guard. Sec'y of Def, Calling Members of the Cal. Nat'l Guard into Federal
Service (Jun. 7, 2025) ("June 7 DoD Memo"), Ex. 2. By the early morMng of June 8, the Adjutant

General had responded that his orders had been received and acknowledged that his forces were


6 https://x.com/SenFettermanPA/status/1932234335425323417
7 Governor Gavin Newsom (@CAgovernor), X (Jun. 7, 2025 8: 13 PM),
https://x.com/CAgovernor/status/1931504803487879617



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mobilized. On June 9, the Secretary of Defense issued a second memorandumto the Adjutant
General requesting an additional 2,000 federalized National Guards. Sec'y of Def., Calling
Additional Members of the Cal. Nat'l Guard into Federal Service (Jun. 9, 2025) ("June 9 DoD
Memo"), Ex. 3. The Secretary also ordered the mobilization of 700 active-duty marines from
Camp Pendleton to Los Angeles. See Declaration of Paul S. Eck, ECF No. 8-3 11 18.
       Since those calls to federal action, Guardsmen have been charged with conducting safety
and protection of Federal personnel, property, and functions at designated locations by providing

security patrols, observationposts, and outer cordon security perimeterofbuildings. This includes
National Guardsmen providing protection activities at several federal sites throughout the Los
Angeles area, as well as to federal agents conducting their duties.
                                  PROCEDURAL HISTORY


       Plaintiffs, the State of California and Governor Gavin Newsom, filed their Complaint on
June 9, 2024. Compl. ECF No. l ("Compl."). Plaintiffs principally allege that Defendants took
ultra wires action-thatis, official acts exceedingtheir statutory bounds. Compl. W 79-92 ("Count
I"). Plaintiffs also allege Defendants violated the Tenth Amendment by "unlawful[ly]" mobilizing

the California National Guard and thereby depriving the Governor of command and availability of

those mobilized units. Id. W93-lOl (Count II). The second count is thus derivative of the first
Finally, though they do not raise it as a basis for the pending motion, Plaintiffs allege Secretary
Hegseth and the DoD have taken agency action in excess of statutory authority in violation of the

Administrative Procedure Act ("APA"), 5 U.S.C. § 706. Compl. W 102-06 (Count III).
       On June 10, 2025, Plaintiffs filed their Motion for a Temporary Restraining Order. Pls.    9




Mot. for a TRO, ECF No. 8 ("TRO Mot."). Through their TRO Motion, Plaintiffs seek a court
order enjoining the DoD from deploying federal troops in aid of federal agents carrying out their
duties to enforce federal law in the field. Proposed Order, ECF No. 8-4 at 5.




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                                       LEGAL STANDARD


       Rule 65 of the Federal Rules of Civil Procedure empowers district courts to issue TROs.
See Fed. R. Civ. P. 65(b). Like a preliminary injunction, a TRO is "an extraordinary remedy never

awarded as of right." Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 24 (2008), see also
Washington v. Trump,847 F.3d 115 l, 1159 n.3 (9th Cir. 20 17) (standards applicable to TROs and
preliminary injunctions "substantially identical" (quoting Stu hlb arg Int'l Sales Co. Inc. v. John D.
Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001))). "The purpose of... interim equitable relief
is not to conclusively determine the rights of the parties, butte balance the equities as the litigation
moves forward." Trump v. Wilcox, 145 S. Ct. 1415, 1415 (2025) (quoting Trump v. Int'l Refugee
Assistance Proj. , 582 U.S. 57 l , 580 (2017)). Thus, a court should not "mechanically" grant an
injunction for every violation outlaw. Weinbelger v. Romero-Barcelo,456 U.S. 305, 3 13 (1982).
       Instead, plaintiffs must establish that (l) they are "likely to succeed on the merits," (2) they

are "likely to suffer irreparable harm in the absence of preliminary relief," (3) "the balance of
equities tips in [their] favor," and (4) "an injunction is in the public interest." Winter,555 U.S. at
20. A court may convert a TRO motion into a preliminary injunction motion, Fed. R. Civ. P. 65,
and doing so may be appropriate in order to ensure that consequential rulings are subject to
immediate appeal.
                                           ARGUMENT


       I.      PLAINTIFFS' CLAIMS ARE LEGALLY AND FACTUALLY MERITLESS.

       The thrust of Plaintiffs' motion is that the President lacks authority to federalize the State
National Guard and to deploy those forces, along with U.S. Marines, to protect federal assets in

Los Angeles. That is flatly wrong. Section 12406 expressly empowers the President to call the
California National Guard into federal service when he considers it necessary either to quell a
"rebellion against the authority of the Government of the United States" or when he determines
that "regular forces" are "unable" to execute federal law. The President reasonably made both of
those determinations here, and they are not subject to judicial second-guessing under foundational



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precedent dating back nearly two centuries. Nor does the President need the consent (or even the

input) of the State Governor to give these orders, Plaintiffs blatantly mischaracterize the statute in

suggesting otherwise. Finally, Plaintiffs offer no evidentiary support for their claim that military
forces are engaged in ordinary law-enforcement activities. The President and Secretary ofDefense

have directed those forces to protect federal property and federal officials, including to ensure the

safety and security of federal law-enforcement operations-but the military itself is not executing
federal law. Plaintiffs' objection under the Posse Comitatus Act is therefore meritless too .
       A.      The President Lawfully Federalized the National Guard.
       The President is the Commander in Chiefofthe armed forces including "the Militia of the
several States, when called into the actual Service of the United States[.]" U.S. Const. art. II, § 2.

And Congress has authorized the President to call the National Guard into federal service. 10
U.S.C. § 12406. Plaintiffs challenge the federalization of the National Guard on two grounds.
First, they dispute that the necessary conditions were present when the President issued his
Saturday memorandum. Second, they object to the process through which Guardsmen were
activated. Both arguments lack merit, especially in light of the President's inherent authority to
protect federal personnel and property.
               1.     The Court cannot second-guess the President's determinations that the
                      necessary conditions existed.
       Most fundamentally, Plaintiffs' challenge to the conditions in California at the time of the
presidential memorandum is unreviewable because it is a statutorily authorized discretionary
judgment of the President. When courts are confronted with a claim alleging that the President
has "violated the terms of' a statute, "longstanding authority holds that such review is not available

when the statute in question commits the decision to the discretion of the President." Dalton V
Specter, 5 II U.S. 462, 474 (1994). Section 12406 commits the decision of whether the conditions
are ripe to call forth the National Guard to the President's discretion. The statute authorizes "the
President" to activate Guardsmen "in such numbers as he considers necessary to repel the
invasion, suppress the rebellion, or execute those laws." 10 U.S.C. § 12406 (emphasis added).




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There is no textual basis in the statute for either the Court or Plaintiffs to second-guess the
President's determination that the conditions to call forth the Guard are met.
       Indeed, nearly two centuries ago, the Supreme Court squarely rejected Plaintiffs' position
that courts had authority to decide whether a sufficient exigency supported the President's decision.

In Martin v Mott, the Supreme Court held that a challenge to the legality of President Madison's
decision to call out the militia in response to a national emergency vas beyond judicial scrutiny
and second-guessing. See 25 U.S. (12 Wheat.) 19 (1827). As noted in the background, today's
Section 12406 vests the President with statutory authority to call forth the National Guard "as he
considers necessary to repel the invasion, suppress the rebellion, or execute [the] laws" of the
United States. 10 U.S.C. § 12406. Much like that statute, the law at issue in Martin provided
"that whenever the United States shall be invaded, or be in imminent danger of invasion         it shall
be lawful for the President of the United States to call forth such number of the militia of the State

or States most convenient to the place of danger, or scene of action, as he may judge necessary to

repel such invasion, and to issue his order for that purpose to such officer or officers of the militia

as he shall think proper." Martin, 25 U.S. at29 (quoting Act ofFeb. 28, 1795, ch. 36, l Stat. 424)
(concerning the first calling out statute that was invoked in the Whiskey Rebellion and by President

Madison in the War of 1812 and the predecessor to Section 12406).
       The Court explained that "the authority to decide whether the exigency has arisen, belongs

exclusively to the President, and that his decision is conclusive upon all other persons." Id. at 30.
Such authority "necessarily results from the nature of the power itself, and from the manifest object

contemplated by the act of Congress." ld. This was so because "[w]henevera statute gives a
discretionary power to any person, to be exercised by him upon his own opinion of certain facts,
   the statute constitutes him the sole and exclusive judge of the existence of those facts." Id. at
31-32. Exercise of such authority is nonreviewable because "[t]he remedy for this, as well as for
all other official misconduct" resided in "the frequency of elections, and the watchfulness of the




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representatives of the nation, [which] carry with them all the checks which canbe useful to guard

against usurpation or wanton tyranny." Id. at 32.
        Modern precedent points in the same direction. Under Dalton, where claims "conceml:l
not a want of Presidential power, but a mere excess or abuse of discretion in exerting a power
given," they are not subject to judicial review. 5 II U.S. at 474 (quoting Dakota Cent. Tel. Co. V
SD. ex rel. Payne, 250 U.S. 163, 184 (l9l9)).8 When a statute "commits decisionmaking to the

discretion of the President, judicial review of the President's decision is not available." Id. at 477.

That principle forecloses Plaintiffs' claims here. They do not dispute that the President has the
power to federalize the National Guard-only that he exceeded that authority because the
conditions were not satisfied. But Congress vested such matters in the President's discretion.
"How the President chooses to exercise the discretion Congress has granted him is not a matter for

[judicial] review." Id. at 476.
        While a court should "always be ready to meet any question confided to it by the
Constitution, it is equally its duty not to pass beyond its appropriate sphere of action." Luther V
Borden, 48 U.S. (7 How.) l, 47 (1849). Certain "[q]uestions, in their nature political, or which

are, by the constitution and laws, submitted to the executive, can never be made in this court"
Marbury v. Madison, 5 U.S. (l Cranch) 137, 170 (1803). Thus, if the act of an official is one in

which the "executive possesses a constitutional or legal discretion, nothing can be more perfectly

clear , , . that their acts are only politically examinable." Id. at 166, see also Baker v. Carr, 369

U.S. 186, 217 (1962) (setting forth the test for political question doctrine).
        That is the case here. The statutory conditions (determination of an invasion, rebellion, or

inability to execute the laws of the United States) are "ofa kind clearly for noijudicial discretion."

Baker, 369 U.S. at 217. They operate against a backdrop of constitutional powers, including

that "[t]he President shall be Commander in Chiefofthe Army and Navy of the Urlited States, and


S In Dakota Central Telephone Co., the Supreme COM re ectedthe same type of claim that the State asserts here,
namely that the President "exceededthe authority given him" pursuant to a statute by taking action when "there wa s
nothing in the conditions at the time the power was exercisedwhichjustifiedthecallinginto play of the authority."
250 U.S. at 184.




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of the Militia of the several States, when called into the actual Service of the United States." U.S.

Const. art. II, § 2, cl. l. They implicate national security, a subject that is broadly committed to
the discretion of the political branches. See El-Shzfa Pharm. Indus. Co. v. United States, 607 F3d

836, 842 (D.C. Cir. 2010). And there are no "judicially discoverable and manageable standards
for resolving" whether riots rise to the level of rebellion, or whether the regular forces are adequate

to execute federal law. of. California v. United States, 104 F.3d 1086, 1091 (9th Cir. 1997)

(collecting cases for proposition that determination of an "invasion," the first of the Section 12406

conditions, presents a political question).
       In short, while Plaintiffs repeatedly acknowledge the unchecked violence in Los Angeles,
they ask the Court to supersede the President's judgment that the violence has risen to a level
sufficient to trigger the statute-even though the statute empowers the President to mobilize the
National Guard in "such numbers as he considers necessary." 10 U.S.C. § 12406 (emphasis
added). Indulging that request would fail to display "the respect due coordinate branches of
government." Baker, 369 U.S. at 217.
               2.      The necessary conditions existed for the President's order.

       Even if some form of deferentialjudicial review were permissible, the President had more

than ample grounds for invoking Section 12406. As his memorandum explained, it arose out of
"[n]umerous incidents ofviolence and disorder" thatthreaten federal property and federal officials

who are supporting the faithful execution of federal laws. Presidential Memo at l. Indeed, the
dangerous conditions in Los Angeles doubly satisfied Section 12406.
        First, "there [was] a rebellion or danger of a rebellion against the authority of the

Government of the United States.    79
                                         10 U.S.C. § 12406(2). Plaintiffs cite one legal authority-
Black's Law Dictionary-in their rebellion argument, and quote selectively from it. TRO Mot. at
9. Black's Law Dictionary's definition of the term "rebellion" provides three definitions of the
term, each embracing something less than "an organized attempt to change the government or
leader of a country." TRO Mot. at 9 (quoting Rebellion, Black is' Law Dictionary (12th ed. 2024)).

"Rebellion" means:



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       1. Open, organized, and armed resistance to an established government or ruler;
       esp., an organized attempt to change the government or leader of a country, usu.
       through violence. Cf. civil war under war (l). 2. Open resistance or opposition to
       an authority or tradition. 3. Hist. Disobedience of a legal command or summons.

Rebellion, Black1s'LawDictionary (12th ed. 2024). Consistentwith this understanding of the term,
the presidential memorandum notes that "[n]umerous incidents of violence and disorder have
recently occurred and threaten to continue in response to the enforcement of Federal law by U.S.

Immigration and Customs Enforcement (ICE) and other United States Goveminent personnel who

are performing Federal functions and supporting the faithful execution of Federal immigration
laws." Presidential Memo. Presidential Memo at l. It concludes that "[t]o the extent that protests
or acts of violence directly inhibit the execution of the laws, they constitute a form of rebellion
against the authority of the Government of the United States." Id.
       Plaintiffs do not dispute that substantial violence had occurred in Los Angeles by the time

the presidential memorandum was signed and that it has continued through the weekend (and to
this day), or that the violence was in opposition to federal immigration enforcement. While
characterizing the protest activity as "[p]rimarily peaceful," Plaintiffs admit that Los Angeles
witnessed "some level of civil disturbance" and that the situation required local authorities to
"make] dozens of arrests." TRO Mot. at 9. That is a severe understatement. Their own
submission to the Court substantiates the President'sjudgment many times over. One ofPlaintiffs'
declarants highlights the severity of the situation: "[S]ome protesters unfortunately began to
engage in dangerous behavior such as throwing rocks and other objects, including a Molotov
Cocktail at deputies damaging vehicles, burning a vehicle, looting a gas station, and vandalizing
property." Declaration of Brian Olmstead 11 9, ECF No. 8-2. "Two deputies were injured during

the incident." Id.
       The articles submitted by Plaintiffs also describe the dangerous conditions in Los Angeles,

with mobs resisting federal authority in a manner that rises to the level of rebellion. Plaintiffs'
submission to the Court contains five images of burning or burnt cars. ECF No. 8-1, at 47, 93,
102, 12 l , 123. It contains a sixth image of an unidentified burning object. ECF No. 8-1 , at 104.




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And they have also submitted images of(in their sources' words) demonstrators "blocking tralhc

on [a] busy thoroughfare" and a "massive crowd"pushing to a wall barrier. ECF No. 8-1, at 120,
122. Plaintiffs' articles say that "[d]emonstrators blocked entrances and exits to [the Federal
Building in downtown Los Angeles]." ECF No. 8-1 at 54. They also "spray-painted anti-ICE
slogans on [a] building's exterior walls" and "attempted to physically stop ICE vehicles." Id.
"Dozens of buildings were tagged with graffiti, including the LAPD Headquarters, the U.S.
Courthouse and the old Los Angeles Times building." ECF No. 8-1, at 121 .
        Plaintiffs' submission also reflects the crowd's refusal to comply with local authorities'
orders. "The crowd of demonstrators ... moved through the city despite the area-wide dispersal
order, again lighting fireworks and throwing projectiles at police vehicles driving by." ECF No.
8-1 at 12 l . "Several fires were set in dumpsters and trash bins and at least one store had windows

shattered by alleged looters." Id. It also reflects local authorities' inability to adequately respond.
An article submitted by Plaintiffs reports that "[a] federal law enforcement official with knowledge

of the operations told CBS News that ICE requested assistance from LAPD multiple times over
the course of Friday night." ECF No. 8-1, at 123. "[A] senior city official in L.A. told CBS News

that it took LAPD 55 minutes to respond." Id.
        At minimum, on Plaintiffs' own record, the conditions in Los Angeles qualify as a "danger

ofa rebellion" against federal authority. 10 U.S.C. § 12406(2) (emphasis added). Plaintiffs argue
that a rebellion was not present, but they never contend that there was no danger of rebellion.
Section 12406 's "danger of rebellion" language appears nowhere in theirbriefoutside theirblock
quotation of the statute. That alone is sufficient grounds to invoke the statute-and thus to deny
Plaintiffs' motion.

        Second, "the President [was] unable with the regular forces to execute the laws of the
United States," id. § 12406(3), an independently sufficient basis for federalizing the Guard. The

same record establishes this. Mr. Santacruz 's declaration details the substantial threats to the safety

of federal law enforcement personnel in the field and at federal buildings. Demonstrators began
to organize on Friday at sites where ICE ERO was enforcing alien removal laws, i.e., "execut[ing]



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the laws of the United States." 10 U.S.C. § 12406(3). And local authorities were unable to allow

that activity to occur safely. Plaintiffs' short argument on this prong of the statute contends that
because ICE ERO succeeded in arresting 44 individuals on Friday, the President was able to
execute the laws of the United States. TRO Mot. at 10. But that limited success came with the
risk of danger-risk that the President could reasonably have determined was intolerable. Plus,
Plaintiffs' argument ignores that ICE ERO would have been able to carry out additional execution-

of-the-laws activity in the absence of a riot. And absent the use of additional law enforcement
resources to protect ICE agents from the violent assaults of protestors, it would be perilous forCE
officials to carry out further immigration-enforcement operations.
       Plaintiffs also argue this prong is inapplicable because President Nixon used the same
authority to respond to a nationwide crisis while lastweekend's crisis centeredonly on the Nation's

second largest city. They never connect that argument to the statute's text, however, and nothing

in Section 12406 supports the distinction.
       On this prong, Plaintiffs' argument amounts to a request to second-guess the President's
judgment about the adequacy of state and local law enforcement to protect federal property and
federal personnel. That is inappropriate. The President cannot be hamstrung by the Governor's
insistence that state and local authorities are up to the task, particularly when the evidence on the

ground shows otherwise. And, respectfully, the Court is not positioned to countermand this
judgment either, particularly in a highly expedited proceeding with a limited record.
               3.      Section 12406 does not require a governor's consent or input.

        Defendants also acted lawfully in the processes they used to federalize Guardsmen.
Section l2406's first sentence establishes the President's unilateral authority to federalize
Guardsmen. Again, it reads: "[T]he President may call into Federal service members and units of
the National Guard of any State ...." The next sentence adds that "[o]rders for these purposes
shall be issued through the governors of the States." 10 U.S.C. § 12406. The statute is thus clear
that the orders are issued by the President, and they are conveyed through State officials. Nothing
in the statute entitles a Governor to veto or impede a valid presidential order.



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        The President complied with this procedural provision.               Secretary Hegseth's
memorandum was issued to California's Adjutant General, a state cabinet-level official who is
required under California law to perform "duties consistent with the regulations and customs of
the United States Army, United States Air Force, and the United States Navy[,]" including
"issu[ing] all orders in the name of the Governor." Cal. Mil & Vet Code § 163 (emphasis added).
The memorandumbore the label "THROUGH2 THE GOVERNOROF CALIFORNIA." ECF No.

8-1 , at 107. And Secretary Hegseth sent a second memorandum federalizing an additional 2,000

Guardsmen on Monday with the same label. ECF No. 8-1 , at 111. There is no dispute that the
Governor had actual and contemporaneous knowledge of the order-indeed, he acknowledged that

it was forthcoming before it even issued. This procedural objection is thus meritless, and certainly

not a basis to issue an unprecedented injunction against the deployment of military forces.
        Plaintiffs, however, interpret the statute to "require[] orders under § 12406 be issued by
the Governor." TRO Mot. at 11 (emphasis added). But Section 12406 does not use the word "by."

And there is a fundamental difference between orders issued "by" a person (making them the
decisionmaker) and orders issued "through" that person (making them a mere conduit for a
decision already made). The latter better aligns with the purpose of this procedural requirement,
as the federalization of the California National Guard requires a careful handover ofcommandand

control from the State Commander in Chief (the Adjutant General) to the Federal Commander-in-

Chief. Orders going "through" the Governor, in particular the Governor's Adjutant General,
provides proper notice and avoids command confusion which is critical in an emergency.
        Meanwhile, when Congress has wanted to give the Governor veto power, it has done so
expressly. For example, the Secretary of Defense may "order a member of a reserve component
under his jurisdiction to active duty" except that members "may not be ordered to active duty ...
without the consent of the governor or other appropriate authority of the State concerned." 10
U.S.C. § 12301(d) (emphasis added). Likewise, the Secretary may order a member of the Army,
Navy, Marine, or Air Force Reserves to active duty to provide assistance in response to a major
disaster or emergency, but only after receiving a request from a Governor. 10 U.S.C. § 12304a(a).



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Yet Section 12406 omits any language even hinting that Governor could withhold his consent.
        In short, Section 12406 affords no veto to GoveInorNewsom over the President's decision

to call forth the guard, just as it afforded no veto to Governor Faubus when President Eisenhower

last invoked the predecessor to Section 12406 to ensure that the enforcement of federal law was
not obstructed.

        Plaintiffs also suggest that the statute imposes a gubernatorial consultation requirement
TRO Mot. at II. They complain that Defendants "violate[d] the letter of the law" by "depriving
the Governor of the opportunity to consult with the President." Id. That too is wrong both legally
and factually. Nothing in the statute requires consultation. Anyway, as explained, President Trump

spoke with Governor Newsom about the situation in Los Angeles the day before he federalized
guardsmen. In that discussion, the President directed the Governor to take control of riots in Los
Angeles. Id. Lines of communication between the President and Governor Newsom were open.
The next day, the President signed a memorandum that directed to the Secretary of Defense to
federalize the Guardsmen. ECF No. 8-1, Ex. E. GovernorNewsom acknowledged that act in a
public statement. See supra .
       Finally, even if Plaintiffs' interpretation of the statute were correct, the only party acting
unlawfully would be Governor Newsome-not President Trump or Secretary Hegseth. Section
12406 uses the mandatory "shall," depriving the Governor of any possible discretion in whether
to issue an order. So if the order was not issued "through" the Governor via the Adjutant General

who acts in his name, then the Governor should have issued the order himself, rather than drafting

a press release objecting to the presidential memorandum. His failure to comply with President
Trump 's lawful order to federalize California's guardsmen cannot somehow support an injunction
against the federal government.
       B.      The Federalization of Guardsmen Does Not Intrude on State Police Powers.

       Plaintiffs press a four-sentence argument suggesting a Tenth Amendment defect in the
President's memorandum federalizing Guardsmen. They make the conclusory assertion that
Defendants acted unlawfully in activating the National Guard "to quell a protest or prevent future



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protests despite the lack of evidence that local law enforcement was incapable of asserting
control." TRO Mot. at 12. As explained, Plaintiffs' own record submissions show that local law
enforcement was unable to bring rioters under control last weekend. But more importantly,
Plaintiffs' argument misstates the mission for Guardsmen in Los Angeles: They have been
deployed to protect federal personnel and facilities and not to "prevent future protests." Id.
       In all events, Plaintiffs' Tenth Amendment claim is wholly derivative of their statutory
claim that the presidential memorandum itself did not comply with Section 12406. The
Constitution authorizes Congress "[t]o provide for calling for the Militia to execute the Laws of
the Union, suppress Insurrections and repel Invasions." U.S. Const. art. I, § 8. Congress is also
empowered to "provide for organizing, arming, and discipling, the Militia, and for governing such

Part of them as may be employed in the Service of the United States, reserving to the States
respectively, the Appointment of the Officers, and the Authority of training the militia according
to the discipline prescribed by Congress." Id. Congress acted under this authority in enacting
Section 12406, which the President validity invoked. This claim therefore adds nothing.
       c.      Defendants Have Not Violated the Posse Comitatus Act

       The presidential memorandum, Secretary Hegseth's memoranda, and the military
personnel's protection of federal property and employees are consistent with the Posse Comitatus

Act. That Act states in full: "Whoever, except in cases and under circumstances expressly
authorized by the Constitution orAct of Congress, willfully uses any part of the Army, the Navy,
the Marine Corps, the Air Force, or the Space Force as a posse comitatus or otherwise to execute

the laws shall be fined under this title or imprisoned not more than two years, or both." 18 U.S.C.

§ 1385. The Act "was originally enacted in 1878 for the purpose of preventing United States
Marshals, on their own initiative, from calling upon troops to assist them in performing their
duties." Mem. Op., Authority to Use Troops to Preventlnterference with Federal Employees by
Mayday Demonstrations and Conseqaent Impairment of Government Functions, U.S. Dep't of
Justice, Off. of Legal Counsel, at 344 (April 29, 1971), https://www.justice.gov/file/147726/dl.
"The Act was designed to preventuse oftroops in direct law enforcement under command of minor



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civilian officials." Id.
       It is well established, however, that when the President lawfully federalizes the national
guard pursuant to statutory authority designed to authorize the use of the militia to restore order,
the Posse Comitatus Act does not apply. One such exception is contained in the Insurrection Act

See Office ofAtt'y Gen., PresidentS Power to Use Federal Troops to Suppress Resistance to
EnforcementofFederal Court Orders (Nov. 7, 1957). But 10 U.S.C. § 12406, which is worded
quite similarly to the Insurrection Act, represents another. After all, national guard could properly

be used to suppress invasions and rebellions, and execute the laws where the regular forces have
failed to do so, without engaging in activities the Posse Comitatus Act would otherwise prohibit
The Constitution, in addition, obligates the President to "take care that the laws be faithfully
executed." U.S. Const. art. III, § 3. The President thus has an inherent constitutional authority to
protect the federal government, and the Posse Comitatus Act does not change that.
       As William Rehnquist concluded as the head of the Department of Justice's Office of Legal

Counsel, "the Posse Comitatus Act does not impair the President's inherent authority to use troops

for the protection of federal property and federal functions." Mem. Op., Authority to Use Troops
to Prevent Interference With Federal Employees by Mayday Demonstrations and Consequent
Impairment of Government Functions,U.S. Dep 't of Justice, Off of Legal Counsel, at343 (April
29, 1971 ), https://www.justice.gov/file/147726/dl. Nor does it"preventthe use oftroops to protect

the functioning of the government by assuring the availability of federal employees to carry out
their assigned duties." Id. Thus, in 1971, Mr. Rehnquist held that the President could use troops
to respond to demonstrators who threatened to "prevent[] federal employees from reaching their
agencies." Id. Likewise, the Supreme Court recognized in In re Neagle, 135 U.S. 1, 65 (1890),
that troops could be used to prevent an obstruction to the U.S. mail:

       if the president or the postmaster general is advised that the mails of the United
       States, possibly carrying treasure, are liable to be robbed, and the mail carriers
       assaulted and murdered, in any particular region of country, who can doubt the
       authority of the president, or of one of the executive departments under him, to
       make an order for the protection of the mail, and of the persons and lives of its
       carriers, by doing exactly what was done in the case offer. Justice FIELD, namely,
       providing a sufficient guard, whether it be by soldiers of the army or by marshals



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       of the United States, with a posse comitatus properly armed and equipped, to secure
       the safe performance of the duty of carrying the mail wherever it may be intended
       to go?

Id. Earlier, in In re Debs, 158 U.S. 564, 582 (1895), the Supreme Court upheld President

Cleveland's order to troops to protect federal property and to remove obstructions to the U.S. mail.

"The strong arm of the national government may be put forth to brush away all obstructions to the

freedom of interstate commerce or the transportation of the mails." Id. "If the emergency arises,
the army of the Nation, and all its militia, are at the service of the Nation to compel obedience to
its laws." Id.
       As with that order, President Trump's order to military personnel to protect federal
employees and buildings is a lawful exercise of his inherent protective power. By its terms, the
presidential memorandum "call[s] into Federal service members and units of the National Guard .

.. to temporarily protect ICE and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, and to protect Federal property."
Presidential Memo. The National Guard has been acting within the scope of that mission.
Federalized California National Guard personnel have been conducting safety and protection of
Federal personnel, property, and functions at designated locations by providing security patrols,
observation posts, and outer cordon security perimeter of buildings.
       Plaintiffs have not provided any factual basis to conclude that Defendants have or will
violate the Posse Comitatus Act. The most they muster is the shaky assertion that "[t]he evidence

strongly indicates that the federalized National Guard and active-duty Marines deployed in Los
Angeles will engage in quintessential law enforcement activity in violation of the PCA." TRO
Mot. at 14. That allegation does not rise to the level needed to obtain a temporary restraining order

affecting the President's command of military forces in the face of riotous and rebellious
conditions. Plaintiffs suggest it would be unlawful for Defendants to "hold[] a secure perimeter
in communities around areas where immigration enforcement activities would take place, and
securing routes over public streets where immigration enforcement officers would travel." TRO




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Mot. at 15. Those actions plainly describe conduct to protect ICE ERO employees enforcing the
laws that Congress has provided they must carry out. Military service members' protection of
those federal employees while they perform their work is distinct from the military members' own

engagement in ordinary law enforcement. The former is entirely lawful, and that is all that the
record supports.
                                          *       *       >X<




       The groundless nature of Plaintiffs' claims is further exposed by the mismatch between
those claims and the relief they seek. They argue that the President improperly federalized the
California National Guard-but their proposed injunctionrestricts only how those Guardsmen may

be deployed. Specifically, they ask for an order that restricts the Guardsmen to protecting federal
property, and federal personnel on such property, butnot federal personnel outside federal property.
There is no reading of Section 12406 that could justify that relief. Nor does that relief make any
sense in view of the Posse Comitatus Act-if military forces may permissibly be used to protect
federal officials and to ensure their safety (as they can), it should not matter whether those federal

officials are inside a federal building or on a street a few blocks away.
       Plaintiffs' proposed order reveals the true aim of their motion. It is not to return National
Guardsmen to California's control, or to vindicate the (misguided) rights they claim, but instead
to prevent the federal government from protecting federal officers who are carrying out law-
enforcement operations in Los Angeles. That interference is impermissible and groundless, and
further underscores why the Court should deny their motion.
II.    THE BALANCE OF EQUITIES CUTS AGAINST ANY INJUNCTION.

       The balance of equities and the public interest cut squarely against the extraordinary
remedy of a temporary restraining order or preliminary injunction. The Court "must balance the
competing claims of injury and must consider the effect on each party of the granting or
withholding of the requested relief" Winter, 555 U.S. at 24. "In exercising their sound discretion,
courts of equity should pay particular regard for the public consequences in employing the




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extraordinary remedy of injunction." Id. (quoting Weinberger 456 U.S. at 312).
       Here, an injunction would not only hinder federal law enforcement but also expose federal

employees and property to violence and vandalism by the rioters in Los Angeles. The federal
government has an "uncontested interest in protecting federal agents and property." Index
Newspapers LLC v. U.S. Marshals Serv., 977 F.3d 817, 838 (9th Cir. 2020). The President and

Secretary ofDefense's memorandum calling up the National Guard expressly invokedthis interest

See Ex. 2 ("to temporarily protect U.S. Immigration and Customs Enforcement and other U.S.
Government personnel... and to protect Federal property."). These are indisputably "very
important public interest[s]." Index Newspapers LLC, 977 F.3d at 838.

       The President's reference to these interests was not mere words on a piece of paper. The
Order arose from documented instances of violence against federal officials that were happening
at the time of the Order and which continue today. On Friday June 6, 2025, protestors threw
"bottles, concrete chunks, and other objects at the FPS officers," and attempt[ed] to use large
rolling commercial dumpsters as a battering ram to breach the parking garage gate" of a federal
building complex. Santacruz Dec. 11 II. All available federal officers were called to defend the
complex, needing to resort to resort to riot control devices to prevent the breachoffederalproperty,

all while it took more than one- and one-half hours for the LAPD to arrive. Id. 11 13. While
California chalks this up as a peaceful protest, Compl. 1129, the rioters were "using chairs, pepper

balls, and other items as weapons" to "heavily vandalize" a federal building and clash with law
enforcement. Santacruz Decl. W 14-15, 17. The next day, the crowd once again became violent
and attacked ERO and CBP officers, for seven continuous hours. Id. 1120. Once officer was
trapped inside her law enforcement vehicle, which the crowd surrounded and violently pummeled

with stones, and the DHS office perimeter fence was cut, vehicles were damaged, and incendiary

devices were thrown at federal officers. Id. W 21-22. By the next day, despite LAPD declaring
the downtown area an unlawful assembly, protestors set off fireworks, threw objects at law
enforcement, lit fires in dumpsters and trans bins, looted stores, and vandalized the Federal
Courthouse and evenLAPD's own headquarters. Id. 1126. Atend of the day, the Federalbuilding's



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security checkpoint was in ruins. Id. 1127.
       The vandalization of a Federal Courthouse hardly fits the description of"civil unrest that
is no different from episodes that regularly occur in communities throughout the country." TRO
Mot. at l. Nor were these conditions where California's local authorities "have been responding
promptly, professionally, and effectively." Compl. 1132, see also TRO Mot. at l. In cases of
violent uprising, as Plaintiffs allege, the National Guard is "vital" in acting "to protect people and

property" and the "State relies on the National Guard to be ready to intervene in emergent
situations to help." Compl. 1170. That is exactly what the President ordered the National Guard
to do when the events in opposition to ICE's operation in Los Angeles occurred. Given Plaintiffs

acknowledgement of the National Guard playing such an important role in protecting people and
property, there should be no opposition to the National Guard providing help during the events at

issue in this case.
       Further, the Federal government would suffer more widespread irreparable harm were an
injunction to issue. The City ofLosAngeles "has made a longstanding decision" not"participat[e]
in federal civil immigration enforcement." City ofL.A. v. Barr, 929 F.3d 1163, 1173 (9th Cir.
20 19). Federal ICE personnel are attempting to enforce federal civil immigration laws in the City

of Los Angeles, but have suffered violence in response to carrying out lawful alien removal
operations. Local and state law enforcement were not able to prevent that violence, and their
responses to exigent circumstances were delayed. State and local inaction has already resulted in
threats to federal personnel, which has hindered the federal government's ability to safely carry
out its mandates. fan injunction is entered and the National Guard cannot accompany and protect

ICE personnel, the federal government will continue to be hindered in its ability to safely carry out

its mandates. Consequently, the government has shown exactly what it needs to prevail on the
third and fourth injunction factors: an uncontested interest in protecting federal agents and
property, combined with active threats against both. of. Index Newspapers LLC, 977 F.3d at 838.
       Against all this, the State claims only speculative harms and unsubstantiated harms. First,
it cites a risk of civil unrest caused by demonstrators' opposition to the federalization of



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guardsmen. But as Plaintiffs' brief concedes and Defendants' brief has explained, see supra §
Background III, the significant civil unrest began days before the National Guard was mobilized.

The civil unrest stemmed from rioters' violent uprising. The National Guard's presence, by
contrast, ensured that the rioters were not successful in completely overrunning federal property
and harming those ICE officers. Regardless, Plaintiff's invocation of the hypothetical or possible
"risk of' harms is not enough and does not meet the "stringent" standard set forth by the Supreme

Court. Fig., Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975), Caribbean Marine Servs. Co. v

Baldrige, 844 F.2d 668, 674 (9th Cir. 1988) ("Speculative injury does not constitute irreparable
injury ...."), Titaness Light Shop, LLC v. Sunlight Supply, Inc.,585 F. App'x 390, 391 (9th Cir
2014).

         Plaintiffs also complain that the federalization of Guardsmen subtracts from resources
available to the California National Guard. But Plaintiffs do not identify any type of exigency that

they would direct these resources that approaches the seriousness of the situation in Los Angeles.

Plaintiffs worry that the activation of Guardsmen "jeopardizes vital resources on which the State
depends to protect itself from emergencies"-while ignoring that these resources have been
deployed to deal with a present emergency in the State. TRO Mot. at 18.
         An injunction is particularly inappropriate inasmuch as Plaintiffs largely invokeprocedural

harm: namely, that the Order to mobilize the National Guard was not issued by the Governor or
that the Governor was not consulted. In Winter, the Supreme Court found an injunction was not

appropriate in the context of Plaintiff's claim that the Navy violated the National Environmental
Policy Act of 1969 and other federal laws when it failed to undertake statutorily required studies.

Winter,555 U.S. at 12, 26. The Court held that"forcing the Navy to deploy an inadequatelytrained

antisubmarine force jeopardizes the safety of the fleet," which was an interest that "plainly
outweigh[ed]" the plaintiffs' downstream interest in watching marine mammals. Id. at 26. An
injunction should be derlied here for similar reasons. Like Winter, this suit involves an allegation
that the military failed to comply with a procedural directive. Further, like Winter, the federal
government has articulated an immediate and direct harm if an injunction were to issue, but



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Plaintiffs have only communicated a second-hand and speculative harm.
        In balancing the equities and the public's interest, California's desire to keep the National
Guard at bay must give way to the undisputed immediate threats to the life of federal officers and

the security of federal property that the President is responsible for protecting.

III.    ANY INJUNCTIVE RELIEF SHOULD BE STAYED PENDING APPEAL AND
        ACCOMPANYA BOND.

        To the extent the Court issues any injunctive relief, Defendants respectfully request that
such relief be stayed pending the disposition of any appeal that is authorized, or at a minimum,
administratively stayed for a period of seven days to allow the United States to seek an emergency,

expedited stay from the Court of Appeals or Supreme Court if an appeal is authorized. For the
reasons explained above, Defendants have, at a minimum, satisfied the requirements for a stay of

any injunction pending appeal. See inken v. Holden, 556 U.S. 418, 434 (2009) (describing the
standard for obtaining such a stay and noting the "substantial overlap" between that standard and

"the factors governing preliminary injunctions").
        The Defendants also respectfully request that any injunctive relief be accompanied by a
bond under Fed. R. Civ. P. 65(c), which provides that "[t]he court may issue a preliminary
injunction or a temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found to have been
wrongfully enjoined or restrained."
                                         CONCLUSION


        For these reasons, this Court should deny Plaintiffs' motion for a temporary restraining
order or preliminary injunction.


                                                      Respectfully submitted,
                                                      BRETT A. SHUMATE
                                                      Assistant Attorney General
                                                      Civil Division




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              EXHIBIT




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              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF CALIFORNIA


 GAVIN NEWSOM, IN HIS OFFICIAL Case No. 3:25-cv-04870
CAPACITY AS THE GOVERNOR OF
THE STATE OF CALIFORNIA; STATE
                                           DECLARATION OF ERNESTO
 OF CALIFORNIA,                            SANTACRUZ, JR.
                             Plaintiffs,
       v.                                    Hon. Charles R. Breyer
 DONALD TRUMP, IN HIS OFFICIAL United States District Judge
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, PETE HEGSETH,
 IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF THE DEPARTMENT
 OF DEFENSE; U.S. DEPARTMENT
 OF DEFENSE,


                           Defendants.


             DECLARATION OF ERNESTO SANTACRUZ, JR.

I, Ernesto Santacruz, Jr., hereby declare:

1.    I am employed by the Department of Homeland Security (DHS), Immigration

and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO) as

the Field Office Director (FOD) of the Los Angeles Field Office (ERO Los Angeles).

I have held this position since April 6, 2025.

2.    I have been employed by ICE, or its predecessor Immigration and

Naturalization Service (INS), since May 2002. Prior to my position as FOD, I served

as the ERO Los Angeles Deputy Field Office Director, Acting Assistant Field Office


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Director, and Assistant Field Office Director. I have also served ERO as a

Supervisory Detention and Deportation Officer, Deportation Officer, and

Immigration Enforcement Agent. Prior to the creation ofICE, I served as a Detention

Enforcement Officer with INS.

3.    As the FOD for ERO Los Angeles, I direct and oversee ICE's enforcement of

federal immigration laws within the Central District of California, which has the

same geographic boundaries as the ERO Los Angeles Field Office. The ERO Los

Angeles Field Office currently consists of over 290 officers in six offices who are

responsible for enforcing federal immigration laws in seven California counties with

a combined population of over 20 million people. ICE is the largest investigative

branch of DHS and is charged with the enforcement of more than 400 federal

statutes. The agency was created after the September 11, 2001 terrorist attacks, by

combining components of the former INS and the former U.S. Customs Service, to

more effectively enforce federal immigration and customs laws and to protect the

United States against telTorist attacks. The mission of ICE is to protect the United

States from the cross-border crime and illegal immigration that threaten national

security and public safety. To carry out that mission, ICE focuses on enforcing

immigration laws, preventing terrorism, and combating transnational criminal

threats. ICE consists of three core operational directorates: (1) ERO, which consists

of25 field offices led by FODs; (2) Homeland Security Investigations (HSI), which


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consists of 30 field offices led by Special Agents-in-Charge, and (3) the Office of

the Principal Legal Advisor, which includes 25 field locations led by Chief Counsel.

4.    ERO deportation officers are immigration officers under 8 U.S.C. § 1357 and

have been delegated limited customs officer authority under 19 U.S.C. § 1589a. It is

the mission of ERO to identify, arrest, and remove aliens who present a danger to

national security or are a risk to public safety, as well as those who enter the United

States illegally-including those who cross the border illegally, which is a federal

misdemeanor, 8 U.S.C. § 1325, and those who illegally reenter after having been

removed, which is a federal felony, 8 U.S.C. § 1326--or otherwise undermine the

integrity of our immigration laws and our border control efforts.

5.    The majority of ERO's immigration enforcement operations take place in the

interior of the country. ERO manages all logistical aspects of the removal process by

identifying, apprehending, and, when appropriate, detaining removable aliens during

the course of immigration proceedings and pending physical removal from the

United States. This includes locating and taking into custody fugitive aliens and at-

large criminal aliens, as well as identifying aliens in federal, state, and local prisons

and jails and working with those authorities to transfer them to ICE custody without

releasing them into the community. When aliens are ordered removed, ERO is

responsible for safely repatriating them, or otherwise overseeing their departure from

the United States.


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6.     ERO Los Angeles officers are authorized to execute civil immigration arrest

warrants for aliens ordered removed by immigration judges, aliens subject to

expedited removal orders, and aliens for whom ERO officers have probable cause

of their removability. See 8 U.S.C. §§ 1225, 1226, 1231, 1357, see also 8 C.F.R.

§§ 235.3(b), 236.1(b), 241.2, 287.5(e), 287.8(¢).

7.     On Friday, June 6, 2025, ICE conducted immigration enforcement

operations in several locations in the Los Angeles area. A crowd of people gathered

at the site of an ICE law enforcement operation in the Garment District, tried to

prevent ICE authorities from leaving in their official vehicles, and threw objects at

the vehicles. Members of the crowd walked and ran alongside the vehicles creating

dangerous conditions for both the officers and crowd. One protestor attempted to

stop a law enforcement van's progression by standing directly in front of the van

and placing his hand on the vehicle's hood. The man also backpedaled in front of a

departing SUV, then tripped and fell in front of the vehicle. Fortunately, the driver

of the SUV was able to reverse and drive around him without harming him.

Individuals arrested during the immigration enforcement operation were taken to

the ERO facility in the federal building at 300 N. Los Angeles Street for processing.

8.     At 3:23 p.m. on June 6, Mayor Karen Bass posted on X: "This morning, we

received reports of federal immigration enforcement actions in multiple locations in

Los Angeles. As Mayor of a proud city of immigrants, who contribute to our city in


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so many ways, I am deeply angered by what has taken place. These tactics sow

terror in our communities and disrupt basic principles of safety in our city. My

Office is in close coordination with immigrant rights community organizations. We

will not stand for this."

9.        At about 5:00 p.m., I personally observed protesters pass by the front of the

300 North Los Angeles Street building heading northwest on Los Angeles Street.

However, the situation turned violent and riotous as the marchers turned right and

headed southeast down East Aliso Street, and then headed south on North Alameda

Street.

10.       Around this time, the number of demonstrators swelled to approximately

500 at 300 North Los Angeles Street, in downtown Los Angeles, and an additional

300 at an underground parking garage gate off of North Alameda Street. This gate

leads to a multilevel parking structure under all of the federal buildings in this

complex, including a Veterans Affairs (VA) medical facility, the Roybal

Courthouse, the 300 North Los Angeles Street Federal building, and the

Metropolitan Detention Center.

II        I observed that approximately five Federal Protective Service (FPS)

inspectors, who use security expertise to protect federal facilities and protect

employees, were pinned down in a defensive position by protesters and severely

outnumbered while trying to defend the damaged back Alameda Street gate. The


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protestors were throwing concrete chunks, bottles of liquid, and other objects at the

FPS officers, as well as attempting to use large rolling commercial dumpsters as a

battering ram to breach the parking garage gate and damaged federal property. The

FPS officers defended the parking garage entrance against the protesters who were

violently trying to break open the garage gate and break into the federal building

complex.

12.    At that time, just inside the federal building, approximately 130 aliens

arrested by ICE earlier in the day were being processed by federal immigration

officers.

13.    I feared for the safety of all the office workers, federal employees, and

lawfully detained aliens in the building. This being late on a Friday afternoon, I had

to call all available officers in the building to report to the back Alameda Street gate

to prevent FPS from being ovemln, which would have resulted in a breach of the

entire federal complex. All available ERO officers and HSI agents reported to the

location. The ICE officers formed a line of protection in front of the garage entrance

and held the line by using pepper balls and other alternatives to lethal force, aiming

to minimize harm and de-escalate situations. The combination of FPS, ERO, and

HSI law enforcement officers successfully prevented a breach and held the line

from approximately 5: 15 p.m. to 10:30 p.m., including about an hour and a half

before the Los Angeles Police Department (LAPD), having been called by FPS,


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arrived on scene to push the crowd to Temple Avenue.

14.     During this time, I observed that the demonstrators continued to be violent,

using chairs, dumpsters, and other items as weapons against federal law

enforcement officers.

15.     Thereafter, LAPD responded to the request from FPS for assistance and

according to media reports, indicate that their response was delayed due to

"significant traffic congestion, the presence of demonstrators, and...the fact that
                                                                              95
federal agents had deployed irritants into the crowd before LAPD's arrival.

16.     At approximately 7:00 pm., approximately two hours after the protesters

congregated in the area, LAPD declared an "unlawful assembly," ordered

protestors to leave, and gave them 5 minutes to comply. The crowd did not

comply. By 8:00 p.m., LAPD blocked the crowd's path to the Metropolitan

 Detention Center. Protestors threw large chunks of concrete at those officers. The

LAPD fired non-lethal foam projectiles and bean bag rounds in response. The

federal building was heavily vandalized.

 17.    The demonstrators had all departed by 1 1:00 p.m., with the LAPD officers

following them away from the property. However, there was damage to both the

 Federal Building at 300 North Los Angeles Street and the Edward R. Roybal

 Federal Building and United States Courthouse at 255 East Temple Street, which is

 next door. Both locations were heavily vandalized, the window to the guard shack


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was broken, there was evidence of tampering on the retractable anti-vehicle

barriers, and the roll up entrance gate was working sporadically. Federal law

enforcement officers secured the entrance gate throughout Friday night.

18.   On the next moving of Saturday, June 7, 2025, while federal officers

prepared for an immigration enforcement operation at a Department of Homeland

Security office in Paramount, California, a large crowd gathered. A large

contingent of approximately 110 Customs and Border Protection (CBP) officers

had arrived from the San Diego area to assist with immigration enforcement

operations and as a precautionary measure in the aftermath of Friday night's

violence. Prior to the start of the immigration enforcement action, these CBP

officers stood in uniform in an industrial park in advance of discussing the day's

upcoming operations.

19.   Coincidently, a Home Depot retail store which was not the target of any

intended operation   was located just across the street from the DHS office parking

lot being used for staging.

20.   A large crowd gathered and blocked traffic in the area. The crowd became

violent and attacked the ERO and CBP officers. This led to about seven hours of

non-stop fighting, from about 9:30 am. to approximately 5:00 or 6:00 p.m. The

violent crowd boxed in ERO and CBP officers throwing mortar-style fireworks

with multiple explosions, rocks and mangos at them, and used shopping carts to


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barricade the street, prompting our officers to try clear a path so federal vehicles

could enter and exit. One ERO officer was trapped inside her law enforcement

vehicle when the crowd surrounded it, pounding it, shaking it, and violently

pummeling it with stones, necessitating a rescue from other officers on scene. A

protester shattered the wrist of a CBP officer with a thrown object. The violent and

riotous crowd set at least one vehicle on fire and possibly also set a propane tank

on fire, which exploded and thankfully did not injure anyone.

21.     HSI reports that the perimeter fence of the DHS office in Paramount was cut

in two places, three government vehicles were damaged, the business park sign

was vandalized, and mortar-style fireworks with multiple explosions were thrown

at the federal officers. In addition, at approximately 4:00 p.m., the Los Angeles

Sheriff's Department (LASD) declared an "unlawful assembly" in Paramount, and

the protest spread to the neighboring Compton area.

22.     Later that Saturday night, another protest formed in the vicinity of the

Federal complex at 300 N. Los Angeles Street, near the location of the previous

night's riot, at North Alameda Avenue and East Temple Street. According to

media reports, the LAPD eventually declared this to be an unlawful assembly.

23.     I was informed by Homeland Security Investigations on the morning of

Sunday, June 8, National Guard troops arrived in downtown Los Angeles.

Specifically, 300 National Guard troops deployed to Paramount, Compton. and


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downtown Los Angeles.

24.    On Sunday afternoon, at around 3:00 p.m., a large crowd of people marched

from the steps of Los Angeles City Hall to the 300 N. Los Angeles Street federal

complex. Protestors confronted a line of federal agents stationed outside. LAPD

issued a citywide Tactical Alert. Shortly thereafter, the LAPD issued a dispersal

order and made additional arrests.

25.    Then, protestors entered the 101 Freeway in downtown Los Angeles,

blocking the Alisa Street off-ramp. California Highway Patrol (CHP) officers

dispersed the crowd by 5 p.m. and moved them to the Civic Center.

26.    At approximately 9:00 p.m., LAPD declared the downtown protest to be an

unlawful assembly and ordered protestors to leave. The protesters did not leave.

They continued to move through downtown, setting off commercial-grade

fireworks toward federal officers and throwing objects at passing law enforcement

vehicles. The protestors lit fires in dumpsters and trash bins and looted at least one

store. Protestors vandalized dozens of buildings with graffiti, including the Federal

Courthouse and LAPD Headquarters.

27.     By the end of the weekend, the Federal building at 300 N. Los Angeles

Street was vandalized in numerous locations, pieces of the bollards used for

building security were broken, and the security checkpoint was in ruins. Numerous

federal officers and agents have been injured by projectiles thrown at them such as


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rocks, water bottles, and bricks.

28.     Many law enforcement personnel, including the five FPS officers who

initially held the North Alameda Street gate while severely outnumbered. On

Monday, June 9, at approximately 5:00 p.m. additional protests are formed at the

300 North Los Angeles Street federal complex, as well as at the Federal Building

in Santa, Ana, Orange County, California. Based on federal agency reports, a

crowd of 1,000 demonstrators gathered near the Roybal Federal Building. At this

time a demonstrator drove by the building and fired paintballs at the FPS

inspectors, hitting at least one in the head and neck. At the Santa Ana Federal

Building, violent protestors attacked a 13-passenger federal van carrying multiple

aliens and officers, rocking the vehicle, and smashing the windows. The violent

protestors also damaged multiple vehicles in the surrounding parking lot.

29.     This federal complex was largely closed today Monday will again be closed

Tuesday, due to the civil unrest. This is a disruption for the many federal agencies

working in this building, as well as the co-located federal couithouse, VA medical

facility, and Federal Bureau of Prisons facility.

30.     From what I understand, the LAPD reported they are on tactical alert and

declared a partial mobilization of400 additional officers.

31.     The aggressive horde at the Roybal Building moved downtown to Little

Tokyo and City Hall later in the evening, where they clashed with LAPD officers,


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injuring five, and also injured five LAPD horses. LAPD deployed less-lethal

munitions and made multiple arrests.

32.    LAPD declared an unlawful assembly for the area of the Civic Center part of

Los Angeles and had to shut down Route 101 in central Los Angeles in response to

demonstrators throwing objects onto the freeway and damaging multiple police

vehicles.

33.    Even with the LAPD, LASD, and CHP all engaged in the ensuing law

enforcement activities, I believe the safety of local federal facilities and safety of

those conducting immigration enforcement operations in this area of responsibility

requires additional manpower and resources. Aside from the horrendous actions of

the violent demonstrators at the various federal protected locations, I am also

aware that there were significant instances of demonstrators posting the location,

images, and family information of federal law enforcement employees online in an

attempt to do, threaten, and obstruct federal law enforcement personnel and their

families and impede lawful federal activity. Demonstrators have also been posting

the locations of federal law enforcement employees conducting immigration

enforcement operations to threaten and obstruct their work.



Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury

under the laws of the United States that the foregoing is true and correct to the best


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of my information, knowledge, and belief.



Executed on this 1 lth day oflune 2025.

                                                               Digitally signed by
                                               ERNESTO M       ERNESTO M
                                               SANTACRUZ SANTACRUZ JR
                                                               Date: 2025.06.11
                                               1       L   I   08:16:31 -Q

                                               Ernesto Santacruz, Jr.
                                               Field Office Director
                                               DHS ICE ERO Los Angeles




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               EXHIBIT 2




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                               SECRETARY OF DEFENSE
                                1000 DEFENSE PENTAGON
                               WASHINGTON, DC 20301 -1000

                                                                                   JUN 0 1 2025

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sUB.|14c1 Calling Members of the (.`_\lillorni;\ National Guard into Federal Sen ice

        The President of the United States has called forth al least 2000 National Guard
personnel into Federal service pursuant to section 17-306 ofllitlc lt), U.S. Code, to temporarily
protect LHS. Immigration and C`ustoms FnfOrcement and other ll.s. Government personnel
who arc pcrlivrming Federal 1`unetions. including the cn l`orcemcnt of Federal law. and to protect
Federal property. at locations where protests against these l`unetions are occurring or are likely
to occur based on current threat assessments and planned operations. The President signed a
copy of the attached memorandum today to cflectuate the calling fOrth of these Ser\ ice
members.

        This memorandum implements the Presidenlls direction. `llwo thousand members of
the L'aliTornia National Guard will be called into Federal sen iee ellbetive immediately fOr II
period oll60 days. The L'hieTol`the National (lard Bureau will immediately coordinate the
details ollthe mobili/ation \\ ith the Adjutant General ollthe C`alilin'nia National (izard. iii
coordination with the Chairman of the Joint Chielk of' StalTand Commander. U.S. Northern
Command. The mobili/.ed Service members will he under the command and control ollthe
L`ommander. LIS. Northern Command.




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cc:
L`huirman of the Joint Chicfk of Stuff
(`hicf, National Guard B11\'cu11
(`ommundcr. Las. Northern C`omm:\nd
Under Secretary of Dclbnsc br Policy




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                                June 7, 2025



MEMORANDUM FOR THE SECRETARY OF DEFENSE
             THE ATTORNEY GENERAL
             THE SECRETARY OF HOMELAND SECURITY

SUBJECT :         Department of Defense Security for the Protection
                  of Department of Homeland Security Functions

Numerous incidents of violence and disorder have recently
occurred and threaten to continue in response to the enforcement
of Federal law by U.S. Immigration and Customs Enforcement (ICE)
and other United States Government personnel who are performing
Federal functions and supporting the f aithful execution of
Federal immigration laws. In addition, violent protests
threaten the security of and significant damage to Federal
immigration detention f acilities and other Federal property.                To
the extent that protests or acts of violence directly inhibit
the execution of the laws, they constitute a form of rebellion
against the authority of the Government of the United States.
In light of these incidents and credible threats of continued
violence, by the authority vested in me as President by the
Constitution and the laws of the United States of America, I
hereby call into Federal service members and units of the
National Guard under 10 U.S.C. 12406 to temporarily protect ICE
and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, a n d
to protect Federal property, at locations where protests against
these functions are occurring or are likely to occur based on
current threat assessments and planned operations. Further, I
direct and delegate actions as necessary for the Secretary of
Defense to coordinate with the Governors of the States and the
National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard
under this authority. The members and units of the National
Guard called into Federal service shall be at least 2,000
National Guard personnel and the duration of duty shall be for
60 days or at the discretion of the Secretary of Defense. In
addition, the Secretary of Defense may employ any other members




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of the regular Armed Forces as _ `II      to augment and support
the protection of Federal functa s _    property in any number
determined appropriate in his discretion.
To carry out this mission, the deployed military personnel may
perform those mills           I t:be activities that the Secretary
of Defense determ'l-wean fmnasonably
                           _ I           necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland 2w~\msnm
                             __      |    F'
                                             to withdrawing any
personnel from any locatio' to;in which L__._,,lly
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Secretaries of Defense and Homeland Security'ay 'deIle'53ate to
subordinate officials of tHaas;
                             ` respective Departments any of the
authorities conferred upon them by to&]l_
                                      snemorandum.


                                    DONALD J. TRUMP




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               EXHIBIT 3




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                               SECRETARY OF DEFENSE
                                1 coo DEFENSE PENTAGON
                               WASHINGTON, DC 2030 1 -1 coo

                                                                                    JUN -g 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                 THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Additional Members of the California National Guard into Federal Service

        On June 7, 2025, the President of the United States called forth at least 2,000 National
Guard personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to
temporarily protect U.S. Immigration and Customs Enforcement and other U.S. Government
personnel who are performing Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against these functions are occurring or
are likely to occur based on current threat assessments and planned operations. The President
signed a copy of the attached memorandum to effectuate the calling forth of these Service
members. Also on June 7, 2025, I implemented that order by directing 2,000 members of the
CalifOrnia National Guard be called into Federal Service for a period of 60 days (see attached
memorandum).

       This memorandum further implements the President's direction. An additional 2,000
members of the California National Guard will be called into Federal service effective
immediately for a period of 60 days. The Chief of the National Guard Bureau will immediately
coordinate the details of the mobilization with the Adjutant General of the California National
Guard, in coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S.
Northern Command. The mobilized Service members will be under the command and control of
the Commander, U.S. Northern Command.



                                                                 I


Attachments:
As stated

CC :
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy
Under Secretary of Defense for Personnel and Readiness




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                                June 7, 2025



MEMORANDUM FOR THE SECRETARY OF DEFENSE
              THE ATTORNEY GENERAL
              THE SECRETARY OF HOMELAND SECURITY

SUBJECT :         Department of Defense Security for the Protection
                  of Department of Homeland Security Functions

Numerous incidents of violence and disorder have recently
occurred and threaten to continue in response to the enforcement
of Federal law by U.S. Immigration and Customs Enforcement (ICE)
and other United States Government personnel who are performing
Federal functions and supporting the f aithful execution of
Federal immigration laws. In addition, violent protests
threaten the security of and significant damage to Federal
immigration detention f acilities and other Federal property. To
the extent that protests or acts of violence directly inhibit
the execution of the laws, they constitute a form of rebellion
against the authority of the Government of the United States.
In light of these incidents and credible threats of continued
violence, by the authority vested in me as President by the
Constitution and the laws of the United States of America, I
hereby call into Federal service members and units of the
National Guard under 10 U.S.C. 12406 to temporarily protect ICE
and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, and
to protect Federal proper ty, at locations where protests against
these Eunctions are occurring or are likely to occur based on
current threat assessments and planned operations. Fur then, I
direct and delegate actions as necessary for the Secretary of
Defense to coordinate with the Governors of the States and the
National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the national Guard
under this authority. The members and units of the National
Guard called into Federal service shall be at least 2,000
national Guard personnel and the duration of duty shall be for
60 days or at the discretion of the Secretary of Defense. In
addition, the Secretary of Defense may employ any other members




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                                      2

of the regular Armed Forces as necessary to augment and support
the protection of Federal functions and proper ty in any number
determined appropriate in his discretion.
To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.


                                    DONALD J. TRUMP




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                               SECRETARY OF DEFENSE
                                1 coo DEFENSE PENTAGON
                               WASHINGTON. DC 2030\~tooo

                                                                                 JUN 0 7 2025

MEMORANDUM FOR ADJUTANT GENERAL OF TlfE CALIFORNIA NATIONAL GUARD
                THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

        Thc President of the United States has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 13406 of title 10, U.S. Code, to temporarily
protect U.S. Immigration and Customs EnfOrcement and other U.S. Government personnel
who arc performing Federal functions. including the enforcement of Federal law, and to protect
Federal property. at locations where protests against these functions are occurring or are likely
to occur based on current threat assessments and planned operations. The Prcsidcnt signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

        This memorandum implements the Presidentls direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of60 days. The Chief of the National Guard Burcau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard. in
coordination with the Chairman of the Joint Chiefs otlStaff and Commander, U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander. U.S. Norther Command.




Attachment:
As stated


cc:
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy




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                           IN THE UNITED STATES COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA


GAVIN NEWSOM, et al.                                  )
                                                      )
       PZaint   `,                                    )
                                                      )     No. 3:25-cv-4870
       v.                                             )
                                                      )
DONALD TRUMP, et al.                                  )
                                                      )
       Defendant                                      )

                 DECLARATION OF MAJOR GENERAL NIAVE F. KNELL

1, Major General Niave F. Knell, hereby state and declare as follows:

1.     I am currently employed by the UNited States Army as the Deputy Commanding General

for the United States Army North Command (ARNORTH), which is a component of the United

States Northern Colmnand (USNORTHCOM). I have held this position since August 24, 2024.

I have served as a commissioned Army Officer for more than 33 years. My current

responsibilities include overseeing the daily operations of ARNORTH as well as ensuring the

training, discipline, and readiness of the units under ARNORTH's command. have reviewed

the Complaint in the matter of Newsom v. Trump, No. 3:25-cv-4870 (N.D. Ca1.). This

declaration is based on my personal knowledge as well as information made available to me

during the routine execution of my official duties.

2.     On June 7, 2025, the President of the United States issued a memorandum with the

subj et "Department of Defense (DoD) Security for the Protection of Department of Homeland

Security (DHS) Functions." The memorandum noted: "Numerous incidents of violence and

disorder have recently occurred and threaten to continue in response to the enforcement of

Federal law by U.S. Immigration and Customs Enforcement (ICE) and other United States



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Government personnel who are performing Federal functions and supporting the faithful

execution of Federal immigration laws. Aditionally, violent protests threaten the security of, and

significant damage to, Federal immigration detention facilities and other Federal property." The

memorandum thus directed members of the National Guard into federal service "to temporarily

protect ICE and other United States Government personnel who are performing Federal

functions, including the enforcement of Federal law, and to protect Federal property." It further

directed the Secretary of Defense to call at least 2,000 National Guard personnel into service for

60 days subject.to change at his discretion. It also further delegated to the Secretary of Defense

the authority to utilize the regular forces to assist with this mission. The Secretary of Defense

issued guidance accordingly that same day. The following day, the Secretary authorized the

activation of the 2nd Battalion, 7th Marine Regiment, 1st Marine Division.

3.     The Chief of the National Guard Bureau transmitted the Secretary of Deflense's orders on

Saturday, June 7 to the Adjutant General of the California National Guard. At 10:17 Pacific

Standard Time, the California Adjutant General responded, "consider our forces mobilized.     79




4.     USNORTHCOM is one of DOD's eleven unified combatant commands. Its mission is to

provide command and control of DoD homeland defense efforts and to coordinate defense

support of civil authorities. ARNORTH supports USNORTHCOM in this mission.

5.     When federalized, members of a State National Guard serve pursuant to Title 10 of the

U.S. Code under the command of the President and the Secretary of Defense. In this case, the

Secretary of Defense authorized USNORTHCOM to execute command and control of

federalized members of the California National Guard as well as the 2nd Battalion, 7th Marine

Regiment, 1st Marine Division (2/7 USMC). USNORTHCOM further delegated operational

control of federalized National Guard forces and tactical control of Marine forces to ARNORTH.




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6.     Following the President's June 7, 2025 memorandum, ARNORTH published Operational

Order (OPORD) 01123 and Fragmentary Order (FRAGORD) 25-501 .000 to direct federalized

members of California National Guard and members of the 2/7 USMC to temporarily protect

federal property, as well as ICE and other U.S. Government personnel who are performing

federal functions, where protests are occurring in Los Angeles County, California.

7.     Since Saturday, June 7, federalized California National Guard personnel have conducted

operations in Los Angeles strictly consistent with the directions of the President's June 7

memorandum and FRAGORD 25-501 .000. They are protecting federal personnel performing

official functions as well as property at designated locations through security patrols, observation

posts, and outer cordon security perimeter of buildings. Federalized California National Guard

personnel activities are limited to those protection operations. They are not performing law

enforcement or any other functions.

8.     So far, 2,112 members and 256 vehicles of the 79th Infantry Brigade Combat Team have

conducted or are currently conducting the following protection operations :

       A. 146 federalized guardsmen protected an ICE facility located at 6319 Alondra

           Boulevard, Paramount, California.

       B. 108 federalized guardsmen are conducting patrols of a federal building located at 110

           Wilshire Boulevard, Los Angeles, California.

       c. 94 federalized guardsmen are protecting federal facilities and federal personnel
           performing official functions in downtown Los Angeles.

       D. 107 federalized guardsmen are providing protection to Homeland Security

           Investigations (HSI) warrant servicing agents performing official functions at a Los

           Angeles airport cargo terminal.




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       E. 95 federalized guardsmen provided protection at a federal building located at 535

           Alameda Street, Los Angeles, California.

       F. 300 federalized guardsmen protected federal employees and property at a federal

           building located at 11099 S. La Cienega Boulevard, Los Angeles, California.

       G. 32 federalized guardsmen provided protection for a federal building located at 34

           Civic Center Plaza, San Ana, California.

       H. 35 federalized guardsmen performed protection activities for the Glenn M. Anderson

           federal building located at 501 W. Ocean Boulevard, Long Beach, California.

       I. Federalized guardsmen continue to provide protection for ICE Officers, Customs and

           Border Protection Officers, and Federal Bureau of Investigations Special Agents

           performing official functions so that such federal personnel may cane out their

           assigned duties.

9.     ARNORTH has been allocated tactical control of 721 members of the 2/7 USMC. These

Marines are currently training in preparation to conduct similar protection operations.



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                                             MAJOR GENERAL N1AVEIF. KNELL
                                             DEPUTY COMMANDING GENERAL
                                             U.S. Army North




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5                             IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
7
 8        GAVIN NEWSOM, et al.,                       Case No. 25-cv-04870-CRB
 9                      Plaintiffs,
10                v.                                  ORDER GRANTING PLAINTIFFS'
                                                      APPLICATION FOR TEMPORARY
                                                      RESTRAINING ORDER
11        DONALD J. TRUMP, et al.,
12                      Defendants.
13            On June 6, 2025, the federal government initiated immigration raids across the City
14   of Los Angeles. Protests swiftly followed, and some individuals involved in those protests
15   were unruly and even violent. State and local law enforcement responded. The following
16   day, President Trump ordered that members of the California National Guard be
17   federalized, and thereupon assumed control of those forces.
18            At this early stage of the proceedings, the Court must determine whether the
19   President followed the congressionally mandated procedure for his actions. He did not.
20   His actions were illegal-both exceeding the scope of his statutory authority and violating
21   the Tenth Amendment to the United States Constitution. He must therefore return control
22   of the California National Guard to the Governor of the State of California forthwith.
23   I.      BACKGROUND
24           A.        California National Guard
25           The California Army National Guard and the California Air National Guard
26   (together, the California National Guard) are part of the organized militia of the State of
27   California and federally recognized units of the reserve components of the U.S. military.
28   Eck Decl. (dkt. 8-3) iI 20. Governor Newsom is the commander-in-chief of the California

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              1    National Guard when it is under state control.      'II 31, Cal. Const., art. V, § 7. President
               2   Trump is the commander-in-chief of the U.S. Armed Forces, including the National Guard
              3    when it is under federal control. U.S. Const. art. II § 2, cl. l. A president can call the
              4    National Guard into federal service under Title 10 of the United States Code. Id. 9[ 27 .
              5    That is what happened here.
              6            California has the largest National Guard in the country, with 18,733 members,
              7    12,212 of whom are currently available. Eck Decl. q1q128, 30. The California National
              8    Guard is "vital" in carrying out state functions such as "emergency and natural disaster
              9    response, cybersecurity, and drug interdiction." 4 iI 31. For instance, 2,500 California
              10   National Guard members were activated in response to the destructive fires in Los Angeles
              11   County in January 2025. 4 (119135-36. Some serve on Taskforce Rattlesnake, the state's
      cu
+-» ' *       12   specialized fire combat unit. 49191 14, 39-40. Others serve on the Counterdrug
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      :       13   Taskforce, which specializes in stopping fentanyl trafficking at the U.S.-Mexico border.
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Q O           15           B.      ICE Actions and Public Protest
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       D 16                On June 6, 2025, Immigration and Customs Enforcement began carrying out
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              17   immigration raids in Los Angeles. Olmstead Decl. (dkt. 8-2) 'II 6. The Associated Press
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D Zc 18            reported that ICE executed search warrants at multiple locations across Los Angeles.
              19   Espiritu Decl. (dkt. 8-l) Ex. F ("Federal immigration authorities have been ramping up
              20   arrests across the country to fulfill President Donald Trump's promise of mass
              21   deportations."). Los Angeles Police Chief Jim McDonnell stated that "federal officials did
              22   not brief his department, which made it difficult to respond to the mobs of people who
              23   began to protest." See McPhee, LAPD Chief Jim McDonnell Says, 'Violence I Have Seen
              24   Is Disgusting,' Recounting Attacks on Cops, L.A. Mag. (June 8, 2025),
              25   https://perma.cc/G24N-PZHE. ICE reportedly targeted "several locations in downtown
              26   L.A. and its immediate surroundings" that are "known to have significant migrant
              27   populations and labour-intensive industries." Espiritu Decl. Ex. G. These included two
              28   Home Depot stores, a donut store, and a clothing wholesaler. 4 Ultimately, between 70
                                                                  2
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           1    and 80 people were detained, and 44 arrested. Espiritu Decl. EXS. G, H.
            2          State and city leaders expressed concern and disapproval. Governor Newsom
           3    reportedly stated that the "[c]ontinued chaotic federal sweeps     to meet an arbitrary arrest
           4    quota are as reckless as they are cruel." Espiritu Decl. EX. D. Mayor Karen Bass told
           5    reporters that she received no notice that the raids were to be conducted, and that the raids
           6    "sow[] a sense of chaos in our city, and a sense of terror." 4 And Los Angeles County
           7    Supervisor Janice Hahn reportedly said: "They aren't targeting violent criminals-they are
           8    sweeping up hardworking people in our communities just trying to provide for their
           9    families. These agents are armed to the teeth and it is clear their goal is to make people
           10   afraid and it's working." 4
           11          Some members of the public gathered in protest. A group of people assembled at
           12   the site of an ICE operation in Los Angeles's Garment District and tried to prevent ICE
     5
     9: 13      from leaving. Santacruz Decl. (dkt. 22-l) '1[ 7, Espiritu Decl. EX. D. Another one of the
           14   primary protests on June 6 took place at the Metropolitan Detention Center. Olmstead
     1-1

     2 15       Decl. 'II 6. The protests were explicitly about the immigration raids. See Espiritu Decl. EX.
           16   D ("Friday evening, protesters marched in downtown L.A. condemning Friday's
G C
4)   U     17   immigration raids."). The Governor's Office of Emergency Services, which was
           18   monitoring the protests, was in regular communication with representatives of the Los
           19   Angeles Police Department and the Los Angeles County Sheriff" s Department. Olmstead
           20   Decl. 'II 6. Both stated that they did not need additional resources, and LAPD reassigned
           21   additional officers to the area. Id.
           22          That evening, protesters reportedly marched in downtown Los Angeles. Espiritu
           23   Decl. EX. D. There were about 800 protesters at two sites. Santacruz Decl. q1q19, 10.
           24   Some protesters threw "concrete chunks, bottles of liquid, and other objects at Federal
           25   Protective Service officers guarding a parking lot gate, some protesters attempted "to use
           26   large rolling commercial dumpsters as a battering ram." 4 'II II. Officers protected the
           27   gate entrance with pepper balls and other nonlethal force, until LAPD arrived and pushed
           28   the crowd away. 4 'II 13. Some of the protesters used "chairs, dumpsters, and other items
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               1    as weapons." 4 quo 14. LAPD declared an "unlawful assembly," and while some
                2   individuals resisted, the protesters departed by ll:00 p.m. 4 'l1'l1 16, 17. Two federal
               3    buildings were vandalized and sustained minor damage. 4 quo 17.
               4           On June 7, both the ICE operations and responsive protests continued. Olmstead
               5    Decl. 917. In addition to the protest at the Metropolitan Detention Center, protests also
               6    emerged in Paramount and Compton. 4 LASD provided 200 deputies to respond to the
               7    Paramount and Compton protests, including a team with specialized training in handling
               8    civil unrest. 4 Customs and Border Protection officers arrived from San Diego to assist
               9    with immigration enforcement operations. Santacruz Decl. iI 18.
               10          During the evening hours of June 7, the protest at the Metropolitan Detention
               11   Center was "fairly in control," with some protesters targeting the building. Olmstead Decl.
               12   9[ 9. Federal officers pushed protesters away while LAPD officers moved in front and
         5
     4-4
     ~         13   declared an unlawful assembly, by 2: 15 a.m., "most of the protestors had left the area." Id.
               14   In Paramount and Compton, there were about 300 to 400 protesters present. 4 *II 10.
         1-1

         2 15       Some protesters threw rocks and other objects (including a Molotov cocktail), burned a
               16   vehicle, looted a gas station, and vandalized property. 4 'II 9. There was an extended
G C
4)   U         17   clash between some protesters and officers, with a crowd boxing in the officers and
               18   throwing fireworks, rocks, and mangos at them, and "using shopping carts to barricade the
               19   street." Santacruz Decl. 'II 20. One officer was briefly trapped inside her law enforcement
               20   vehicle when a crowd surrounded it, shook it, and threw stones at it. Id. A DHS fence was
               21   damaged, and three government vehicles were damaged.          iI 21. Local law enforcement
               22   brought the situation under control by 4:00 a.m. and LASD was able to demobilize its
               23   teams. Olmstead Decl. 'II 9. About 11 people were arrested for engaging in unlawful
               24   behavior at the protests that night. 4 iI 10.
               25          C.     Federalizing of National Guard and Continued Protest
               26          President Trump intervened in the response to the protests on the evening of June 7,
               27   issuing a memorandum to the Secretary of Defense, Attorney General, and Secretary of
               28   Homeland Security. See June 7 Memo (Espiritu Decl. EX. O at 108-09). Although it did
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               1    not name California, Los Angeles, or any other geographic area, the memo asserted that
                2   "[n]umerous incidents of violence and disorder have recently occurred and threaten to
               3    continue in response to the enforcement of Federal law by [ICE] and other United States
               4    Government personnel." 4 It continued: "To the extent that protests or acts of violence
               5    directly inhibit the execution of the laws, they constitute a form of rebellion against the
               6    authority of the Government of the United States." 4 (emphasis added). The memo
               7    explained that due to "these incidents and credible threats of continued violence,"
               8    President Trump was calling
               9                  into Federal service members and units of the National Guard
                                  under 10 U.S.C. [§] 12406 to temporarily protect ICE and other
               10                 United States Government personnel who are performing
                                  Federal functions, including enforcement of Federal law, and to
               11                 protect Federal property, at locations where protests against
                                  these functions are occurring or are likely to occur based on
               12                 current threat assessments and planned operations.
          5
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      ~        13   4 President Trump further directed Secretary Hegseth "to coordinate with the Governors
               14   of the States and the National Guard Bureau in identifying and ordering into Federal
               15   service the appropriate members and units of the National Guard under this authority,"
               16   calling for "at least 2,000" National Guard personnel to be on duty "for 60 days or at the
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»_»       9 17      discretion of' Secretary Hegseth. 4 (emphasis added). Finally, the memo provided that
               18   Secretary Hegseth could "employ any other members of the regular Armed Forces as
               19   necessary." 4
               20          Secretary Hegseth issued an order that same night, attaching the June 7 Memo, and
               21   announcing that 2,000 members of the California National Guard were being "called into
               22   Federal service effective immediately for a period of 60 days." See June 7 DOD Order
               23   (Espiritu Decl. EX. P at ill). The top of the order read:
               24                 MEMORANDUM FOR ADJUTANT GENERAL OF THE
                                        CALIFORNIA NATIONAL GUARD
               25                   THROUGH: THE GOVERNOR OF CALIFORNIA
               26   Id. The order further stated that the Commander of U.S. Northern Command would
               27   control the 2,000 National Guard members. Id.
               28          Defendants did not notify Governor Newsom of their intent to federalize the
                                                                   5
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           1    California National Guard prior to issuing the June 7 Memo or the June 7 DOD Order.
            2   Espiritu Decl. EX. K (June 8 letter from Sapp to Secretary Hegseth).1 Governor Newsom
            3   only learned of the June 7 DOD Order from the Adjutant General after the Adjutant
           4    General received it. Id. The Adjutant General relinquished command to the commander
           5    of U.S. Northern Command, and thereafter the commander of U.S. Northern Command,
            6   not the Governor, has issued all orders to the federalized National Guard. Espiritu Decl.
           7    Ex. J. Responding to these events, Governor Newsom issued a statement that "[t]he
            8   federal government is taking over the California National Guard and deploying 2,000
            9   soldiers in Los Angeles-not because there is a shortage of law enforcement, but because
           10   they want a spectacle." Espiritu Decl. Ex. Q. On June 8, the New York Times reported
           11   that President Trump wrote on social media that he had directed his cabinet officials to
           12   "take any actions necessary to 'liberate Los Angeles from the Migrant Invasion,'" and
           13   said, "we're going to have troops everywhere." Espiritu Decl. Ex. M.
           14          The National Guard troops arrived in Los Angeles on June 8, but "it was not clear
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     2 15       what role they were to play or what orders they were provided," and "there were concerns"
           16   that they "did not have the equipment or training necessary to handle the situation."
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4)   U     17   Espiritu Decl. EX. R, Olmstead Decl. quo II. Initially that morning, the city was quiet.
           18   Espiritu Decl. EX. R. That afternoon, protesters increased to about 3,500, particularly near
           19   the Metropolitan Detention Center, where the National Guard was deployed. Olmstead
           20   Decl. 'II 12. "[M]any of the protestors appeared angry that the National Guard had been
           21   federalized and was now present in their city." 4, Espiritu Decl. EX. M (New York Times
           22   stating that "aggressive federal response    in tum sparked new protests across the city.").
           23   "The presence of the National Guard seemed to only inflame the protesters further."
           24   Olmstead Decl. iI 12.2
           25
           26   1 President Trump called Governor Newsom at some point and purportedly "directed him
                to take action to stop the violence." Opp. at 5 & n.4 (citing Colton & Roberts, Trump
           27   brings receipts, Fox News (June 10, 2025), https://perma.cc/EX6D-V8Y5). No one
                suggests that President Trump mentioned the National Guard.
                2
           28     The LAPD Chief whom Defendants quote as stating that "things have gotten out of
                control," see Opp. (dkt. 25) at l, n.2, made that comment on the night of June 8.
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               1           LAPD, LASD, and the California Highway Patrol deployed to the protest area as
                2   protesters, blocked Highway lol. 4 iI 13. Several blocks away, individuals reportedly
               3    vandalized Way no driverless vehicles. Espiritu Decl. Ex. R. Some people "moved
               4    through downtown, setting off commercial-grade fireworks toward federal officers and
               5    throwing objects at passing law enforcement vehicles." Santacruz Decl. iI 26. Individuals
               6    "lit fires in dumpsters and trash bins[,] looted at least one store," and vandalized buildings.
               7    4 At least 42 people were arrested in connection with their conduct during the June 8
               8    protests. Olmstead Decl. iI 14.
               9           That same day, Governor Newsom's office wrote to Secretary Hegseth, stating that
               10   the June 7 DOD Order did not comply with the law or even with President Trump's June 7
               11   Memo. Espiritu Decl. EX. K. The letter argued that "local law enforcement resources are
               12   sufficient to maintain order" and that deploying the National Guard without adequate
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     ~         13   training or orders "risks seriously escalating the situation." 4 Asserting that the
               14   deployment represented "a serious breach of state sovereignty that seems intentionally
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         2 15       designed to inflame the situation," the letter asked Secretary Hegseth to rescind the June 7
               16   DOD Order. Id.
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4)   U         17          Instead, on June 9, Secretary Hegseth posted on social media that "approximately
               18   700 active-duty U.S. Marines from Camp Pendleton are being deployed to Los Angeles to
               19   restore order" and "defend federal law enforcement officers." Eck Decl. iI 18. Secretary
               20   Hegseth then issued a second order federalizing another 2,000 National Guard members
               21   for 60 days. June 9 DOD Order (Espiritu Decl. EX. P at 114). Defendants did not consult
               22   with Governor Newsom in advance of the June 9 DOD Order. Espiritu Decl. EX. S. On
               23   June 9, a thousand demonstrators gathered, and one person drove by firing paintballs at the
               24   FPS inspectors. Santacruz Decl. 'II 28. The crowd clashed with LAPD officers, injuring
               25   five. 4 'II 31 .
               26          Over the course of the protests, state and local law enforcement arrests increased by
               27   the day, with over 400 individuals ultimately being arrested in total. Olmstead Supp. Decl.
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             1    (dkt. 39-3) iI 14.3 The parties have not introduced any evidence of any protesters carrying
              2   firearms, and there is no evidence of any organized (as opposed to sporadic) violence.
             3           D.     Procedural History
             4           Plaintiffs Newsom and the State of California bring suit against Defendants Trump,
             5    Hegseth, and the DOD, arguing that Defendants' actions exceeded the scope of their
             6    authority. See Compl. (dkt. 1). The complaint includes causes of action for: (1) ultra
             7    wires, against all Defendants, (2) violation of the Tenth Amendment of the U.S.
             8    Constitution, against all Defendants, and (3) violation of the Administrative Procedures
             9    Act, against Secretary Hegseth and the Department of Defense. 4 Plaintiffs seek
             10   declaratory and injunctive relief. 4 '[[ 107. On June 10, Plaintiffs filed a Motion for a
             11   TRO, asking the Court to rein in the President's use of military force in Los Angeles. Mot.
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             12   (dkt. 8), Reply (dkt. 39). Defendants have opposed the motion, see Opp., and the Court
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Uo E         13   held a hearing on June 12.
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+_» 4 -           II.    LEGAL STANDARD
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Q O         15           A party seeking a temporary restraining order must establish (1) a likelihood of
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       D 16       success on the merits, (2) a likelihood of irreparable harm absent preliminary relief,
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                  (3) that the balance of equities tips in its favor, and (4) that an in unction is in the public
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D Zc 18           interest. Winter V. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), Stuhlbarg Int'l
             19   Sales Co. V. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001) (standard for
             20   temporary restraining order the same as for preliminary injunction). Alternatively, if the
             21   party demonstrates that "the balance of hardships tips sharply in [its] favor," it need only
             22   show that "serious questions going to the merits were raised" and that the other two Winter
             23   elements are satisfied. All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th
             24   Cir. 201 l) (citation omitted). Either way, success on the merits "is the most important
             25   Winter factor." Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017)
             26   (citation omitted). And when the government is a party, the last two Winter factors-the
             27
                  3
             28    LAPD made 29 arrests on June 7. 4 LAPD, LASD, and CHP made at least 41 arrests
                  on June 8, 135 arrests on June 9, and 297 arrests on June 10. Id.
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           1    equities and the public interest-merge. E. Bay Sanctuary Covenant V. Biden, 993 F.3d
            2   640, 668 (9th Cir. 2021).
           3    III.   DISCUSSION
           4           The Court begins with the likelihood of success on the merits and, concluding that
           5    Plaintiffs are likely to succeed on at least some of their claims, then proceeds to the
           6    remaining Winter factors.
           7           A.     Likelihood of Success on the Merits
           8           Plaintiffs bring three claims-an ultra wires claim, a Tenth Amendment claim, and
           9    an APA claim-but rely only on the first two for purposes of their motion for a temporary
           10   restraining order. Mot. at 7-1 l, 12-15 (ultra wires), 11-12 (Tenth Amendment). As part
           11   of their ultra wires claim, Plaintiffs contend that President Trump exceeded his lawful
           12   authority in three ways: First, although he cited 10 U.S.C. § 12406, which permits the
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     9: 13      President to federalize the National Guard, none of the three statutory conditions for
           14   invoking that statute were met. Second, he failed to comply with § 12406's procedural
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     2 15       requirement that any order issued under that statute "shall be issued through the governors
           16   of the States." Third, he federalized the National Guard for an unlawful purpose in
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4)   U     17   violation of the Posse Comitatus Act, 18 U.S.C. § 1385. The Court addresses these three
           18   arguments before turning to Plaintiffs' Tenth Amendment claim.
           19                 1.     Section 12406's Conditions for Federalization
           20          Through the Militia Act of 1903, Congress authorized the President to "call into
           21   Federal service members and units of the National Guard of any State in such numbers as
           22   he considers necessary," but only if
           23                 (1) the United States, or any of the Commonwealths or
                              possessions, is invaded or is in danger of invasion by a foreign
           24                 nation,
           25                 (2) there is a rebellion or danger of a rebellion against the
                              authority of the Government of the United States, or
           26
                              (3) the President is unable with the regular forces to execute the
           27                 laws of the United States.
           28   Pub. L. No. 57-33, § 4, 32 Stat. 775, 776 (codified at 10 U.S.C. § 12406). Neither
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           1    President Trump nor Secretary Hegseth specified by a citation to the statute which of these
            2   conditions justified federalizing the National Guard, though President Trump's
            3   memorandum suggests that he relied on the second, the third, or both. June 7 Memo ( "To
           4    the extent that the protests or acts of violence directly inhibit the execution of the laws,
           5    they constitute a form of rebellion against the authority of the Government of the United
            6   States."). Defendants confirm in their opposition brief and at the June 12 hearing that they
           7    rely on the second and third conditions.4 Opp. at 13-16.
            8          Defendants also challenge whether the Court can even properly evaluate whether
            9   these conditions were met, asserting that § 12406 reserved this determination to the
           10   President's discretion alone. 4 at 10-13. This presents a preliminary question for the
           11   Court to resolve before addressing the merits of the § 12406 conditions for federalizing the
           12   National Guard.
           13                        a.      Justiciability
           14          "It is emphatically the province and duty of the judicial department to say what the
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     2 15       law is." Marbury V. Madison, 5 U.S. (l Cranch) 137, 177 (1803). Thus, federal courts
           16   have "no more right to decline the exercise of jurisdiction which is given, than to usurp
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4)   U     17   that which is not given." Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821). The
           18   Supreme Court has recognized only limited exceptions to this general rule-one of which
           19   is known as the "political question" doctrine. Zivotofsky ex rel. Zivotofsky v. Clinton, 566
           20   U.S. 189, 195 (2012). This doctrine recognizes that certain "[q]uestions, in their nature
           21   political, or which are, by the constitution and laws, submitted to the executive, can never
           22   be made in this court." Marbury, 5 U.S. at 170. The political question doctrine is,
           23   however, a "narrow exception" to the general rule that "the Judiciary has a responsibility
           24   to decide cases properly before it, even those it 'would gladly avoid.'" Zivotofsky, 566
           25   U.S. at 195 (quoting Cohens, 19 U.S. at 404).
           26
           27
                4 To be sure, nothing in the June 7 Memo, the June 7 DOD Order, or the June 9 DOD
           28   Order remotely suggested that the United States or California had been "invaded or [was]
                in danger of invasion by a foreign nation." 10 U.S.C. § 12406 (emphasis added).
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             1           Baker V. Carr is the canonical case examining this doctrine. 369 U.S. 186 (1962).
              2   In Baker, the Court proposed six ways in which a case might present a political question
             3    and thus be unfit for judicial review: (l) if there is "a textually demonstrable constitutional
             4    commitment of the issue to a coordinate political department," (2) if there is "a lack of
             5    judicially discoverable and manageable standards for resolving it," (3) if it would be
             6    impossible to decide the issue "without an initial policy determination of a kind clearly for
             7    nonjudicial discretion," (4) if it would be impossible for a court to "undertake]
             8    independent resolution without expressing lack of the respect due coordinate branches of
             9    government," (5) if there is "an unusual need for unquestioning adherence to a political
             10   decision already made," or (6) if there is "potentiality of embarrassment from multifarious
             11   pronouncements by various departments on one question." 4 at 217. "Unless one of
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             12   these formulations is inextricable from the case at bar, there should be no dismissal for
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Uo E         13   non-justiciability on the ground of a political question's presence." 4
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.8 U         14          Defendants contend that the third Baker formulation-the existence of a policy
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Q O         15    question "clearly for nonjudicial discretion"-applies here to render nonjusticiable the
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       D 16       question whether § l2406's conditions for federalization of the National Guard were met.
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                  Opp. at 12-13. They rely on the language of § 12406 itself, stating that the statute gives
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D Zc 18           sole and exclusive discretion to the President to determine whether "there is a rebellion or
             19   danger of a rebellion against the authority of the Government of the United States" or
             20   whether he "is unable with the regular forces to execute the laws of the United States." 4
             21   at 10-13. Indeed, at the hearing Defendants contended that the President could invoke
             22   § 12406 on no evidence whatsoever and remain immune from judicial review. And to be
             23   sure, when the "executive possesses a constitutional or legal discretion,     their acts are
             24   only politically examinable." Marbury, 5 U.S. at 166, see also Dalton v. Specter, 511 U.S.
             25   462, 477 (1994) ("Where a statute      commits decisionmaking to the discretion of the
             26   President, judicial review of the President's decision is not available.").
             27          Defendants misconstrue the plain language of § 12406, however. The statute
             28   permits the President to federalize the National Guard "[w]henever" one of the three
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             1    enumerated conditions are met, not whenever he determines that one of them is met. 10
              2   U.S.C. § 12406. Defendants point to the language providing that "the President may call
             3    into Federal service members and units of the National Guard of any state in such numbers
             4    as he considers necessary to repel the invasion, suppress the rebellion, or execute those
             5    laws." 4 (emphasis added). But their argument puts the cart before the horse. For the
             6    President to exercise his discretion (as to how many National Guard members or units to
             7    federalize), there must first be an invasion, rebellion, or inability to execute the laws.
             8    Consider, as an analogy, 5 U.S.C. § 3345, which applies "[i]fan officer of an Executive
             9    agency      whose appointment to office is required to be made by the President        dies,
             10   resigns, or is unable to perform the functions and duties of the office." 4 § 3345(a). The
             11   President's discretion in what to do next, see        § 3345(a)(2)-(3), does not mean that the
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             12   President can unilaterally and without judicial review declare that a vacancy exists in order
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Uo E         13   to fill it. That is classic ipse dixit.
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.8 U         14          Defendants assert that, despite the plain language of the statute, the Supreme
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Q O         15    Court's 1827 Martin V. Mott decision compels a different outcome. 25 U.S. (12 Wheat.)
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       D 16       19 (1827). Martin arose from a militiaman's refusal to enter federal service to fight in the
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                  War of 1812 after President Madison had ordered the New York militia into federal service
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D Zc 18           pursuant to a predecessor statute to the Militia Act of 1903. See        at 28. That statute
             19   provided that "whenever the United States shall be invaded, or be in imminent danger of
             20   invasion from any foreign nation or Indian tribe, it shall be lawful for the President of the
             21   United States to call forth such number of the militia of the state, or states, most
             22   convenient to the place of danger, or scene of action, as he may judge necessary to repel
             23   such invasion." Act of Feb. 28, 1795, ch. 36, 1 Stat. 424, 424. Martin thus presented the
             24   question: "Is the President the sole and exclusive judge whether the exigency has arisen, or
             25   is it to be considered as an open question, upon which every officer to whom the orders of
             26   the President are addressed, may decide for himself, and equally open to be contested by
             27   every militia-man who shall refuse to obey the orders of the President'?" 25 U.S. at 29-30.
             28   The Supreme Court held "that the authority to decide whether the exigency has arisen,
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              1    belongs exclusively to the President, and that his decision is conclusive upon all other
               2   persons." Id. at 30. It stated that the President "is necessarily constituted the judge of the
              3    existence of the exigency in the first instance, and is bound to act according to his belief of
              4    the facts." 4 at 3 l. And so the Court concluded that "[w]henever a statute gives a
              5    discretionary power to any person, to be exercised by him upon his own opinion of certain
              6    facts, it is a sound rule of construction, that the statute constitutes him the sole and
              7    exclusive judge of the existence of those facts." 4 at 31-32.
              8           In J.A.V. v. Trump, a challenge to President Trump's actions under the Alien
              9    Enemies Act, the federal government relied on Martin to make a similar argument to the
              10   one they make here. --- F. Supp. 3d ----, 2025 WL 1257450 (S.D. Tex. May l, 2025). The
              11   plaintiffs in that case were Venezuelan citizens who alleged that President Trump's
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+-» ' *       12   removal of Venezuelan citizens had exceeded the terms of the AEA, which allows the
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      :       13   President, in his discretion, to remove certain noncitizens when "any invasion or predatory
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+_» 4-        14   incursion is perpetrated, attempted, or threatened against the territory of the United States
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Q O           15   by any foreign nation or government." 4 at *2, 5, 50 U.S.C. § 21, see also Ludecke v.
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       D 16        Watkins, 335 U.S. 160, 164 (1948) (the AEA "confers on the president very great
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              17   discretionary powers"). President Trump argued there, as he does here, that the political
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D Zc 18            question doctrine shielded his attempt to remove Venezuelan citizens from the United
              19   States because "whether the AEA's preconditions are satisfied is a political question
              20   committed to the President's discretion." J.A.V., 2025 WL 1257450, at *7. And he cited
              21   Martin for the same proposition as he does here. See Opp. to Mot. for Prelim. In. at 12,
              22   J.A.V., No. 25-cv-72 (filed Apr. 23, 2025), ECF No. 45.
              23          Judge Rodriguez rejected President Trump's attempt to preclude judicial review.
              24   He emphasized that "'questions of interpretation' fall within the Judiciary's responsibility"
              25   and that this can involve "analyzing whether a government official has impermissibly
              26   crossed statutory boundaries" by "determining the meaning of statutory terms and gauging
              27   the government's actions against those determined parameters." J.A.V., 2025 WL
              28   1257450, at *9. Accordingly, he went on to define "invasion" and "predatory incursion"
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              1    before concluding that President Trump had not adequately established the existence of
               2   either. J.A.V., 2025 WL 1257450, at *14-18.
              3           The Court agrees with Judge Rodriguez's thoughtful reasoning in J.A.V. and finds
              4    it applicable here. To start, J.A.V. is in line with other recent decisions rebuffing efforts
              5    from Defendants to skirt judicial review of their alleged statutory violations. See. e.g.,
              6    J.G.G. v. Trump,      F. Supp. 3d   -   -   -   -




                                                                       2025 WL 890401, at *9 (D.D.C. 2025) ("Simply
              7    because a legal claim implicates foreign affairs or national security, however, does not
              8    mean that the political-question doctrine places it 'beyond judicial cognizance."' (citation
              9    omitted)). It is also consistent with a long line of precedent recognizing the judiciary's
              10   role in interpreting statutory text. See. e.g., Zivotofsky, 566 U.S. at 196 (determining
              11   whether federal officials' "interpretation of [a] statute is correct" is "a familiar judicial
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+-» ' *       12   exercise"), Japan Whaling Ass'n v. Am. Cetacean Soc'y, 478 U.S. 221, 230 (1986)
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      :       13   ("[O]ne of the Judiciary's characteristic roles is to interpret statutes, and we cannot shirk
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+_» 4-        14   this responsibility merely because our decision may have significant political overtones."),
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Q O           15   El-shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 842 (D.C. Cir. 2010) ("[T]hat a
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       D 16        case may involve the conduct of the nation's foreign affairs does not necessarily prevent a
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              17   court from determining whether the Executive has exceeded the scope of prescribed
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D Zc 18            statutory authority or failed to obey the prohibition of a statute or treaty."), Stark v.
              19   Wickard, 321 U.S. 288, 310 (1944) ("The responsibility of determining the limits of
              20   statutory grants of authority    is a judicial function entrusted to the courts by Congress by
              21   the statutes establishing courts and marking their jurisdiction."). Finally, even though the
              22   AEA and § 12406 are different statutes, they both grant the President discretion in some
              23   respects while still containing important statutory conditions that must be met for that
              24   discretion to be exercised. See Ludecke, 335 U.S. at 164, 171. Accordingly, the Court
              25   concludes that § 12406 does not preclude judicial review of whether a rebellion has
              26   occurred or is in danger of occurring, or whether the President is unable to execute federal
              27   law.
              28          To be sure, based on longstanding deference to the President on matters of national
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             1    security and foreign policy, courts cannot second-guess a President's factual
              2   determinations in support of a proclamation under the AEA that an invasion or predatory
             3    incursion had occurred or was threatened. J.A.V., 2025 WL 1257450, at *10 (citing
             4    Holder V. Humanitarian L. Project, 561 U.S. l, 34 (2010), Chi. & S. Air Lines V.
             5    Waterman S. S. Corp., 333 U.S. 103, ill (1948), and Martin, 25 U.S. at 315), see also
             6    Trump V. Hawaii, 585 U.S. 667, 708 (2018) ("[T]he Executive's evaluation of the
             7    underlying facts is entitled to appropriate weight, particularly in the context of litigation
             8    involving 'sensitive and weighty interests of national security and foreign affairs."'
             9    (quoting Humanitarian L. Project, 561 U.S. at 33-34)). As discussed below, the Court
             10   here-like Judge Rodriguez in J.A.V.-does not question Defendants' factual assertions.
             11   The Court considers only whether those factual assertions, if true, constitute a rebellion or
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             12   make the President unable to execute federal law.
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Uo E         13          That said, the Court points out that this case is not one involving the kind of foreign
 +-» CO
.8 U         14   policy or national security questions that traditionally are left to the President. It instead
+_» 4 -
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Q O         15    implicates the President's domestic use of military force, a matter on which the courts can
  on
  G)    f:
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       D 16       certainly weigh in. As the Supreme Court stated over fifty years ago:
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~»-I   .S                       The concerns of the Executive and Legislative Branches in
 Q     4-3
       $-                       response to disclosure of the Army surveillance activities
D Zc 18                         reflect a traditional and strong resistance of Americans to any
                                military intrusion into civilian affairs. That tradition has deep
             19                 roots in our history and found early ex ression, for example, in
                                the Third Amendment's explicit prohibition against quartering
             20                 soldiers in private homes without consent and in the
                                constitutional provisions for civilian control of the military.
             21                 Those prohibitions are not directly presented by this case, but
                                their philosophical underpinnings explain our traditional
             22                 insistence on limitations on military operations in peacetime.
                                Indeed, when presented with claims of judicially cognizable
             23
             24   5 Martin, like other cases that Defendants cite (for example, California V. United States),
             25   involved issues of foreign policy and national security not presented in this case. See
                  Martin, 25 U.S. at 31 ("[T]he evidence upon which the President might decide that there is
             26   imminent danger of invasion, might be of a nature not constituting strict technical proof, or
                  the disclosure of the evidence might reveal important secrets of state, which the public
             27   interest, and even safety, might imperiously demand to be kept in concealment."),
                  California v. United States, 104 F.3d 1086, 1091 (9th Cir. 1997) ("In this case, the issue of
             28   protection of the States from invasion implicates foreign policy concerns which have been
                  constitutionally committed to the political branches.").
                                                                15
                                                        A275
                  Case 3=28%Sv%3§78?8¥zé)6/186%%?9en9"é§"")£a8-Jo'3?§8é's04 9333316 of 36




                                injury resulting from military intrusion into the civilian sector,
             1                  federal courts are fully empowered to consider claims of those
                                asserting such injury, there is nothing in our Nation's history or
              2                 in this Court's decided cases, including our holding today, that
                                can properly be seen as giving any indication that actual or
             3                  threatened injury by reason of unlawful activities of the military
                                would go unnoticed or unremedied.
             4
             5    Laird V. Tatum, 408 U.S. 1, 15-16 (1972) (emphasis added).6 Between the unique
             6    concerns raised by federal military intrusion into civilian affairs and the fact that federal
             7    officials are not uniquely positioned to ascertain what is happening on the ground (as
             8    compared to, say, state and local officials), the Court is not convinced that the judiciary
             9    cannot question presidential assertions about domestic activities leading to military action.
             10   See Myers V. United States, 272 U.S. 52, 177 (Holmes, J., dissenting) ("The duty of the
             11   President to see that the laws be executed is a duty that does not go beyond the laws or
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             12   require him to achieve more than Congress sees fit to leave within his power.").
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Uo E         13          At bottom, § 12406 does not reserve to sole presidential discretion the
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.8 U         14   determination of whether a rebellion has or is in danger of occurring or whether the
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Q O         15    President is unable to execute federal law. Accordingly, the Court now turns to the
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       D 16       questions whether (1) "there [was] a rebellion or danger of a rebellion against the authority
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                  of the Government of the United States" or (2) "the President [was] unable with the regular
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 Q     $-
D Zc 18           forces to execute the laws of the United States."
             19                        b.      Rebellion
             20          Section 12406 does not define the term "rebellion," so the Court must interpret the
             21   term "consistent with [its] 'ordinary meaning at the time Congress enacted the statute."'
             22   Wis. Cent. Ltd. V. United States, 585 U.S. 274, 277 (2018) (cleaned up) (citation omitted).
             23   In this endeavor, the Court may turn to contemporary dictionary definitions for insight.
             24   See, e.g.,   (relying on dictionary definitions of "money"), Lackey V. Stinnie, 145 S. Ct.
             25
             26   6 In Laird, the plaintiffs challenged federal military action taken pursuant to the
             27   Insurrection Act, which grants certain presidential discretion. 4 at 3 & n.2. The Court
                  did not reject the lawsuit on justiciability grounds, though, but for lack of any injury to the
             28   plaintiffs. Id. at 13. Indeed, as quoted above, the Court strongly insisted that judicial
                  review remained available for any claim "of judicially cognizable injury." 4 at 16.
                                                                  16
                                                       A276
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             1    659, 667 (2025) (relying on dictionary definitions of "prevailing party"), City of Los
              2   Angeles V. Barr, 941 F.3d 931, 940 (9th Cir. 2019) ("We give Congress's words their
             3    ordinary and everyday meaning, and may consult dictionary definitions to ensure a plain
             4    interpretation."). And where there are multiple dictionary definitions, the Court must
             5    apply "the contextually appropriate ordinary meaning, unless there is reason to think
             6    otherwise." Antonin Scalia & Bryan A. Gamer, Reading Law: The Interpretation of Legal
             7    Texts 70 (2012). Part of understanding context involves recognizing that statutes "should
             8    be construed so that effect is given to all [their] provisions, so that no part will be
             9    inoperative or superfluous, void or insignificant." Hibbs v. Winn, 542 U.S. 88, 101 (2004)
             10   (citation omitted).
             11          Both parties quote the definition of "rebellion" from the current edition of Black's
+-» ' *
       cu
             12   Law Dictionary, which is:
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Uo E         13                 1. Open, organized, and armed resistance to an established
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.8 U                            government or ruler, esp., an organized attempt to change the
+_» 4 -
             14                 government or leader of a country, usu. through violence.
.3 c
   4-3
Q O         15                  2. Open resistance or opposition to an authority or tradition.
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  G)    f:
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       D 16                     3. Hist. Disobedience of a legal command or summons.
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                  Rebellion, Black's Law Dictionary (12th ed. 2024). The Court's own research has turned
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 Q     $-
D Zc 18           up the following definitions from the late 1800s and early 1900s-the relevant time period
             19   for understanding what Congress meant when they passed the Militia Act of 1903 :
             20                 Deliberate, organized resistance, by force and arms, to the laws
                                and operations of the government, committed by a subject.
             21
             22   Rebellion, Black's Law Dictionary (1st ed. 1891).
             23                 1. An open and avowed renunciation of the authority of the
                                government to which one owes allegiance, or the taking of arms
             24                 traitorously to resist the authority of lawful government, revolt.
                                Rebellion differs from insurrection and from mutiny.
             25                 Insurrection may be a rising in opposition to a particular act or
                                law, without a design to renounce wholly all subjection to the
             26                 government. Insurrection may be, but is not necessarily,
                                rebellion. Mutiny is an insurrection of soldiers or seamen against
             27                 the authority of their officers.
             28                 2. Open resistance to lawful authority.
                                                               17
                                                        A277
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             1    Rebellion, American Dictionary of the English Language (1900) .
              2                 The taking up of arms traitorously against the government, the
                                forcible opposition and resistance to the laws and process
             3                  lawfully installed. If the rebellion amounts to treason, it is
                                punished by the laws of the United States with death. If it be a
             4                  mere resistance of process, it is generally punished by fine and
                                imprisonment.
             5
             6    Rebellion, The Cyclopedic Dictionary of Law (1901).
             7                  1. The act of rebelling, open and avowed renunciation of the
                                authority of the government to which one owes obedience, and
             8                  resistance to its officers and laws, either by levying war, or by
                                aiding others to so, an organized uprising of subjects for the
             9                  purpose of coercing or overthrowing their lawful rule or
                                government by force, revolt, insurrection.
             10
                                2. Open resistance to, or defiance of, lawful authority.
             11
+-» ' *
       cu
             12   Rebellion, Webster's International Dictionary of the English Language (1903)
 'S e
    c
Uo E         13          Where dictionaries list multiple definitions of "rebellion," the first definition is the
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.8 U         14   one demanded by context here. The first definition of "rebellion" in each dictionary is
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Q O         15    political in nature, as opposed to the more open-ended concept of "rebellion" that some
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       D 16       dictionaries provide as a secondary definition. Indeed, dictionaries' examples of the
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                  secondary usage of the term never apply in the political arena. See, e.g., Rebellion, Oxford
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 Q     $-
D Zc 18           English Dictionary (rev. 2009).7 And if there were any room for doubt, the language of
             19   § 12406 (requiring that the rebellion be "against the authority of the Government of the
             20   United States") resolves the question in favor of the political definition of "rebellion"
             21          From there, the Court observes that the dictionary definitions from the turn of the
             22   century share several key characteristics. First, a rebellion must not only be violent but
             23
             24   7 The Oxford English Dictionary's secondary definition of "rebellion" is "[o]pen or
             25   determined defiance of or resistance to any authority, controlling power, or convention, an
                  instance of this." Examples of this usage include spiritual rebellion ("The event of this
             26   evening has reconciled me to God and humanity! I had risen in angry rebellion against
                  providence." (quoting Bronte, Wuthering Heights, 87 (New York, Harper & Bros. 1858)
             27   (1847))) and familial rebellion ("He had forgotten that he had it, but told me when he saw
                  it that he remembered it as the first thing that made him begin to rise against his father in a
             28   rebellion which he recognized as righteous." (quoting Butler, The Way of All Flesh, 178
                  (New York, E.P. Dutton & Co. 1917) (1903))).
                                                                 18
                                                       A278
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           1    also be armed. Second, a rebellion must be organized. Third, a rebellion must be open
            2   and avowed. Fourth, a rebellion must be against the government as a whole-often with
           3    an aim of overthrowing the government-rather than in opposition to a single law or issue.
           4           The protests in Los Angeles fall far short of "rebellion." Defendants refer
           5    repeatedly to "violent rioters," and "mobs," see, e.g., Opp. at l, and so the Court pauses to
           6    state that there can be no debate that most protesters demonstrated peacefully.
           7    Nonetheless, it is also beyond debate that some individuals used the protests as an excuse
           8    for violence and destruction. Some bad actors on June 6 threw "concrete chunks, bottles
           9    of liquid, and other objects at   officers," Santacruz Decl. 'II II, and used "chairs,
           10   dumpsters, and other items as weapons,"       iI 14. Others threw rocks and other objects,
           11   including a Molotov cocktail, on June 7. Olmstead Decl. 'II 9. A "violent crowd" boxed in
           12   officers, threw fireworks, rocks, and mangos, and trapped one officer in her car,
     5
     9: 13      surrounding it, shaking it, and throwing stones at it. Santacruz Decl. EX. 20. Some people
           14   on June 8 set off fireworks toward officers and threw obj ects at their vehicles. Santacruz
     1-1

     2 15       Decl. 'II 26. Someone on June 9 fired paintballs,     q128, and a crowd injured five LAPD
           16   officers,   'II 31.
G C
4)   U     17          Violence is necessary for a rebellion, but it is not sufficient. Even accepting the
           18   questionable premise that people armed with fireworks, rocks, mangoes, concrete, chairs,
           19   or bottles of liquid are "armed" in a 1903 sense-the Court is aware of no evidence in the
           20   record of actual firearms-there is little evidence of whether the violent protesters' actions
           21   were "open or avowed." Some presumably engaged violently with officers at close
           22   quarters in the daylight, while many others threw items under cover of darkness, protected
           23   by a crowd, identities concealed. Certainly, the peaceful protesters were "organized" to
           24   some degree, in that people knew generally knew where to go to participate in protests,
           25   see, e.g., Espiritu Decl. EX. F ("Dozens of protesters gathered Friday evening outside a
           26   federal detention center in Los Angeles where lawyers said those arrested had been taken,
           27   chanting 'set them free, let them stay! '"), but there is no evidence of organized, as apart
           28
                                                              19
                                                     A279
                  Case 3=28%Sv%3§78?8¥zé)6/186%%?9en9"é§"")£a8-J o@?§8é'98 9333320 of 36




             1    from sporadic or impromptu, violence.8 Nor is there evidence that any of the violent
              2   protesters were attempting to overthrow the government as a whole, the evidence is
             3    overwhelming that protesters gathered to protest a single issue-the immigration raids.
             4    See, e.g., Espiritu Decl. Ex. D ("Friday evening, protesters marched in downtown L.A.
             5    condemning Friday's immigration raids."). While Defendants have pointed to several
             6    instances of violence, they have not identified a violent, armed, organized, open and
             7    avowed uprising against the government as a whole. The definition of rebellion is unmet.
             8           Moreover, the Court is troubled by the implication inherent in Defendants '
             9    argument that protest against the federal government, a core civil liberty protected by the
             10   First Amendment, can justify a finding of rebellion. The U.S. Reports are chock-full of
             11   language explaining the importance of individuals' right to speak out against the
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             12   government--even when doing so is uncomfortable, even when doing so is provocative,
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Uo E         13   even when doing so causes inconvenience. See, e.g., Cohen v. California, 403 U.S. 15,
 +-» CO
.8 U         14   24-25 (1972) ("To many, the immediate consequence of this freedom may often appear to
+_» 4 -
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   4-3
Q O         15    be only verbal tumult, discord, and even offensive utterance.      That the air may at times
  on
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       D 16       seem filled with verbal cacophony is, in this sense not a sign of weakness but of
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                  strength."), Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 508 ("But, in our
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 Q     $-
D Zc 18           system, undifferentiated fear or apprehension of disturbance is not enough to overcome the
             19   right to freedom of expression. Any departure from absolute regimentation may cause
             20   trouble.     Any word spoken       that deviates from the views of another person may start
             21   an argument or cause a disturbance. But our Constitution says we must take this risk.") ,
             22   Cox v. Louisiana, 379 U.S. 536, 550-51 (rejecting the argument that a conviction for
             23   breach of the peace "should be sustained because of fear expressed by some [onlookers]
             24   that 'violence was about to erupt' because of the demonstration" and explaining "that
             25   constitutional rights may not be denied simply because of hostility to their assertion or
             26
             27   8 To the contrary, the record suggests that the violent individuals might not have been bona
             28   fide protesters. See McPhee, supra ("McDonnell said of the most violent protestors
                  'many come in from other places just to hurt people and cause havoc."').
                                                                20
                                                      A280
                 Case 3=28%Sv%3§78?8¥zé)6/186%%?9en9"é§"")£a8-J oE?§8é'99 9333321 of 36




            1    exercise" (quoting Watson V. City of Memphis, 373 U.S. 526, 535 (1963))), Texas V.
             2   Johnson, 491 U.S. 397, 414 (1989) ("If there is a bedrock principle underlying the First
             3   Amendment, it is that the government may not prohibit the expression of an idea simply
            4    because society finds the idea itself offensive or disagreeable."), Hurley V. Irish-Am. Gay,
            5    Lesbian & Bisexual Grp. of Boston, Inc., 515 U.S. 557, 574 (1995) ("[T]he point of a11
             6   speech protection [] is to shield just those choices of content that in someone's eyes are
            7    misguided, or even hurtful.").
             8          Applying these principles, courts have repeatedly reaffirmed that peaceful protest
             9   does not lose its protection merely because some isolated individuals act violently outside
            10   the protections of the First Amendment:
            11                 Moreover, although defendants make much of the fact that some
                               demonstrators had allegedly violated the law, transforming the
            12                 peaceful demonstration into a potentially disruptive one, the
                               Supreme Court has expressly held that "the right to associate
            13                 does not lose all constitutional protection merely because some
                               members of the group may have participated in conduct or
            14                 advocated doctrine that itself is not protected."
      1-1

      2 15       Jones v. Parmley, 465 F.3d 46, 57 (2d Cir. 2006) (cleaned up) (quoting NAACP v.
            16   Claiborne Hardware Co., 458 U.S. 886, 908 (1982)), see also Black Lives Matter Seattle-
      >-
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4)
»_»   9 17       King Cnty. V. City of Seattle, 466 F. Supp. 3d 1206, 1213 (W.D. Wash. 2020) (finding that
            18   instances of protesters "launch[ing] objects at the police, ranging from rocks, bottles,
            19   fireworks, traffic cones, traffic flares, and more," warranted only "ensur[ing] an adequate
            20   police presence" and "arrest[ing] those who engage in such conduct" rather than
            21   "suppress[ing] legitimate First Amendment conduct as a prophylactic measure" (quoting
            22   Collins V. Jordan, 110 F.3d 1363, 1372 (9th Cir. 1996))), Index Newspapers LLC V. City
            23   of Portland, 480 F. Supp. 3d 1120, 1143 (D. Or. 2020) ("The fact that there are some
            24   violent offenders [] does not give the Federal Defendants carte blanche to attack journalists
            25   and legal observers and infringe their First Amendment rights."). In short, individuals '
            26   right to protest the government is one of the fundamental rights protected by the First
            27   Amendment, and just because some stray bad actors go too far does not wipe out that right
            28   for everyone. The idea that protesters can so quickly cross the line between protected
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                                                      A281
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              1    conduct and "rebellion against the authority of the Government of the United States" is
               2   untenable and dangerous .
               3          In a short paragraph, Defendants suggest that even if there was no rebellion that
              4    would justify federalizing the National Guard, there was still a "danger of a rebellion,"
              5    which would satisfy § 12406. Opp. at 16. This argument cannot withstand scrutiny. For
               6   starters, President Trump and Secretary Hegseth did not rely on a "danger of a rebellion"
              7    when issuing the memorandum and orders that federalized the National Guard under s
               8   12406. See June 7 Memo, June 7 Order, June 9 Order.9 It is concerning, to say the least,
               9   to imagine that the federal executive could unilaterally exercise military force in a
              10   domestic context and then be allowed to backfill justifications for doing so, especially
              11   considering how wary courts are of after-the-fact justifications even where the stakes are
      cu
+-» ' *       12   lower. Cf. Motor Vehicle Mfrs. Ass'n ofU.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S.
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L+-») CO
      :       13   29, 50 (1983) ("[C]ourts may not accept appellate counsel's post hoc rationalizations for
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+_» 4-        14   agency action."). But in any event, Defendants do not even explain how the Court should
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    c
Q O           15   determine whether there is a "danger of a rebellion." "Rebellion" remains the operative
  on
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       D 16        word, and so any difference between a "rebellion" and a "danger of a rebellion" must be a
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              17   difference of degree, not one of kind, with respect to the conduct of the alleged rebellion.
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D Zc 18            with that in mind, Defendants have still not established a factual basis-again, even
              19   assuming their factual assertions to be correct-from which this Court can conclude that
              20   there is a danger of an organized, violent, armed uprising with the goal of overthrowing the
              21   lawful government of the United States.
              22          Accordingly, Defendants do not satisfy the "rebellion" condition.
              23                        c.     Execution of the Laws
              24          The third condition justifying the federalization of the National Guard, and the
              25   second advanced by Defendants, is that "the President [was] unable with the regular forces
              26
              27   9 At the hearing, Defendants contended that President Trump's use of the phrase "[t]o the
                   extent" in the June 7 Memo means that he relied on the "danger of a rebel ion" clause. But
              28   the June 7 Memo states: "To the extent that protests or acts of violence directly inhibit the
                   execution of the laws, they constitute a form of rebellion," not a danger of rebellion.
                                                                22
                                                        A282
                Case 3=28%Sv%3§78?8¥zé)6/186%%?9en9"é§"")£a8-J088881 9333323 of 36




           1    to execute the laws of the United States." 10 U.S.C. § 12406, Opp. at 16-17. Defendants
            2   argue that they satisfy this condition because the Los Angeles protests threatened the
           3    safety of federal law enforcement personnel and interfered with the sites where ICE agents
           4    were enforcing alien removal laws. Opp. at 16. Defendants concede that ICE succeeded
           5    in arresting 44 people on June 6, but insist that "that limited success came with the risk of
           6    danger," and that, had the protests not interfered with their operations, ICE "would have
           7    been able to carry out additional execution-of-the-laws activity." 4
           8           Whether ICE could have detained more people in the absence of the protests is mere
           9    conjecture-Defendants provide no support for that assertion. Even assuming that
           10   Defendants are correct, however, the statute does not allow for the federalizing of the
           11   National Guard when the President faces obstacles that cause him to underperform in
           12   executing the laws. Nor does the statute allow for the federalizing of the National Guard
     5
     9: 13      when the President faces some risk in executing the laws, though of course federal
           14   employees should never have to fear danger when performing their jobs. The statute
     1-1

     2 15       requires that the President be "unable" to execute the laws of the United States. That did
           16   not happen here. See Espiritu Decl. Exs. G, H (between 70 and 80 people were detained,
G C
4)   U     17   and 44 arrested by ICE).
           18          A classic example of a president being "unable with the regular forces to execute
           19   the laws"-indeed, the only other time in this Country's history that a president has
           20   exclusively relied on § 12406 to federalize the National Guard-is the 1970 Postal Service
           21   Strike. See Opp. at 3 (drawing parallel to Postal Service Strike). Frustrated by low pay
           22   and poor working conditions, letter carriers voted on March 17, 1970 to strike,
           23   "threaten[ing] to bring the nation to a standstill." Pope, Operation Graphic Hand,
           24   Smithsonian Nat'l Postal Museum (Mar. 23, 2017), https://postalmuseum.si.edu/operation
           25   -graphic-hand. By March 19, 1970, the mail service was "paralyzed," the areas affected by
           26   the strike were growing, and "[b]ills, dividend checks, income-tax returns, advertising
           27   brochures, credit cards, bank statements, sales flyers and personal mail lay uncollected in
           28   thousands of mail drops." Bigart, Mail Service Here is Paralyzed by Postal System's First
                                                              23
                                                     A283
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             1    Strike, Business Beginning to Feel Pinch, N.Y. Times (March 19, 1970),
              2   https://perma.cc/8VYB-CT32. On March 23, 1970, President Nixon declared a state of
             3    national emergency, ordering 25,000 personnel from the National Guard and other military
             4    branches into New York City "to get some mail moving." Pope, supra, see also Bigart,
             5    Troops Welcomed as Mail Carriers, N.Y. Times (March 26, 1970), https://perma.cc/9A9N-
             6    PLHD, Exec. Order No. 11,519, 35 Fed. Reg. 5003 (Mar. 23, 1970). In that case, the mail
             7    system was incapacitated-the "regular forces" of letter carriers were on strike, and there
             8    was no other way to deliver the mail. In this case, the regular forces were and are still very
             9    much on duty. While ICE was not able to detain as many people as Defendants believe it
             10   could have, ICE was nonetheless able to execute the federal immigration laws. Indeed,
             11   ICE continues to carry out enforcement actions, executing those laws. See Espiritu Supp.
+-» ' *
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             12   Decl. (dkt. 39-1).
 'S e
    c
Uo E         13           Accordingly, Defendants do not satisfy the "execution of the laws" condition.
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.8 U         14
+_» 4 -                          2.     Section 12406's Procedural Requirements
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Q O         15            Shortly after enacting the Militia Act of 1903, Congress amended the Act to require
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       D 16       that any orders issued under § 12406 be issued "through the governor of the respective
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                  State    from which State      such troops may be called." Militia Act of 1908, Pub. L.
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 Q     $-
D Zc 18           No. 60-145, § 3, 35 Stat. 399, 400. Section 12406 maintains this requirement: "Orders for
             19   these purposes shall be issued through the governors of the States     "
             20           Plaintiffs assert that President Trump failed to comply with this procedural
             21   requirement. They explain that Governor Newsom first learned that President Trump had
             22   called 2,000 of California's National Guard members into federal service when
             23   California's adjutant general forwarded him the June 7 DOD Order. See Espiritu Decl.
             24   EX. K. From that point on, the commander of U.S. Northern Command, not the Governor,
             25   has issued all orders to the federalized National Guard. See Espiritu Decl. EX. J.
             26   Similarly, Secretary Hegseth-not Governor Newsome-issued the June 9 order calling
             27   another 2,000 National Guard members into federal service. See Espiritu Decl. EX. S.
             28           Defendants assert that they complied with § 12406 because written at the top of the
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              1    June 7 and June 9 DOD Orders was the label "THROUGH: THE GOVERNOR OF
               2   CALIFORNIA." Opp. at 17. True enough. But an interpretation of § 12406 that permits
              3    the President to federalize a state's National Guard by typing the phrase "Through the
              4    Governor of [insert state here]" at the top of a document that the President never sends to
              5    the governor strains credibility, especially given that Congress specifically amended the
              6    statute to add the requirement that orders "shall be issued through the governors." See
              7    Militia Act of 1908 § 3.
              8           Defendants also argue that they complied with this requirement by sending the
              9    order to California's adjutant general, who is tasked with issuing orders "in the name of the
              10   Governor." Opp. at 17 (citing Cal. Mil. & Vet. Code § 163). But § 12406 specifically
              11   requires that orders federalizing the National Guard be issued "through the governor of the
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+-» ' *       12   respective State," not through a different state official (even one who can issue orders in
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      :       13   the governor's name). Indeed, when Congress has wanted to accommodate other state
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+_» 4-        14   officials, it has done so expressly. For example, the Secretary of Defense may "order a
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Q O           15   member of a reserve component under his jurisdiction to active duty" except that members
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       D 16        "may not be ordered to active duty     without the consent of the governor or other
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              17   appropriate authority of the State concerned." 10 U.S.C. § 12301(d) (emphasis added).
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D Zc 18            And, in fact, § 12406 specifically provides for, "in the case of the District of Columbia,"
              19   orders to issue "through the commanding general of the National Guard of the District of
              20   Columbia."
              21          As a final point, Plaintiffs emphasize that Defendants did not provide Governor
              22   Newsom "an opportunity to provide or withhold his consent" or even "to consult         as to
              23   which service members and in what number should be called, and for what purposes and
              24   what period of time." Mot. at 6. Defendants respond that § 12406 says nothing about
              25   obtaining a governor's consent as a prerequisite for federalizing the National Guard. They
              26   are correct: section 12406 does not expressly require consent or approval of a governor to
              27   federalize that state's National Guard, unlike similar statutes. Cf. 10 U.S.C. § 12301(d)
              28   (allowing the Secretary of Defense to "order a member of a reserve component under his
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           1    jurisdiction to active duty" only with "the consent of the governor or other appropriate
            2   authority of the State concerned" (emphasis added)). That said, the June 7 Memo
            3   specifically ordered Secretary Hegseth to "coordinate with the Governors of the States" in
           4    the process of calling National Guard members to federal service, and Defendants do not
           5    claim to have done so. And in any case, the instant motion does not require the Court to
            6   determine whether or how § 12406 would operate if Secretary Hegseth had attempted to
           7    issue his orders through Governor Newsom and he had refused, as the President and
            8   Secretary circumvented the Governor (and thus, the procedure mandated by statute) from
            9   the outset.10

           10          Regardless of whether Defendants gave Governor Newsom an opportunity to
           11   consult with them or consent to the federalization of California's National Guard, they did
           12   not issue their orders through him, and thus failed to comply with § 12406.
           13                   3.     The Posse Comitatus Act
           14          Plaintiffs' third argument for why President Trump's federalization of the National
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     2 15       Guard exceeds his legal authority rests not on § 12406 but a different statute-the Posse
           16   Comitatus Act. First enacted in 1878, the Act prohibits military personnel from acting as a
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4)   U     17   "posse comitatus," or those "upon whom a sheriff could call for assistance in preventing
           18   any type of civil disorder." United States v. Dreyer, 804 F.3d 1266, 1272 (9th Cir. 2015)
           19   (en banc) (citation omitted), Act of June 18, 1878, ch. 263, § 14, 20 Stat. 145, 152. The
           20   current version of the Act provides:
           21                   Whoever, except in cases and under circumstances expressly
                                authorized by the Constitution or Act of Congress, willfully uses
           22                   any part of the Army, the Navy, the Marine Corps, the Air Force,
                                or the Space Force as a posse comitatus or otherwise to execute
           23                   the laws shall be fined under this title or imprisoned not more
                                than two years, or both.
           24
           25
           26   10 Where Presidents have federalized the National Guard against a state governor's wishes,
                they have used other statutes to do so. See Exec. Order No. 11,207, 30 Fed. Reg. 3743
           27   (Mar. 23, 1965) (relying on the Insurrection Act, then codified at 10 U.S.C. §§ 332-334,
                and now codified at 10 U.S.C. §§ 252-254). It seems that this would be the proper course
           28   if a governor refused to issue an order, as forcing a governor to do so would raise serious
                anti-commandeering problems. See Prinz V. United States, 521 U.S. 898, 935 (1997).
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              1    18 U.S.C. § 1385. The Act reflects "'a traditional and strong resistance of Americans to
               2   any military intrusion into civilian affairs' that 'has deep roots in our history and found
               3   early expression, for example, in the Third Amendment's explicit prohibition against
              4    quartering soldiers in private homes without consent and in the constitutional provisions
              5    for civilian control of the military."' Dreyer, 804 F.3d at 1272 (quoting Laird, 408 U.S. at
               6   15).
              7           The Posse Comitatus Act does not provide a private cause of action for damages.
               8   Black Lives Matter D.C. V. Trump, 544 F. Supp. 3d 15, 40 (D.D.C. 2021), aff"d sub nom.
               9   Buchanan v. Barr, 71 F.4th 1003 (D.C. Cir. 2023). But a plaintiff can still bring an ultra
              10   wires claim where, as Plaintiffs assert is the case here, an "agency has disregarded a

              11   specific and unambiguous statutory directive" or "has violated some specific command of
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+-» ' *       12   a statute." 4 at 41 (quoting Griffith v. FLRA, 842 F.2d 487, 493 (D.C. Cir. 1988)). So if
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      :       13   Plaintiffs are correct that President Trump and Secretary Hegseth's federalization of the
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+_» 4-        14   National Guard requires National Guard members to violate the Posse Comitatus Act, such
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Q O           15   a violation may provide a basis for their ultra wires claim.
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       D 16               At present, Plaintiffs contend that that the federalized National Guard troops and the
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              17   Marines are "likely" to engage in "active involvement in the execution of the laws" in
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D Zc 18            violation of the Posse Comitatus Act. See Mot. at 14, see also United States v. Khan, 35
              19   F.3d 426, 431 (9th Cir. 1994) (quoting United States v. Yunis, 924 F.2d 1086, 1094 (D.C.
              20   Cir. 1991)). They concede that there are a number of "supportive activities" in which the
              21   military can engage without running afoul of the Act, such as "maintenance and repair,
              22   transportation, training facilities, counterdrug and counter-transactional organized crime
              23   training, and surveillance support." Mot. at 15. But Plaintiffs note that the federalized
              24   National Guard members will soon provide support during immigration enforcement
              25   operations and not only at federal buildings. 4 at 14 (citing Eck Decl. iI 19). And they
              26   suspect that such support will lead to the military "physically confront[ing], detain[ing], or
              27   search[ing] civilians," which would constitute "executing civil laws." 4 at 15-16. By the
              28   time they filed a reply brief, Plaintiffs asserted that "that threat has already become a
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             1    reality," because heavily armed National Guard members have been photographed
              2   standing near ICE agents during arrests. Reply (dkt. 38) at II (citing Espiritu Reply Decl.
             3    EXS. 2, 3). While the sight of an armed National Guard member no doubt has the potential
             4    to intimidate, Plaintiffs do not contend that National Guard members have in fact
             5    participated in any arrests.
             6           Defendants respond that they have not violated the Act, and will not, as the June 7
             7    Trump Memo and the June 7 and June 9 DOD Orders do not direct the federalized
             8    National Guard members to undertake activities that would violate the Act. See Opp. at
             9    20-23, see also Knell Decl. (dkt. 22-4) q17 ("Since Saturday, June 7, federalized California
             10   National Guard personnel have conducted operations in Los Angeles strictly consistent
             11   with the directions of the President's June 7 memorandum      . They are protecting federal
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             12   personnel performing official functions as well as property at designated locations."). Of
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Uo E         13   course, federal officials do not only act through official documents. President Trump
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.8 U         14   reportedly wrote on social media that he had directed his cabinet officials to "take any
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Q O         15    actions necessary to 'liberate Los Angeles from the Migrant Invasion,"' and said, "we're
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       D 16       going to have troops everywhere," which certainly differs from the circumscribed role
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                  professed in the opposition brief. See Espiritu Decl. EX. M, see also    ("Tom Homan, the
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D Zc 18           president's border czar, suggested in an interview with NBC News that the administration
             19   would arrest anyone, including public officials, who interfered with immigration
             20   enforcement activities, which he said would continue in California and across the
             21   country."), Fortinsky, Bondi Says California at 'Good Point': 'We're Not Scared to Go
             22   Further', The Hill (June II, 2025), https://perma.cc/G6HR-Q5M8 (quoting Attorney
             23   General Bondi: "We're not scared to go further. We're not frightened to do something else
             24   if we need to."), Bowden, Noem Asks Hegseth to Exceed Trump's Order and Force the
             25   Military to Arrest LA Citizens to Protect ICE Agents, The Independent (June II, 2025)
             26   ("DHS chief Kristi Noem wants the US military directly involved in detaining and
             27   arresting protesters in Los Angeles, according to a letter sent to Defense Secretary Pete
             28   Hegseth."), https://perma.cc/XG9F-EQF9.
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             1           The Court has already concluded that Defendants exceeded their lawful authority by
              2   violating 10 U.S.C. § 12406. The Court therefore need not reach this additional basis for
             3    Plaintiffs' ultra wires claim at this early moment in the litigation. When the Court has
             4    before it Plaintiffs' motion for a preliminary injunction, the record will be more complete
             5    as to any and all military activities, and whether, as Plaintiffs contend, the presence of
             6    troops near ICE agents during raids "in dense, urban communities" indeed results in
             7    "military forces [being] drawn into a variety of law enforcement activities, such as
             8    confronting, interrogating, detaining, or searching civilians perceived as security threats."
             9    See Reply at 12. At that point-just a week from now-the parties will be free to make
             10   whatever arguments they wish in connection with the Posse Comitatus Act.
             11          As of now, the Court only has counsel's speculation of what might happen.
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             12                 4.     Tenth Amendment
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Uo E         13          Plaintiffs' second claim in their complaint is that President Trump's federalization
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.8 U         14   of the National Guard "infringes on Governor Newsom's role as Commander-in-Chief of
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Q O         15    the California National Guard and violates the State's sovereign right to control and have
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       D 16       available its National Guard in the absence of a lawful invocation of federal power."
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                  Compl. '[[ 95. Plaintiffs' argument rests in part on their assertion that President Trump
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D Zc 18           acted ultra wires when he federalized the National Guard, see      (II 100, and in part on their
             19   allegation that using National Guard members to "quell" or "prevent" protests is an
             20   exercise of police power, which is traditionally reserved to the states, see    'l['l[ 96-98.
             21          Focusing on the first piece of Plaintiffs' argument, Defendants argue that the Tenth
             22   Amendment issue "is wholly derivative" of whether President Trump lawfully invoked
             23   § 12406. Opp. at 20. And because Defendants assert that they did not violate § 12406,
             24   they contend that there is no Tenth Amendment problem. 4
             25          Yet the Court has concluded that Defendants did violate § 12406, so their argument
             26   against Plaintiffs' Tenth Amendment claim starts from a flawed premise. And even if that
             27   were not the case, Defendants fail to grapple with the second part of Plaintiffs' Tenth
             28   Amendment claim-that their use of the National Guard and the Marines comes into
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           1    conflict with California's police power. It is well-established that the police power is one
            2   of the quintessential powers reserved to the states by the Tenth Amendment. E.g., United
           3    States V. Morrison, 529 U.S. 598, 618-19 (2000) (the reservation of police powers to the
           4    states is "one of the few principles that has been consistent since the [Constitution] was
           5    adopted"), Gibbons v. Ogden, 22 U.S. (9 Wheat.) l, 203-04 (1824) ("No direct general
           6    power over these objects is granted to Congress, and, consequently, they remain subject to
           7    State legislation.").
           8           Although Defendants identify some stray violent incidents relating to the protests
           9    against ICE raids in Los Angeles, and from there boldly claim that state and local officials
           10   were "unable to bring rioters under control," Opp. at 19-20, it is not the federal
           11   government's place in our constitutional system to take over a state's police power
           12   whenever it is dissatisfied with how vigorously or quickly the state is enforcing its own
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     9: 13      laws. Quite the contrary, the Founders reserved that power, and others, to the states in the
           14   Tenth Amendment. See Patterson v. Kentucky, 97 U.S. 501, 504 (1878) ("Whether the
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     2 15       policy thus pursued by the State is wise or unwise, it is not the province of the national
           16   authorities to determine. That belongs to each State, under its own sense of duty, and in
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4)   U     17   view of the provisions of its own Constitution.").
           18          Of course, federal authority extends to protecting legitimate federal interests, such
           19   as protecting federal personnel and facilities. Plaintiffs do not contest this. See Mot. at 2.
           20   As discussed above, the parties vigorously dispute whether the National Guard and the
           21   Marines were deployed to Los Angeles merely to protect federal personnel and facilities or
           22   to engage in more routine law enforcement, and the Court does not at this point reach any
           23   conclusion on this issue. But with respect to the Tenth Amendment claim, that is not the
           24   only consideration at play, there is also the fact that the federalization of 4,000 members of
           25   California's National Guard necessarily prevents Governor Newsom, as the commander-
           26   in-chief of his state's National Guard, from deploying them as needed. Had Defendants
           27   complied with the substantive and procedural requirements of § 12406, the federal
           28   interests reflected by that statute may well override Governor Newsom's interest in
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                1    retaining his National Guard members. But they did not. So whether or not the National
                 2   Guard is exercising illegitimate federal police power in Los Angeles, the unlawful
                 3   federalization of those members has interfered with the state's legitimate police power, and
                4    thus it violates the Tenth Amendment.
                5           For the above reasons, the Court concludes that Plaintiffs are likely to succeed on
                 6   their Tenth Amendment claim.
                7           B.     Likelihood of Irreparable Harm
                 8          A party seeking preliminary injunctive relief must "demonstrate that irreparable
                 9   injury is likely in the absence of an injunction." Winter, 555 U.S. at 22 (emphasis in
                10   original), see also Michigan V. U.S. Army Corps of Eng'rs, 667 F.3d 765, 788 (7th Cir.
                11   2011) (harm need not be certain to occur for injunctive relief to issue). The party must
                12   show a "sufficient causal connection" between the defendant's conduct and their
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      ~         13   anticipated injury. "Irreparable harm is traditionally defined as harm for which there is no
                14   adequate legal remedy, such as an award of damages." Ariz. Dream Act Coal. v. Brewer,
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          v-I   15   757 F.3d 1053, 1068 (9th Cir. 2014).
                16          Plaintiffs identify two types of harm that they claim to be likely to suffer in the
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»_»       9 17       absence of a temporary restraining order. First, they assert that there is a "very high risk of
                18   substantial civil unrest as a direct result of Defendants' inflammatory and confrontational
                19   deployment of the military in a large, civilian population center." Mot. at 16. Second,
                20   they contend that "Defendants' unlawful federalization of 4,000 California National Guard
                21   members      diverts necessary state resources" from addressing serious problems facing
                22   California, such as wildfires and drug trafficking. 4 at 17-18. Defendants respond that
                23   these harms are "speculative" and "unsubstantiated." Opp. at 26.
                24          As for Plaintiffs' first asserted harm, they have established that the continued
                25   presence of National Guard members and Marines in Los Angeles risks worsening, not
                26   improving, tensions on the ground. "The presence of the National Guard seemed only to
                27   inflame the protesters further." Olmstead Decl. 1] 12. Indeed, local law enforcement
                28   arrests jumped after the National Guard was deployed. Olmstead Supp. Decl. (II 14 (29
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         1    arrests on June 7, 41 arrests on June 8, 135 arrests on June 9, and 297 arrests on June 10).
          2   Defendants reiterate that civil unrest began before President Trump nationalized the
          3   National Guard, Opp. at 26, but that does not address Plaintiffs' point that military
         4    presence in a civilian population center will worsen-and has worsened-the situation.
         5    And contrary to Defendants' assertion, Plaintiffs have provided evidence backing up their
          6   concern, so it is not merely "hypothetical or possible." 4 (citing Doran V. Salem Inn,
         7    Inc., 422 U.S. 922, 931 (1975)).
          8          In fact, it is common sense that President Trump and Secretary Hegseth's unilateral
          9   exercise of federal power risks doing more harm than good. That is the very point that
         10   Justice Jackson made in his renowned concurrence in Youngstown Sheet & Tube Co. v.
         11   Sawyer:
         12                 The appeal, however, that we declare the existence of inherent
                            powers [out of necessity] to meet an emergency asks us to do
         13                 what many think would be wise, although it is something the
                            forefathers omitted. They knew what emergencies were, knew
         14                 the pressures they engender for authoritative action, knew, too,
                            how they afford a ready pretext for usurpation. We may also
         15                 suspect that they suspected that emergency powers would tend
                            to kindle emergencies.
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4)   U   17   343 U.S. 579, 649-50 (1952) (Jackson, J., concuning) (emphasis added). Indeed, as
         18   Justice Jackson explained using examples from Weimar Germany, the French Republic,
         19   and World War II-era Great Britain, "emergency powers are consistent with free
         20   government only when their control is lodged elsewhere than in the Executive who
         21   exercises them." Id. at 651-62. The issue presented in Youngstown (whether the
         22   President had implied constitutional authority to seize steel production plants during
         23   wartime) is admittedly different than that presented here (whether the President can
         24   federalize the National Guard over the objection of a state governor and without evidence
         25   of a rebellion). But Justice Jackson's lesson remains poignant: federal overreach risks
         26   instigating the very behavior that the federal government fears. To put a finer point on it,
         27   the federal government cannot be permitted to exceed its bounds and in doing so create the
         28   very emergency conditions that it then relies on to justify federal intervention.
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           1           Turning now to Plaintiffs' second asserted harm, Plaintiffs explain that California's
            2   National Guard provides important state services, including by fighting wildfires, see Eck
            3   Decl. 919135-36, 39-40, and drug trafficking enforcement,       q1q142-43. Plaintiffs have
           4    also shown that National Guard members are often relied upon to their fullest capacity and,
           5    indeed, are likely to be so relied upon in 2025. 4 q1q132-33. Defendants respond that
            6   "Plaintiffs do not identify any type of exigency that they would direct these resources [to]
           7    that approaches the seriousness of the situation in Los Angeles." Opp. at 27. But this
            8   overstates the violence in Los Angeles, which even by Defendants' own account is limited
            9   to isolated actors and is primarily damage to property, and vastly understates the risks to
           10   property and human life caused by wildfires and trafficked drugs like fentanyl.11 Perhaps
           11   Defendants simply mean that there is not an immediate (as in today) need for California's
           12   National Guard to be deployed, but even that is untrue. As Plaintiffs point out, as of June
           13   II there were 13 fires over 10 acres, including one that has consumed over 4,200 acres,
           14   burning in California. Eck Suppl. Decl. (dkt. 39-2) 91 10. And in any case, Defendants'
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     2 15       myopic focus on whether there is currently an exigency misunderstands the nature of
           16   emergencies, which are inherently unplanned for.
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4)   U     17          The Court finds that Plaintiffs have established that they are likely to suffer at least
           18   these two forms of harm in the absence of immediate injunctive relief.
           19          C.     Balance of Equities and Public Interest
           20          A party seeking injunctive relief must also demonstrate that the balance of equities
           21   tips in its favor, and that an injunction is in the public interest. See Winter, 555 U.S. at 20.
           22   "'In exercising their sound discretion, courts of equity should pay particular regard for the
           23   public consequences in employing the extraordinary remedy of injunction."' 4 (quoting
           24   Weinberger V. Romero-Barcelo, 456 U.S. 305, 312 (1982)). Because the government is a
           25
           26   II Indeed, President Trump has officially recognized that fentanyl trafficking is a "national
                emergency" and a "public health crisis," Fact Sheet: President Donald J. Trump Proceeds
           27   with Tariffs on Imports from Canada and Mexico, White House (Mar. 3, 2025), and called
                the January 2025 Los Angeles wildfires a "tragedy [that] affects the entire Nation,"
           28   Emergency Measures to Provide Water Resources in California and Improve Disaster
                Response in Certain Areas, White House (Jan. 24, 2025).
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              1    party, the last two Winter factors merge. E. Bay Sanctuary Covenant, 993 F.3d at 668.
               2          The Court begins by observing that significant harm has already occurred.
              3    President Trump's June 7 Memo marks the first time that a President has invoked § 12406,
              4    lawfully or not, against the wishes of a state governor. Regardless of the outcome of this
              5    case or any other, that alone threatens serious injury to the constitutional balance of power
              6    between the federal and state governments, and it sets a dangerous precedent for future
              7    domestic military activity.12 There is a reason that § 12406 and other similar statutes, such
              8    as the Insurrection Act, apply only in the narrowest and most extreme of circumstances-
              9    they jeopardize the delicate federalism that forms the basis of our very system of
              10   government. See Youngstown, 343 U.S. at 638 (Jackson, J., concurring) ("Presidential
              11   claim to a power at once so conclusive and preclusive must be scrutinized with caution, for
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+-» ' *       12   what is at stake is the equilibrium established by our constitutional system."). The
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      :       13   continued deployment of federal troops in Los Angeles13 for 60 days would further
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+_» 4-        14   entrench this harm.
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Q O           15          Moreover, Plaintiffs have shown a likelihood of prevailing in their argument
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       D 16        President Trump's invocation of § 12406 was in fact not lawful, both exceeding the scope
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              17   of his authority and violating the Tenth Amendment. When Plaintiffs establish "a
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D Zc 18            likelihood that Defendants' policy violates the U.S. Constitution, Plaintiffs have also
              19   established that both the public interest and the balance of the equities favor [inj unctive
              20   reliefs." See Arizona Dream Act Coalition, 757 F.3d at 1069. Defendants are not harmed
              21   by "an injunction that merely ends an unlawful practice or reads a statute as required to
              22
              23   12 Defendants argue that the separation of powers cuts against judicial intervention, see
                   Opp. at 2, but they focus exclusively on the separation between the Executive and the
              24   Judiciary, missing entirely the important balance between federal and state power.
                   13 And potentially nationwide, as the June 7 Memo invoking 10 U.S.C. § 12406 does not
              25   name Los Angeles or California or any other geographical area and purports to apply to
                   "the Governors of the States," not just California. Indeed, amis from Washington,
              26   Delaware, Arizona, Colorado, Connecticut, Hawai'i, Illinois, Maine, Maryland,
                   Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, New York,
              27   North Carolina, Oregon, Vermont, Wisconsin, Rhode Island, and the Office of the
                   Governor of Kansas contend that they "are implicated by the unlimited scope of" the June
              28   7 Memo. See States Amici (dkt. 30-1) at 2. Whether the memo adequately satisfies any of
                   the conditions of § 12406 as to jurisdictions beyond Los Angeles is not before this Court.
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             1    avoid constitutional concerns." See R.I.L.-R V. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C.
              2   2015). They may continue to enforce the immigration law, even without the assistance of
              3   the National Guard.
             4           Defendants no doubt have an "interest in protecting federal agents and property."
             5    See Index Newspapers LLC v. U.S. Marshals Serv., 977 F.3d 817, 831 (9th Cir. 2020).
              6   But they have no legitimate interest in doing so beyond the bounds of their authority. See
             7    R.I.L-R, 80 F. Supp. 3d at 191. Federal agents and property may actually well be served
              8   by de-militarization and a concurring de-escalation of the situation. Regardless, Plaintiffs
              9   and the citizens of Los Angeles face a greater harm from the continued unlawful
             10   militarization of their city, which not only inflames tensions with protesters, threatening
             11   increased hostilities and loss of life, but deprives the state for two months of its own use of
             12   thousands of National Guard members to fight fires, combat the fentanyl trade, and
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     ~       13   perform other critical functions. As discussed above, Defendants' actions also threaten to
             14   chill legitimate First Amendment expression.
             15          Accordingly, the Court concludes that Plaintiffs have demonstrated that the balance
             16   of equities tips in their favor and that an in unction restraining the President's use of
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4)   U       17   military force in Los Angeles is in the public interest.
             18   Iv.    CONCLUSION
             19          For the foregoing reasons, the Court GRANTS Plaintiffs' motion for a temporary
             20   restraining order.
             21          .   Defendants are temporarily ENJOINED from deploying members of the
             22              California National Guard in Los Angeles.
             23          .   Defendants are DIRECTED to return control of the California National Guard to
             24              Governor Newsom.
             25              The Court further STAYS this order until noon on June 13, 2025.
             26              Plaintiffs are ORDERED to post a nominal bond of $100 within 24 hours. The
             27              bond shall be filed in the Clerk's Office and be deposited into the registry of the
             28              Court. If said bond is not posted by the aforementioned date and time, this
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              1              Order shall be dissolved.
               2         .   Defendants are further ORDERED TO SHOW CAUSE why a preliminary
              3              injunction should not issue. A hearing on this order to show cause will be held
              4              on June 20, 2025 at 10 a.m. Plaintiffs' moving papers shall be filed no later
              5              than June 16, 2025, Defendants' opposition shall be due no later than June 18,
              6              2025, and Plaintiffs' reply shall be due on June 19, 2025.
              7          IT IS SO ORDERED.
              8          Dated: June 12, 2025                         /              v
                                                                     CHARLES R. BREYER
              9                                                      United States District Judge
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